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GLOBAL NOTES TO SCHEDULES AND STATEMENT OF FINANCIAL AFFAIRS OF
    DEBTORS, STREAM TV NETWORKS, INC., CASE NO. 23-10763(mdc) AND
 TECHNOVATIVE MEDIA, INC., CAUSE NO. 10764 (Joint Administration Requested)

The Debtors develop their technology and conduct the majority of their business through their
direct and indirect foreign and domestic subsidiaries. The Debtors provided capital to their direct
and indirect foreign and domestic subsidiaries for the purpose of acquiring and developing assets
and to conduct business operations. The Debtors direct interested parties to the Declaration of
Mathu Rajan in Support of Stream TV Networks, Inc. and Technovative Media, Inc. Chapter 11
Petition, Supporting Emergency Relief, and First Day Motions [Docket No. 48] (“Rajan
Declaration”) in which the Debtors’ organizational and operational structure is described in greater
detail.

In its bankruptcy schedules, the Debtors disclose and describe the assets, including their ownership
interest in direct subsidiaries and their contracts, that the Debtors owned as of March 15, 2023 (the
“Petition Date”). The Debtors’ direct subsidiaries, in turn, hold or may hold ownership interests in
the Debtors’ indirect subsidiaries as depicted on the Debtor’s Organization Chart included in the
Rajans Declaration. The assets of the Debtors’ direct and indirect subsidiaries are not included in
the Debtors’ bankruptcy schedules.

The Debtors intend to complete a recovery of assets which were previously and improperly
transferred in contravention of express provisions of its corporate charter through an invalidated
board settlement agreement as confirmed by the Delaware Supreme Court through an en banc
unanimous decision on June 15, 2022. See Stream TV Networks, Inc. v. Seecubic, Inc., No. 360,
2021, p. 3 (Del. June 15, 2022) (Holding that “a majority vote of Class B stockholders is required
under Stream’s charter” to “transfer pledged assets to secured creditors in connection with what
was, in essence, a privately structured foreclosure transaction”).1 The Delaware Supreme Court
also held that the “agreement authorizing the secured creditors to transfer Stream’s pledged assets
. . . is invalid because Stream’s unambiguous certificate of incorporation required the approval of
Stream’s Class B stockholders.” Id.. at p. 34. (emphasis added).




1
 A debt resolution committee of the Debtor’s Board of Directors purporting to act on the
Debtor’s behalf reached an unauthorized settlement enshrined in an agreement titled as the
Omnibus Agreement, dated May 6, 2021, between the Debtor’s senior secured lender, SLS
Holdings VI, LLC (“SLS”) and the Debtor’s debt resolution committee, which was which
approved by the Delaware Court of Chancery and then held to be invalid by the Delaware
Supreme Court on appeal. Prior to the Delaware Supreme Court ruling the SLS Holdings and its
newly formed company,

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The new company formed by the purported secured lenders,2 SeeCubic, Inc. (“SeeCubic”),3
asserted an ownership interest in all of the Debtor’s assets and took possession of, and in some
cases, destroyed the Debtors’ assets. The Chancery Court, on remand and with direction from the
Delaware Supreme Court to effectuate the dismissal and vacating of its prior injunctive relief, has
made it clear that the assets must be returned both in title and possession to the Debtors.4
Furthermore, the Chancery Court on August 10, 2022, issued an Order Granting Partial Final
Judgment in favor of the Debtor. The order stated: “Pending transfer of the Assets from SeeCubic
to Stream, SeeCubic and all those acting in concert with it shall not use, impair, encumber, or
transfer the Assets, except as necessary to maintain the Assets in the ordinary course of business
and preserve their value pending transfer to Stream.” Rajan Declaration, Exhibit BB. Despite these
clear directives, the purported secured lenders have resisted and continue to resist return of the
assets.

The Debtors have also been alerted to SeeCubic’s violation of intellectual property licenses which
were held by the Debtors and were non-transferable, actions violating third party rights under
applicable Federal and state law which cannot be remedied or cleansed by the invalidated
settlement, even prior to its invalidation by the Delaware Supreme Court. Even before the
Omnibus Agreement was invalidated, the transfers themselves were invalid under both a Phillips
license to the Debtors and a Rembrandt 3D Holding Ltd. (“Rembrandt”) license, both parties not
subject to the settlement or any now invalidated injunctive relief by the Chancery Court.5

The Debtors have been subjected to continuous damage by the purported secured creditors, even
after the Supreme Court decision. SeeCubic, the purported lenders, and Mr. Shad Stastney of
SeeCubic and SLS, were held in contempt by the Delaware Court of Chancery in October 2022
for their orchestrated efforts to seize control of the Debtor’s subsidiary, TechnoVative Media, Inc.,

2
 The Debtors contend that SLS Holdings VI, LLC (“SLS”) and Hawk Investment Holdings
Limited (“Hawk”) hold secured debt convertible to equity or must pursue their claims in chapter
11 where they will be paid in full, if their claims are allowed.
3
  SeeCubic, Inc., a Delaware entity, took its name from a foreign Dutch subsidiary of the
Debtors, SeeCubic B.V. (The Netherlands) (“SCBV”) and is likely in violation of trademark
laws protecting the Debtors and its foreign subsidiary).
4
 On August 9, 2022, nearly 8 weeks after the Delaware Supreme Court opinion, the Chancery
Court issued a TRO against SeeCubic. Vice Chancellor Laster specifically stated his
expectations: “SeeCubic will restore Stream’s assets to Stream in accordance with the Rule 54(b)
order. Once this has occurred, SeeCubic may seek to exercise any creditor’s rights it possesses
against Stream. SeeCubic must do so based on a status quo where Stream has title to and
possession of its assets, not a status quo in which SeeCubic acquired possession based on a
decision that the Delaware Supreme Court has held is erroneous.”
5
 On February 21, 2023, Rembrandt filed suit in the U.S. District Court for the District of Delaware
against parties using the Ultra-D technology without a Rembrandt license. It sued TechnoVative
USA, which was under the direction of the Chancery Court-appointed Receiver, Hawk, and
SeeCubic for trade secret violations and injunctive relief to prevent the sale of Stream’s assets
Rembrandt 3D Holding Ltd v Technovative Media, Inc., Hawk Investment Holdings Ltd. and
SeeCubic, Inc.

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in the months after the Supreme Court decision. In ¶ 3 of his October 3, 2022 Opinion, Vice
Chancellor Laster wrote: “This decision holds that SeeCubic and Hawk engaged in contumacious
conduct. Shad L. Stastney was the puppet master who pulled the strings. He controls SeeCubic
and Technovative, and he also controls SLS Holdings VI, LLC (“SLS”), Stream’s only secured
creditor other than Hawk.” See Rajan Declaration, Exhibit AA.

SLS and SeeCubic possess some and claim to have obtained possession or control of other of the
Debtor’s assets before the Petition Date. The Debtor’s investigation into the location and condition
of its assets is ongoing. The Debtors have listed the assets that they believe they continue to own,
unless otherwise expressly indicated in its bankruptcy schedules. The Debtors intend to pursue
recovery of assets and to operate their business under the provisions of the Bankruptcy Code in
this case.

Additional Notes:

1.      Because US GAAP treatment may not apply to the Debtor’s assets located in foreign
jurisdictions, the values provided for certain assets may differ from typical accounting standards.

2.     Funding advanced by the Debtors to their direct and indirect subsidiaries are reflected in
intercompany loans.

3.    The Debtors’ goodwill and similar intangible value is not reflected in the Debtors’
bankruptcy schedules.

4.     SeeCubic BV (the Netherlands) is a subsidiary of the Debtors, SeeCubic BV (the
Netherlands) is unrelated to and is a separate entity from SeeCubic Inc., a company newly formed
in Delaware by SLS Holdings, Inc.




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 Fill in this information to identify the case:
 Debtor name         Stream TV Networks, Inc.

 United States Bankruptcy Court for the: EASTERN DIST. OF PENNSYLVANIA

 Case number         23-10763                                 Chapter      11                                 Check if this is an
 (if known)                                                                                                       amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                         12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?

       No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property
          (Official Form 206A/B).

2.    List all contracts and unexpired leases                                          State the name and mailing address for all other
                                                                                       parties with whom the debtor has an executory
                                                                                       contract or unexpired lease

2.1       State what the contract       Bankruptcy Filing Services                     BMC Group, Inc.
          or lease is for and the       The Debtor reserves the right to               600 First Avenue
          nature of the debtor's        assert that a contract or lease is not
          interest                      executory.


                                                                                       Seattle                            WA         98104


                                        Contract to be ASSUMED
          State the term remaining      Continues until terminated
          List the contract
          number of any
          government contract

2.2       State what the contract       Supplier and CO Marketer.                      BOE
          or lease is for and the       Debtor reserves the right to assert            No. 668 RD Xinzhan
          nature of the debtor's        that a
          interest                                                                     General Pilot Zone, Heifei
                                        contract or lease is not executory.
                                        Contract to be ASSUMED                         Anhui 230012
          State the term remaining                                                     China
                                        Expires 8/2/2024
          List the contract
          number of any
          government contract

2.3       State what the contract       Investment Banker.                             Boustead Securities
          or lease is for and the       The Debtor reserves the right to               6 Venture Street, Suite 395
          nature of the debtor's        assert that a contract or lease is not
          interest                      executory.
                                        Contract to be ASSUMED
          State the term remaining      Open
                                                                                       Irvine                             CA         92618
          List the contract
          number of any
          government contract




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          Additional Page if Debtor Has More Executory Contracts or Unexpired Leases
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

      List all contracts and unexpired leases                                   State the name and mailing address for all other
                                                                                parties with whom the debtor has an executory
                                                                                contract or unexpired lease

2.4       State what the contract      Legal Services.                          Cittone Demers & Arneri LLP
          or lease is for and the      The Debtor reserves the right to         11 Broadway
          nature of the debtor's       assert thata contract or lease is not
          interest                                                              Suite 615
                                       executory.
                                       Contract to be ASSUMED
          State the term remaining
                                                                                New York                        NY        10040
          List the contract
          number of any
          government contract

2.5       State what the contract      Capitalized lease for computer           Dell Financial Services
          or lease is for and the      server.                                  One Dell Way
          nature of the debtor's       The Debtor reserves the right to
          interest                     assert that a contract or lease is not
                                       executory.
                                       Contract to be ASSUMED
          State the term remaining                                              Round Rock                      TX        78682
          List the contract
          number of any
          government contract

2.6       State what the contract      Employment Recruiter.                    Demartino
          or lease is for and the      The Debtor reserves the right to         875 Union Avenue
          nature of the debtor's       assert that a contract or lease is not
          interest                     executory.
                                       Contract to be ASSUMED
          State the term remaining     Open until terminated
                                                                                Boulder                         CO        80304
          List the contract
          number of any
          government contract

2.7       State what the contract      Accounting Firm.                         Dezan Shira
          or lease is for and the      The Debtor reserves the right to         Suite EF06, east tower Twin Towers, B12
          nature of the debtor's       assert that a contract or lease is not
          interest                                                              Jian Guo Men Wai Avenue
                                       executory.
                                       Contract to be ASSUMED                   Beijing 100022
          State the term remaining                                              China

          List the contract
          number of any
          government contract

2.8       State what the contract      Legal Services.                          Dilworth Paxson LLP
          or lease is for and the      The Debtor reserves the right to         1500 Market Street, Suite 3500E
          nature of the debtor's       assert that a contract or lease is not
          interest                     executory.
                                       Contract to be ASSUMED
          State the term remaining
                                                                                Philadelphia                    PA        19102
          List the contract
          number of any
          government contract




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       List all contracts and unexpired leases                                   State the name and mailing address for all other
                                                                                 parties with whom the debtor has an executory
                                                                                 contract or unexpired lease

2.9        State what the contract      Accounting Consultant for China.         FTI Consulting
           or lease is for and the      The Debtor reserves the right to         Unit 2101-04, Central Plaza
           nature of the debtor's       assert that a contract or lease is not
           interest                                                              227 Huangpi (N) Road
                                        executory.
                                                                                 Shanghai 200003 China
                                        Initial Term is 3 months but can be
                                        cancelled with 15 days written
                                        notice.
                                        Contract to be ASSUMED
           State the term remaining     Continues until terminated
           List the contract
           number of any
           government contract

2.10       State what the contract      Staffing Firm.                           Game 7 Staffing
           or lease is for and the      The Debtor reserves the right to         1214 West 6th Street
           nature of the debtor's       assert that a contract or lease is not
           interest                                                              Suite 210
                                        executory.
                                        Contract to be ASSUMED
           State the term remaining     Continuous until terminated
                                                                                 Austin                          TX        78703
           List the contract
           number of any
           government contract

2.11       State what the contract      Purchase Order.                          Google Purchase Orders
           or lease is for and the      The Debtor reserves the right to         1600 Amphitheatre Parkway
           nature of the debtor's       assert that a contract or lease is not
           interest                     executory.
                                        Contract to be ASSUMED
           State the term remaining     N/A
                                                                                 Mountain View                   CA        94043
           List the contract
           number of any
           government contract

2.12       State what the contract      Omnibus Agreement                        Hawk Investment Holdings Limited
           or lease is for and the      Contract to be ASSUMED                   Newport House
           nature of the debtor's
           interest                                                              15 The Grange, St. Peter Port
                                                                                 Guernsey GY1 2QL, Channel Islands
           State the term remaining
           List the contract
           number of any
           government contract

2.13       State what the contract      License to use HDMI.                     HDMI
           or lease is for and the      The Debtor reserves the right to         550 S. Winchester Boulevard
           nature of the debtor's       assert that a contract or lease is not
           interest                                                              Suite 515
                                        executory.
                                        Contract to be ASSUMED
           State the term remaining     Expires 4/19/2026
                                                                                 San Jose                        CA        95128
           List the contract
           number of any
           government contract



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       List all contracts and unexpired leases                                   State the name and mailing address for all other
                                                                                 parties with whom the debtor has an executory
                                                                                 contract or unexpired lease

2.14       State what the contract      Small and Mass production lines for      Iinuma Gauge Manufacturing Co.,Ltd (JPY)
           or lease is for and the      bonding.                                 11400-327 Harayama, Tamagawa
           nature of the debtor's       The Debtor reserves the right to
           interest                                                              Chino-City Nagano, Japan
                                        assert that a contract or lease is not
                                        executory.                               391-0011
                                        Contract to be ASSUMED
           State the term remaining
           List the contract
           number of any
           government contract

2.15       State what the contract      Various study and potential              IMG Media Ltd
           or lease is for and the      marketing                                Building 6, Chiswick Park
           nature of the debtor's       services.
           interest                                                              566 Chiswick High Road
                                        The Debtor reserves the right to
                                        assert that a contract or lease is not   London, England UK W4 5HR
                                        executory.
                                        Contract to be ASSUMED
           State the term remaining     Continues until terminated
           List the contract
           number of any
           government contract

2.16       State what the contract      Customer & Comp. for investment          IQH3D
           or lease is for and the      The Debtor reserves the right to         6800 SW 40th Street
           nature of the debtor's       assert that a contract or lease is not
           interest                                                              Suite 298
                                        executory.
                                        Contract to be ASSUMED
           State the term remaining
                                                                                 Miami                           FL        33155
           List the contract
           number of any
           government contract

2.17       State what the contract      Engineering Consulting Services.         JoveAI
           or lease is for and the      The Debtor reserves the right to         44081 Old Warm Springs Blvd.
           nature of the debtor's       assert that a contract or lease is not
           interest                     executory.
                                        Contract to be ASSUMED
           State the term remaining
                                                                                 Fremont                         CA        94538
           List the contract
           number of any
           government contract

2.18       State what the contract      Legal Services.                          Lewis Brisbois Bisgaard & Smith, LLP
           or lease is for and the      The Debtor reserves the right to         500 Delaware Avenue, Suite 700
           nature of the debtor's       assert that a contract or lease is not
           interest                     executory.

                                        Contract to be ASSUMED
           State the term remaining     Continues until terminated               Wilmington                      DE        19801
           List the contract
           number of any
           government contract

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       List all contracts and unexpired leases                                   State the name and mailing address for all other
                                                                                 parties with whom the debtor has an executory
                                                                                 contract or unexpired lease

2.19       State what the contract      Auditors.                                Marcum LLP
           or lease is for and the      The Debtor reserves the right to         One SE Third Ave, Suite 1100
           nature of the debtor's       assert that a contract or lease is not
           interest                     executory.
                                        Contract to be ASSUMED
           State the term remaining     Continues until terminated
                                                                                 Miami                           FL        33131
           List the contract
           number of any
           government contract

2.20       State what the contract      Legal Services.                          MCCarter & English, LLP
           or lease is for and the      The Debtor reserves the right to         405 North King Street
           nature of the debtor's       assert that a contract or lease is not
           interest                     executory.


                                                                                 Wilmington                      DE        19801

                                        Contract to be ASSUMED
           State the term remaining     Continues until terminated
           List the contract
           number of any
           government contract

2.21       State what the contract      Server Farm Provider.                    MotivIT
           or lease is for and the      The Debtor reserves the right to         2880 Zanker Road
           nature of the debtor's       assert that a contract or lease is not
           interest                                                              Suite 203
                                        executory.
                                        Contract to be ASSUMED
           State the term remaining
                                                                                 San Jose                        CA        95134
           List the contract
           number of any
           government contract

2.22       State what the contract      Settlement for OEM/ODM                   Pegatron Corporation
           or lease is for and the      Contract to be ASSUMED                   5F., No. 76, Ligong
           nature of the debtor's
           interest                                                              St. Beltou District
                                                                                 Taipei City 112 Taiwan
           State the term remaining
           List the contract
           number of any
           government contract




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       List all contracts and unexpired leases                                   State the name and mailing address for all other
                                                                                 parties with whom the debtor has an executory
                                                                                 contract or unexpired lease

2.23       State what the contract      Investment Banker/Broker.                Ruffena Capital Ltd.
           or lease is for and the      The Debtor reserves the right to         Portman House
           nature of the debtor's       assert that a contract or lease is not
           interest                                                              2 Portman Street
                                        executory.
                                                                                 London W1H 6DU



                                        Contract to be ASSUMED
           State the term remaining     Continues until terminated
           List the contract
           number of any
           government contract

2.24       State what the contract      Omnibus Agreement                        SeeCubic Inc.
           or lease is for and the      Contract to be ASSUMED                   251 Little Falls Drive
           nature of the debtor's
           interest

           State the term remaining     Ongoing
           List the contract
           number of any
                                                                                 Wilmington                      DE        19808
           government contract

2.25       State what the contract      Omnibus Agreement                        SLS Holdings VI, LLC
           or lease is for and the      Contract to be ASSUMED                   Attn: Shad Stastney
           nature of the debtor's
           interest                                                              392 Taylor Mills Road

           State the term remaining
           List the contract
           number of any
                                                                                 Marlboro                        NJ        07746
           government contract

2.26       State what the contract      Staffing Firm.                           Technical Link
           or lease is for and the      The Debtor reserves the right to         8461 Lake Worth Road
           nature of the debtor's       assert that a contract or lease is not
           interest                                                              Suite 225
                                        executory.
                                        Contract to be ASSUMED
           State the term remaining     Continues until terminated
                                                                                 Lake Worth                      FL        33467
           List the contract
           number of any
           government contract

2.27       State what the contract      Staffing Firm.                           Triple Crown Consulting, LLC
           or lease is for and the      The Debtor reserves the right to         10814 Jollyville Road
           nature of the debtor's       assert that a contract or lease is not
           interest                                                              Suite 100
                                        executory.
                                        Contract to be ASSUMED
           State the term remaining     Continues until terminated
                                                                                 Austin                          TX        78759
           List the contract
           number of any
           government contract




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Debtor        Stream TV Networks, Inc.                                             Case number (if known)   23-10763



           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases
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       List all contracts and unexpired leases                                   State the name and mailing address for all other
                                                                                 parties with whom the debtor has an executory
                                                                                 contract or unexpired lease

2.28       State what the contract      This is a verbal lease for the offices   YKP Law
           or lease is for and the      of the debtor in Philadelphia.           2009 Chestnut Street
           nature of the debtor's       Contract to be ASSUMED
           interest

           State the term remaining     Continues until terminated
           List the contract
           number of any
                                                                                 Philadelphia                    PA        19103
           government contract

2.29       State what the contract      Legal Services.                          Zhong Lun Law Firm
           or lease is for and the      The Debtor reserves the right to         Level 10 & 11, Two IFC, 8 Century Avenue
           nature of the debtor's       assert that a contract or lease is not
           interest                                                              Pudong New Area
                                        executory.
                                        Contract to be ASSUMED                   Shanghai 20021 China
           State the term remaining     Continues until terminated
           List the contract
           number of any
           government contract




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GLOBAL NOTES TO SCHEDULES AND STATEMENT OF FINANCIAL AFFAIRS OF
    DEBTORS, STREAM TV NETWORKS, INC., CASE NO. 23-10763(mdc) AND
 TECHNOVATIVE MEDIA, INC., CAUSE NO. 10764 (Joint Administration Requested)

The Debtors develop their technology and conduct the majority of their business through their
direct and indirect foreign and domestic subsidiaries. The Debtors provided capital to their direct
and indirect foreign and domestic subsidiaries for the purpose of acquiring and developing assets
and to conduct business operations. The Debtors direct interested parties to the Declaration of
Mathu Rajan in Support of Stream TV Networks, Inc. and Technovative Media, Inc. Chapter 11
Petition, Supporting Emergency Relief, and First Day Motions [Docket No. 48] (“Rajan
Declaration”) in which the Debtors’ organizational and operational structure is described in greater
detail.

In its bankruptcy schedules, the Debtors disclose and describe the assets, including their ownership
interest in direct subsidiaries and their contracts, that the Debtors owned as of March 15, 2023 (the
“Petition Date”). The Debtors’ direct subsidiaries, in turn, hold or may hold ownership interests in
the Debtors’ indirect subsidiaries as depicted on the Debtor’s Organization Chart included in the
Rajans Declaration. The assets of the Debtors’ direct and indirect subsidiaries are not included in
the Debtors’ bankruptcy schedules.

The Debtors intend to complete a recovery of assets which were previously and improperly
transferred in contravention of express provisions of its corporate charter through an invalidated
board settlement agreement as confirmed by the Delaware Supreme Court through an en banc
unanimous decision on June 15, 2022. See Stream TV Networks, Inc. v. Seecubic, Inc., No. 360,
2021, p. 3 (Del. June 15, 2022) (Holding that “a majority vote of Class B stockholders is required
under Stream’s charter” to “transfer pledged assets to secured creditors in connection with what
was, in essence, a privately structured foreclosure transaction”).1 The Delaware Supreme Court
also held that the “agreement authorizing the secured creditors to transfer Stream’s pledged assets
. . . is invalid because Stream’s unambiguous certificate of incorporation required the approval of
Stream’s Class B stockholders.” Id.. at p. 34. (emphasis added).




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 A debt resolution committee of the Debtor’s Board of Directors purporting to act on the
Debtor’s behalf reached an unauthorized settlement enshrined in an agreement titled as the
Omnibus Agreement, dated May 6, 2021, between the Debtor’s senior secured lender, SLS
Holdings VI, LLC (“SLS”) and the Debtor’s debt resolution committee, which was which
approved by the Delaware Court of Chancery and then held to be invalid by the Delaware
Supreme Court on appeal. Prior to the Delaware Supreme Court ruling the SLS Holdings and its
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The new company formed by the purported secured lenders,2 SeeCubic, Inc. (“SeeCubic”),3
asserted an ownership interest in all of the Debtor’s assets and took possession of, and in some
cases, destroyed the Debtors’ assets. The Chancery Court, on remand and with direction from the
Delaware Supreme Court to effectuate the dismissal and vacating of its prior injunctive relief, has
made it clear that the assets must be returned both in title and possession to the Debtors.4
Furthermore, the Chancery Court on August 10, 2022, issued an Order Granting Partial Final
Judgment in favor of the Debtor. The order stated: “Pending transfer of the Assets from SeeCubic
to Stream, SeeCubic and all those acting in concert with it shall not use, impair, encumber, or
transfer the Assets, except as necessary to maintain the Assets in the ordinary course of business
and preserve their value pending transfer to Stream.” Rajan Declaration, Exhibit BB. Despite these
clear directives, the purported secured lenders have resisted and continue to resist return of the
assets.

The Debtors have also been alerted to SeeCubic’s violation of intellectual property licenses which
were held by the Debtors and were non-transferable, actions violating third party rights under
applicable Federal and state law which cannot be remedied or cleansed by the invalidated
settlement, even prior to its invalidation by the Delaware Supreme Court. Even before the
Omnibus Agreement was invalidated, the transfers themselves were invalid under both a Phillips
license to the Debtors and a Rembrandt 3D Holding Ltd. (“Rembrandt”) license, both parties not
subject to the settlement or any now invalidated injunctive relief by the Chancery Court.5

The Debtors have been subjected to continuous damage by the purported secured creditors, even
after the Supreme Court decision. SeeCubic, the purported lenders, and Mr. Shad Stastney of
SeeCubic and SLS, were held in contempt by the Delaware Court of Chancery in October 2022
for their orchestrated efforts to seize control of the Debtor’s subsidiary, TechnoVative Media, Inc.,

2
 The Debtors contend that SLS Holdings VI, LLC (“SLS”) and Hawk Investment Holdings
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  SeeCubic, Inc., a Delaware entity, took its name from a foreign Dutch subsidiary of the
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Rembrandt 3D Holding Ltd v Technovative Media, Inc., Hawk Investment Holdings Ltd. and
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in the months after the Supreme Court decision. In ¶ 3 of his October 3, 2022 Opinion, Vice
Chancellor Laster wrote: “This decision holds that SeeCubic and Hawk engaged in contumacious
conduct. Shad L. Stastney was the puppet master who pulled the strings. He controls SeeCubic
and Technovative, and he also controls SLS Holdings VI, LLC (“SLS”), Stream’s only secured
creditor other than Hawk.” See Rajan Declaration, Exhibit AA.

SLS and SeeCubic possess some and claim to have obtained possession or control of other of the
Debtor’s assets before the Petition Date. The Debtor’s investigation into the location and condition
of its assets is ongoing. The Debtors have listed the assets that they believe they continue to own,
unless otherwise expressly indicated in its bankruptcy schedules. The Debtors intend to pursue
recovery of assets and to operate their business under the provisions of the Bankruptcy Code in
this case.

Additional Notes:

1.      Because US GAAP treatment may not apply to the Debtor’s assets located in foreign
jurisdictions, the values provided for certain assets may differ from typical accounting standards.

2.     Funding advanced by the Debtors to their direct and indirect subsidiaries are reflected in
intercompany loans.

3.    The Debtors’ goodwill and similar intangible value is not reflected in the Debtors’
bankruptcy schedules.

4.     SeeCubic BV (the Netherlands) is a subsidiary of the Debtors, SeeCubic BV (the
Netherlands) is unrelated to and is a separate entity from SeeCubic Inc., a company newly formed
in Delaware by SLS Holdings, Inc.




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 Fill in this information to identify the case:
 Debtor name         Stream TV Networks, Inc.

 United States Bankruptcy Court for the: EASTERN DIST. OF PENNSYLVANIA

 Case number         23-10763                                                                                  Check if this is an
 (if known)                                                                                                        amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                        12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries
consecutively. Attach the Additional Page to this page.


1.   Does the debtor have any codebtors?
      No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
      Yes
2.   In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the
     schedules of creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is
     owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor
     separately in Column 2.

        Column 1: Codebtor                                                                    Column 2: Creditor

                                                                                                                             Check all schedules
      Name                            Mailing address                                        Name                            that apply:




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 Fill in this information to identify the case:
 Debtor name         Stream TV Networks, Inc.

 United States Bankruptcy Court for the: EASTERN DIST. OF PENNSYLVANIA

 Case number         23-10763                                 Chapter      11                                 Check if this is an
 (if known)                                                                                                       amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                         12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?

       No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property
          (Official Form 206A/B).

2.    List all contracts and unexpired leases                                          State the name and mailing address for all other
                                                                                       parties with whom the debtor has an executory
                                                                                       contract or unexpired lease

2.1       State what the contract       Supplier and CO Marketer.                      BOE
          or lease is for and the       Debtor reserves the right to assert            No. 668 RD Xinzhan
          nature of the debtor's        that a
          interest                                                                     General Pilot Zone, Heifei
                                        contract or lease is not executory.
                                        Contract to be ASSUMED                         Anhui 230012
          State the term remaining                                                     China
                                        Expires 8/2/2024
          List the contract
          number of any
          government contract

2.2       State what the contract       Lease.                                         Dell Financial Services
          or lease is for and the
                                                                                       One Dell Way
          nature of the debtor's
          interest

          State the term remaining
          List the contract
          number of any
                                                                                       Round Rock                         TX         78682
          government contract

2.3       State what the contract       Staffing Firm.                                 Game 7 Staffing
          or lease is for and the
                                                                                       1214 West 6th Street
          nature of the debtor's
          interest                                                                     Suite 210

          State the term remaining      Continuous until terminated
          List the contract
          number of any
                                                                                       Austin                             TX         78703
          government contract

2.4       State what the contract       Purchase Order.                                Google Purchase Orders
          or lease is for and the       The Debtor reserves the right to               1600 Amphitheatre Parkway
          nature of the debtor's        assert that a contract or lease is not
          interest                      executory.
                                        Contract to be ASSUMED
          State the term remaining      N/A
                                                                                       Mountain View                      CA         94043
          List the contract
          number of any
          government contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                             page 1
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Debtor       Stream TV Networks, Inc.                                             Case number (if known)   23-10763



          Additional Page if Debtor Has More Executory Contracts or Unexpired Leases
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

      List all contracts and unexpired leases                                   State the name and mailing address for all other
                                                                                parties with whom the debtor has an executory
                                                                                contract or unexpired lease

2.5       State what the contract      License to use HDMI.                     HDMI
          or lease is for and the      The Debtor reserves the right to         550 S. Winchester Boulevard
          nature of the debtor's       assert a contract or lease is not
          interest                                                              Suite 515
                                       executory.
                                       Contract to be ASSUMED
          State the term remaining     Expires 4/19/26
                                                                                San Jose                        CA        95128
          List the contract
          number of any
          government contract

2.6       State what the contract      Various study and potential              IMG Media Ltd
          or lease is for and the      marketing                                Building 6, Chiswick Park
          nature of the debtor's       services.
          interest                                                              566 Chiswick High Road
                                       The Debtor reserves the right to
                                       assert that a contract or lease is not   London, England UK W4 5HR
                                       executory.
                                       Contract to be ASSUMED
          State the term remaining     Continues until terminated
          List the contract
          number of any
          government contract

2.7       State what the contract      Customer & Comp. for investment          IQH3D
          or lease is for and the      The Debtor reserves the right to         6800 SW 40th Street
          nature of the debtor's       assert that a contract or lease is not
          interest                                                              Suite 298
                                       executory.
                                       Contract to be ASSUMED
          State the term remaining
                                                                                Miami                           FL        33155
          List the contract
          number of any
          government contract

2.8       State what the contract      Engineering Consulting Services.         JoveAI
          or lease is for and the      The Debtor reserves the right to         44081 Old Warm Springs Blvd.
          nature of the debtor's       assert that a contract or lease is not
          interest                     executory.
                                       Contract to be ASSUMED
          State the term remaining
                                                                                Fremont                         CA        94538
          List the contract
          number of any
          government contract

2.9       State what the contract      Server Farm Provider.                    MotivIT
          or lease is for and the      The Debtor reserves the right to         2880 Zanker Road
          nature of the debtor's       assert that a contract or lease is not
          interest                                                              Suite 203
                                       executory.
                                       Contract to be ASSUMED
          State the term remaining
                                                                                San Jose                        CA        95134
          List the contract
          number of any
          government contract




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Debtor        Stream TV Networks, Inc.                                             Case number (if known)   23-10763



           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases
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       List all contracts and unexpired leases                                   State the name and mailing address for all other
                                                                                 parties with whom the debtor has an executory
                                                                                 contract or unexpired lease

2.10       State what the contract      Settlement for OEM/ODM                   Pegatron Corporation
           or lease is for and the      Contract to be ASSUMED                   5F., No. 76, Ligong
           nature of the debtor's
           interest                                                              St. Beltou District
                                                                                 Taipei City 112 Taiwan
           State the term remaining
           List the contract
           number of any
           government contract

2.11       State what the contract      License Agreement                        Remrandt 3D Holdings Ltd
           or lease is for and the      The Debtor reserves the right to         128 Bull Hill Road
           nature of the debtor's       assert that a contract or lease is not
           interest                     executory.
                                        Contract to be ASSUMED
           State the term remaining
                                                                                 Newfield                        NY        14867
           List the contract
           number of any
           government contract

2.12       State what the contract      This is a verbal lease for the offices   YKP Law
           or lease is for and the      of the debtor in Philadelphia.           2009 Chestnut Street
           nature of the debtor's       Contract to be ASSUMED
           interest

           State the term remaining     Continues until terminated
           List the contract
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                                                                                 Philadelphia                    PA        19103
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GLOBAL NOTES TO SCHEDULES AND STATEMENT OF FINANCIAL AFFAIRS OF
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in the months after the Supreme Court decision. In ¶ 3 of his October 3, 2022 Opinion, Vice
Chancellor Laster wrote: “This decision holds that SeeCubic and Hawk engaged in contumacious
conduct. Shad L. Stastney was the puppet master who pulled the strings. He controls SeeCubic
and Technovative, and he also controls SLS Holdings VI, LLC (“SLS”), Stream’s only secured
creditor other than Hawk.” See Rajan Declaration, Exhibit AA.

SLS and SeeCubic possess some and claim to have obtained possession or control of other of the
Debtor’s assets before the Petition Date. The Debtor’s investigation into the location and condition
of its assets is ongoing. The Debtors have listed the assets that they believe they continue to own,
unless otherwise expressly indicated in its bankruptcy schedules. The Debtors intend to pursue
recovery of assets and to operate their business under the provisions of the Bankruptcy Code in
this case.

Additional Notes:

1.      Because US GAAP treatment may not apply to the Debtor’s assets located in foreign
jurisdictions, the values provided for certain assets may differ from typical accounting standards.

2.     Funding advanced by the Debtors to their direct and indirect subsidiaries are reflected in
intercompany loans.

3.    The Debtors’ goodwill and similar intangible value is not reflected in the Debtors’
bankruptcy schedules.

4.     SeeCubic BV (the Netherlands) is a subsidiary of the Debtors, SeeCubic BV (the
Netherlands) is unrelated to and is a separate entity from SeeCubic Inc., a company newly formed
in Delaware by SLS Holdings, Inc.




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 Fill in this information to identify the case
 Debtor name        Stream TV Networks, Inc.

 United States Bankruptcy Court for the: EASTERN DIST. OF PENNSYLVANIA

 Case number        23-10763
 (if known)                                                                                                    Check if this is an
                                                                                                                   amended filing

Official Form 206A/B
Schedule A/B: Assets -- Real and Personal Property                                                                                            12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future
interest. Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also
include assets and properties which have no book value, such as fully depreciated assets or assets that were not capitalized.
In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and
Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any
pages added, write the debtor's name and case number (if known). Also identify the form and line number to which the
additional information applies. If an additional sheet is attached, include the amounts from the attachment in the total for the
pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a
fixed asset schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset
only once. In valuing the debtor's interest, do not deduct the value of secured claims. See the instructions to understand the
terms used in this form.



 Part 1:       Cash and cash equivalents

1.   Does the debtor have any cash or cash equivalents?

      No. Go to Part 2.
      Yes. Fill in the information below.

     All cash or cash equivalents owned or controlled by the debtor                                                       Current value of
                                                                                                                          debtor's interest

2.   Cash on hand                                                                                                                     $2,362.50

3.   Checking, savings, money market, or financial brokerage accounts (Identify all)

     Name of institution (bank or brokerage firm)                  Type of account                    Last 4 digits of
                                                                                                      account number
4.   Other cash equivalents      (Identify all)

     Name of institution (bank or brokerage firm)

5.   Total of Part 1
     Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
                                                                                                                                      $2,362.50


 Part 2: Deposits and prepayments

6.   Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes. Fill in the information below.




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                Name

                                                                                                                             Current value of
                                                                                                                             debtor's interest
7.      Deposits, including security deposits and utility deposits

        Description, including name of holder of deposit

8.      Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

        Description, including name of holder of prepayment

9.      Total of Part 2.
        Add lines 7 through 8. Copy the total to line 81.
                                                                                                                                             $0.00


 Part 3: Accounts receivable

10. Does the debtor have any accounts receivable?

         No. Go to Part 4.
         Yes. Fill in the information below.
                                                                                                                             Current value of
                                                                                                                             debtor's interest
11. Accounts receivable

11a. 90 days old or less:                 $0.00               –                 $0.00                  = ..............                     $0.00
                              face amount                         doubtful or uncollectible accounts

11b. Over 90 days old:                $167,751.93             –              $54,876.93                = ..............             $112,875.00
                              face amount                         doubtful or uncollectible accounts

12. Total of Part 3
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.
                                                                                                                                     $112,875.00


 Part 4: Investments

13. Does the debtor own any investments?

         No. Go to Part 5.
         Yes. Fill in the information below.
                                                                                               Valuation method              Current value of
                                                                                               used for current value        debtor's interest
14. Mutual funds or publicly traded stocks not included in Part 1

           Name of fund or stock:
15. Non-publicly traded stock and interests in incorporated and unincorporated
    businesses, including any interest in an LLC, partnership, or joint venture

           Name of entity:                                                  % of ownership:
15.1.      Investment in Technovative Media, Inc. 99.9%
           ownership                                                                           cost                                    $25,000.00
15.2.      Investment in Ultra D Ventures C.V. 99.9%
           ownership                                                                           cost                                     $8,295.96
16. Government bonds, corporate bonds, and other negotiable and
    non-negotiable instruments not included in Part 1

           Describe:
17. Total of Part 4
    Add lines 14 through 16. Copy the total to line 83.
                                                                                                                                       $33,295.96


 Part 5: Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?

         No. Go to Part 6.
         Yes. Fill in the information below.


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     General description                        Date of the     Net book value of     Valuation method              Current value of
                                                last physical   debtor's interest     used for current value        debtor's interest
                                                inventory       (Where available)
19. Raw materials                               MM/DD/YYYY

20. Work in progress

21. Finished goods, including goods held for resale

22. Other inventory or supplies

23. Total of Part 5
    Add lines 19 through 22. Copy the total to line 84.
                                                                                                                                    $0.00

24. Is any of the property listed in Part 5 perishable?
     No
     Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
     No
     Yes. Book value                             Valuation method                                   Current value

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     No
     Yes
 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming or fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes. Fill in the information below.
     General description                                        Net book value of     Valuation method              Current value of
                                                                debtor's interest     used for current value        debtor's interest
                                                                (Where available)
28. Crops--either planted or harvested

29. Farm animals Examples: Livestock, poultry, farm-raised fish

30. Farm machinery and equipment (Other than titled motor vehicles)

31. Farm and fishing supplies, chemicals, and feed

32. Other farming and fishing-related property not already listed in Part 6

33. Total of Part 6.
    Add lines 28 through 32. Copy the total to line 85.
                                                                                                                                    $0.00

34. Is the debtor a member of an agricultural cooperative?
     No
     Yes. Is any of the debtor's property stored at the cooperative?
               No
               Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
     No
     Yes. Book value                             Valuation method                                   Current value

36. Is a depreciation schedule available for any of the property listed in Part 6?
     No
     Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
     No
     Yes


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 Part 7: Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes. Fill in the information below.
     General description                                            Net book value of    Valuation method              Current value of
                                                                    debtor's interest    used for current value        debtor's interest
                                                                    (Where available)
39. Office furniture

40. Office fixtures

41. Office equipment, including all computer equipment and
    communication systems equipment and software

     See Schedule 1 attached                                                                                                   $105,981.38
42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles

43. Total of Part 7.
    Add lines 39 through 42. Copy the total to line 86.
                                                                                                                               $105,981.38

44. Is a depreciation schedule available for any of the property listed in Part 7?
     No
     Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     No
     Yes
 Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes. Fill in the information below.
     General description                                            Net book value of    Valuation method              Current value of
     Include year, make, model, and identification numbers          debtor's interest    used for current value        debtor's interest
     (i.e., VIN, HIN, or N-number)                                  (Where available)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
48. Watercraft, trailers, motors, and related accessories Examples: Boats
    trailers, motors, floating homes, personal watercraft, and fishing vessels

49. Aircraft and accessories

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

     See Schedule 2 attached.                                                                                                $5,889,159.26
51. Total of Part 8.
    Add lines 47 through 50. Copy the total to line 87.
                                                                                                                             $5,889,159.26

52. Is a depreciation schedule available for any of the property listed in Part 8?
     No
     Yes
53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     No
     Yes


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 Part 9: Real property

54. Does the debtor own or lease any real property?

       No. Go to Part 10.
       Yes. Fill in the information below.
55.    Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
       Description and location of property          Nature and extent       Net book value of     Valuation method       Current value of
       Include street address or other description   of debtor's interest    debtor's interest     used for current       debtor's interest
       such as Assessor Parcel Number (APN),         in property             (Where available)     value
       and type of property (for example,
       acreage, factory, warehouse, apartment or
       office building), if available.

55.1. 2009 Chestnut Street,
       3rd Floor,
       Philadelphia, PA
       19103
       Leased Office                                 lease                                $0.00                                           $0.00
55.2. 2726 Bayview Drive,
       Fremont, CA 94538
       Leased Office                                 lease                                $0.00                                           $0.00
55.3. No.1-B Factory,
       High-tech Zone,
       Suzhou City, Jiangsu
       Province, China
       Leased Factory                                lease                                $0.00                                           $0.00
56. Total of Part 9.
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.
                                                                                                                                          $0.00

57. Is a depreciation schedule available for any of the property listed in Part 9?
     No
     Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
     No
     Yes
Part 10: Intangibles and Intellectual Property

59. Does the debtor have any interests in intangibles or intellectual property?

       No. Go to Part 11.
       Yes. Fill in the information below.
      General description                                          Net book value of      Valuation method                Current value of
                                                                   debtor's interest      used for current value          debtor's interest
                                                                   (Where available)
60. Patents, copyrights, trademarks, and trade secrets

61. Internet domain names and websites

62. Licenses, franchises, and royalties

63. Customer lists, mailing lists, or other compilations

64. Other intangibles, or intellectual property




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65. Goodwill

66. Total of Part 10.
    Add lines 60 through 65. Copy the total to line 89.
                                                                                                                                           $0.00

67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
     No
     Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
     No
     Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
     No
     Yes
Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes. Fill in the information below.
                                                                                                                           Current value of
                                                                                                                           debtor's interest
71. Notes receivable

     Description (include name of obligor)

     See Schedule 3 attached                                       $85,477,544.36      –                      $0.00   =         $85,477,544.36
                                                                  Total face amount    doubtful or uncollectible amount
72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

     Federal NOL carryforward-not reflected on Company Balance Sheet                               Tax year      2018         $118,566,740.00
73. Interests in insurance policies or annuities

     Business General Liability Insurance
     Hiscox Insurance Company, Inc.
     Email: Dain.Wise@insurica.com
     Phone: 405-310-1583
     Policy No. P101.635.923                                                                                                               $0.00
74. Causes of action against third parties (whether or not a lawsuit has been filed)

75. Other contingent and unliquidated claims or causes of action of every nature,
    including counterclaims of the debtor and rights to set off claims

76. Trusts, equitable or future interests in property

77. Other property of any kind not already listed Examples: Season tickets, country club membership

     Interest in SeeCubic, Inc. with no attributable value                                                                                 $0.00
78. Total of Part 11.
    Add lines 71 through 77. Copy the total to line 90.
                                                                                                                              $204,044,284.36

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
     No
     Yes




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Debtor          Stream TV Networks, Inc.                                                                        Case number (if known)       23-10763
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Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.

      Type of property                                                         Current value of                         Current value of
                                                                               personal property                        real property


80. Cash, cash equivalents, and financial assets.                                        $2,362.50
    Copy line 5, Part 1.

81. Deposits and prepayments. Copy line 9, Part 2.                                             $0.00

82. Accounts receivable. Copy line 12, Part 3.                                        $112,875.00

83. Investments. Copy line 17, Part 4.                                                  $33,295.96

84. Inventory. Copy line 23, Part 5.                                                           $0.00

85. Farming and fishing-related assets.                                                        $0.00
    Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment;                                        $105,981.38
    and collectibles. Copy line 43, Part 7.

87. Machinery, equipment, and vehicles.                                            $5,889,159.26
    Copy line 51, Part 8.

88. Real property. Copy line 56, Part 9................................................................                              $0.00

89. Intangibles and intellectual property.                                                     $0.00
    Copy line 66, Part 10.

90. All other assets. Copy line 78, Part 11.                                  + $204,044,284.36
91. Total. Add lines 80 through 90 for each column.                    91a.     $210,187,958.46             +    91b.                 $0.00


92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.......................................................................................   $210,187,958.46




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  @X8XW8XB@a :GYY                1.;C@@g[A       7\OGf1+         /;ÿ+IDVÿCÿ/2hXXAÿCÿÿ1+ÿ/IJfIJRÿ1HRDYYDOG\HLÿ/IONUÿPÿ0\VVGRRG\HGH]                                                   @ABBCBBCBBÿ7DEFGHIJKLÿMNJHGONJIÿPÿMGQNJIR`@ABBC@BCBBÿ   XBBBBÿXBBBCBBCBBÿ*EE\NHORÿ    XL@X[^BB XL@X[^BB               XL@X[^BB           B^BB
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  @X8A@8XB@a b\NJHDYÿ,HOJK XB[g                                  -IE\Jdÿ0DUGODYÿ9IDRIÿCÿ)IYYÿ/IJfIJRÿS\JÿMJIV\HOÿ2SSGEIÿi/;ÿ+IDVj                                                    @ABBCBBCBBÿ7DEFGHIJKLÿMNJHGONJIÿPÿMGQNJIR`@ABBC@BCBBÿ   C/UYGOC                      eWLXg@^gX ecLAag^gX             eWLXg@^gX           B^BB
                                                                                                                                                                                     2SSGEIÿ,TNGUVIHO
  BA8A@8XB@c b\NJHDYÿ,HOJK X@Bg                                  *EEJNDYÿDddGOG\HDYÿEDUGODYÿIQUIHdGONJIRÿS\Jÿ)IYYÿEDUGODYÿYIDRIÿQBBAÿCÿ9IDRI5DKVIHOZ@ÿ1HOIJGVÿ-IHOÿ0\ROR             @ABBCBBCBBÿ7DEFGHIJKLÿMNJHGONJIÿPÿMGQNJIR`@ABBC@BCBBÿ   C/UYGOC                         XAg^A@ ecLgXX^cA                XAg^A@           B^BB
                                                                                                                                                                                     2SSGEIÿ,TNGUVIHO
  BA8A@8XB@c b\NJHDYÿ,HOJK X@Bg                                  *EEJNDYÿDddGOG\HDYÿEDUGODYÿIQUIHdGONJIRÿS\Jÿ)IYYÿEDUGODYÿYIDRIÿQBBAÿCÿ7\OGf1+ÿ1Hf\GEIÿZÿ1.;C@@a[g                   @ABBCBBCBBÿ7DEFGHIJKLÿMNJHGONJIÿPÿMGQNJIR`@ABBC@BCBBÿ   C/UYGOC                       XLWBB^BB [XLAXX^cA              XLWBB^BB           B^BB
                                                                                                                                                                                     2SSGEIÿ,TNGUVIHO
  BA8A@8XB@c b\NJHDYÿ,HOJK X@B[                                  -IE\Jdÿ0DUGODYÿ9IDRIÿCÿ)IYYÿMGHDHEIÿ9IDRIÿZÿBBACcBXgXgACBBXÿCÿ)IYYÿ2JdIJÿZÿeg[cgaAWWÿCÿ+FJIIÿiAjÿ)IYYÿ5\kIJ,d]Iÿ    @ABBCBBCBBÿ7DEFGHIJKLÿMNJHGONJIÿPÿMGQNJIR`@ABBC@BCBBÿ   C/UYGOC                      [ALg[a^e[ @B[Lca@^Aa            [ALg[a^e[           B^BB
                                                                 eeBÿ/IJfIJRÿi/;ÿ+IDVÿ2SSGEIj                                                                                        2SSGEIÿ,TNGUVIHO
  Be8B@8XB@c b\NJHDYÿ,HOJK X@Bg-                                 *EEJNDYÿDddGOG\HDYÿEDUGODYÿIQUIHdGONJIRÿS\Jÿ)IYYÿEDUGODYÿYIDRIÿQBBAÿCÿ7\OGf1+ÿ1Hf\GEIÿZÿ1.;C@@a[g                   @ABBCBBCBBÿ7DEFGHIJKLÿMNJHGONJIÿPÿMGQNJIR`@ABBC@BCBBÿ   C/UYGOC                      CXLWBB^BB @BALXa@^Aa            CXLWBB^BB           B^BB
                                                                                                                                                                                     2SSGEIÿ,TNGUVIHO
  Be8B@8XB@c b\NJHDYÿ,HOJK X@Bg-                                 *EEJNDYÿDddGOG\HDYÿEDUGODYÿIQUIHdGONJIRÿS\Jÿ)IYYÿEDUGODYÿYIDRIÿQBBAÿCÿ9IDRI5DKVIHOZ@ÿ1HOIJGVÿ-IHOÿ0\ROR             @ABBCBBCBBÿ7DEFGHIJKLÿMNJHGONJIÿPÿMGQNJIR`@ABBC@BCBBÿ   C/UYGOC                        CXAg^A@ @BALBe[^BW              CXAg^A@           B^BB
                                                                                                                                                                                     2SSGEIÿ,TNGUVIHO
  Be8B@8XB@c :GYY                1.;C@@a[g       7\OGf1+         5J\SIRRG\HDYÿ/IJfGEIRÿCÿ/IJfIJRÿ1HRODYYDOG\HLÿ/IOCNUÿPÿ0\VVGRRG\HGH]                                                @ABBCBBCBBÿ7DEFGHIJKLÿMNJHGONJIÿPÿMGQNJIR`@ABBC@BCBBÿ   XBBBBÿXBBBCBBCBBÿ*EE\NHORÿ    XLWBB^BB @B[LWe[^BW             XLWBB^BB           B^BB
                                                                 Cÿ/+;C);l-+9                                                                                                        2SSGEIÿ,TNGUVIHO                                        5DKD_YI
                                                                 Cÿ/+;C/hlMh
                                                                 Cÿ/+;C:0m.)
  Be8Xg8XB@c :GYY                QBBXC9IDRIÿ5KVOÿ)IYYÿMGHDHEGDYÿ )IYYÿ2JdIJÿZÿeg[cgaAWWÿCÿ5\kIJ,d]Iÿ-eeBÿ/IJfIJÿi@ÿ\SÿAjÿCÿ1HOIJGVÿ-IHOÿiA8X[8XB@cÿO\ÿA8A@8XB@cj                     @ABBCBBCBBÿ7DEFGHIJKLÿMNJHGONJIÿPÿMGQNJIR`@ABBC@BCBBÿ   XBBBBÿXBBBCBBCBBÿ*EE\NHORÿ      Wa^WW @B[LaXA^ae                Wa^WW            B^BB
                                 Zÿ@             /IJfGEIR                                                                                                                            2SSGEIÿ,TNGUVIHO                                        5DKD_YI
  Be8Xg8XB@c :GYY                QBBXC9IDRIÿ5KVOÿ)IYYÿMGHDHEGDYÿ )IYYÿ2JdIJÿZÿeg[cgaAWWÿCÿ5\kIJ,d]Iÿ-eeBÿ/IJfIJÿiXÿ\SÿAjÿCÿ1HOIJGVÿ-IHOÿiA8X[8XB@cÿO\ÿA8A@8XB@cj                     @ABBCBBCBBÿ7DEFGHIJKLÿMNJHGONJIÿPÿMGQNJIR`@ABBC@BCBBÿ   XBBBBÿXBBBCBBCBBÿ*EE\NHORÿ      Wa^WW @B[LcBX^g@                Wa^WW            B^BB
                                 Zÿ@             /IJfGEIR                                                                                                                            2SSGEIÿ,TNGUVIHO                                        5DKD_YI
  Be8Xg8XB@c :GYY                QBBXC9IDRIÿ5KVOÿ)IYYÿMGHDHEGDYÿ )IYYÿ2JdIJÿZÿeg[cgaAWWÿCÿ5\kIJ,d]Iÿ-eeBÿ/IJfIJÿiAÿ\SÿAjÿCÿ1HOIJGVÿ-IHOÿiA8X[8XB@cÿO\ÿA8A@8XB@cj                     @ABBCBBCBBÿ7DEFGHIJKLÿMNJHGONJIÿPÿMGQNJIR`@ABBC@BCBBÿ   XBBBBÿXBBBCBBCBBÿ*EE\NHORÿ      Wa^WW @B[Lca@^Aa                Wa^WW            B^BB
                                 Zÿ@             /IJfGEIR                                                                                                                            2SSGEIÿ,TNGUVIHO                                        5DKD_YI




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ABCCDCCDCCÿ8EFGHIJKLMÿNOKIHPOKJÿQÿNHROKJS
 AT9BA9TCAU VWOKIEXÿ-IPKL AUYZ                                         +[PJKÿEÿ\JPEHXÿKJ]HJ^ÿW[ÿPGJÿ6J_EPKWIÿJR`JISJSÿEI\ÿ\HSFOSSHWIÿ^HPGÿ8EIE_JaJIPÿSWaJÿW[ÿPGJÿEaWOIPSÿJR`JISJ\ÿPWÿ.Q*ÿESÿPGJLÿKJXEPJÿPWÿ6J_EPKWIÿGE]JÿbJJIÿ    ABCCDCCDCCÿ8EFGHIJKLMÿNOKIHPOKJÿQÿNHROKJS D0`XHPD              YdMeTdcYf YdMeTdcYf               YdMeTdcYf    CcCC
                                                                       KJFXESSH[HJ\ÿPWÿNHRJ\ÿ+SSJPSMÿ126ÿEI\ÿ6KJ`EH\ÿ3PGJKc
 AT9BA9TCAU VWOKIEXÿ-IPKL AUYZ                                         +[PJKÿEÿ\JPEHXÿKJ]HJ^ÿW[ÿPGJÿ6J_EPKWIÿJR`JISJSÿEI\ÿ\HSFOSSHWIÿ^HPGÿ8EIE_JaJIPÿSWaJÿW[ÿPGJÿEaWOIPSÿJR`JISJ\ÿPWÿ.Q*ÿESÿPGJLÿKJXEPJÿPWÿ6J_EPKWIÿGE]JÿbJJIÿ    ABCCDCCDCCÿ8EFGHIJKLMÿNOKIHPOKJÿQÿNHROKJS D0`XHPD             TeZMBTBceY BYTMTUAcYZ             TeZMBTBceY    CcCC
                                                                       KJFXESSH[HJ\ÿPWÿNHRJ\ÿ+SSJPSMÿ126ÿEI\ÿ6KJ`EH\ÿ3PGJKc
 AT9BA9TCAU VWOKIEXÿ-IPKL AUYZ                                         +[PJKÿEÿ\JPEHXÿKJ]HJ^ÿW[ÿPGJÿ6J_EPKWIÿJR`JISJSÿEI\ÿ\HSFOSSHWIÿ^HPGÿ8EIE_JaJIPÿSWaJÿW[ÿPGJÿEaWOIPSÿJR`JISJ\ÿPWÿ.Q*ÿESÿPGJLÿKJXEPJÿPWÿ6J_EPKWIÿGE]JÿbJJIÿ    ABCCDCCDCCÿ8EFGHIJKLMÿNOKIHPOKJÿQÿNHROKJS D0`XHPD             ZdZMYACcZU YUdMCfTcTe             ZdZMYACcZU    CcCC
                                                                       KJFXESSH[HJ\ÿPWÿNHRJ\ÿ+SSJPSMÿ126ÿEI\ÿ6KJ`EH\ÿ3PGJKc
 Cf9BC9TCAf VWOKIEXÿ-IPKL AfeT                                         +FFKOJÿKJaEHIHI_ÿ1WKJPKWIHFSÿ,WWXHI_ÿ̀ELaJIP                                                                                                               ABCCDCCDCCÿ8EFGHIJKLMÿNOKIHPOKJÿQÿNHROKJS D0`XHPD             BfTMCCCcCC AMTAeMCfTcTe           BfTMCCCcCC    CcCC
 Cf9BC9TCAf VWOKIEXÿ-IPKL AfeT                                         .JFXESSÿEaWOIPSÿ̀EH\ÿPWÿ6J_EPKWIÿ[WKÿ1GEHSSJ                                                                                                               ABCCDCCDCCÿ8EFGHIJKLMÿNOKIHPOKJÿQÿNHROKJS D0`XHPD             AfTMCBCcCC AMBYAMCeTcTe           AfTMCBCcCC    CcCC
 Cf9BC9TCAf VWOKIEXÿ-IPKL AfeT                                         +FFKOJÿKJaEHIHI_ÿ6J_EPKWIÿ1GEHSSJÿ̀ELaJIP                                                                                                                  ABCCDCCDCCÿ8EFGHIJKLMÿNOKIHPOKJÿQÿNHROKJS D0`XHPD             BdYMCdCcCC AMdUeMAfTcTe           BdYMCdCcCC    CcCC
 Cf9BC9TCAf VWOKIEXÿ-IPKL AfeT                                         .JFXESSÿEaWOIPSÿ̀EH\ÿPWÿ1WKJPKWIHFSÿ[WKÿ,WWXHI_                                                                                                            ABCCDCCDCCÿ8EFGHIJKLMÿNOKIHPOKJÿQÿNHROKJS D0`XHPD             UZBMCCCcCC TMBCTMAfTcTe           UZBMCCCcCC    CcCC
 AT9BA9TCAd VWOKIEXÿ-IPKL Aedd                                         .JFWK\ÿEFFKOEXÿW[ÿFKJ\HPÿ\OJÿWIÿEFFWOIPSÿ̀ELEbXJÿbEXEIFJÿ\OJÿPWÿ1WKJPKWIHFSMÿ̀JKÿSPEPJaJIPÿ̀KW]H\J\ÿbLÿ]JI\WKc                                             ABCCDCCDCCÿ8EFGHIJKLMÿNOKIHPOKJÿQÿNHROKJS D0`XHPD              DTMCCCcCC TMBCCMAfTcTe            DTMCCCcCC    CcCC
 CA9CA9TCAY VWOKIEXÿ-IPKL Aedd.                                        .JFWK\ÿEFFKOEXÿW[ÿFKJ\HPÿ\OJÿWIÿEFFWOIPSÿ̀ELEbXJÿbEXEIFJÿ\OJÿPWÿ1WKJPKWIHFSMÿ̀JKÿSPEPJaJIPÿ̀KW]H\J\ÿbLÿ]JI\WKc                                             ABCCDCCDCCÿ8EFGHIJKLMÿNOKIHPOKJÿQÿNHROKJS D0`XHPD               TMCCCcCC TMBCTMAfTcTe             TMCCCcCC    CcCC
 CB9BA9TCAY VWOKIEXÿ-IPKL AeeZ                                         .JFXESSÿ1WKJPKWIHFÿ1KJ\HPÿPWÿ1WKKJFPÿN+ÿ+FFWOIP                                                                                                            ABCCDCCDCCÿ8EFGHIJKLMÿNOKIHPOKJÿQÿNHROKJS D0`XHPD              DTMCCCcCC TMBCCMAfTcTe            DTMCCCcCC    CcCC
 ABCCDCCDAAÿ2HIOaEÿ8EFGHIJS
  CA9AZ9TCAf ;HXX           6ELaJIPÿA      2HIOaEÿ?EO_Jÿ           6ELaJIPÿA                                                                                                                                                      ABCCDCCDCCÿ8EFGHIJKLMÿNOKIHPOKJÿQÿ        TCCCCÿTCCCDCCDCCÿ fBeMUAecUC fBeMUAecUC                fBeMUAecUC   CcCC
                                           8EIO[EFPOKHI_ÿ1WcMÿ:P\                                                                                                                                                                 NHROKJSgABCCDCCDAAÿ2HIOaEÿ8EFGHIJS        +FFWOIPSÿ6ELEbXJ
  CA9Tf9TCAf VWOKIEXÿ-IPKL AYZf                                    +FFKOEXÿ[WKÿ86:ÿDÿ,Ja`ÿ1WIPKWX                                                                                                                                 ABCCDCCDCCÿ8EFGHIJKLMÿNOKIHPOKJÿQÿ        D0`XHPD               YYMUfTcdU dTYMCYTcTU              YYMUfTcdU   CcCC
                                                                                                                                                                                                                                  NHROKJSgABCCDCCDAAÿ2HIOaEÿ8EFGHIJS
  CA9Tf9TCAf VWOKIEXÿ-IPKL AYZf                                    +FFKOEXÿ[WKÿ86:ÿDÿ6ESSH]Jÿ+XH_IaJIP                                                                                                                            ABCCDCCDCCÿ8EFGHIJKLMÿNOKIHPOKJÿQÿ        D0`XHPD               fBMeBBcYd deTMCAfcAT              fBMeBBcYd   CcCC
                                                                                                                                                                                                                                  NHROKJSgABCCDCCDAAÿ2HIOaEÿ8EFGHIJS
  CA9Tf9TCAf VWOKIEXÿ-IPKL AYZf                                    +FFKOEXÿ[WKÿ86:ÿDÿ2ISPEXXEPHWI                                                                                                                                 ABCCDCCDCCÿ8EFGHIJKLMÿNOKIHPOKJÿQÿ        D0`XHPD               eTMdYCcCB YYZMdefcAU              eTMdYCcCB   CcCC
                                                                                                                                                                                                                                  NHROKJSgABCCDCCDAAÿ2HIOaEÿ8EFGHIJS
  CA9Tf9TCAf ;HXX                          2HIOaEÿ?EO_Jÿ           6EKPHEXÿTI\ÿ6ELaJIPÿ6JKÿ2I]WHFJÿhÿVEIÿTfMÿTCAf                                                                                                                 ABCCDCCDCCÿ8EFGHIJKLMÿNOKIHPOKJÿQÿ        TCCCCÿTCCCDCCDCCÿ dCeMdTUcAC AMUeZMUTAcTU              dCeMdTUcAC   CcCC
                                           8EIO[EFPOKHI_ÿ1WcMÿ:P\                                                                                                                                                                 NHROKJSgABCCDCCDAAÿ2HIOaEÿ8EFGHIJS        +FFWOIPSÿ6ELEbXJ
  CA9Tf9TCAf VWOKIEXÿ-IPKL AYZf                                    +\\HPHWIEXÿEFFKOEXÿIJJ\J\ÿ[WKÿ86:                                                                                                                              ABCCDCCDCCÿ8EFGHIJKLMÿNOKIHPOKJÿQÿ        D0`XHPD            fMATBMdfZcYU dMdAYMTYfcAC         fMATBMdfZcYU   CcCC
                                                                                                                                                                                                                                  NHROKJSgABCCDCCDAAÿ2HIOaEÿ8EFGHIJS
  CU9CA9TCAf VWOKIEXÿ-IPKL AYAB                                    .JFXESSÿJR`JISJÿ̀KJ]HWOSXLÿKJFWK\ÿPWÿ.*ÿ^GHFGÿHSÿEÿNHRJ\ÿ+SSJP                                                                                                 ABCCDCCDCCÿ8EFGHIJKLMÿNOKIHPOKJÿQÿ        D0`XHPD               TTMZdYcYd dMdZCMdfZced            TTMZdYcYd   CcCC
                                                                                                                                                                                                                                  NHROKJSgABCCDCCDAAÿ2HIOaEÿ8EFGHIJS
  Cf9BC9TCAf VWOKIEXÿ-IPKL AYZd                                    .J]JKSJÿ86:ÿEFFKOEXÿKJFWK\J\ÿHIÿV-ÿAfeT                                                                                                                        ABCCDCCDCCÿ8EFGHIJKLMÿNOKIHPOKJÿQÿ        D0`XHPD           DfMdCUMBCCcYU AMCBUMZfZcAT        DfMdCUMBCCcYU   CcCC
                                                                                                                                                                                                                                  NHROKJSgABCCDCCDAAÿ2HIOaEÿ8EFGHIJS
  Cf9BC9TCAf VWOKIEXÿ-IPKL AdTf                                    1E`HPEXHiJÿ<+,ÿESSWFHEPJ\ÿ^HPGÿ867                                                                                                                             ABCCDCCDCCÿ8EFGHIJKLMÿNOKIHPOKJÿQÿ        D0`XHPD            AMUCBMZCCcTd TMUBYMYfZcBe         AMUCBMZCCcTd   CcCC
                                                                                                                                                                                                                                  NHROKJSgABCCDCCDAAÿ2HIOaEÿ8EFGHIJS
  Cf9BC9TCAf VWOKIEXÿ-IPKL AfeT                                    +FFKOJÿKJaEHIHI_ÿ2HIOaEÿ867ÿ̀ELaJIP                                                                                                                            ABCCDCCDCCÿ8EFGHIJKLMÿNOKIHPOKJÿQÿ        D0`XHPD            fMdCUMBCCcYU eMTZZMAfUcTZ         fMdCUMBCCcYU   CcCC
                                                                                                                                                                                                                                  NHROKJSgABCCDCCDAAÿ2HIOaEÿ8EFGHIJS
  CA9CA9TCAd ;HXX           +6.<D6ELaJIPÿ 2HIOaEÿ?EO_Jÿ            6ELaJIPÿhÿAÿ̀JKÿPGJÿEaJI\J\ÿE_KJJaJIPÿ\OEXXLÿSH_IJ\ÿlÿB9Y9AdÿJ[[JFPH]JÿESÿW[ÿAT9BA9Af                                                                          ABCCDCCDCCÿ8EFGHIJKLMÿNOKIHPOKJÿQÿ        TCCCDCCDCUÿ          BTBMUYCceB eMUfdMdZfcAd           BTBMUYCceB   CcCC
                            hA             8EIO[EFPOKHI_ÿ1WcMÿ:P\ÿ                                                                                                                                                                NHROKJSgABCCDCCDAAÿ2HIOaEÿ8EFGHIJS        +FFWOIPSÿ6ELEbXJÿ
                                           jV65k                                                                                                                                                                                                                            jV65k
  CA9CA9TCAd ;HXX           +6.<D6ELaJIPÿ 2HIOaEÿ?EO_Jÿ            6ELaJIPÿhÿTÿ̀JKÿSFGJ\OXJÿWOPXHIJÿHIÿEaJI\aJIPÿ\OEXXLÿSH_IJ\ÿlÿB9Y9AdÿJ[[JFPH]JÿW[ÿAT9BA9TCAf                                                                   ABCCDCCDCCÿ8EFGHIJKLMÿNOKIHPOKJÿQÿ        TCCCDCCDCUÿ          BTBMUYCceB eMYeAMBTdcAC          BTBMUYCceB    CcCC
                            hT             8EIO[EFPOKHI_ÿ1WcMÿ:P\ÿ                                                                                                                                                                NHROKJSgABCCDCCDAAÿ2HIOaEÿ8EFGHIJS        +FFWOIPSÿ6ELEbXJÿ
                                           jV65k                                                                                                                                                                                                                            jV65k
  CA9CA9TCAd ;HXX           +6.<D6ELaJIPÿ 2HIOaEÿ?EO_Jÿ            6ELaJIPÿhÿBÿ̀JKÿSFGJ\OXJÿWOPXHIJÿHIÿEaJI\aJIPÿ\OEXXLÿSH_IJ\ÿlÿB9Y9AdÿJ[[JFPH]JÿW[ÿAT9BA9TCAf                                                                   ABCCDCCDCCÿ8EFGHIJKLMÿNOKIHPOKJÿQÿ        TCCCDCCDCUÿ          eAUMZACcfU ACMYCfMdBdcdU         eAUMZACcfU    CcCC
                            hB             8EIO[EFPOKHI_ÿ1WcMÿ:P\ÿ                                                                                                                                                                NHROKJSgABCCDCCDAAÿ2HIOaEÿ8EFGHIJS        +FFWOIPSÿ6ELEbXJÿ
                                           jV65k                                                                                                                                                                                                                            jV65k
  CA9CA9TCAd ;HXX           +6.<D6ELaJIPÿ 2HIOaEÿ?EO_Jÿ            6ELaJIPÿhÿZÿ̀JKÿSFGJ\OXJÿWOPXHIJÿHIÿEaJI\aJIPÿ\OEXXLÿSH_IJ\ÿlÿB9Y9AdÿJ[[JFPH]JÿW[ÿAT9BA9TCAf                                                                   ABCCDCCDCCÿ8EFGHIJKLMÿNOKIHPOKJÿQÿ        TCCCDCCDCUÿ          UACMZYTcYe AAMBAdMTTCcfZ         UACMZYTcYe    CcCC
                            hZ             8EIO[EFPOKHI_ÿ1WcMÿ:P\ÿ                                                                                                                                                                NHROKJSgABCCDCCDAAÿ2HIOaEÿ8EFGHIJS        +FFWOIPSÿ6ELEbXJÿ
                                           jV65k                                                                                                                                                                                                                            jV65k
  CB9CB9TCAd ;HXX           86:ÿ6ELaJIPÿhT 2HIOaEÿ?EO_Jÿ           86:ÿ6ELaJIPÿhTÿ+`KHXÿAeMÿTCAd                                                                                                                                  ABCCDCCDCCÿ8EFGHIJKLMÿNOKIHPOKJÿQÿ        TCCCCÿTCCCDCCDCCÿ BUfMTYUcCC AAMfdBMUCUcfZ             BUfMTYUcCC   CcCC
                                           8EIO[EFPOKHI_ÿ1WcMÿ:P\                                                                                                                                                                 NHROKJSgABCCDCCDAAÿ2HIOaEÿ8EFGHIJS        +FFWOIPSÿ6ELEbXJ
  CB9CB9TCAd ;HXX           86:ÿ6ELaJIPhA 2HIOaEÿ?EO_Jÿ            86:ÿ̀ELaJIPÿhAÿ8EKFGÿTeMÿTCAd                                                                                                                                  ABCCDCCDCCÿ8EFGHIJKLMÿNOKIHPOKJÿQÿ        TCCCCÿTCCCDCCDCCÿ BUfMTYUcCC ATMCTeMdeCcfZ             BUfMTYUcCC   CcCC
                                           8EIO[EFPOKHI_ÿ1WcMÿ:P\                                                                                                                                                                 NHROKJSgABCCDCCDAAÿ2HIOaEÿ8EFGHIJS        +FFWOIPSÿ6ELEbXJ
  CB9CB9TCAd ;HXX           86:ÿ6ELaJIPhB 2HIOaEÿ?EO_Jÿ            86:ÿ6ELaJIPhBÿ8ELÿAUMÿTCAd                                                                                                                                     ABCCDCCDCCÿ8EFGHIJKLMÿNOKIHPOKJÿQÿ        TCCCCÿTCCCDCCDCCÿ AMCCdMeBAcCC ABMCBdMdTAcfZ         AMCCdMeBAcCC   CcCC
                                           8EIO[EFPOKHI_ÿ1WcMÿ:P\                                                                                                                                                                 NHROKJSgABCCDCCDAAÿ2HIOaEÿ8EFGHIJS        +FFWOIPSÿ6ELEbXJ
  CB9CY9TCAd <JI\WKÿ1KJ\HP <1TCAdCBCBDB 2HIOaEÿ?EO_Jÿ              .J]JKSJÿ;HXXÿhÿ86:ÿ6ELaJIPÿhÿB                                                                                                                                 ABCCDCCDCCÿ8EFGHIJKLMÿNOKIHPOKJÿQÿ        TCCCCÿTCCCDCCDCCÿ DAMCCdMeBAcCC ATMCTeMdeCcfZ       DAMCCdMeBAcCC   CcCC
                                           8EIO[EFPOKHI_ÿ1WcMÿ:P\                                                                                                                                                                 NHROKJSgABCCDCCDAAÿ2HIOaEÿ8EFGHIJS        +FFWOIPSÿ6ELEbXJ
  CB9CY9TCAd <JI\WKÿ1KJ\HP <1TCAdCBCBDA 2HIOaEÿ?EO_Jÿ              .J]JKSJÿ;HXXÿhÿ86:ÿ6ELaJIPhA                                                                                                                                   ABCCDCCDCCÿ8EFGHIJKLMÿNOKIHPOKJÿQÿ        TCCCCÿTCCCDCCDCCÿ DBUfMTYUcCC AAMfdBMUCUcfZ           DBUfMTYUcCC   CcCC
                                           8EIO[EFPOKHI_ÿ1WcMÿ:P\                                                                                                                                                                 NHROKJSgABCCDCCDAAÿ2HIOaEÿ8EFGHIJS        +FFWOIPSÿ6ELEbXJ
  CB9CY9TCAd <JI\WKÿ1KJ\HP <1TCAfCATf 2HIOaEÿ?EO_Jÿ                .J]JKSJÿW[ÿ2HIOaEÿ?EO_Jÿ8EIO[EFPOKHI_ÿ1WcMÿ:P\ÿ^HPGÿbXEImÿ;HXXÿ/Wc                                                                                             ABCCDCCDCCÿ8EFGHIJKLMÿNOKIHPOKJÿQÿ        TCCCCÿTCCCDCCDCCÿ DBUTMUUZcZC AAMBTCMeUAcTZ           DBUTMUUZcZC   CcCC
                                           8EIO[EFPOKHI_ÿ1WcMÿ:P\                                                                                                                                                                 NHROKJSgABCCDCCDAAÿ2HIOaEÿ8EFGHIJS        +FFWOIPSÿ6ELEbXJ
  CB9CY9TCAd <JI\WKÿ1KJ\HP <1TCAdCBCBDT 2HIOaEÿ?EO_Jÿ              .J]JKSJÿ;HXXÿhÿ86:ÿ6ELaJIPÿhÿT                                                                                                                                 ABCCDCCDCCÿ8EFGHIJKLMÿNOKIHPOKJÿQÿ        TCCCCÿTCCCDCCDCCÿ DBUfMTYUcCC ACMefZMfffcTZ           DBUfMTYUcCC   CcCC
                                           8EIO[EFPOKHI_ÿ1WcMÿ:P\                                                                                                                                                                 NHROKJSgABCCDCCDAAÿ2HIOaEÿ8EFGHIJS        +FFWOIPSÿ6ELEbXJ
  CB9BA9TCAd VWOKIEXÿ-IPKL AdZZ                                    +\nOSPÿKJaEHIHI_ÿEFFKOEXÿ[WKÿ2HIOaEÿ867ÿ̀ELaJIP                                                                                                                ABCCDCCDCCÿ8EFGHIJKLMÿNOKIHPOKJÿQÿ        D0`XHPD           DAMdTCMUCAcCC eMTZZMAfUcTZ        DAMdTCMUCAcCC   CcCC
                                                                                                                                                                                                                                  NHROKJSgABCCDCCDAAÿ2HIOaEÿ8EFGHIJS
 ABCCDCCDABÿ0aEXXÿ6KW\OFPHWIÿ7IHP
  AT9BA9TCAU VWOKIEXÿ-IPKL AUdA                                        *OKHI_ÿPGJÿKJ]HJ^ÿW[ÿPGJÿAZACDCCDTCÿ0Ea`XJÿ>EK\^EKJÿEFFWOIPÿEÿ\JFHSHWI^ESÿaE\JÿPWÿKJFXESSÿPGJSJÿ̀KJ]HWOSXLÿFE`HPEXHiJ\ÿEaWOIPSÿPWÿ0Ea`XJÿ-R`JISJMÿ^GHFGÿ   ABCCDCCDCCÿ8EFGHIJKLMÿNOKIHPOKJÿQÿ       D0`XHPD               BdMAYBcUC BdMAYBcUC               BdMAYBcUC    CcCC
                                                                       KWXXSÿO`ÿHIPWÿ8EKmJPHI_ÿJR`JISJScÿ+[PJKÿE\\HPHWIEXÿHIoOHKJSÿPGJSJÿJR`JISJSÿKJXEPJÿPWÿ.Q*ÿJR`JISJSÿEI\ÿE\\HPHWIEXÿEaWOIPÿSGWOX\ÿbJÿFE`HPEXHiJ\c             NHROKJSgABCCDCCDABÿ0aEXXÿ6KW\OFPHWIÿ7IHP
  AT9BA9TCAU VWOKIEXÿ-IPKL AZYZ                                        ,WÿKJFWK\ÿ0aEXXÿ6KW\OFPHWIÿ7IHPÿaEFGHIJKLÿ̀EH\ÿbLÿ7XPKED*ÿ<JIPOKJSÿj1<k                                                                                    ABCCDCCDCCÿ8EFGHIJKLMÿNOKIHPOKJÿQÿ       D0`XHPD              ZZUMdCYcUY ZYTMYeTcCY             ZZUMdCYcUY    CcCC
                                                                                                                                                                                                                                  NHROKJSgABCCDCCDABÿ0aEXXÿ6KW\OFPHWIÿ7IHP
  CA9CA9TCAf VWOKIEXÿ-IPKL AdTB                                        1E`HPEXHiJÿ<+,ÿESSWFHEPJ\ÿ^HPGÿ067                                                                                                                         ABCCDCCDCCÿ8EFGHIJKLMÿNOKIHPOKJÿQÿ       D0`XHPD              ATdMfefcTT fACMUYYcBC             ATdMfefcTT    CcCC
                                                                                                                                                                                                                                  NHROKJSgABCCDCCDABÿ0aEXXÿ6KW\OFPHWIÿ7IHP
  CA9Tf9TCAf VWOKIEXÿ-IPKL AYZf                                        +FFKOEXÿ[WKÿ06:ÿDÿ+OPWFXE]J                                                                                                                                ABCCDCCDCCÿ8EFGHIJKLMÿNOKIHPOKJÿQÿ       D0`XHPD              ATfMUAYcTT dBdMACfcUT             ATfMUAYcTT    CcCC
                                                                                                                                                                                                                                  NHROKJSgABCCDCCDABÿ0aEXXÿ6KW\OFPHWIÿ7IHP
 ABCCDCCDAUÿ+FFOaOXEPJ\ÿ*J`KJFHEPHWI
  AT9BA9TCAU VWOKIEXÿ-IPKL AUYA                                        *J`KJFHEPHWIÿ[WKÿ8EFGHIJÿEI\ÿJoOH̀aJIPÿHSÿdÿLJEKScÿ,GJÿESSJPSÿXHSPJ\ÿEbW]Jÿ^JKJÿ̀XEFJ\ÿHIÿSJK]HFJÿHIÿ3FPWbJKÿW[ÿTCAUc                                      ABCCDCCDCCÿ8EFGHIJKLMÿNOKIHPOKJÿQÿ        D0`XHPD               DTMCeBcUT     DTMCeBcUT          DTMCeBcUT    CcCC
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 JK9LJ9KMJN OHPCIFQÿ-IGCR JNSJ            *ABCADEFGEHIÿTHCÿ8FDUEIAÿFIVÿAWPEBXAIGÿEYÿZÿRAFCY[ÿ,UAÿFYYAGYÿQEYGAVÿF\H]Aÿ^ACAÿBQFDAVÿEIÿYAC]EDAÿEIÿ3DGH\ACÿHTÿKMJN[                 JLMM_MM_MMÿ8FDUEIACRÿ̀aPCIEGPCAÿbÿ   _0BQEG_     _ZM̀MZ[ZJ     _eJ̀MJ[KL          _ZM̀MZ[ZJ    M[MM
                                                                                                                                                                                aEcPCAYdJLMM_MM_JNÿ+DDPXPQFGAVÿ
                                                                                                                                                                                *ABCADEFGEHI
 JK9LJ9KMJN OHPCIFQÿ-IGCR JfSK            ,HÿCADHCVÿDPCCAIGÿRAFCÿVABCADEFGEHIÿAcBAIYA                                                                                           JLMM_MM_MMÿ8FDUEIACRÿ̀aPCIEGPCAÿbÿ   _0BQEG_    _JMg̀KJ[JJ _JeZ̀KK[Lf            _JMg̀KJ[JJ    M[MM
                                                                                                                                                                                aEcPCAYdJLMM_MM_JNÿ+DDPXPQFGAVÿ
                                                                                                                                                                                *ABCADEFGEHI
 JK9LJ9KMJN OHPCIFQÿ-IGCR JNSJ            *ABCADEFGEHIÿTHCÿ8FDUEIAÿFIVÿAWPEBXAIGÿEYÿZÿRAFCY[ÿ,UAÿFYYAGYÿQEYGAVÿF\H]Aÿ^ACAÿBQFDAVÿEIÿYAC]EDAÿEIÿ3DGH\ACÿHTÿKMJN[                 JLMM_MM_MMÿ8FDUEIACRÿ̀aPCIEGPCAÿbÿ   _0BQEG_    _JJL̀MN[MJ _LJM̀KZ[LN            _JJL̀MN[MJ    M[MM
                                                                                                                                                                                aEcPCAYdJLMM_MM_JNÿ+DDPXPQFGAVÿ
                                                                                                                                                                                *ABCADEFGEHI
 ML9LJ9KMJg OHPCIFQÿ-IGCR JZKf            .ADHCVÿFVVEGEHIFQÿAcBAIYAYÿTHCÿVABCADEFGEHIÿHTÿDFBEGFQEhAVÿ<+,ÿTHCÿ067                                                                JLMM_MM_MMÿ8FDUEIACRÿ̀aPCIEGPCAÿbÿ   _0BQEG_     _Zg̀MM[eZ _LSg̀KS[LK             _Zg̀MM[eZ    M[MM
                                                                                                                                                                                aEcPCAYdJLMM_MM_JNÿ+DDPXPQFGAVÿ
                                                                                                                                                                                *ABCADEFGEHI
 ML9LJ9KMJg OHPCIFQÿ-IGCR JNNS            1PCCAIGÿRAFCÿVABCADEFGEHIÿAcBAIYA                                                                                                     JLMM_MM_MMÿ8FDUEIACRÿ̀aPCIEGPCAÿbÿ   _0BQEG_    _JSJ̀KK[fZ _NgZ̀NM[Ze            _JSJ̀KK[fZ    M[MM
                                                                                                                                                                                aEcPCAYdJLMM_MM_JNÿ+DDPXPQFGAVÿ
                                                                                                                                                                                *ABCADEFGEHI
 ML9LJ9KMJg OHPCIFQÿ-IGCR JNeg            ,HÿCADHCVÿFVVEGEHIFQÿiJÿVABCADEFGEHIÿTHCÿKMJNÿaEcAVÿ+YYAGY                                                                            JLMM_MM_MMÿ8FDUEIACRÿ̀aPCIEGPCAÿbÿ   _0BQEG_    _LMg̀Me[MM _SZL̀Ne[Ze            _LMg̀Me[MM    M[MM
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                                                                                                                                                                                *ABCADEFGEHI
 ML9LJ9KMJg OHPCIFQÿ-IGCR JSfe            1HCCADGÿiJÿVABCADEFGEHIÿAcBAIYAÿTHCÿ2EIPXFÿFYYAGÿFVjPYGXAIGYÿk86:ÿFIVÿ06:l                                                            JLMM_MM_MMÿ8FDUEIACRÿ̀aPCIEGPCAÿbÿ   _0BQEG_     _ZǸLM[SN _efS̀eM[gf             _ZǸLM[SN    M[MM
                                                                                                                                                                                aEcPCAYdJLMM_MM_JNÿ+DDPXPQFGAVÿ
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 Mg9LM9KMJg OHPCIFQÿ-IGCR JSJf            .ADHCVÿiKÿVABCADEFGEHI                                                                                                                JLMM_MM_MMÿ8FDUEIACRÿ̀aPCIEGPCAÿbÿ   _0BQEG_      _NLN[KJ _eNf̀KN[SN               _NLN[KJ     M[MM
                                                                                                                                                                                aEcPCAYdJLMM_MM_JNÿ+DDPXPQFGAVÿ
                                                                                                                                                                                *ABCADEFGEHI
 Mg9LM9KMJg OHPCIFQÿ-IGCR JSNM            1HCCADGÿiKÿVABCADEFGEHIÿAcBAIYAÿTHCÿ2EIPXFÿFYYAGÿFVjPYGXAIGYÿk86:ÿFIVÿ06:l                                                            JLMM_MM_MMÿ8FDUEIACRÿ̀aPCIEGPCAÿbÿ   _0BQEG_     Lf̀SZ[gZ _eJèLS[JS              Lf̀SZ[gZ     M[MM
                                                                                                                                                                                aEcPCAYdJLMM_MM_JNÿ+DDPXPQFGAVÿ
                                                                                                                                                                                *ABCADEFGEHI
 Mg9LM9KMJg OHPCIFQÿ-IGCR JZKN            .ADHCVÿFVVEGEHIFQÿAcBAIYAYÿTHCÿVABCADEFGEHIÿHTÿDFBEGFQEhAVÿ<+,ÿTHCÿ067                                                                JLMM_MM_MMÿ8FDUEIACRÿ̀aPCIEGPCAÿbÿ   _0BQEG_     _fǸgM[NS _egf̀eS[Zg             _fǸgM[NS    M[MM
                                                                                                                                                                                aEcPCAYdJLMM_MM_JNÿ+DDPXPQFGAVÿ
                                                                                                                                                                                *ABCADEFGEHI
 Mg9LM9KMJg OHPCIFQÿ-IGCR JNeZ            ,HÿCADHCVÿFVVEGEHIFQÿiKÿVABCADEFGEHIÿTHCÿKMJNÿaEcAVÿ+YYAGY                                                                            JLMM_MM_MMÿ8FDUEIACRÿ̀aPCIEGPCAÿbÿ   _0BQEG_    _LMg̀Me[MM _JKZJ̀MZ[Zg           _LMg̀Me[MM    M[MM
                                                                                                                                                                                aEcPCAYdJLMM_MM_JNÿ+DDPXPQFGAVÿ
                                                                                                                                                                                *ABCADEFGEHI
 Mg9LM9KMJg OHPCIFQÿ-IGCR JZKN            .ADHCVÿFVVEGEHIFQÿAcBAIYAYÿTHCÿVABCADEFGEHIÿHTÿDFBEGFQEhAVÿ<+,ÿTHCÿ867                                                                JLMM_MM_MMÿ8FDUEIACRÿ̀aPCIEGPCAÿbÿ   _0BQEG_    _LNZ̀eN[Kf _JgKèML[MM           _LNZ̀eN[Kf    M[MM
                                                                                                                                                                                aEcPCAYdJLMM_MM_JNÿ+DDPXPQFGAVÿ
                                                                                                                                                                                *ABCADEFGEHI
 Mg9LM9KMJg OHPCIFQÿ-IGCR JgeL            .ADHCVÿiKÿFVjPYGAVÿVABCADEFGEHI                                                                                                       JLMM_MM_MMÿ8FDUEIACRÿ̀aPCIEGPCAÿbÿ   _0BQEG_   _JefM̀NZ[NL _LNgègM[NL          _JefM̀NZ[NL    M[MM
                                                                                                                                                                                aEcPCAYdJLMM_MM_JNÿ+DDPXPQFGAVÿ
                                                                                                                                                                                *ABCADEFGEHI
 Mg9LM9KMJg OHPCIFQÿ-IGCR JNNe            1PCCAIGÿRAFCÿVABCADEFGEHIÿAcBAIYA                                                                                                     JLMM_MM_MMÿ8FDUEIACRÿ̀aPCIEGPCAÿbÿ   _0BQEG_    _feL̀ZJ[MK _fMgL̀LJ[NN           _feL̀ZJ[MK    M[MM
                                                                                                                                                                                aEcPCAYdJLMM_MM_JNÿ+DDPXPQFGAVÿ
                                                                                                                                                                                *ABCADEFGEHI
 Me9LM9KMJg OHPCIFQÿ-IGCR JSJN            .ADHCVÿiLÿVABCADEFGEHI                                                                                                                JLMM_MM_MMÿ8FDUEIACRÿ̀aPCIEGPCAÿbÿ   _0BQEG_      _SMK[SK _fMZJ̀Lf[LZ              _SMK[SK     M[MM
                                                                                                                                                                                aEcPCAYdJLMM_MM_JNÿ+DDPXPQFGAVÿ
                                                                                                                                                                                *ABCADEFGEHI
 Me9LM9KMJg OHPCIFQÿ-IGCR JSNJ            1HCCADGÿiKÿVABCADEFGEHIÿAcBAIYAÿTHCÿ2EIPXFÿFYYAGÿFVjPYGXAIGYÿk86:ÿFIVÿ06:l                                                            JLMM_MM_MMÿ8FDUEIACRÿ̀aPCIEGPCAÿbÿ   _0BQEG_     Zf̀eM[ZN _Leeg̀fL[gK             Zf̀eM[ZN     M[MM
                                                                                                                                                                                aEcPCAYdJLMM_MM_JNÿ+DDPXPQFGAVÿ
                                                                                                                                                                                *ABCADEFGEHI
 Me9LM9KMJg OHPCIFQÿ-IGCR JZKZ            .ADHCVÿFVVEGEHIFQÿAcBAIYAYÿTHCÿVABCADEFGEHIÿHTÿDFBEGFQEhAVÿ<+,ÿTHCÿ867                                                                JLMM_MM_MMÿ8FDUEIACRÿ̀aPCIEGPCAÿbÿ   _0BQEG_    _NLg̀eK[SZ _fNLL̀Lg[fe           _NLg̀eK[SZ    M[MM
                                                                                                                                                                                aEcPCAYdJLMM_MM_JNÿ+DDPXPQFGAVÿ
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 Me9LM9KMJg OHPCIFQÿ-IGCR JNeS            iLÿVABCADEFGEHIÿAIGCR                                                                                                                 JLMM_MM_MMÿ8FDUEIACRÿ̀aPCIEGPCAÿbÿ   _0BQEG_    _egM̀fL[MM _NfeL̀Ze[fe           _egM̀fL[MM    M[MM
                                                                                                                                                                                aEcPCAYdJLMM_MM_JNÿ+DDPXPQFGAVÿ
                                                                                                                                                                                *ABCADEFGEHI
 Me9LM9KMJg OHPCIFQÿ-IGCR Jgef            .ADHCVÿiLÿFVjPYGAVÿVABCADEFGEHI                                                                                                       JLMM_MM_MMÿ8FDUEIACRÿ̀aPCIEGPCAÿbÿ   _0BQEG_   _KeJM̀SN[NZ _SfMf̀gN[Mg          _KeJM̀SN[NZ    M[MM
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 Me9LM9KMJg OHPCIFQÿ-IGCR JZKZ            .ADHCVÿFVVEGEHIFQÿAcBAIYAYÿTHCÿVABCADEFGEHIÿHTÿDFBEGFQEhAVÿ<+,ÿTHCÿ067                                                                JLMM_MM_MMÿ8FDUEIACRÿ̀aPCIEGPCAÿbÿ   _0BQEG_     _fǸgM[NS _SfNM̀KN[gf            _fǸgM[NS    M[MM
                                                                                                                                                                                aEcPCAYdJLMM_MM_JNÿ+DDPXPQFGAVÿ
                                                                                                                                                                                *ABCADEFGEHI
 JK9LJ9KMJg OHPCIFQÿ-IGCR JgeN            .ADHCVÿifÿVABCADEFGEHI                                                                                                                JLMM_MM_MMÿ8FDUEIACRÿ̀aPCIEGPCAÿbÿ   _0BQEG_   _LSZJ̀KS[NZ _JK̀LKJ̀Nf[KJ        _LSZJ̀KS[NZ    M[MM
                                                                                                                                                                                aEcPCAYdJLMM_MM_JNÿ+DDPXPQFGAVÿ
                                                                                                                                                                                *ABCADEFGEHI
 JK9LJ9KMJg OHPCIFQÿ-IGCR JZKS            .ADHCVÿFVVEGEHIFQÿAcBAIYAYÿTHCÿVABCADEFGEHIÿHTÿDFBEGFQEhAVÿ<+,ÿTHCÿ867                                                                JLMM_MM_MMÿ8FDUEIACRÿ̀aPCIEGPCAÿbÿ   _0BQEG_    _NLg̀eK[SZ _JK̀SNS̀fZ[MS         _NLg̀eK[SZ    M[MM
                                                                                                                                                                                aEcPCAYdJLMM_MM_JNÿ+DDPXPQFGAVÿ
                                                                                                                                                                                *ABCADEFGEHI
 JK9LJ9KMJg OHPCIFQÿ-IGCR JZKS            .ADHCVÿFVVEGEHIFQÿAcBAIYAYÿTHCÿVABCADEFGEHIÿHTÿDFBEGFQEhAVÿ<+,ÿTHCÿ067                                                                JLMM_MM_MMÿ8FDUEIACRÿ̀aPCIEGPCAÿbÿ   _0BQEG_     _fǸgM[NS _JK̀eMf̀MZ[gg          _fǸgM[NS    M[MM
                                                                                                                                                                                aEcPCAYdJLMM_MM_JNÿ+DDPXPQFGAVÿ
                                                                                                                                                                                *ABCADEFGEHI
 JK9LJ9KMJg OHPCIFQÿ-IGCR JSJg            .ADHCVÿifÿVABCADEFGEHI                                                                                                                JLMM_MM_MMÿ8FDUEIACRÿ̀aPCIEGPCAÿbÿ   _0BQEG_      _SMK[SK _JK̀eJK̀JM[fS            _SMK[SK     M[MM
                                                                                                                                                                                aEcPCAYdJLMM_MM_JNÿ+DDPXPQFGAVÿ
                                                                                                                                                                                *ABCADEFGEHI
 JK9LJ9KMJg OHPCIFQÿ-IGCR JSNK            1HCCADGÿiKÿVABCADEFGEHIÿAcBAIYAÿTHCÿ2EIPXFÿFYYAGÿFVjPYGXAIGYÿk86:ÿFIVÿ06:l                                                            JLMM_MM_MMÿ8FDUEIACRÿ̀aPCIEGPCAÿbÿ   _0BQEG_     Zf̀eM[ZN _JK̀SLZ̀Je[ZL           Zf̀eM[ZN     M[MM
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 KJ9JI9WKIX YUDEVQPÿ-VREZ I`XX                                       ,UÿEFNUESÿQScDGROFVRÿRUÿ66_-ÿSFTEFNBQRBUVÿFCTFVGFÿEFNUESFSÿQRÿ\IÿWKIX                                                                                      IJKKLKKLKKÿ8QN]BVFEZ^ÿADEVBRDEFÿ_ÿ      L0TPBRL                X^[bIaII LI^XWW^[IJàI           X^[bIaII     KaKK
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 IW9JI9WKIX YUDEVQPÿ-VREZ IbJK                                       .FNUESÿEFNPQGGBeBNQRBUVÿFVREZÿUeÿEUDVSBVfÿNQPNDPQRBUVÿSBeeFEFVNFÿRUÿSFTEFNBQRBUVÿFCTFVGF                                                                   IJKKLKKLKKÿ8QN]BVFEZ^ÿADEVBRDEFÿ_ÿ      L0TPBRL                   LKaJM LW^dKK^KKKadM              LKaJM     KaKK
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I[KKLKKLKKÿ3R]FEÿ+GGFR
 I[KKLMKLIKÿLÿ126ÿABCFSÿ+GGFR
  IW9JI9WKIM YUDEVQPÿ-VREZ IM`[                                      +eRFEÿQÿSFRQBPÿEFgBFhÿUeÿR]Fÿ6FfQREUVÿFCTFVGFGÿQVSÿSBGNDGGBUVÿhBR]ÿ8QVQfFOFVRÿGUOFÿUeÿR]FÿQOUDVRGÿFCTFVGFSÿRUÿ._*ÿQGÿR]FZÿEFPQRFÿRUÿ6FfQREUVÿ]QgFÿiFFVÿ    I[KKLKKLKKÿ3R]FEÿ+GGFRHI[KKLMKLIKÿLÿ126ÿ L0TPBRL              IdW^KJKaKK   IdW^KJKaKK          IdW^KJKaKK    KaKK
                                                                     EFNPQGGBeBFSÿRUÿABCFSÿ+GGFRG^ÿ126ÿQVSÿ6EFTQBSÿ3R]FEa                                                                                                       ABCFSÿ+GGFR
  IW9JI9WKIM YUDEVQPÿ-VREZ IMXI                                      *DEBVfÿR]FÿEFgBFhÿUeÿR]FÿI[IKLKKLWKÿ0QOTPFÿ>QEShQEFÿQNNUDVRÿQÿSFNBGBUVhQGÿOQSFÿRUÿEFNPQGGÿR]FGFÿTEFgBUDGPZÿNQTBRQPBjFSÿQOUDVRGÿRUÿ0QOTPFÿ-CTFVGF^ÿh]BN]ÿ   I[KKLKKLKKÿ3R]FEÿ+GGFRHI[KKLMKLIKÿLÿ126ÿ L0TPBRL              WXI^MKKaKK   [JJ^MJKaKK          WXI^MKKaKK    KaKK
                                                                     EUPPGÿDTÿBVRUÿ8QEkFRBVfÿFCTFVGFGaÿ+eRFEÿQSSBRBUVQPÿBVlDBEFGÿR]FGFÿFCTFVGFGÿEFPQRFÿRUÿ._*ÿFCTFVGFGÿQVSÿQSSBRBUVQPÿQOUDVRÿG]UDPSÿiFÿNQTBRQPBjFSa             ABCFSÿ+GGFR
  Kd9JK9WKId YUDEVQPÿ-VREZ IMbJ                                      .FNUESÿ\WÿEFNPQGGÿFVREZÿeEUOÿ0QOTPFÿ>QEShQEFÿRUÿ126ÿm1UEFREUVBNGn^ÿ2VgFVRUEZÿm0RQEPBVknÿ_ÿ._*ÿFCTFVGF                                                      I[KKLKKLKKÿ3R]FEÿ+GGFRHI[KKLMKLIKÿLÿ126ÿ L0TPBRL              WXI^MKKaKK   XKM^KJKaKK          WXI^MKKaKK    KaKK
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  Kd9JK9WKId YUDEVQPÿ-VREZ IdbW                                      .FNPQGGÿQOUDVRGÿTQBSÿRUÿ6FfQREUVÿeUEÿ1]QBGGF                                                                                                               I[KKLKKLKKÿ3R]FEÿ+GGFRHI[KKLMKLIKÿLÿ126ÿ L0TPBRL             LIdW^KJKaKK   M[J^KKKaKK         LIdW^KJKaKK    KaKK
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  Kd9JK9WKId YUDEVQPÿ-VREZ IdbW                                      .FNPQGGÿQOUDVRGÿTQBSÿRUÿ1UEFREUVBNGÿeUEÿ,UUPBVf                                                                                                            I[KKLKKLKKÿ3R]FEÿ+GGFRHI[KKLMKLIKÿLÿ126ÿ L0TPBRL             LM[J^KKKaKK         KaKK         LM[J^KKKaKK    KaKK
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  KJ9Kd9WKIb ;BPP            WKIbKWWWKI[   0Dj]UDÿ2VSDGREBQPÿ        AQNBPBRZÿ*FGBfVÿUeÿIGRÿAPUUEÿm1UVNFTR9ÿ;QGBN9ÿ*FRQBPÿSFGBfVn                                                                                               I[KKLKKLKKÿ3R]FEÿ+GGFRHI[KKLMKLIKÿLÿ126ÿ WKKKLKKLK[ÿ           Wd^`WJabd    Wd^`WJabd           Wd^`WJabd    KaKK
                                           -lDBTOFVRÿ2VGRQPPQRBUVÿ                                                                                                                                                              ABCFSÿ+GGFR                              +NNUDVRGÿ6QZQiPFÿ
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                                      -TJGUVWNQÿ2NPQSHHSQGMNÿ                                                                                                                                         `GaWOÿ+PPWQ                              +YYMJNQPÿ6SbScHWÿ
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                                      -TJGUVWNQÿ2NPQSHHSQGMNÿ                                                                                                                                         `GaWOÿ+PPWQ                              +YYMJNQPÿ6SbScHWÿ
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                                      -TJGUVWNQÿ2NPQSHHSQGMNÿ                                                                                                                                         `GaWOÿ+PPWQ                              +YYMJNQPÿ6SbScHWÿ
                                      ?RMJU                                                                                                                                                                                                    Z1/5\
 AF9DB9DAEF ;GHH       0+DAEFAFAEED 0JKLMJÿ2NOJPQRGSHÿ        .WVSGNGNXÿ_A[ÿMgÿ1MPQÿ]ÿkJSHGQbÿPJUWRlGPGMNÿOWYHSRSQGMN                                                                                 EIAA]AA]AAÿ3QLWRÿ+PPWQ^EIAA]_A]EAÿ]ÿ126ÿ DAAA]AA]AIÿ         DdEAhfeA   IAdAI_fBC           DdEAhfeA     AfAA
                                      -TJGUVWNQÿ2NPQSHHSQGMNÿ                                                                                                                                         `GaWOÿ+PPWQ                              +YYMJNQPÿ6SbScHWÿ
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                                      -TJGUVWNQÿ2NPQSHHSQGMNÿ                                                                                                                                         `GaWOÿ+PPWQ                              +YYMJNQPÿ6SbScHWÿ
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                                      -TJGUVWNQÿ2NPQSHHSQGMNÿ                                                                                                                                         `GaWOÿ+PPWQ                              +YYMJNQPÿ6SbScHWÿ
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                                      -TJGUVWNQÿ2NPQSHHSQGMNÿ                                                                                                                                         `GaWOÿ+PPWQ                              +YYMJNQPÿ6SbScHWÿ
                                      ?RMJU                                                                                                                                                                                                    Z1/5\
 AF9DB9DAEF ;GHH       0+DAEFAFAEED 0JKLMJÿ2NOJPQRGSHÿ        .WVSGNGNXÿ_A[ÿMgÿ1MPQÿ]ÿ-2+                                                                                                             EIAA]AA]AAÿ3QLWRÿ+PPWQ^EIAA]_A]EAÿ]ÿ126ÿ DAAA]AA]AIÿ         FdIe_fEA   _edBEDfFC           FdIe_fEA     AfAA
                                      -TJGUVWNQÿ2NPQSHHSQGMNÿ                                                                                                                                         `GaWOÿ+PPWQ                              +YYMJNQPÿ6SbScHWÿ
                                      ?RMJU                                                                                                                                                                                                    Z1/5\
 AF9DB9DAEF ;GHH       0+DAEFAFAEED 0JKLMJÿ2NOJPQRGSHÿ        .WVSGNGNXÿ_A[ÿMgÿ1MPQÿ]ÿ6RMiWYQÿPWQÿJU                                                                                                  EIAA]AA]AAÿ3QLWRÿ+PPWQ^EIAA]_A]EAÿ]ÿ126ÿ DAAA]AA]AIÿ         edIBEfDA   CCdhIIfEC           edIBEfDA     AfAA
                                      -TJGUVWNQÿ2NPQSHHSQGMNÿ                                                                                                                                         `GaWOÿ+PPWQ                              +YYMJNQPÿ6SbScHWÿ
                                      ?RMJU                                                                                                                                                                                                    Z1/5\
 AF9DB9DAEF ;GHH       0+DAEFAFAEED 0JKLMJÿ2NOJPQRGSHÿ        .WVSGNGNXÿ_A[ÿMgÿ1MPQÿ]ÿ1MNPQRJYQGMNÿUWRVGQ                                                                                             EIAA]AA]AAÿ3QLWRÿ+PPWQ^EIAA]_A]EAÿ]ÿ126ÿ DAAA]AA]AIÿ         edAhFfFA   hIdeDIfAC           edAhFfFA     AfAA
                                      -TJGUVWNQÿ2NPQSHHSQGMNÿ                                                                                                                                         `GaWOÿ+PPWQ                              +YYMJNQPÿ6SbScHWÿ
                                      ?RMJU                                                                                                                                                                                                    Z1/5\
 AF9DB9DAEF ;GHH       0+DAEFAFAEED 0JKLMJÿ2NOJPQRGSHÿ        .WVSGNGNXÿ_A[ÿMgÿ1MPQÿ]ÿ+YYWUQSNYW                                                                                                      EIAA]AA]AAÿ3QLWRÿ+PPWQ^EIAA]_A]EAÿ]ÿ126ÿ DAAA]AA]AIÿ         CdheAfAF   eEdCAIfE_           CdheAfAF     AfAA
                                      -TJGUVWNQÿ2NPQSHHSQGMNÿ                                                                                                                                         `GaWOÿ+PPWQ                              +YYMJNQPÿ6SbScHWÿ
                                      ?RMJU                                                                                                                                                                                                    Z1/5\
 AF9DB9DAEF ;GHH       0+DAEFAFAEED 0JKLMJÿ2NOJPQRGSHÿ        .WVSGNGNXÿ_A[ÿMgÿ1MPQÿ]ÿ8SNSXWVWNQÿYMPQ                                                                                                 EIAA]AA]AAÿ3QLWRÿ+PPWQ^EIAA]_A]EAÿ]ÿ126ÿ DAAA]AA]AIÿ         _dDAFfhe   eCdeEBfFB           _dDAFfhe     AfAA
                                      -TJGUVWNQÿ2NPQSHHSQGMNÿ                                                                                                                                         `GaWOÿ+PPWQ                              +YYMJNQPÿ6SbScHWÿ
                                      ?RMJU                                                                                                                                                                                                    Z1/5\
 EA9AF9DAEF ;GHH       0+DAEFEAAAAC 0JKLMJÿ2NOJPQRGSHÿ        1LGNSÿ8SNJgSYQJRGNXÿZ0JKLMJ\ÿ0GQWÿ]ÿÿ̀SYGHGQbÿ*WPGXNÿMgÿEPQÿ̀HMMRÿZ1MNYWUQ9ÿ;SPGY9ÿ*WQSGHÿOWPGXN\                                       EIAA]AA]AAÿ3QLWRÿ+PPWQ^EIAA]_A]EAÿ]ÿ126ÿ DAAA]AA]AIÿ         D_deDefhI EEDdCIDfCh          D_deDefhI     AfAA
                                      -TJGUVWNQÿ2NPQSHHSQGMNÿ                                                                                                                                         `GaWOÿ+PPWQ                              +YYMJNQPÿ6SbScHWÿ
                                      ?RMJU                                                                                                                                                                                                    Z1/5\
 EA9AF9DAEF ;GHH       0+DAEFEAAAAe 0JKLMJÿ2NOJPQRGSHÿ        1LGNSÿ8SNJgSYQJRGNXÿZ0JKLMJ\ÿ0GQWÿ]ÿ8SNSXWVWNQÿ̀WWÿZEA[\                                                                                EIAA]AA]AAÿ3QLWRÿ+PPWQ^EIAA]_A]EAÿ]ÿ126ÿ DAAA]AA]AIÿ         _dACEfAD EEhdhABfCF            _dACEfAD     AfAA
                                      -TJGUVWNQÿ2NPQSHHSQGMNÿ                                                                                                                                         `GaWOÿ+PPWQ                              +YYMJNQPÿ6SbScHWÿ
                                      ?RMJU                                                                                                                                                                                                    Z1/5\
 EA9AF9DAEF ;GHH       0+DAEFEAAAAC 0JKLMJÿ2NOJPQRGSHÿ        1LGNSÿ8SNJgSYQJRGNXÿZ0JKLMJ\ÿ0GQWÿ]ÿÿ8SNSXWVWNQÿ1MPQÿZEA[\                                                                              EIAA]AA]AAÿ3QLWRÿ+PPWQ^EIAA]_A]EAÿ]ÿ126ÿ DAAA]AA]AIÿ         Dd_eDfeh EDAdDeCf_C            Dd_eDfeh     AfAA
                                      -TJGUVWNQÿ2NPQSHHSQGMNÿ                                                                                                                                         `GaWOÿ+PPWQ                              +YYMJNQPÿ6SbScHWÿ
                                      ?RMJU                                                                                                                                                                                                    Z1/5\
 EA9AF9DAEF ;GHH       0+DAEFEAAAAe 0JKLMJÿ2NOJPQRGSHÿ        1LGNSÿ8SNJgSYQJRGNXÿZ0JKLMJ\ÿ0GQWÿ]ÿÿ̀SYGHGQbÿ*WPGXNÿMgÿDNOÿ̀HMMRÿZ1MNYWUQ9ÿ;SPGY9ÿ*WQSGHÿOWPGXN\                                       EIAA]AA]AAÿ3QLWRÿ+PPWQ^EIAA]_A]EAÿ]ÿ126ÿ DAAA]AA]AIÿ         _AdCEAfDI EhAdeFCfeA          _AdCEAfDI     AfAA
                                      -TJGUVWNQÿ2NPQSHHSQGMNÿ                                                                                                                                         `GaWOÿ+PPWQ                              +YYMJNQPÿ6SbScHWÿ
                                      ?RMJU                                                                                                                                                                                                    Z1/5\
 EE9AC9DAEF ;GHH       0+DAEFEEACAABI 0JKLMJÿ2NOJPQRGSHÿ      *GPVSNQHWÿSNOÿYHWSNJUÿMgÿ0JKLMJÿPGQW                                                                                                    EIAA]AA]AAÿ3QLWRÿ+PPWQ^EIAA]_A]EAÿ]ÿ126ÿ DAAA]AA]AIÿ         EBdFCIfhE EeIdeCEf_E          EBdFCIfhE     AfAA
                                      -TJGUVWNQÿ2NPQSHHSQGMNÿ                                                                                                                                         `GaWOÿ+PPWQ                              +YYMJNQPÿ6SbScHWÿ
                                      ?RMJU                                                                                                                                                                                                    Z1/5\




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             +45,                                                                                                                                                                                                                                                                                                ,<0=*.>,ÿ        *726.+ >*1.ÿ2-ÿ
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@ABCDBBD@Bÿ)EFÿGHIJÿ8ÿKLIMÿ7FNOPHPOQMFQH
 BR8@A8SB@S :OTT               )FTPUPLFÿ+PV         )FTPUPLFÿ/FWLFHPLXÿIKÿ )FTÿ+PVÿKILÿ7FNOPHPOQMFQHÿ5PONÿHYLIEZYÿ5FVÿWPLN                                                                    @ABCDBBD@Bÿ)EFÿGHIJÿ8ÿKLIMÿ7FNOPHPOQMFQH                      SBBBBÿSBBBDBBDBBÿ*WWIEQH[ÿ      @]RRR^CB @]RRR^CB                     @]RRR^CB     B^BB
                                                    /HPHF                                                                                                                                                                                                   5PXP\TF
 @S8_@8SB@_ 0YFW`              S_B                  5FVÿ0PLN               @S8B@8@_ÿHIÿ@S8_@8@_ÿ/aFQNÿ\Xÿ0PHFZILXÿDÿSB@Sÿ7+ÿ)FTPUPLFÿ0ILaÿLFZO[HLPHOIQÿIQTOQFÿaXMH                            @ABCDBBD@Bÿ)EFÿGHIJÿ8ÿKLIMÿ7FNOPHPOQMFQH                      @BB@DBBDCBÿ5,<ÿ0*-)ÿ,5*4        @]bB_^cC _]AcB^SC                     @]bB_^cC     B^BB
 BR8_B8SB@A 0YFW`              Sb@                  5FVÿ0PLN               BR8B@8@AÿHIÿBR8_B8@Aÿ/aFQNÿ\Xÿ0PHFZILXÿDÿ7+ÿ)FTÿdLPQWYO[Fÿ+PVÿLHQ                                                  @ABCDBBD@Bÿ)EFÿGHIJÿ8ÿKLIMÿ7FNOPHPOQMFQH                      @BB@DBBDCBÿ5,<ÿ0*-)ÿ,5*4        @]RRR^CB C]@_R^cC                     @]RRR^CB     B^BB
 B_8_@8SB@C 0YFW`              _RA                  5FVÿ0PLN               _8B@8@CÿHIÿ_8_@8@Cÿ/aFQNÿ\Xÿ0PHFZILX                                                                               @ABCDBBD@Bÿ)EFÿGHIJÿ8ÿKLIMÿ7FNOPHPOQMFQH                      @BB@DBBDCBÿ5,<ÿ0*-)ÿ,5*4        @]CcC^BB R]c@@^cC                     @]CcC^BB     B^BB
 @@8_B8SB@b eIELQPTÿ,QHLX SBcS                                             -FWILNÿLFWFOfP\TFÿKLIMÿ7FNOP+POQMFQHÿKILÿFgEOHXÿLFaELWYP[FNÿKLIMÿ[PMFÿOQfF[HILÿZLIEa                               @ABCDBBD@Bÿ)EFÿGHIJÿ8ÿKLIMÿ7FNOPHPOQMFQH                      D/aTOHD                       _@S]@hB^BB _@b]hB@^cC                 _@S]@hB^BB     B^BB
@A@BD@BDBBÿ9IPQ[ÿ-FWFOfP\TF
 B@8@C8SBSB eIELQPTÿ,QHLX S@Ah                                              9IPQÿUOHYÿ/FF0E\OWÿDÿ-FWILNÿiAÿSB@hÿLFfPTEFÿIKÿKILFOZQÿNFQIMOQPHFNÿPWWEMETPHFNÿOQHFLF[Hÿ\PTPQWF                   @A@BD@BDBBÿ9IPQ[ÿ-FWFOfP\TF                                   D/aTOHD                        _B]ChB^RA    _B]ChB^RA                _B]ChB^RA     B^BB
 @A@BD@BDBCÿ9IPQ[ÿ-FWFOfP\TFÿDÿ/FF0E\OW
  BC8_@8SB@S eIELQPTÿ,QHLX @@_                                              -FWTP[[ÿSB@@ÿ/FF0E\OWÿaXMH[ÿHIÿWIQ[ITONPHFÿOQHIÿIQFÿTIPQÿPWWH                                                      @A@BD@BDBBÿ9IPQ[ÿ-FWFOfP\TFj@A@BD@BDBCÿ9IPQ[ÿ-FWFOfP\TFÿDÿ   D/aTOHD                       h@C]chR^@@ h@C]chR^@@                  h@C]chR^@@    B^BB
                                                                                                                                                                                               /FF0E\OW
  @S8_@8SB@C eIELQPTÿ,QHLX @CBC                                             +IÿLFWILNÿSB@Aÿ*e,kCRÿHIÿLFWTP[[ÿPMIEQH[ÿ)EFÿKLIMÿ/FF0E\OWÿHIÿ\Fÿ)EFÿKLIMÿ6THLPD)ÿ0IIa                             @A@BD@BDBBÿ9IPQ[ÿ-FWFOfP\TFj@A@BD@BDBCÿ9IPQ[ÿ-FWFOfP\TFÿDÿ   D/aTOHD                    D@]hBc]hRb^RR DhhS]@cS^CC              D@]hBc]hRb^RR    B^BB
                                                                                                                                                                                               /FF0E\OW
  @S8_@8SB@C eIELQPTÿ,QHLX @A_B                                             SB@@ÿPNlÿHIÿLFWILNÿOQHFLF[HÿOQWIMFÿKLIMÿ/FF0E\OW]ÿFVaFQ[FÿNFaI[OH]ÿLFfFL[FÿmABnÿIKÿ\E[OQF[[ÿNFfFTIa^ÿFVaÿoÿPNlE[Hÿ @A@BD@BDBBÿ9IPQ[ÿ-FWFOfP\TFj@A@BD@BDBCÿ9IPQ[ÿ-FWFOfP\TFÿDÿ   D/aTOHD                      DS_A]ShR^BB D@]SSR]ARb^CC              DS_A]ShR^BB    B^BB
                                                                            OQHFLWI^ÿ9IPQ                                                                                                      /FF0E\OW
  @S8_@8SB@C eIELQPTÿ,QHLX @C@R                                             +IÿLFWTP[[ÿPMIEQHÿNEFÿKLIMÿ/FF0E\OWÿHIÿaLIaFLTXÿLFKTFWHÿPMIEQHÿNEFÿKLIMÿ6THLPD)ÿ0IIa                               @A@BD@BDBBÿ9IPQ[ÿ-FWFOfP\TFj@A@BD@BDBCÿ9IPQ[ÿ-FWFOfP\TFÿDÿ   D/aTOHD                   D@R]_Ah]R@R^hA             D           D@R]_Ah]R@R^hA    B^BB
                                                                                                                                                                                               /FF0E\OW                                                                                              @c]CcR]BbC^Ah
  @S8_@8SB@C eIELQPTÿ,QHLX @A_@                                             +IÿLFWILNÿSB@_ÿOQHFLWIMaPQXÿOQHFLF[Hÿpÿ@^Cq                                                                        @A@BD@BDBBÿ9IPQ[ÿ-FWFOfP\TFj@A@BD@BDBCÿ9IPQ[ÿ-FWFOfP\TFÿDÿ   D/aTOHD                        hc]@c_^BB             D                hc]@c_^BB    B^BB
                                                                                                                                                                                               /FF0E\OW                                                                                              @c]Acb]h@S^Ah
  @S8_@8SB@C eIELQPTÿ,QHLX @ASh                                             -FWTP[[ÿSB@CÿPMIEQH[ÿHIÿ/FF0E\OWÿ9IPQ[ÿLFWFOfP\TF                                                                  @A@BD@BDBBÿ9IPQ[ÿ-FWFOfP\TFj@A@BD@BDBCÿ9IPQ[ÿ-FWFOfP\TFÿDÿ   D/aTOHD                    @R]_Ah]R@R^hA D@]@Sh]ShC^CC            @R]_Ah]R@R^hA    B^BB
                                                                                                                                                                                               /FF0E\OW
  @S8_@8SB@C eIELQPTÿ,QHLX @ASh                                             -FWTP[[ÿSB@CÿPMIEQH[ÿHIÿ/FF0E\OWÿ9IPQ[ÿLFWFOfP\TF                                                                  @A@BD@BDBBÿ9IPQ[ÿ-FWFOfP\TFj@A@BD@BDBCÿ9IPQ[ÿ-FWFOfP\TFÿDÿ   D/aTOHD                     @]@Sh]ShC^CC          B^BB             @]@Sh]ShC^CC    B^BB
                                                                                                                                                                                               /FF0E\OW
  @S8_@8SB@b eIELQPTÿ,QHLX S@B_                                             -FWILNÿ1QHFLWIMaPQXÿOQfIOWFÿKILÿ:ENÿ-^ÿMPQPZFMFQHÿKFFÿFVaFQ[FNÿPHÿ/FF0E\OW^                                        @A@BD@BDBBÿ9IPQ[ÿ-FWFOfP\TFj@A@BD@BDBCÿ9IPQ[ÿ-FWFOfP\TFÿDÿ   D/aTOHD                        CB]BBB^BB CB]BBB^BB                    CB]BBB^BB    B^BB
                                                                                                                                                                                               /FF0E\OW
  BA8Bc8SBSB ,VaFQ[F         rOLF-FKkC@@bCiSB@h+_ /FF0E\OWÿ:^;^             dEQNOQZÿIKÿUIL`OQZÿWPaOHPTÿHIÿ/FF0E\OW                                                                             @A@BD@BDBBÿ9IPQ[ÿ-FWFOfP\TFj@A@BD@BDBCÿ9IPQ[ÿ-FWFOfP\TFÿDÿ   @BB@DBBDc@ÿ=/:0ÿ:PQ`ÿhSBc      @R]ABA^BR RR]ABA^BR                    @R]ABA^BR    B^BB
                                                                                                                                                                                               /FF0E\OW
 @A@BD@BD@Bÿ9IPQÿHIÿ/FF0E\OWÿ:^;^O^I
  @B8@S8SB@@ :OTT            2WHÿ@S]SB@@           /FF0E\OWÿ:^;^ÿO^I^       2aFLPHOIQPTÿ,VaFQNOHELF[                                                                                          @A@BD@BDBBÿ9IPQ[ÿ-FWFOfP\TFj@A@BD@BD@Bÿ9IPQÿHIÿ/FF0E\OWÿ      SBBBBÿSBBBDBBDBBÿ*WWIEQH[ÿ      cC]BBB^BB cC]BBB^BB                  cC]BBB^BB     B^BB
                                                                                                                                                                                              :^;^O^I                                                       5PXP\TF
  @@8@C8SB@@ :OTT            -PlPÿ-FgEF[Hÿ@@8@C8@@ /FF0E\OWÿ\^f             2aFLPHOIQÿoÿ,VaFQ[FÿKILÿ                                                                                          @A@BD@BDBBÿ9IPQ[ÿ-FWFOfP\TFj@A@BD@BD@Bÿ9IPQÿHIÿ/FF0E\OWÿ      SBBBBÿSBBBDBBDBBÿ*WWIEQH[ÿ     @BB]BBB^BB @cC]BBB^BB                @BB]BBB^BB     B^BB
                                                                            /FF0E\OWÿ\^f^                                                                                                     :^;^O^I                                                       5PXP\TF
  @S8BS8SB@@ :OTT            )FWÿS]@@              /FF0E\OWÿ\^f                                                                                                                               @A@BD@BDBBÿ9IPQ[ÿ-FWFOfP\TFj@A@BD@BD@Bÿ9IPQÿHIÿ/FF0E\OWÿ      SBBBBÿSBBBDBBDBBÿ*WWIEQH[ÿ     @BB]BBB^BB ScC]BBB^BB                @BB]BBB^BB     B^BB
                                                                                                                                                                                              :^;^O^I                                                       5PXP\TF
  BC8_@8SB@S eIELQPTÿ,QHLX @@_                                              -FWTP[[ÿSB@@ÿ/FF0E\OWÿaXMH[ÿHIÿWIQ[ITONPHFÿOQHIÿIQFÿTIPQÿPWWH                                                     @A@BD@BDBBÿ9IPQ[ÿ-FWFOfP\TFj@A@BD@BD@Bÿ9IPQÿHIÿ/FF0E\OWÿ      D/aTOHD                       DScC]BBB^BB         B^BB             DScC]BBB^BB     B^BB
                                                                                                                                                                                              :^;^O^I
  B@8B@8SB@R eIELQPTÿ,QHLX @cBh                                             -FWTP[[ÿIaFQOQZÿ\PTPQWFÿIKÿ9IPQÿLFWFOfP\TFÿUOHYÿ/FF0E\OW                                                          @A@BD@BDBBÿ9IPQ[ÿ-FWFOfP\TFj@A@BD@BD@Bÿ9IPQÿHIÿ/FF0E\OWÿ      D/aTOHD                      @]A_S]AS@^b@ @]A_S]AS@^b@            @]A_S]AS@^b@     B^BB
                                                                                                                                                                                              :^;^O^I
  B_8_@8SB@R eIELQPTÿ,QHLX @c_@                                             -FfPTEPHFÿ/HLFPM+;ÿTIPQÿLFWFOfP\TFÿUOHYÿ/FF0E\OW                                                                  @A@BD@BDBBÿ9IPQ[ÿ-FWFOfP\TFj@A@BD@BD@Bÿ9IPQÿHIÿ/FF0E\OWÿ      D/aTOHD                         Ch]B@S^S@ @]Ah@]A_A^BS               Ch]B@S^S@     B^BB
                                                                                                                                                                                              :^;^O^I
  BR8_B8SB@R eIELQPTÿ,QHLX @c__                                             -FfPTEPHFÿ/HLFPM+;ÿTIPQÿLFWFOfP\TFÿUOHYÿ/FF0E\OW                                                                  @A@BD@BDBBÿ9IPQ[ÿ-FWFOfP\TFj@A@BD@BD@Bÿ9IPQÿHIÿ/FF0E\OWÿ      D/aTOHD                        D__]B_S^RC @]ACb]AB@^_c              D__]B_S^RC     B^BB
                                                                                                                                                                                              :^;^O^I
  Bh8_B8SB@R eIELQPTÿ,QHLX @c_A                                             -FfPTEPHFÿ/HLFPM+;ÿTIPQÿLFWFOfP\TFÿUOHYÿ/FF0E\OW                                                                  @A@BD@BDBBÿ9IPQ[ÿ-FWFOfP\TFj@A@BD@BD@Bÿ9IPQÿHIÿ/FF0E\OWÿ      D/aTOHD                         @S]SBA^bS @]AcB]RBR^@h               @S]SBA^bS     B^BB
                                                                                                                                                                                              :^;^O^I
  Bh8_B8SB@R eIELQPTÿ,QHLX @c@B                                             -FWTP[[ÿSB@RÿKEQNOQZÿHIÿ/FF0E\OWÿHIÿ9IPQÿPWWIEQH                                                                  @A@BD@BDBBÿ9IPQ[ÿ-FWFOfP\TFj@A@BD@BD@Bÿ9IPQÿHIÿ/FF0E\OWÿ      D/aTOHD                        @cS]Shh^b_ @]RAS]hBR^BS              @cS]Shh^b_     B^BB
                                                                                                                                                                                              :^;^O^I
  @S8_@8SB@R eIELQPTÿ,QHLX @c_C                                             -FfPTEPHFÿ/HLFPM+;ÿTIPQÿLFWFOfP\TFÿUOHYÿ/FF0E\OW                                                                  @A@BD@BDBBÿ9IPQ[ÿ-FWFOfP\TFj@A@BD@BD@Bÿ9IPQÿHIÿ/FF0E\OWÿ      D/aTOHD                       D@B@]bCS^cB @]CA@]BC_^_S             D@B@]bCS^cB     B^BB
                                                                                                                                                                                              :^;^O^I
  B_8_@8SB@c eIELQPTÿ,QHLX @cCA                                             -FfPTEPHFÿ/HLFPM+;ÿTIPQÿLFWFOfP\TFÿUOHYÿ/FF0E\OW                                                                  @A@BD@BDBBÿ9IPQ[ÿ-FWFOfP\TFj@A@BD@BD@Bÿ9IPQÿHIÿ/FF0E\OWÿ      D/aTOHD                         SA]_AS^BR @]CRC]_hC^_b               SA]_AS^BR     B^BB
                                                                                                                                                                                              :^;^O^I
  BR8_B8SB@c eIELQPTÿ,QHLX @b_@                                             -FfPTEPHFÿ/HLFPM+;ÿTIPQÿLFWFOfP\TFÿUOHYÿ/FF0E\OW                                                                  @A@BD@BDBBÿ9IPQ[ÿ-FWFOfP\TFj@A@BD@BD@Bÿ9IPQÿHIÿ/FF0E\OWÿ      D/aTOHD                        @Bb]RBb^Rb @]RcA]BBA^BR              @Bb]RBb^Rb     B^BB
                                                                                                                                                                                              :^;^O^I
  Bh8_B8SB@c eIELQPTÿ,QHLX @bcB                                             -FfPTEPHFÿ/HLFPM+;ÿTIPQÿLFWFOfP\TFÿUOHYÿ/FF0E\OW                                                                  @A@BD@BDBBÿ9IPQ[ÿ-FWFOfP\TFj@A@BD@BD@Bÿ9IPQÿHIÿ/FF0E\OWÿ      D/aTOHD                         Cc]@Rh^A@ @]c_@]@c_^Ac               Cc]@Rh^A@     B^BB
                                                                                                                                                                                              :^;^O^I
  @S8_@8SB@c eIELQPTÿ,QHLX @hSC                                             -FfPTEPHFÿ/HLFPM+;ÿTIPQÿLFWFOfP\TFÿUOHYÿ/FF0E\OW                                                                  @A@BD@BDBBÿ9IPQ[ÿ-FWFOfP\TFj@A@BD@BD@Bÿ9IPQÿHIÿ/FF0E\OWÿ      D/aTOHD                         SA]_B_^hR @]cCC]Acc^A_               SA]_B_^hR     B^BB
                                                                                                                                                                                              :^;^O^I
  B_8_@8SB@b eIELQPTÿ,QHLX @hbh                                             -FMFP[ELFMFQHÿ/HLFPM+;ÿTIPQÿLFWFOfP\TFÿUOHYÿ/FF0E\OW                                                              @A@BD@BDBBÿ9IPQ[ÿ-FWFOfP\TFj@A@BD@BD@Bÿ9IPQÿHIÿ/FF0E\OWÿ      D/aTOHD                         CB]BRc^SR @]bBC]CAA^Rh               CB]BRc^SR     B^BB
                                                                                                                                                                                              :^;^O^I
  BR8_B8SB@b eIELQPTÿ,QHLX SBSb                                             -FMFP[ELFMFQHÿ/HLFPM+;ÿTIPQÿLFWFOfP\TFÿUOHYÿ/FF0E\OW                                                              @A@BD@BDBBÿ9IPQ[ÿ-FWFOfP\TFj@A@BD@BD@Bÿ9IPQÿHIÿ/FF0E\OWÿ      D/aTOHD                        Dh_]cAC^SS @]c@@]chh^Ac              Dh_]cAC^SS     B^BB
                                                                                                                                                                                              :^;^O^I
  Bh8_B8SB@b eIELQPTÿ,QHLX SB_h                                             9IPQÿUOHYÿ/FF0E\OWÿDÿ-FWILNÿi_ÿSB@bÿLFfPTEFÿIKÿKILFOZQÿNFQIMOQPHFNÿaLOQWOaPTÿ\PTPQWF                              @A@BD@BDBBÿ9IPQ[ÿ-FWFOfP\TFj@A@BD@BD@Bÿ9IPQÿHIÿ/FF0E\OWÿ      D/aTOHD                         Db]Cbc^bR @]cB_]S@@^R@               Db]Cbc^bR     B^BB
                                                                                                                                                                                              :^;^O^I
  @B8@B8SB@b ,VaFQ[F         rOLFÿ-FKkcCBCC*;BB_d- /FF0E\OWÿ\^f             dEQNOQZÿIKÿUIL`OQZÿWPaOHPTÿQFFN[ÿKILÿ/FF0E\OWÿDÿSS_]ShC^BBÿ,6-                                                    @A@BD@BDBBÿ9IPQ[ÿ-FWFOfP\TFj@A@BD@BD@Bÿ9IPQÿHIÿ/FF0E\OWÿ      @BB@DBBDcSÿ=/:0ÿ:PQ`ÿhS@C      SCh]R@c^_B @]hRS]bSb^h@              SCh]R@c^_B     B^BB
                                                                                                                                                                                              :^;^O^I
  @B8@@8SB@b ,VaFQ[F         rOLFÿ-FKkRhCcC*rBBC*> /FF0E\OWÿ:^;^            dEQNOQZÿIKÿUIL`OQZÿWPaOHPTÿHIÿ[E\[ONOPLXÿDÿ@CB]BBB^BBÿ,6-                                                         @A@BD@BDBBÿ9IPQ[ÿ-FWFOfP\TFj@A@BD@BD@Bÿ9IPQÿHIÿ/FF0E\OWÿ      @BB@DBBDcSÿ=/:0ÿ:PQ`ÿhS@C      @cC]BSA^SB S]@_c]bC_^@@              @cC]BSA^SB     B^BB
                                                                                                                                                                                              :^;^O^I
  @B8@b8SB@b ,VaFQ[F         rOLFÿ-FKkRCABC:_BBcC+ /FF0E\OWÿ:^;^            dEQNOQZÿHIÿ/FF0E\OWÿKILÿHYFÿLF[ITEHOIQÿIKÿ/FF0E\OWs[ÿOQHFLWIMaPQXÿ\PTPQWFÿUOHYÿ/+;1                               @A@BD@BDBBÿ9IPQ[ÿ-FWFOfP\TFj@A@BD@BD@Bÿ9IPQÿHIÿ/FF0E\OWÿ      @BB@DBBDcSÿ=/:0ÿ:PQ`ÿhS@C       b_]bhb^cS S]SS@]cC@^b_               b_]bhb^cS     B^BB
                                                                                                                                                                                              :^;^O^I
  @S8_@8SB@b eIELQPTÿ,QHLX SBC_                                             9IPQÿUOHYÿ/FF0E\OWÿDÿ-FWILNÿiAÿSB@bÿLFfPTEFÿIKÿKILFOZQÿNFQIMOQPHFNÿaLOQWOaPTÿ\PTPQWF                              @A@BD@BDBBÿ9IPQ[ÿ-FWFOfP\TFj@A@BD@BD@Bÿ9IPQÿHIÿ/FF0E\OWÿ      D/aTOHD                        D_S]c_c^Rb S]@bh]B@A^@C              D_S]c_c^Rb     B^BB
                                                                                                                                                                                              :^;^O^I
  B@8B_8SB@h ,VaFQ[F         +LPQ[KFLkBC@hC)hB@121 /FF0E\OWÿ:^;^            dEQNOQZÿIKÿUIL`OQZÿWPaOHPTÿQFFN[ÿKILÿ/FF0E\OWÿDÿ=/:0ÿ:PQ`ÿ*WWIEQHÿdFF[                                            @A@BD@BDBBÿ9IPQ[ÿ-FWFOfP\TFj@A@BD@BD@Bÿ9IPQÿHIÿ/FF0E\OWÿ      @BB@DBBDcSÿ=/:0ÿ:PQ`ÿhS@C        C]RRR^cb S]@hA]RbB^h_                C]RRR^cb     B^BB
                                                                                                                                                                                              :^;^O^I
  B_8_@8SB@h eIELQPTÿ,QHLX S@AS                                             9IPQÿUOHYÿ/FF0E\OWÿDÿ-FWILNÿi@ÿSB@hÿLFfPTEFÿIKÿKILFOZQÿNFQIMOQPHFNÿaLOQWOaPTÿ\PTPQWF                              @A@BD@BDBBÿ9IPQ[ÿ-FWFOfP\TFj@A@BD@BD@Bÿ9IPQÿHIÿ/FF0E\OWÿ      D/aTOHD                        DA_]cbc^Ac S]@CB]bh_^AR              DA_]cbc^Ac     B^BB
                                                                                                                                                                                              :^;^O^I
  BC8@C8SB@h ,VaFQ[F         +LPQ[KFLkB_chC><B@r.4 /FF0E\OWÿ:^;^            dEQNOQZÿIKÿ/FF0E\OWÿUIL`OQZÿWPaOHPTÿaPXLITT                                                                       @A@BD@BDBBÿ9IPQ[ÿ-FWFOfP\TFj@A@BD@BD@Bÿ9IPQÿHIÿ/FF0E\OWÿ      @BB@DBBDcSÿ=/:0ÿ:PQ`ÿhS@C      Sh_]ASb^C_ S]AAA]_S@^hh              Sh_]ASb^C_     B^BB

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                                                                                                                                                                                       :@;@A@B
 CD8EF8GCEH ,IJKLMK       +NOLMPKNQEDDRD>?CCS)< /KK0TUAVÿ:@;@        WTLXALYÿBPÿ/0ÿ=/:0ÿOVVBTLZÿ[BN\ALYÿVOJAZO]                                                                        EREC^EC^CCÿ9BOLMÿ-KVKA_OU]KÈREC^EC^ECÿ9BOLÿZBÿ/KK0TUAVÿ      ECCE^CC^FGÿ=/:0ÿ:OL\ÿHGED      EaERF@RC GaRRDaRbH@cH              EaERF@RC    C@CC
                                                                                                                                                                                       :@;@A@B
 Cb8cC8GCEH dBTNLO]ÿ,LZNe GERc                                       9BOLÿ[AZfÿ/KK0TUAVÿ^ÿ-KVBNXÿgGÿGCEHÿNK_O]TKÿBPÿPBNKAYLÿXKLBhALOZKXÿJNALVAJO]ÿUO]OLVK                              EREC^EC^CCÿ9BOLMÿ-KVKA_OU]KÈREC^EC^ECÿ9BOLÿZBÿ/KK0TUAVÿ      ^/J]AZ^                       cCaGDc@Hi GaRFDaFGc@cF             cCaGDc@Hi    C@CC
                                                                                                                                                                                       :@;@A@B
 CF8Ec8GCEH ,IJKLMK       +NOLMPKNQcGCRD1jCCRFd /KK0TUAVÿ:@;@        WTLXALYÿBPÿ[BN\ALYÿVOJAZO]ÿZBÿ/KK0TUAV                                                                            EREC^EC^CCÿ9BOLMÿ-KVKA_OU]KÈREC^EC^ECÿ9BOLÿZBÿ/KK0TUAVÿ      ECCE^CC^FEÿ=/:0ÿ:OL\ÿHGCF    ECFaHiF@bc GaDicaFEE@CC            ECFaHiF@bc    C@CC
                                                                                                                                                                                       :@;@A@B
 CF8GH8GCEH ,IJKLMK       +NOLMPKNQcDGFDdCCE<d? /KK0TUAVÿ:@;@        WTLXALYÿBPÿ[BN\ALYÿVOJAZO]ÿZBÿ/KK0TUAV                                                                            EREC^EC^CCÿ9BOLMÿ-KVKA_OU]KÈREC^EC^ECÿ9BOLÿZBÿ/KK0TUAVÿ      ECCE^CC^FGÿ=/:0ÿ:OL\ÿHGED      EaERD@bE GaDiRaiDb@bE              EaERD@bE    C@CC
                                                                                                                                                                                       :@;@A@B
 Ci8cC8GCEH ,IJKLMK       +NOLMPKNQERcDDdSCEijE /KK0TUAVÿ:@;@        WTLXALYÿBPÿ[BN\ALYÿVOJAZO]ÿZBÿ/0ÿ=/:0ÿOVVBTLZ                                                                     EREC^EC^CCÿ9BOLMÿ-KVKA_OU]KÈREC^EC^ECÿ9BOLÿZBÿ/KK0TUAVÿ      ECCE^CC^FGÿ=/:0ÿ:OL\ÿHGED      EaEcR@bG GaDiDaHHE@Gc              EaEcR@bG    C@CC
                                                                                                                                                                                       :@;@A@B
 CH8GC8GCEH ,IJKLMK       +NOLMPKNQEFRcDj=CED=? /KK0TUAVÿ:@;@        WTLXALYÿBPÿ[BN\ALYÿVOJAZO]ÿPBNÿ/KK0TUAV                                                                           EREC^EC^CCÿ9BOLMÿ-KVKA_OU]KÈREC^EC^ECÿ9BOLÿZBÿ/KK0TUAVÿ      ECCE^CC^FEÿ=/:0ÿ:OL\ÿHGCF      EabHi@cC GaDiFabiH@Dc              EabHi@cC    C@CC
                                                                                                                                                                                       :@;@A@B
 CH8cC8GCEH dBTNLO]ÿ,LZNe GERR                                       9BOLÿ[AZfÿ/KK0TUAVÿ^ÿ-KVBNXÿgcÿGCEHÿNK_O]TKÿBPÿPBNKAYLÿXKLBhALOZKXÿJNALVAJO]ÿUO]OLVK                              EREC^EC^CCÿ9BOLMÿ-KVKA_OU]KÈREC^EC^ECÿ9BOLÿZBÿ/KK0TUAVÿ      ^/J]AZ^                     ^ECbabcb@ib GaRiEaCDG@bF           ^ECbabcb@ib    C@CC
                                                                                                                                                                                       :@;@A@B
 EC8GG8GCEH ,IJKLMK       +NOLMPKNQRGiED9)CEDR5 /KK0TUAVÿ:@;@        WTLXALYÿBPÿ[BN\ALYÿVOJAZO]ÿZBÿ/KK0TUAVÿ=/:0ÿOVVBTLZ                                                               EREC^EC^CCÿ9BOLMÿ-KVKA_OU]KÈREC^EC^ECÿ9BOLÿZBÿ/KK0TUAVÿ      ECCE^CC^FGÿ=/:0ÿ:OL\ÿHGED      GaGiF@RE GaRicacRC@Ci              GaGiF@RE    C@CC
                                                                                                                                                                                       :@;@A@B
 EG8Gb8GCEH ,IJKLMK       +NOLMPKNQiCHDD.RCCij9 /KK0TUAVÿ:@;@        WTLXALYÿBPÿ[BN\ALYÿVOJAZO]ÿZBÿ/0ÿ=/:0ÿ*VVBTLZ                                                                     EREC^EC^CCÿ9BOLMÿ-KVKA_OU]KÈREC^EC^ECÿ9BOLÿZBÿ/KK0TUAVÿ      ECCE^CC^FEÿ=/:0ÿ:OL\ÿHGCF      EaFCi@RE GaRiDaCRi@RH              EaFCi@RE    C@CC
                                                                                                                                                                                       :@;@A@B
 CE8ED8GCGC dBTNLO]ÿ,LZNe GERH                                       9BOLÿ[AZfÿ/KK0TUAVÿ^ÿ-KVBNXÿgRÿGCEHÿNK_O]TKÿBPÿPBNKAYLÿXKLBhALOZKXÿJNALVAJO]ÿUO]OLVK                              EREC^EC^CCÿ9BOLMÿ-KVKA_OU]KÈREC^EC^ECÿ9BOLÿZBÿ/KK0TUAVÿ      ^/J]AZ^                       FcaGDH@iF GaDDiacCi@cb             FcaGDH@iF    C@CC
                                                                                                                                                                                       :@;@A@B
EREC^EC^EEÿ1LZKNVBhJOLeÿ1LZKNKMZÿ-KVKA_OU]Kÿ^ÿ/KK0TUAV
 Cc8cE8GCEb dBTNLO]ÿ,LZNe EFcG                                       -K_O]TOZKÿ/ZNKOh+;ÿALZKNKMZÿNKVKA_OU]Kÿ[AZfÿ/KK0TUAV                                                              EREC^EC^CCÿ9BOLMÿ-KVKA_OU]KÈREC^EC^EEÿ1LZKNVBhJOLeÿ1LZKNKMZÿ ^/J]AZ^                        GaERG@Fc     GaERG@Fc              GaERG@Fc    C@CC
                                                                                                                                                                                       -KVKA_OU]Kÿ^ÿ/KK0TUAV
 Cc8cE8GCEb dBTNLO]ÿ,LZNe EFcG                                       -KVBNXÿkTONZKN]eÿALZKNVBhJOLeÿALZKNKMZÿNKVKA_OU]KÿBLÿ/KK0TUAVÿ]BOL                                                EREC^EC^CCÿ9BOLMÿ-KVKA_OU]KÈREC^EC^EEÿ1LZKNVBhJOLeÿ1LZKNKMZÿ ^/J]AZ^                       FGaRGi@HF    FRaDFE@FC             FGaRGi@HF    C@CC
                                                                                                                                                                                       -KVKA_OU]Kÿ^ÿ/KK0TUAV
 Cb8cC8GCEb dBTNLO]ÿ,LZNe EFcb                                       -K_O]TOZKÿ/ZNKOh+;ÿALZKNKMZÿNKVKA_OU]Kÿ[AZfÿ/KK0TUAV                                                              EREC^EC^CCÿ9BOLMÿ-KVKA_OU]KÈREC^EC^EEÿ1LZKNVBhJOLeÿ1LZKNKMZÿ ^/J]AZ^                       ^Gaiii@Dc    FEabic@EF             ^Gaiii@Dc    C@CC
                                                                                                                                                                                       -KVKA_OU]Kÿ^ÿ/KK0TUAV
 Cb8cC8GCEb dBTNLO]ÿ,LZNe EFcb                                       -KVBNXÿkTONZKN]eÿALZKNVBhJOLeÿALZKNKMZÿNKVKA_OU]KÿBLÿ/KK0TUAVÿ]BOL                                                EREC^EC^CCÿ9BOLMÿ-KVKA_OU]KÈREC^EC^EEÿ1LZKNVBhJOLeÿ1LZKNKMZÿ ^/J]AZ^                       FRaEDb@HF   ERDaiRC@ER             FRaEDb@HF    C@CC
                                                                                                                                                                                       -KVKA_OU]Kÿ^ÿ/KK0TUAV
 CH8cC8GCEb dBTNLO]ÿ,LZNe EFcF                                       -K_O]TOZKÿ/ZNKOh+;ÿALZKNKMZÿNKVKA_OU]Kÿ[AZfÿ/KK0TUAV                                                              EREC^EC^CCÿ9BOLMÿ-KVKA_OU]KÈREC^EC^EEÿ1LZKNVBhJOLeÿ1LZKNKMZÿ ^/J]AZ^                        EaFDD@iG   ERFaDHD@Hb              EaFDD@iG    C@CC
                                                                                                                                                                                       -KVKA_OU]Kÿ^ÿ/KK0TUAV
 CH8cC8GCEb dBTNLO]ÿ,LZNe EFcF                                       -KVBNXÿkTONZKN]eÿALZKNVBhJOLeÿALZKNKMZÿNKVKA_OU]KÿBLÿ/KK0TUAVÿ]BOL                                                EREC^EC^CCÿ9BOLMÿ-KVKA_OU]KÈREC^EC^EEÿ1LZKNVBhJOLeÿ1LZKNKMZÿ ^/J]AZ^                       FcaGbb@ci   GGCaibG@cR             FcaGbb@ci    C@CC
                                                                                                                                                                                       -KVKA_OU]Kÿ^ÿ/KK0TUAV
 EG8cE8GCEb dBTNLO]ÿ,LZNe EFci                                       -K_O]TOZKÿ/ZNKOh+;ÿALZKNKMZÿNKVKA_OU]Kÿ[AZfÿ/KK0TUAV                                                              EREC^EC^CCÿ9BOLMÿ-KVKA_OU]KÈREC^EC^EEÿ1LZKNVBhJOLeÿ1LZKNKMZÿ ^/J]AZ^                      ^EDabcc@bR   GCDaGGi@FC            ^EDabcc@bR    C@CC
                                                                                                                                                                                       -KVKA_OU]Kÿ^ÿ/KK0TUAV
 EG8cE8GCEb dBTNLO]ÿ,LZNe EFci                                       -KVBNXÿkTONZKN]eÿALZKNVBhJOLeÿALZKNKMZÿNKVKA_OU]KÿBLÿ/KK0TUAVÿ]BOL                                                EREC^EC^CCÿ9BOLMÿ-KVKA_OU]KÈREC^EC^EEÿ1LZKNVBhJOLeÿ1LZKNKMZÿ ^/J]AZ^                       FbaGDR@Dc   GiEaRic@Gc             FbaGDR@Dc    C@CC
                                                                                                                                                                                       -KVKA_OU]Kÿ^ÿ/KK0TUAV
 Cc8cE8GCEF dBTNLO]ÿ,LZNe EFDG                                       -K_O]TOZKÿ/ZNKOh+;ÿALZKNKMZÿNKVKA_OU]Kÿ[AZfÿ/KK0TUAV                                                              EREC^EC^CCÿ9BOLMÿ-KVKA_OU]KÈREC^EC^EEÿ1LZKNVBhJOLeÿ1LZKNKMZÿ ^/J]AZ^                       bbaEHR@GF   cRFabFF@DC             bbaEHR@GF    C@CC
                                                                                                                                                                                       -KVKA_OU]Kÿ^ÿ/KK0TUAV
 Cc8cE8GCEF dBTNLO]ÿ,LZNe EFDG                                       -KVBNXÿkTONZKN]eÿALZKNVBhJOLeÿALZKNKMZÿNKVKA_OU]KÿBLÿ/KK0TUAVÿ]BOL                                                EREC^EC^CCÿ9BOLMÿ-KVKA_OU]KÈREC^EC^EEÿ1LZKNVBhJOLeÿ1LZKNKMZÿ ^/J]AZ^                       FiaCbR@HE   RGDaFRG@RE             FiaCbR@HE    C@CC
                                                                                                                                                                                       -KVKA_OU]Kÿ^ÿ/KK0TUAV
 Cb8cC8GCEF dBTNLO]ÿ,LZNe EicG                                       -K_O]TOZKÿ/ZNKOh+;ÿALZKNKMZÿNKVKA_OU]Kÿ[AZfÿ/KK0TUAV                                                              EREC^EC^CCÿ9BOLMÿ-KVKA_OU]KÈREC^EC^EEÿ1LZKNVBhJOLeÿ1LZKNKMZÿ ^/J]AZ^                      ^ccaEDC@EH   cHGaDHG@GG            ^ccaEDC@EH    C@CC
                                                                                                                                                                                       -KVKA_OU]Kÿ^ÿ/KK0TUAV
 Cb8cC8GCEF dBTNLO]ÿ,LZNe EicG                                       -KVBNXÿkTONZKN]eÿALZKNVBhJOLeÿALZKNKMZÿNKVKA_OU]KÿBLÿ/KK0TUAVÿ]BOL                                                EREC^EC^CCÿ9BOLMÿ-KVKA_OU]KÈREC^EC^EEÿ1LZKNVBhJOLeÿ1LZKNKMZÿ ^/J]AZ^                       iCaDFD@FG   RFcaEbF@HR             iCaDFD@FG    C@CC
                                                                                                                                                                                       -KVKA_OU]Kÿ^ÿ/KK0TUAV
 CH8cC8GCEF dBTNLO]ÿ,LZNe EiFc                                       -K_O]TOZKÿ/ZNKOh+;ÿALZKNKMZÿNKVKA_OU]Kÿ[AZfÿ/KK0TUAV                                                              EREC^EC^CCÿ9BOLMÿ-KVKA_OU]KÈREC^EC^EEÿ1LZKNVBhJOLeÿ1LZKNKMZÿ ^/J]AZ^                       EbabED@Rb   RiHaFic@RC             EbabED@Rb    C@CC
                                                                                                                                                                                       -KVKA_OU]Kÿ^ÿ/KK0TUAV
 CH8cC8GCEF dBTNLO]ÿ,LZNe EiFc                                       -KVBNXÿkTONZKN]eÿALZKNVBhJOLeÿALZKNKMZÿNKVKA_OU]KÿBLÿ/KK0TUAVÿ]BOL                                                EREC^EC^CCÿ9BOLMÿ-KVKA_OU]KÈREC^EC^EEÿ1LZKNVBhJOLeÿ1LZKNKMZÿ ^/J]AZ^                       ibaECG@DE   DFDaiiD@HE             ibaECG@DE    C@CC
                                                                                                                                                                                       -KVKA_OU]Kÿ^ÿ/KK0TUAV
 EG8cE8GCEF dBTNLO]ÿ,LZNe EHGb                                       -K_O]TOZKÿ/ZNKOh+;ÿALZKNKMZÿNKVKA_OU]Kÿ[AZfÿ/KK0TUAV                                                              EREC^EC^CCÿ9BOLMÿ-KVKA_OU]KÈREC^EC^EEÿ1LZKNVBhJOLeÿ1LZKNKMZÿ ^/J]AZ^                        HaDDb@Dc   DiDaRRG@RR              HaDDb@Dc    C@CC
                                                                                                                                                                                       -KVKA_OU]Kÿ^ÿ/KK0TUAV
 EG8cE8GCEF dBTNLO]ÿ,LZNe EHGb                                       -KVBNXÿkTONZKN]eÿALZKNVBhJOLeÿALZKNKMZÿNKVKA_OU]KÿBLÿ/KK0TUAVÿ]BOL                                                EREC^EC^CCÿ9BOLMÿ-KVKA_OU]KÈREC^EC^EEÿ1LZKNVBhJOLeÿ1LZKNKMZÿ ^/J]AZ^                       ibacCG@GE   bFEaFRR@bD             ibacCG@GE    C@CC
                                                                                                                                                                                       -KVKA_OU]Kÿ^ÿ/KK0TUAV
 Cc8cE8GCEi dBTNLO]ÿ,LZNe EHii                                       -K_O]TOZKÿ/ZNKOh+;ÿALZKNKMZÿNKVKA_OU]Kÿ[AZfÿ/KK0TUAV                                                              EREC^EC^CCÿ9BOLMÿ-KVKA_OU]KÈREC^EC^EEÿ1LZKNVBhJOLeÿ1LZKNKMZÿ ^/J]AZ^                       EHaGFc@Gi   bHEaCEF@Hc             EHaGFc@Gi    C@CC
                                                                                                                                                                                       -KVKA_OU]Kÿ^ÿ/KK0TUAV
 Cc8cE8GCEi dBTNLO]ÿ,LZNe EHii                                       -KVBNXÿkTONZKN]eÿALZKNVBhJOLeÿALZKNKMZÿNKVKA_OU]KÿBLÿ/KK0TUAVÿ]BOL                                                EREC^EC^CCÿ9BOLMÿ-KVKA_OU]KÈREC^EC^EEÿ1LZKNVBhJOLeÿ1LZKNKMZÿ ^/J]AZ^                       HCaEbG@Dc   FiEaEiC@Rb             HCaEbG@Dc    C@CC
                                                                                                                                                                                       -KVKA_OU]Kÿ^ÿ/KK0TUAV
 Cb8cC8GCEi dBTNLO]ÿ,LZNe GCGc                                       -K_O]TOZKÿ/ZNKOh+;ÿALZKNKMZÿNKVKA_OU]Kÿ[AZfÿ/KK0TUAV                                                              EREC^EC^CCÿ9BOLMÿ-KVKA_OU]KÈREC^EC^EEÿ1LZKNVBhJOLeÿ1LZKNKMZÿ ^/J]AZ^                      ^RGaccR@EC   FciaiRb@cb            ^RGaccR@EC    C@CC
                                                                                                                                                                                       -KVKA_OU]Kÿ^ÿ/KK0TUAV
 Cb8cC8GCEi dBTNLO]ÿ,LZNe GCGc                                       -KVBNXÿkTONZKN]eÿALZKNVBhJOLeÿALZKNKMZÿNKVKA_OU]KÿBLÿ/KK0TUAVÿ]BOL                                                EREC^EC^CCÿ9BOLMÿ-KVKA_OU]KÈREC^EC^EEÿ1LZKNVBhJOLeÿ1LZKNKMZÿ ^/J]AZ^                       iFacbR@bE   iGbaGEC@HF             iFacbR@bE    C@CC
                                                                                                                                                                                       -KVKA_OU]Kÿ^ÿ/KK0TUAV
 CH8cC8GCEi dBTNLO]ÿ,LZNe GCcH                                       9BOLÿ[AZfÿ/KK0TUAVÿ^ÿ-KVBNXÿgGÿGCEiÿZNTK^TJÿOXl@ÿZBÿALZKNKMZÿKIJKLMK8mALVBhKn                                     EREC^EC^CCÿ9BOLMÿ-KVKA_OU]KÈREC^EC^EEÿ1LZKNVBhJOLeÿ1LZKNKMZÿ ^/J]AZ^                      ^cHacER@CF   FibaiHb@HC            ^cHacER@CF    C@CC
                                                                                                                                                                                       -KVKA_OU]Kÿ^ÿ/KK0TUAV
 CH8cC8GCEi dBTNLO]ÿ,LZNe GCcH                                       9BOLÿ[AZfÿ/KK0TUAVÿ^ÿ-KVBNXÿgcÿGCEiÿNK_O]TKÿBPÿPBNKAYLÿXKLBhALOZKXÿOVVThT]OZKXÿALZKNKMZÿUO]OLVK                   EREC^EC^CCÿ9BOLMÿ-KVKA_OU]KÈREC^EC^EEÿ1LZKNVBhJOLeÿ1LZKNKMZÿ ^/J]AZ^                       ^caHbR@HD   FiGaHcE@HD             ^caHbR@HD    C@CC
                                                                                                                                                                                       -KVKA_OU]Kÿ^ÿ/KK0TUAV
 CH8cC8GCEi dBTNLO]ÿ,LZNe GCcH                                       9BOLÿ[AZfÿ/KK0TUAVÿ^ÿ-KVBNXÿgGÿGCEiÿZNTK^TJÿOXl@ÿZBÿALZKNKMZÿKIJKLMK8mALVBhKnÿ^ÿ0+*ÿXAPPKNKLVK                    EREC^EC^CCÿ9BOLMÿ-KVKA_OU]KÈREC^EC^EEÿ1LZKNVBhJOLeÿ1LZKNKMZÿ ^/J]AZ^                          FHi@DR   FicaFcC@RH                FHi@DR    C@CC
                                                                                                                                                                                       -KVKA_OU]Kÿ^ÿ/KK0TUAV
 CH8cC8GCEi dBTNLO]ÿ,LZNe GCcH                                       9BOLÿ[AZfÿ/KK0TUAVÿ^ÿ-KVBNXÿgcÿGCEiÿALZKNKMZÿKIJKLMK8mALVBhKn                                                     EREC^EC^CCÿ9BOLMÿ-KVKA_OU]KÈREC^EC^EEÿ1LZKNVBhJOLeÿ1LZKNKMZÿ ^/J]AZ^                       RbaiDE@DE   icCaDiG@CC             RbaiDE@DE    C@CC
                                                                                                                                                                                       -KVKA_OU]Kÿ^ÿ/KK0TUAV
 EG8cE8GCEi dBTNLO]ÿ,LZNe GCDc                                       9BOLÿ[AZfÿ/KK0TUAVÿ^ÿ-KVBNXÿgRÿGCEiÿNK_O]TKÿBPÿPBNKAYLÿXKLBhALOZKXÿOVVThT]OZKXÿALZKNKMZÿUO]OLVK                   EREC^EC^CCÿ9BOLMÿ-KVKA_OU]KÈREC^EC^EEÿ1LZKNVBhJOLeÿ1LZKNKMZÿ ^/J]AZ^                      ^EGaDRD@bE   iEiaCcb@cH            ^EGaDRD@bE    C@CC
                                                                                                                                                                                       -KVKA_OU]Kÿ^ÿ/KK0TUAV
 EG8cE8GCEi dBTNLO]ÿ,LZNe GCDc                                       9BOLÿ[AZfÿ/KK0TUAVÿ^ÿ-KVBNXÿgRÿGCEiÿALZKNKMZÿKIJKLMK8mALVBhKn                                                     EREC^EC^CCÿ9BOLMÿ-KVKA_OU]KÈREC^EC^EEÿ1LZKNVBhJOLeÿ1LZKNKMZÿ ^/J]AZ^                       RbaiDE@DE   ibRaiiF@HC             RbaiDE@DE    C@CC
                                                                                                                                                                                       -KVKA_OU]Kÿ^ÿ/KK0TUAV
 Cc8cE8GCEH dBTNLO]ÿ,LZNe GERG                                       9BOLÿ[AZfÿ/KK0TUAVÿ^ÿ-KVBNXÿgEÿGCEHÿNK_O]TKÿBPÿPBNKAYLÿXKLBhALOZKXÿOVVThT]OZKXÿALZKNKMZÿUO]OLVK                   EREC^EC^CCÿ9BOLMÿ-KVKA_OU]KÈREC^EC^EEÿ1LZKNVBhJOLeÿ1LZKNKMZÿ ^/J]AZ^                      ^EFaiFG@ER   iRFaCED@Fb            ^EFaiFG@ER    C@CC
                                                                                                                                                                                       -KVKA_OU]Kÿ^ÿ/KK0TUAV
 Cc8cE8GCEH dBTNLO]ÿ,LZNe GERG                                       9BOLÿ[AZfÿ/KK0TUAVÿ^ÿ-KVBNXÿgEÿGCEHÿALZKNKMZÿKIJKLMK8mALVBhKn                                                     EREC^EC^CCÿ9BOLMÿ-KVKA_OU]KÈREC^EC^EEÿ1LZKNVBhJOLeÿ1LZKNKMZÿ ^/J]AZ^                       DHabDi@Fb   HCbabFR@DG             DHabDi@Fb    C@CC
                                                                                                                                                                                       -KVKA_OU]Kÿ^ÿ/KK0TUAV
 Cb8cC8GCEH dBTNLO]ÿ,LZNe GERc                                       9BOLÿ[AZfÿ/KK0TUAVÿ^ÿ-KVBNXÿgGÿGCEHÿNK_O]TKÿBPÿPBNKAYLÿXKLBhALOZKXÿOVVThT]OZKXÿALZKNKMZÿUO]OLVK                   EREC^EC^CCÿ9BOLMÿ-KVKA_OU]KÈREC^EC^EEÿ1LZKNVBhJOLeÿ1LZKNKMZÿ ^/J]AZ^                       EGaDEE@RD   HEHaEiD@HF             EGaDEE@RD    C@CC

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                                                                                                                                                                                               -@A@BCDEF@ÿGÿ/@@0HEBA
 IJ8KI8LIMN OPHQRDFÿ,RSQT LMUK                                             9PDRÿVBSWÿ/@@0HEBAÿGÿ-@APQXÿYLÿLIMNÿBRS@Q@ZSÿ@[\@RZ@8]BRAP^@_                                                       MUMIGMIGIIÿ9PDRZÿ-@A@BCDEF@M̀UMIGMIGMMÿ1RS@QAP^\DRTÿ1RS@Q@ZSÿ G/\FBSG                         aNbMNJcNK NdebKeLcNI                 aNbMNJcNK    IcII
                                                                                                                                                                                               -@A@BCDEF@ÿGÿ/@@0HEBA
 IN8KI8LIMN OPHQRDFÿ,RSQT LMUU                                             9PDRÿVBSWÿ/@@0HEBAÿGÿ-@APQXÿYKÿLIMNÿQ@CDFH@ÿPfÿfPQ@BgRÿX@RP^BRDS@XÿDAAH^HFDS@XÿBRS@Q@ZSÿEDFDRA@                     MUMIGMIGIIÿ9PDRZÿ-@A@BCDEF@M̀UMIGMIGMMÿ1RS@QAP^\DRTÿ1RS@Q@ZSÿ G/\FBSG                        GUMbJMdcIL NKJbdJacee                GUMbJMdcIL    IcII
                                                                                                                                                                                               -@A@BCDEF@ÿGÿ/@@0HEBA
 IN8KI8LIMN OPHQRDFÿ,RSQT LMUU                                             9PDRÿVBSWÿ/@@0HEBAÿGÿ-@APQXÿYKÿLIMNÿBRS@Q@ZSÿ@[\@RZ@8]BRAP^@_                                                       MUMIGMIGIIÿ9PDRZÿ-@A@BCDEF@M̀UMIGMIGMMÿ1RS@QAP^\DRTÿ1RS@Q@ZSÿ G/\FBSG                         JJbaUNcIJ MbIIKbKMUcNU               JJbaUNcIJ    IcII
                                                                                                                                                                                               -@A@BCDEF@ÿGÿ/@@0HEBA
 IM8Ma8LILI OPHQRDFÿ,RSQT LMUN                                             9PDRÿVBSWÿ/@@0HEBAÿGÿ-@APQXÿYUÿLIMNÿBRS@Q@ZSÿ@[\@RZ@8]BRAP^@_                                                       MUMIGMIGIIÿ9PDRZÿ-@A@BCDEF@M̀UMIGMIGMMÿ1RS@QAP^\DRTÿ1RS@Q@ZSÿ G/\FBSG                         JNbLdecae MbIdLbaNKcaL               JNbLdecae    IcII
                                                                                                                                                                                               -@A@BCDEF@ÿGÿ/@@0HEBA
MUMIGMIGMUÿ9PDRÿSPÿ6FSQDG)ÿ0PP\@QDSBC@ÿ6*ÿG2SW@QÿDASBCBST
 IM8IM8LIMJ OPHQRDFÿ,RSQT MdIN                                             -@AFDZZÿ6FSQD)ÿ10ÿDASBCBSTÿDZZPABDS@XÿVBSWÿBRCPBA@ZÿDRXÿ5WBFB\ZÿBRS@Q@ZSÿ\DT^@RSZ                                   MUMIGMIGIIÿ9PDRZÿ-@A@BCDEF@M̀UMIGMIGMUÿ9PDRÿSPÿ6FSQDG)ÿ       G/\FBSG                        MLNbIIJceU   MLNbIIJceU              MLNbIIJceU    IcII
                                                                                                                                                                                               0PP\@QDSBC@ÿ6*ÿG2SW@QÿDASBCBST
 IM8IM8LIMJ OPHQRDFÿ,RSQT MdIN                                             -@AFDZZÿ6FSQD)ÿ10ÿDASBCBST                                                                                          MUMIGMIGIIÿ9PDRZÿ-@A@BCDEF@M̀UMIGMIGMUÿ9PDRÿSPÿ6FSQDG)ÿ       G/\FBSG                          abIaNcdI   MKUbIJJcaU                abIaNcdI    IcII
                                                                                                                                                                                               0PP\@QDSBC@ÿ6*ÿG2SW@QÿDASBCBST
 IU8ML8LIMe ,[\@RZ@          hBQ@ÿ-@fidLMeaa6IM))6 6FSQDG)ÿ0PP\@QDSB@fÿ    jHRXBRgÿPfÿhPQkBRgÿ0D\BSDFÿSPÿ/HEÿ]/@@0HEBA_                                                                        MUMIGMIGIIÿ9PDRZÿ-@A@BCDEF@M̀UMIGMIGMUÿ9PDRÿSPÿ6FSQDG)ÿ       MIIMGIIGdLÿ=/:0ÿ:DRkÿNLMa      LKKbULUceK   KJdbUNMcKd              LKKbULUceK    IcII
                                                          6c*cBcPc                                                                                                                             0PP\@QDSBC@ÿ6*ÿG2SW@QÿDASBCBST
 IJ8IJ8LIMe ,[\@RZ@          hBQ@ÿ-@fiLIUIad)IM=40 6FSQDG)ÿ0PP\@QDSB@fÿ    jHRXBRgÿPfÿVPQkBRgÿAD\BSDFÿSPÿZHEZBXBDQT                                                                            MUMIGMIGIIÿ9PDRZÿ-@A@BCDEF@M̀UMIGMIGMUÿ9PDRÿSPÿ6FSQDG)ÿ       MIIMGIIGdLÿ=/:0ÿ:DRkÿNLMa       NJbdeIcJd   UJUbLdLcIU               NJbdeIcJd    IcII
                                                          6c*cBcPc                                                                                                                             0PP\@QDSBC@ÿ6*ÿG2SW@QÿDASBCBST
 IJ8KI8LIMe OPHQRDFÿ,RSQT LILd                                             J8J8MeÿhBQ@ÿ-@fiLIUIad)IM=40ÿGÿjHRXBRgÿPfÿVPQkBRgÿAD\BSDFÿSPÿZHEZBXBDQT                                             MUMIGMIGIIÿ9PDRZÿ-@A@BCDEF@M̀UMIGMIGMUÿ9PDRÿSPÿ6FSQDG)ÿ       G/\FBSG                        GNJbdeIcJd   KJdbUNMcKd              GNJbdeIcJd    IcII
                                                                                                                                                                                               0PP\@QDSBC@ÿ6*ÿG2SW@QÿDASBCBST
 IJ8KI8LIMe OPHQRDFÿ,RSQT LILd                                             U8ML8MeÿhBQ@ÿ-@fidLMeaa6IM))6ÿGÿjHRXBRgÿPfÿhPQkBRgÿ0D\BSDFÿSPÿ/HEÿ]/@@0HEBA_                                        MUMIGMIGIIÿ9PDRZÿ-@A@BCDEF@M̀UMIGMIGMUÿ9PDRÿSPÿ6FSQDG)ÿ       G/\FBSG                       GLKKbULUceK   MKUbIJJcaU             GLKKbULUceK    IcII
                                                                                                                                                                                               0PP\@QDSBC@ÿ6*ÿG2SW@QÿDASBCBST
 Ie8MK8LIMe ,[\@RZ@          hBQ@ÿ-@fiIdKLaNNIIdI+ 6FSQDG)ÿ0PP\@QDSB@fÿ    jHRXBRgÿPfÿ/@@0HEBAÿVPQkBRgÿAD\BSDFÿGÿMZSÿWDFf                                                                      MUMIGMIGIIÿ9PDRZÿ-@A@BCDEF@M̀UMIGMIGMUÿ9PDRÿSPÿ6FSQDG)ÿ       MIIMGIIGdLÿ=/:0ÿ:DRkÿNLMa      MLMbJeUcIe   LaabdaIcJL              MLMbJeUcIe    IcII
                                                          6c*cBcPc                                                                                                                             0PP\@QDSBC@ÿ6*ÿG2SW@QÿDASBCBST
 Ie8MK8LIMe ,[\@RZ@          hBQ@ÿ-@fiIdKLaNNIIdI+ 6FSQDG)ÿ0PP\@QDSB@fÿ    jHRXBRgÿPfÿ/@@0HEBAÿVPQkBRgÿAD\BSDFÿGÿLRXÿWDFf                                                                      MUMIGMIGIIÿ9PDRZÿ-@A@BCDEF@M̀UMIGMIGMUÿ9PDRÿSPÿ6FSQDG)ÿ       MIIMGIIGdLÿ=/:0ÿ:DRkÿNLMa      MLMbJeUcIe   KddbUKUcdI              MLMbJeUcIe    IcII
                                                          6c*cBcPc                                                                                                                             0PP\@QDSBC@ÿ6*ÿG2SW@QÿDASBCBST
 Ie8MK8LIMe ,[\@RZ@          hBQ@ÿ-@fiIdKLaNNIIdI+ 6FSQDG)ÿ0PP\@QDSB@fÿ    jHRXBRgÿPfÿ6FSQD)ÿVPQkBRgÿAD\BSDF                                                                                   MUMIGMIGIIÿ9PDRZÿ-@A@BCDEF@M̀UMIGMIGMUÿ9PDRÿSPÿ6FSQDG)ÿ       MIIMGIIGdLÿ=/:0ÿ:DRkÿNLMa        dbIdMcUa   KeUbaIJcMa                dbIdMcUa    IcII
                                                          6c*cBcPc                                                                                                                             0PP\@QDSBC@ÿ6*ÿG2SW@QÿDASBCBST
 IN8KI8LIMe OPHQRDFÿ,RSQT LIKN                                             e8MK8LIMeÿhBQ@ÿ-@fiIdKLaNNIIdI+ÿGÿ-@AFDZZÿfHRXBRgÿSPÿAPQQ@ASÿ10ÿDAAPHRS                                             MUMIGMIGIIÿ9PDRZÿ-@A@BCDEF@M̀UMIGMIGMUÿ9PDRÿSPÿ6FSQDG)ÿ       G/\FBSG                         GdbIdMcUa   KddbUKUcdI               GdbIdMcUa    IcII
                                                                                                                                                                                               0PP\@QDSBC@ÿ6*ÿG2SW@QÿDASBCBST
 IN8KI8LIMe OPHQRDFÿ,RSQT LIKN                                             e8MK8LIMeÿhBQ@ÿ-@fiIdKLaNNIIdI+ÿGÿ-@AFDZZÿfHRXBRgÿSPÿAPQQ@ASÿ10ÿDAAPHRS                                             MUMIGMIGIIÿ9PDRZÿ-@A@BCDEF@M̀UMIGMIGMUÿ9PDRÿSPÿ6FSQDG)ÿ       G/\FBSG                       GMLMbJeUcIe   LaabdaIcJL             GMLMbJeUcIe    IcII
                                                                                                                                                                                               0PP\@QDSBC@ÿ6*ÿG2SW@QÿDASBCBST
 IN8KI8LIMe OPHQRDFÿ,RSQT LIKN                                             e8MK8LIMeÿhBQ@ÿ-@fiIdKLaNNIIdI+ÿGÿ-@AFDZZÿfHRXBRgÿSPÿAPQQ@ASÿ10ÿDAAPHRS                                             MUMIGMIGIIÿ9PDRZÿ-@A@BCDEF@M̀UMIGMIGMUÿ9PDRÿSPÿ6FSQDG)ÿ       G/\FBSG                       GMLMbJeUcIe   MKUbIJJcaU             GMLMbJeUcIe    IcII
                                                                                                                                                                                               0PP\@QDSBC@ÿ6*ÿG2SW@QÿDASBCBST
 MM8Me8LIMN ,[\@RZ@          +QDRZf@QiMUIda7MII?9U 6FSQDG)ÿ0PP\@QDSB@fÿ    jHRXBRgÿPfÿVPQkBRgÿAD\BSDFÿSPÿ/0                                                                                    MUMIGMIGIIÿ9PDRZÿ-@A@BCDEF@M̀UMIGMIGMUÿ9PDRÿSPÿ6FSQDG)ÿ       MIIMGIIGdLÿ=/:0ÿ:DRkÿNLMa       aJbMLUcNK   MNIbMNMcUd               aJbMLUcNK    IcII
                                                          6c*cBcPc                                                                                                                             0PP\@QDSBC@ÿ6*ÿG2SW@QÿDASBCBST
 MM8MN8LIMN ,[\@RZ@          +QDRZf@QieJLKa7aIM94N 6FSQDG)ÿ0PP\@QDSB@fÿ    jHRXBRgÿPfÿVPQkBRgÿAD\BSDFÿfPQÿ/0                                                                                   MUMIGMIGIIÿ9PDRZÿ-@A@BCDEF@M̀UMIGMIGMUÿ9PDRÿSPÿ6FSQDG)ÿ       MIIMGIIGdMÿ=/:0ÿ:DRkÿNLId       UabLMacJe   LKabUIdcMa               UabLMacJe    IcII
                                                          6c*cBcPc                                                                                                                             0PP\@QDSBC@ÿ6*ÿG2SW@QÿDASBCBST
 MM8LL8LIMN ,[\@RZ@          +QDRZf@QiLLNMa7eIMlMM 6FSQDG)ÿ0PP\@QDSB@fÿ    jHRXBRgÿPfÿVPQkBRgÿAD\BSDFÿSPÿ/0                                                                                    MUMIGMIGIIÿ9PDRZÿ-@A@BCDEF@M̀UMIGMIGMUÿ9PDRÿSPÿ6FSQDG)ÿ       MIIMGIIGdLÿ=/:0ÿ:DRkÿNLMa       eNbJMecJU   KLabILacdN               eNbJMecJU    IcII
                                                          6c*cBcPc                                                                                                                             0PP\@QDSBC@ÿ6*ÿG2SW@QÿDASBCBST
 ML8MK8LIMN ,[\@RZ@          +QDRZf@QiLaIIa7+ILK?1 6FSQDG)ÿ0PP\@QDSB@fÿ    jHRXBRgÿPfÿVPQkBRgÿAD\BSDFÿfPQÿ/0                                                                                   MUMIGMIGIIÿ9PDRZÿ-@A@BCDEF@M̀UMIGMIGMUÿ9PDRÿSPÿ6FSQDG)ÿ       MIIMGIIGdLÿ=/:0ÿ:DRkÿNLMa       UabKNdcLe   KdIbULKcId               UabKNdcLe    IcII
                                                          6c*cBcPc                                                                                                                             0PP\@QDSBC@ÿ6*ÿG2SW@QÿDASBCBST
 ML8MN8LIMN ,[\@RZ@          +QDRZf@QiUaeIa7?ILI1/ 6FSQDG)ÿ0PP\@QDSB@fÿ    jHRXBRgÿPfÿVPQkBRgÿAD\BSDFÿSPÿ6FSQDG)ÿfPQÿ/0ÿ5DTQPFF                                                                MUMIGMIGIIÿ9PDRZÿ-@A@BCDEF@M̀UMIGMIGMUÿ9PDRÿSPÿ6FSQDG)ÿ       MIIMGIIGdMÿ=/:0ÿ:DRkÿNLId       dNbIMIcUI   UUNbUKKcUd               dNbIMIcUI    IcII
                                                          6c*cBcPc                                                                                                                             0PP\@QDSBC@ÿ6*ÿG2SW@QÿDASBCBST
 ML8LU8LIMN ,[\@RZ@          +QDRZf@QidIJea.UII:6* 6FSQDG)ÿ0PP\@QDSB@fÿ    jHRXBRgÿPfÿVPQkBRgÿAD\BSDFÿSPÿ6FSQDG)                                                                               MUMIGMIGIIÿ9PDRZÿ-@A@BCDEF@M̀UMIGMIGMUÿ9PDRÿSPÿ6FSQDG)ÿ       MIIMGIIGdMÿ=/:0ÿ:DRkÿNLId          UaacaN   UUNbeeNcIJ                  UaacaN    IcII
                                                          6c*cBcPc                                                                                                                             0PP\@QDSBC@ÿ6*ÿG2SW@QÿDASBCBST
MUMIGMIGMaÿ9PDRÿSPÿ6FSQDG)ÿ0PP\@QDSBC@ÿ6*
 IM8IM8LIMJ OPHQRDFÿ,RSQT MdIN                                             -@AFDZZÿP\@RBRgÿEDFDRA@ÿPfÿ9PDRÿQ@A@BCDEF@ÿVBSWÿ6FSQD)ÿ0PP\                                                         MUMIGMIGIIÿ9PDRZÿ-@A@BCDEF@M̀UMIGMIGMaÿ9PDRÿSPÿ6FSQDG)ÿ       G/\FBSG                     MJbMNIbaaIcUI MJbMNIbaaIcUI          MJbMNIbaaIcUI    IcII
                                                                                                                                                                                               0PP\@QDSBC@ÿ6*
 ML8KM8LIMJ OPHQRDFÿ,RSQT MdLN                                             -@AFDZZÿ6FSQD)ÿYUÿfHRXBRgÿVWBAWÿ\PZS@XÿSPÿMUMIGMIGNa                                                                MUMIGMIGIIÿ9PDRZÿ-@A@BCDEF@M̀UMIGMIGMaÿ9PDRÿSPÿ6FSQDG)ÿ       G/\FBSG                        KMNbdeUcIa MJbaMIbKKUcUa             KMNbdeUcIa    IcII
                                                                                                                                                                                               0PP\@QDSBC@ÿ6*
 ML8KM8LIMJ OPHQRDFÿ,RSQT MdMM                                             -@AFDZZÿLIMJÿfHRXBRgÿSPÿ6FSQD)ÿ0PP\ÿSPÿ9PDRÿDAAPHRS                                                                 MUMIGMIGIIÿ9PDRZÿ-@A@BCDEF@M̀UMIGMIGMaÿ9PDRÿSPÿ6FSQDG)ÿ       G/\FBSG                        JdJbJNKcUL MdbMedbILdced             JdJbJNKcUL    IcII
                                                                                                                                                                                               0PP\@QDSBC@ÿ6*
 IK8KM8LIMd OPHQRDFÿ,RSQT MdaM                                             -@AFDZZÿYMÿLIMdÿfHRXBRgÿSPÿ6FSQD)ÿ0PP\ÿSPÿ9PDRÿDAAPHRS                                                              MUMIGMIGIIÿ9PDRZÿ-@A@BCDEF@M̀UMIGMIGMaÿ9PDRÿSPÿ6FSQDG)ÿ       G/\FBSG                        eUIbaIIcUI MebILdbaLecLd             eUIbaIIcUI    IcII
                                                                                                                                                                                               0PP\@QDSBC@ÿ6*
 IJ8MK8LIMd :BFF             6FSQDG)ÿ5DTQPFFÿOHR    6FSQDG)ÿ0PP\@QDSB@fÿ   6FSQDG)ÿ5DTQPFFÿOHR@bÿLIMd                                                                                          MUMIGMIGIIÿ9PDRZÿ-@A@BCDEF@M̀UMIGMIGMaÿ9PDRÿSPÿ6FSQDG)ÿ       LIIIIÿLIIIGIIGIIÿ*AAPHRSZÿ     LdKbUeecdJ MebKIMbIMdcIK             LdKbUeecdJ    IcII
                                                    6c*cBcPc                                                                                                                                   0PP\@QDSBC@ÿ6*                                                5DTDEF@
 IJ8KI8LIMd OPHQRDFÿ,RSQT MeKK                                             -@AFDZZÿYLÿLIMdÿfHRXBRgÿSPÿ6FSQD)ÿ0PP\ÿSPÿ9PDRÿDAAPHRS                                                              MUMIGMIGIIÿ9PDRZÿ-@A@BCDEF@M̀UMIGMIGMaÿ9PDRÿSPÿ6FSQDG)ÿ       G/\FBSG                        NKabUaJcKU MNbLKJbUdKcKd             NKabUaJcKU    IcII
                                                                                                                                                                                               0PP\@QDSBC@ÿ6*
 Id8Id8LIMd :BFF             6FSQDGÿ5DTQPFFÿOHFTb   6FSQDG)ÿ0PP\@QDSB@fÿ   6FSQDGÿ5DTQPFFÿOHFTbÿLIMd                                                                                           MUMIGMIGIIÿ9PDRZÿ-@A@BCDEF@M̀UMIGMIGMaÿ9PDRÿSPÿ6FSQDG)ÿ       LIIIIÿLIIIGIIGIIÿ*AAPHRSZÿ     LJUbedMcMa MNbaIMbKUUcaL             LJUbedMcMa    IcII
                                                    6c*cBcPc                                                                                                                                   0PP\@QDSBC@ÿ6*                                                5DTDEF@
 Id8KM8LIMd :BFF             6FSQDG)ÿOHFT           6FSQDG)ÿ0PP\@QDSB@fÿ   6FSQDG)ÿOHFTÿ+QDRZf@QÿPfÿjHRXZ                                                                                      MUMIGMIGIIÿ9PDRZÿ-@A@BCDEF@M̀UMIGMIGMaÿ9PDRÿSPÿ6FSQDG)ÿ       LIIIIÿLIIIGIIGIIÿ*AAPHRSZÿ       abJMIceM MNbaIJbNaacKK               abJMIceM    IcII
                                                    6c*cBcPc                                                                                                                                   0PP\@QDSBC@ÿ6*                                                5DTDEF@
 Ie8Id8LIMd :BFF             5DTQPFFÿ*HgbÿLIMd      6FSQDG)ÿ0PP\@QDSB@fÿ   6FSQDG)ÿ5DTQPFFÿ*HgbÿLIMd                                                                                           MUMIGMIGIIÿ9PDRZÿ-@A@BCDEF@M̀UMIGMIGMaÿ9PDRÿSPÿ6FSQDG)ÿ       LIIIIÿLIIIGIIGIIÿ*AAPHRSZÿ     LdKbJJUcMa MNbdeIbJMNcUe             LdKbJJUcMa    IcII
                                                    6c*cBcPc                                                                                                                                   0PP\@QDSBC@ÿ6*                                                5DTDEF@
 Ie8Ma8LIMd :BFF             hPQkBRgÿ0D\BSDFÿ*Hg    6FSQDG)ÿ0PP\@QDSB@fÿ   6FSQDG)ÿhPQkBRgÿ0D\BSDFÿ*HgbÿLIMd                                                                                   MUMIGMIGIIÿ9PDRZÿ-@A@BCDEF@M̀UMIGMIGMaÿ9PDRÿSPÿ6FSQDG)ÿ       LIIIIÿLIIIGIIGIIÿ*AAPHRSZÿ     MaUbINNcNK MNbNKUbdMNcUM             MaUbINNcNK    IcII
                                                    6c*cBcPc                                                                                                                                   0PP\@QDSBC@ÿ6*                                                5DTDEF@
 Ie8Me8LIMd :BFF             6FSQDG)ÿ*HgÿMebÿLIMd   6FSQDG)ÿ0PP\@QDSB@fÿ   6FSQDG)ÿ*HgÿMebÿLIMdÿ,ÿmÿ4ÿ5DT^@RS                                                                                  MUMIGMIGIIÿ9PDRZÿ-@A@BCDEF@M̀UMIGMIGMaÿ9PDRÿSPÿ6FSQDG)ÿ       LIIIIÿLIIIGIIGIIÿ*AAPHRSZÿ      LIbUJIcaL MNbNaabMdNcNK              LIbUJIcaL    IcII
                                                    6c*cBcPc                                                                                                                                   0PP\@QDSBC@ÿ6*                                                5DTDEF@
 IN8MM8LIMd :BFF             /@\ÿLIMdÿ5DTQPFF       6FSQDG)ÿ0PP\@QDSB@fÿ   jHRXBRgÿ6FSQDG)ÿfPQÿ/@@0HEBAnZÿ]6FSQDG)ÿZHEZBXBDQT_ÿ/@\S@^E@QÿLIMdÿ\DTQPFF                                          MUMIGMIGIIÿ9PDRZÿ-@A@BCDEF@M̀UMIGMIGMaÿ9PDRÿSPÿ6FSQDG)ÿ       LIIIGIIGIKÿ*AAPHRSZÿ5DTDEF@ÿ MKebLdUcNU LIbINKbUaUced               MKebLdUcNU    IcII
                                                    6c*cBcPcÿ],6-_                                                                                                                             0PP\@QDSBC@ÿ6*                                                ],6-_
 IN8Me8LIMd :BFF             LIMdINMeGM             6FSQDG)ÿ0PP\@QDSB@fÿ   /@\S@^E@QÿLIMeÿ+QDRZf@QÿPfÿjHRXZ                                                                                    MUMIGMIGIIÿ9PDRZÿ-@A@BCDEF@M̀UMIGMIGMaÿ9PDRÿSPÿ6FSQDG)ÿ       LIIIGIIGIKÿ*AAPHRSZÿ5DTDEF@ÿ MMbNeNcJK LIbMIabUUUcaI                 MMbNeNcJK    IcII
                                                    6c*cBcPcÿ],6-_                                                                                                                             0PP\@QDSBC@ÿ6*                                                ],6-_
 IN8KI8LIMd OPHQRDFÿ,RSQT MeeI                                             +PÿDXoHZSÿjHRXBRgÿPfÿhPQkBRgÿ0D\BSDFÿDRXÿ5DTQPFFÿSPÿ6FSQDG)ÿfPQÿf[ÿXBff@Q@RA@Z                                      MUMIGMIGIIÿ9PDRZÿ-@A@BCDEF@M̀UMIGMIGMaÿ9PDRÿSPÿ6FSQDG)ÿ       G/\FBSG                            MeNcJU LIbMIabJKUcMU                 MeNcJU    IcII
                                                                                                                                                                                               0PP\@QDSBC@ÿ6*
 IN8KI8LIMd ;@RXPQÿ0Q@XBS ;0eMaMd                   6FSQDG)ÿ0PP\@QDSB@fÿ   -@C@QZ@ÿEBFFÿiÿhPQkBRgÿ0D\BSDFÿ*HgÿGÿQ@APQX@XÿPRÿe8Ma8Md                                                            MUMIGMIGIIÿ9PDRZÿ-@A@BCDEF@M̀UMIGMIGMaÿ9PDRÿSPÿ6FSQDG)ÿ       LIIIIÿLIIIGIIGIIÿ*AAPHRSZÿ     GdJbMMJcKa LIbILNbaMdcdN             GdJbMMJcKa    IcII
                                                    6c*cBcPc                                                                                                                                   0PP\@QDSBC@ÿ6*                                                5DTDEF@
 MI8IM8LIMd :BFF             /@\LeÿLIMdh05DTQPFF    6FSQDG)ÿ0PP\@QDSB@fÿ   /@\ÿLebÿLIMdÿjHRXBRgÿ/@@0HEBAÿVPQkBRgÿAD\BSDFÿmÿ\DTQPFF                                                             MUMIGMIGIIÿ9PDRZÿ-@A@BCDEF@M̀UMIGMIGMaÿ9PDRÿSPÿ6FSQDG)ÿ       LIIIGIIGIKÿ*AAPHRSZÿ5DTDEF@ÿ MUabIJacLI LIbMdUbaeLcNN               MUabIJacLI    IcII
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                                                6@*@A@B@ÿC,6-D                                                                                                                                 0BBEFGHIAJFÿ6*                                            C,6-D
 KL8LM8NLKO :APP          2QIMNLKOR05HSGBPP 6PIGHT)ÿ0BBEFGHIAFUÿ       +GHVWUFGÿBUÿUXVYWÿIBÿ6PIGHT)ÿ0BBEFGHIAFUÿ6@*@ÿUBGÿFJFVIXHPÿIGHVWUFGÿIBÿ/FF0XZAQÿUBGÿEHSGBPP                             KMKLTKLTLLÿ9BHVWÿ-FQFAJHZPF^KMKLTKLTK_ÿ9BHVÿIBÿ6PIGHT)ÿ   NLLLTLLTL`ÿ*QQBXVIWÿ5HSHZPFÿ   K`abLNL@Oc NLb̀KLbaL`@OO          K`abLNL@Oc     L@LL
                                                6@*@A@B@ÿC,6-D         HVY8BGÿ[BG\AV]ÿQHEAIHPÿEXGEBWFW                                                                                         0BBEFGHIAJFÿ6*                                            C,6-D
 KL8KL8NLKO dBXGVHPÿ,VIGS KccK                                         +BÿHYeXWIÿfXVYAV]ÿBUÿRBG\AV]ÿ0HEAIHPÿHVYÿ5HSGBPPÿIBÿ6PIGHT)ÿUBGÿUgÿYAUUFGFVQFW                                          KMKLTKLTLLÿ9BHVWÿ-FQFAJHZPF^KMKLTKLTK_ÿ9BHVÿIBÿ6PIGHT)ÿ   T/EPAIT                          Kbaaa@NK NLb̀KNbNah@hc            Kbaaa@NK     L@LL
                                                                                                                                                                                               0BBEFGHIAJFÿ6*
 KL8NM8NLKO ,gEFVWF       acN`_K`LKa4i          6PIGHT)ÿ0BBEFGHIAFUÿ   fXVYAV]ÿ/FF0XZAQjWÿ2EFGHIABVHPÿ0BWIWÿUBGÿ2QIBZFGÿNLKO                                                                   KMKLTKLTLLÿ9BHVWÿ-FQFAJHZPF^KMKLTKLTK_ÿ9BHVÿIBÿ6PIGHT)ÿ   KLLKTLLTONÿ=/:0ÿ:HV\ÿhNK_      KKcbcL`@cM NLbM`KbLO`@cN          KKcbcL`@cM     L@LL
                                                6@*@A@B@                                                                                                                                       0BBEFGHIAJFÿ6*
 KL8NM8NLKO ,gEFVWF       Oc_a_K`LK_0h          6PIGHT)ÿ0BBEFGHIAFUÿ   fXVYAV]ÿIBÿ/FF0XZAQÿUBGÿKWIÿ=HPUÿBUÿ2QIBZFGÿNLKOÿ5HSGBPP                                                                KMKLTKLTLLÿ9BHVWÿ-FQFAJHZPF^KMKLTKLTK_ÿ9BHVÿIBÿ6PIGHT)ÿ   KLLKTLLTONÿ=/:0ÿ:HV\ÿhNK_      K`ObLKh@OL NLb_acbLh`@_N          K`ObLKh@OL     L@LL
                                                6@*@A@B@                                                                                                                                       0BBEFGHIAJFÿ6*
 KL8̀K8NLKO ,gEFVWF       .9Mc1.>:La_ON``OKM 6PIGHT)ÿ0BBEFGHIAFUÿ      +GHVWUFGÿBUÿUXVYWÿIBÿ6PIGHT)ÿ0BBEFGHIAFUÿ6@*@ÿUBGÿ[BG\AV]ÿQHEAIHPÿEXGEBWFWÿÿTÿfXVYAV]ÿkÿNLKOKL`KTN                      KMKLTKLTLLÿ9BHVWÿ-FQFAJHZPF^KMKLTKLTK_ÿ9BHVÿIBÿ6PIGHT)ÿ   KLLKTLLTONÿ=/:0ÿ:HV\ÿhNK_        _bc_c@ML NLb_O`bh_K@hN            _bc_c@ML     L@LL
                                                6@*@A@B@                                                                                                                                       0BBEFGHIAJFÿ6*
 KK8LK8NLKO ,gEFVWF       .9Mc1.>:La_ON``OKM 6PIGHT)ÿ0BBEFGHIAFUÿ      +GHVWUFGÿBUÿUXVYWÿIBÿ6PIGHT)ÿ0BBEFGHIAFUÿ6@*@ÿUBGÿFJFVIXHPÿIGHVWUFGÿIBÿ/FF0XZAQÿUBGÿEHSGBPPÿHVY8BGÿ[BG\AV]ÿQHEAIHPÿ     KMKLTKLTLLÿ9BHVWÿ-FQFAJHZPF^KMKLTKLTK_ÿ9BHVÿIBÿ6PIGHT)ÿ   KLLKTLLTONÿ=/:0ÿ:HV\ÿhNK_      K`_b_NO@Nc NLbOLhbMOh@NL          K`_b_NO@Nc     L@LL
                                                6@*@A@B@               EXGEBWFWÿTÿfXVYAV]ÿkÿNLKOKKLKTK                                                                                         0BBEFGHIAJFÿ6*
 KK8KM8NLKO ,gEFVWF       RAGF-FUka_KL_K2LL.O; 6PIGHT)ÿ0BBEFGHIAFUÿ    +GHVWUFGÿBUÿUXVYWÿIBÿ6PIGHT)ÿ0BBEFGHIAFUÿ6@*@ÿUBGÿ[BG\AV]ÿQHEAIHPÿEXGEBWFWÿTÿ-FlXFWIÿkÿNLKOKKLhTK                       KMKLTKLTLLÿ9BHVWÿ-FQFAJHZPF^KMKLTKLTK_ÿ9BHVÿIBÿ6PIGHT)ÿ   KLLKTLLTONÿ=/:0ÿ:HV\ÿhNK_       KMbNhh@`c NLbON`bOOc@_c           KMbNhh@`c     L@LL
                                                6@*@A@B@                                                                                                                                       0BBEFGHIAJFÿ6*
 KK8KM8NLKO ,gEFVWF       RAGF-FUkaOhh_K2LL<); 6PIGHT)ÿ0BBEFGHIAFUÿ    +GHVWUFGÿBUÿUXVYWÿIBÿ6PIGHT)ÿ0BBEFGHIAFUÿ6@*@ÿUBGÿFJFVIXHPÿIGHVWUFGÿIBÿ/FF0XZAQÿUBGÿEHSGBPPÿHVY8BGÿ[BG\AV]ÿQHEAIHPÿ     KMKLTKLTLLÿ9BHVWÿ-FQFAJHZPF^KMKLTKLTK_ÿ9BHVÿIBÿ6PIGHT)ÿ   KLLKTLLTONÿ=/:0ÿ:HV\ÿhNK_      KMNb_MM@c` NLbcaab̀N`@MK          KMNb_MM@c`     L@LL
                                                6@*@A@B@               EXGEBWFWÿTÿfAGWIÿ=HPUÿ.BJFmZFGÿNLKOÿ5HSGBPPÿTÿ-FlXFWIÿkÿNLKOKKK`TK                                                      0BBEFGHIAJFÿ6*
 KK8Nh8NLKO ,gEFVWF       RAGF-FUkO`_K_N`LK/47 6PIGHT)ÿ0BBEFGHIAFUÿ    .BJFmZFGÿNLKOÿRBG\AV]ÿ0HEAIHP                                                                                           KMKLTKLTLLÿ9BHVWÿ-FQFAJHZPF^KMKLTKLTK_ÿ9BHVÿIBÿ6PIGHT)ÿ   KLLKTLLTONÿ=/:0ÿ:HV\ÿhNK_        abh_a@K` NLbcO`bNOh@_M            abh_a@K`     L@LL
                                                6@*@A@B@                                                                                                                                       0BBEFGHIAJFÿ6*
 KN8LM8NLKO ,gEFVWF       RAGF-FUkM`M__NcLK6da 6PIGHT)ÿ0BBEFGHIAFUÿ    fXVYAV]ÿUBGÿ/0ÿ[BG\AV]ÿQHEAIHPÿUBGÿ.BJFmZFGÿNLKO                                                                        KMKLTKLTLLÿ9BHVWÿ-FQFAJHZPF^KMKLTKLTK_ÿ9BHVÿIBÿ6PIGHT)ÿ   KLLKTLLTONÿ=/:0ÿ:HV\ÿhNK_      K`LbMcL@K_ NKbLL`bO_h@ah          K`LbMcL@K_     L@LL
                                                6@*@A@B@                                                                                                                                       0BBEFGHIAJFÿ6*
 KN8K`8NLKO ,gEFVWF       RAGF-FUkN_LO_N=LK1>; 6PIGHT)ÿ0BBEFGHIAFUÿ    fXVYAV]ÿBUÿ/0ÿ[BG\AV]ÿQHEAIHPÿUBGÿUAGWIÿnHPUÿBUÿ)FQFmZFGÿNLKOÿTÿfXVYAV]ÿkÿNLKOKNKMTK                                    KMKLTKLTLLÿ9BHVWÿ-FQFAJHZPF^KMKLTKLTK_ÿ9BHVÿIBÿ6PIGHT)ÿ   KLLKTLLTONÿ=/:0ÿ:HV\ÿhNK_      K`Mbh``@Oc NKbK`cbah`@MO          K`Mbh``@Oc     L@LL
                                                6@*@A@B@                                                                                                                                       0BBEFGHIAJFÿ6*
 KN8K`8NLKO ,gEFVWF       RAGF-FUkaO_K_N=LK:;` 6PIGHT)ÿ0BBEFGHIAFUÿ    fXVYAV]ÿBUÿ/0ÿ[BG\AV]ÿQHEAIHPÿUBGÿInFÿWFQBVYÿnHPUÿBUÿ)FQFmZFGÿNLKOÿTÿfXVYAV]ÿkÿNLKOKNKMTN                               KMKLTKLTLLÿ9BHVWÿ-FQFAJHZPF^KMKLTKLTK_ÿ9BHVÿIBÿ6PIGHT)ÿ   KLLKTLLTONÿ=/:0ÿ:HV\ÿhNK_      K`abacO@NL NKbNO_b̀cL@aO          K`abacO@NL     L@LL
                                                6@*@A@B@                                                                                                                                       0BBEFGHIAJFÿ6*
 KN8NK8NLKO ,gEFVWF       RAGFÿGFUk`____N5LKK9> 6PIGHT)ÿ0BBEFGHIAFUÿ   fXVYAV]ÿBUÿ[BG\AV]ÿQHEAIHPÿIBÿWXZWAYAHGS                                                                                KMKLTKLTLLÿ9BHVWÿ-FQFAJHZPF^KMKLTKLTK_ÿ9BHVÿIBÿ6PIGHT)ÿ   KLLKTLLTONÿ=/:0ÿ:HV\ÿhNK_        Nb_KN@NO NKbNOObchN@hM            Nb_KN@NO     L@LL
                                                6@*@A@B@                                                                                                                                       0BBEFGHIAJFÿ6*
 KN8Nc8NLKO ,gEFVWF       RAGFGFUk_KKO_NRLK72R 6PIGHT)ÿ0BBEFGHIAFUÿ    fXVYAV]ÿ[BG\AV]ÿQHEAIHPÿUBGÿ/FF0XZAQÿTÿ)FQFmZFGÿNLKO                                                                    KMKLTKLTLLÿ9BHVWÿ-FQFAJHZPF^KMKLTKLTK_ÿ9BHVÿIBÿ6PIGHT)ÿ   KLLKTLLTONÿ=/:0ÿ:HV\ÿhNK_       `abN_N@h` NKb̀KMbKM_@cO           `abN_N@h`     L@LL
                                                6@*@A@B@                                                                                                                                       0BBEFGHIAJFÿ6*
 LK8L_8NLKc ,gEFVWF       RAGFÿ-FUkK`MO_`_LK>ca 6PIGHT)ÿ0BBEFGHIAFUÿ   fXVYAV]ÿUBGÿ/FF0XZAQÿRBG\ÿ0HEAIHP                                                                                       KMKLTKLTLLÿ9BHVWÿ-FQFAJHZPF^KMKLTKLTK_ÿ9BHVÿIBÿ6PIGHT)ÿ   KLLKTLLTONÿ=/:0ÿ:HV\ÿhNK_      KMabMcc@O_ NKbMaLba`M@aN          KMabMcc@O_     L@LL
                                                6@*@A@B@                                                                                                                                       0BBEFGHIAJFÿ6*
 LK8KN8NLKc ,gEFVWF       NLKcLKKNTK            6PIGHT)ÿ0BBEFGHIAFUÿ   fXVYAV]ÿBUÿ[BG\AV]ÿQHEAIHP                                                                                              KMKLTKLTLLÿ9BHVWÿ-FQFAJHZPF^KMKLTKLTK_ÿ9BHVÿIBÿ6PIGHT)ÿ   KLLKTLLTONÿ=/:0ÿ:HV\ÿhNK_      NcabMha@KL NKbOMObK`L@ON          NcabMha@KL     L@LL
                                                6@*@A@B@                                                                                                                                       0BBEFGHIAJFÿ6*
 LK8̀L8NLKc ,gEFVWF       RAGFÿ-FUkaNN`_`6LL6:` 6PIGHT)ÿ0BBEFGHIAFUÿ   +GHVWUFGÿBUÿUXVYWÿIBÿ6PIGHT)ÿ0BBEFGHIAFUÿ6@*@ÿUBGÿFJFVIXHPÿIGHVWUFGÿIBÿ/FF0XZAQÿUBGÿEHSGBPPÿHVY8BGÿ[BG\AV]ÿQHEAIHPÿ     KMKLTKLTLLÿ9BHVWÿ-FQFAJHZPF^KMKLTKLTK_ÿ9BHVÿIBÿ6PIGHT)ÿ   KLLKTLLTONÿ=/:0ÿ:HV\ÿhNK_      K`MbMN`@_h NKbccKb__M@`K          K`MbMN`@_h     L@LL
                                                6@*@A@B@               EXGEBWFW                                                                                                                0BBEFGHIAJFÿ6*
 LN8L_8NLKc ,gEFVWF       RAGFÿGFUkcOLN_MLLL6;. 6PIGHT)ÿ0BBEFGHIAFUÿ   fXVYAV]ÿBUÿRBG\AV]ÿ0HEAIHPÿIBÿ/0                                                                                        KMKLTKLTLLÿ9BHVWÿ-FQFAJHZPF^KMKLTKLTK_ÿ9BHVÿIBÿ6PIGHT)ÿ   KLLKTLLTONÿ=/:0ÿ:HV\ÿhNK_      `KObMac@M` NNbKhhbLNN@OM          `KObMac@M`     L@LL
                                                6@*@A@B@                                                                                                                                       0BBEFGHIAJFÿ6*
 LN8KM8NLKc ,gEFVWF       RAGFÿ-FUkM_ON_MhLK./_ 6PIGHT)ÿ0BBEFGHIAFUÿ   fXVYAV]ÿUBGÿ/FF0XZAQjWÿRBG\AV]ÿ0HEAIHP                                                                                  KMKLTKLTLLÿ9BHVWÿ-FQFAJHZPF^KMKLTKLTK_ÿ9BHVÿIBÿ6PIGHT)ÿ   KLLKTLLTONÿ=/:0ÿ:HV\ÿhNK_      KaObcNM@Mc NNb̀aabcMO@NN          KaObcNM@Mc     L@LL
                                                6@*@A@B@                                                                                                                                       0BBEFGHIAJFÿ6*
 L`8La8NLKc ,gEFVWF       RAGFÿ-FUkMKh__M+LKL=7 6PIGHT)ÿ0BBEFGHIAFUÿ   fXVYAV]ÿBUÿ/FF0XZAQÿRBG\AV]ÿ0HEAIHP                                                                                     KMKLTKLTLLÿ9BHVWÿ-FQFAJHZPF^KMKLTKLTK_ÿ9BHVÿIBÿ6PIGHT)ÿ   KLLKTLLTONÿ=/:0ÿ:HV\ÿhNK_      KcabLM`@KK NNb__NbchL@``          KcabLM`@KK     L@LL
                                                6@*@A@B@                                                                                                                                       0BBEFGHIAJFÿ6*
 L`8KN8NLKc ,gEFVWF       RAGFÿ-FUkN`ch_M?LK):- 6PIGHT)ÿ0BBEFGHIAFUÿ   fXVYAV]ÿBURBG\AV]ÿ0HEAIHP                                                                                               KMKLTKLTLLÿ9BHVWÿ-FQFAJHZPF^KMKLTKLTK_ÿ9BHVÿIBÿ6PIGHT)ÿ   KLLKTLLTONÿ=/:0ÿ:HV\ÿhNK_      NhMb_a_@Ma NNbcMObM__@Oh          NhMb_a_@Ma     L@LL
                                                6@*@A@B@                                                                                                                                       0BBEFGHIAJFÿ6*
 LM8KK8NLKc ,gEFVWF       RAGFÿ-FUk_hNL__+LKN65 6PIGHT)ÿ0BBEFGHIAFUÿ   fXVYAV]ÿUBGÿRBG\AV]ÿ0HEAIHPÿIBÿ/XZÿC/0ÿ5HSGBPPD                                                                         KMKLTKLTLLÿ9BHVWÿ-FQFAJHZPF^KMKLTKLTK_ÿ9BHVÿIBÿ6PIGHT)ÿ   KLLKTLLTONÿ=/:0ÿ:HV\ÿhNK_      NcObOac@LK N`bK`_bNN`@cL          NcObOac@LK     L@LL
                                                6@*@A@B@                                                                                                                                       0BBEFGHIAJFÿ6*
 L_8Lc8NLKc ,gEFVWF       RAGFÿ-FUkO`c__aoLL=?) 6PIGHT)ÿ0BBEFGHIAFUÿ   fXVYAV]ÿBUÿ[BG\AV]ÿQHEAIHPÿUGBmÿ/+;ÿIBÿWXZWAYAHGSÿC6PIGHT)D                                                             KMKLTKLTLLÿ9BHVWÿ-FQFAJHZPF^KMKLTKLTK_ÿ9BHVÿIBÿ6PIGHT)ÿ   KLLKTLLTONÿ=/:0ÿ:HV\ÿhNK_       MNb̀_M@`O N`bKOOb_Oc@KO           MNb̀_M@`O     L@LL
                                                6@*@A@B@                                                                                                                                       0BBEFGHIAJFÿ6*
 L_8KO8NLKc ,gEFVWF       RAGFÿ-FUkchMc_a/LK>N7 6PIGHT)ÿ0BBEFGHIAFUÿ   fXVYAV]ÿ[BG\AV]ÿQHEAIHPÿBUÿWXZWAYAHGS                                                                                   KMKLTKLTLLÿ9BHVWÿ-FQFAJHZPF^KMKLTKLTK_ÿ9BHVÿIBÿ6PIGHT)ÿ   KLLKTLLTONÿ=/:0ÿ:HV\ÿhNK_      `KMb_OM@Kc N`bMhNbK_N@`_          `KMb_OM@Kc     L@LL
                                                6@*@A@B@                                                                                                                                       0BBEFGHIAJFÿ6*
 La8K_8NLKc ,gEFVWF       RAGFÿ-FUkMM`__O7LNLLM 6PIGHT)ÿ0BBEFGHIAFUÿ   fXVYAV]ÿBUÿ[BG\AV]ÿQHEAIHP                                                                                              KMKLTKLTLLÿ9BHVWÿ-FQFAJHZPF^KMKLTKLTK_ÿ9BHVÿIBÿ6PIGHT)ÿ   KLLKTLLTONÿ=/:0ÿ:HV\ÿhNK_      NaLbKaM@Oc N`bO_Nb̀KO@K`          NaLbKaM@Oc     L@LL
                                                6@*@A@B@                                                                                                                                       0BBEFGHIAJFÿ6*
 La8̀L8NLKc dBXGVHPÿ,VIGS NLNO                                         a8a8KcÿRAGFÿ-FUkNLML_O)LK=40ÿTÿfXVYAV]ÿBUÿ[BG\AV]ÿQHEAIHPÿIBÿWXZWAYAHGS                                                 KMKLTKLTLLÿ9BHVWÿ-FQFAJHZPF^KMKLTKLTK_ÿ9BHVÿIBÿ6PIGHT)ÿ   T/EPAIT                         habOcL@aO N`bcMhbLhO@cL           habOcL@aO     L@LL
                                                                                                                                                                                               0BBEFGHIAJFÿ6*
 La8̀L8NLKc dBXGVHPÿ,VIGS NLNO                                         M8KN8KcÿRAGFÿ-FUkONKc__6LK))6ÿTÿfXVYAV]ÿBUÿRBG\AV]ÿ0HEAIHPÿIBÿ/XZÿC/FF0XZAQD                                            KMKLTKLTLLÿ9BHVWÿ-FQFAJHZPF^KMKLTKLTK_ÿ9BHVÿIBÿ6PIGHT)ÿ   T/EPAIT                        N``bMNM@c` NMbLcNb_NN@a`          N``bMNM@c`     L@LL
                                                                                                                                                                                               0BBEFGHIAJFÿ6*
 LO8L`8NLKc )FEBWAI                             dBnVÿf@ÿ:GHYPFSbÿdG@   /FIIPFmFVIÿHmBXVIÿBUÿ/AFGGHÿ0BmEBVFVIÿFlXAEmFVIÿEGFEHS                                                                  KMKLTKLTLLÿ9BHVWÿ-FQFAJHZPF^KMKLTKLTK_ÿ9BHVÿIBÿ6PIGHT)ÿ   KLLLTKLTLLÿ+)ÿ:HV\^KLLKTLLT     TKbKOL@cc NMbLcKb̀_K@O_           TKbKOL@cc     L@LL
                                                                                                                                                                                               0BBEFGHIAJFÿ6*                                            LLÿ+)ÿ:HV\ÿcacN
 LO8KK8NLKc ,gEFVWF       RAGFÿ-FUk`KcK_c0LL+7_ 6PIGHT)ÿ0BBEFGHIAFUÿ   fXVYAV]ÿBUÿ[BG\AV]ÿQHEAIHPÿUBGÿ6PIGHT)                                                                                  KMKLTKLTLLÿ9BHVWÿ-FQFAJHZPF^KMKLTKLTK_ÿ9BHVÿIBÿ6PIGHT)ÿ   KLLKTLLTONÿ=/:0ÿ:HV\ÿhNK_       KLbhch@ca NMbLhNb̀MK@aK           KLbhch@ca     L@LL
                                                6@*@A@B@                                                                                                                                       0BBEFGHIAJFÿ6*
 LO8KN8NLKc ,gEFVWF       RAGFÿ-FUkKhOc_c)LK<<2 6PIGHT)ÿ0BBEFGHIAFUÿ   -FmAIIHVQFÿBUÿPF]HPÿWFIIPFmFVIÿGFQFAJFYÿZSÿ/IGFHmÿ+;ÿYXFÿIBÿ/FF0XZAQ                                                    KMKLTKLTLLÿ9BHVWÿ-FQFAJHZPF^KMKLTKLTK_ÿ9BHVÿIBÿ6PIGHT)ÿ   KLLKTLLTONÿ=/:0ÿ:HV\ÿhNK_        KbKOL@cc NMbLh`b_KN@Mh            KbKOL@cc     L@LL
                                                6@*@A@B@                                                                                                                                       0BBEFGHIAJFÿ6*
 LO8KN8NLKc ,gEFVWF       RAGFÿ-FUkKhOc_c)LK<<2 6PIGHT)ÿ0BBEFGHIAFUÿ   fXVYAV]ÿBUÿ[BG\AV]ÿQHEAIHPÿUBGÿ/FF0XZAQ                                                                                 KMKLTKLTLLÿ9BHVWÿ-FQFAJHZPF^KMKLTKLTK_ÿ9BHVÿIBÿ6PIGHT)ÿ   KLLKTLLTONÿ=/:0ÿ:HV\ÿhNK_      KKabMMK@LN NMbNLhbh_`@_K          KKabMMK@LN     L@LL
                                                6@*@A@B@                                                                                                                                       0BBEFGHIAJFÿ6*
 LO8Kh8NLKc ,gEFVWF       RAGFÿ-FUkNhKK_coLNK_5 6PIGHT)ÿ0BBEFGHIAFUÿ   fXVYAV]ÿBUÿ[BG\AV]ÿQHEAIHPÿUBGÿ/FF0XZAQ                                                                                 KMKLTKLTLLÿ9BHVWÿ-FQFAJHZPF^KMKLTKLTK_ÿ9BHVÿIBÿ6PIGHT)ÿ   KLLKTLLTONÿ=/:0ÿ:HV\ÿhNK_       _cbhLa@a_ NMbNacbcaL@Ka           _cbhLa@a_     L@LL
                                                6@*@A@B@                                                                                                                                       0BBEFGHIAJFÿ6*
 Lc8La8NLKc ,gEFVWF       RAGFÿ-FUkMKLM_hNLKO+L 6PIGHT)ÿ0BBEFGHIAFUÿ   fXVYAV]ÿBUÿ/FF0XZAQÿ[BG\AV]ÿQHEAIHP                                                                                     KMKLTKLTLLÿ9BHVWÿ-FQFAJHZPF^KMKLTKLTK_ÿ9BHVÿIBÿ6PIGHT)ÿ   KLLKTLLTONÿ=/:0ÿ:HV\ÿhNK_      KNMbNOK@LN NMb̀h`bK`K@Kc          KNMbNOK@LN     L@LL
                                                6@*@A@B@                                                                                                                                       0BBEFGHIAJFÿ6*
 Lc8̀K8NLKc ,gEFVWF       RAGFÿ-FUkccNM_h-LK/dK 6PIGHT)ÿ0BBEFGHIAFUÿ   fXVYAV]ÿBUÿ[BG\AV]ÿQHEAIHP                                                                                              KMKLTKLTLLÿ9BHVWÿ-FQFAJHZPF^KMKLTKLTK_ÿ9BHVÿIBÿ6PIGHT)ÿ   KLLKTLLTONÿ=/:0ÿ:HV\ÿhNK_      KKabhMc@LL NMb_KLbLOh@Kc          KKabhMc@LL     L@LL
                                                6@*@A@B@                                                                                                                                       0BBEFGHIAJFÿ6*
 Lh8L_8NLKc ,gEFVWF       RAGFÿ-FUkKMNa_hRLLOh? 6PIGHT)ÿ0BBEFGHIAFUÿ   fXVYAV]ÿBUÿ[BG\AV]ÿQHEAIHPÿUBGÿ6PIGH)                                                                                   KMKLTKLTLLÿ9BHVWÿ-FQFAJHZPF^KMKLTKLTK_ÿ9BHVÿIBÿ6PIGHT)ÿ   KLLKTLLTONÿ=/:0ÿ:HV\ÿhNK_       KabMO_@NL NMb_Nab__M@`c           KabMO_@NL     L@LL
                                                6@*@A@B@                                                                                                                                       0BBEFGHIAJFÿ6*
 Lh8KL8NLKc ,gEFVWF       RAGFÿ-FUkK`a`_*KLK:RM 6PIGHT)ÿ0BBEFGHIAFUÿ   fXVYAV]ÿBUÿ6PIGHT)ÿ0BBEÿ[BG\AV]ÿQHEAIHP                                                                                 KMKLTKLTLLÿ9BHVWÿ-FQFAJHZPF^KMKLTKLTK_ÿ9BHVÿIBÿ6PIGHT)ÿ   KLLKTLLTONÿ=/:0ÿ:HV\ÿhNK_        ObL`O@MM NMb_``b_hK@cN            ObL`O@MM     L@LL
                                                6@*@A@B@                                                                                                                                       0BBEFGHIAJFÿ6*
 Lh8KK8NLKc ,gEFVWF       RAGFÿ-FUkKc`h_*NLLfff 6PIGHT)ÿ0BBEFGHIAFUÿ   fXVYAV]ÿBUÿ/FF0XZAQÿ[BG\AV]ÿQHEAIHP                                                                                     KMKLTKLTLLÿ9BHVWÿ-FQFAJHZPF^KMKLTKLTK_ÿ9BHVÿIBÿ6PIGHT)ÿ   KLLKTLLTONÿ=/:0ÿ:HV\ÿhNK_      KMLbLhL@aM NMbaO`bacN@Ma          KMLbLhL@aM     L@LL
                                                6@*@A@B@                                                                                                                                       0BBEFGHIAJFÿ6*
 Lh8NL8NLKc ,gEFVWF       RAGFÿ-FUk_Nhc_*:LLK); 6PIGHT)ÿ0BBEFGHIAFUÿ   fXVYAV]ÿBUÿ6PIGHT)ÿ[BG\AV]ÿQHEAIHP                                                                                      KMKLTKLTLLÿ9BHVWÿ-FQFAJHZPF^KMKLTKLTK_ÿ9BHVÿIBÿ6PIGHT)ÿ   KLLKTLLTONÿ=/:0ÿ:HV\ÿhNK_        hbaah@aM NMbac`b̀_N@KL            hbaah@aM     L@LL
                                                6@*@A@B@                                                                                                                                       0BBEFGHIAJFÿ6*
 Lh8̀L8NLKc dBXGVHPÿ,VIGS NL`h                                         c8K`8NLKcÿRAGFÿ-FUkLO`N_hhLLOL+ÿTÿ-FQPHWWÿUXVYAV]ÿIBÿQBGGFQIÿ10ÿHQQBXVI                                                 KMKLTKLTLLÿ9BHVWÿ-FQFAJHZPF^KMKLTKLTK_ÿ9BHVÿIBÿ6PIGHT)ÿ   T/EPAIT                          ObLOK@M_ NMbahLbMN`@__            ObLOK@M_     L@LL
                                                                                                                                                                                               0BBEFGHIAJFÿ6*
 Lh8̀L8NLKc dBXGVHPÿ,VIGS NL`h                                         c8K`8NLKcÿRAGFÿ-FUkLO`N_hhLLOL+ÿTÿ-FQPHWWÿUXVYAV]ÿIBÿQBGGFQIÿ10ÿHQQBXVI                                                 KMKLTKLTLLÿ9BHVWÿ-FQFAJHZPF^KMKLTKLTK_ÿ9BHVÿIBÿ6PIGHT)ÿ   T/EPAIT                        KNKbacM@Lc NMbcKNbKLO@a`          KNKbacM@Lc     L@LL

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                                                                                                                                                                                        0@@ABCDEFGBÿ6*
 HI8JH8KHLM N@OCPDQÿ,PECR KHJI                                         M8LJ8KHLMÿSFCBÿ-BTUHVJKWIIHHVH+ÿXÿ-BYQDZZÿTOP[FP\ÿE@ÿY@CCBYEÿ10ÿDYY@OPE                                          L]LHXLHXHHÿ9@DPZÿ-BYBFGD^QB_L]LHXLHXLWÿ9@DPÿE@ÿ6QECDX)ÿ   X/AQFEX                     LKLàM]bHM K]ÌJJV̀ILbVL          LKLàM]bHM     HbHH
                                                                                                                                                                                        0@@ABCDEFGBÿ6*
 LH8LM8KHLM ,cABPZB                             6QECDX)ÿ0@@ABCDEFBTÿ   dOP[FP\ÿ@Tÿ6QECDX)eZÿf@CgFP\ÿYDAFEDQ                                                                             L]LHXLHXHHÿ9@DPZÿ-BYBFGD^QB_L]LHXLHXLWÿ9@DPÿE@ÿ6QECDX)ÿ   LHHLXHHXVKÿ=/:0ÿ:DPgÿIKLW       ]HKbaL K]ÌJ]L̀I]bJK              ]HKbaL     HbHH
                                                6b*bFb@b                                                                                                                                0@@ABCDEFGBÿ6*
 LH8LM8KHLM ,cABPZB       SFCBÿ-BTU]IKKW:JHHJ>K 6QECDX)ÿ0@@ABCDEFBTÿ   dOP[FP\ÿE@ÿ6QECDX)ÿT@CÿCBZ@QOEF@Pÿ@Tÿ6QECDX)ÿFPEBCY@hADPRÿ^DQDPYBÿfFEiÿ/+;1                                      L]LHXLHXHHÿ9@DPZÿ-BYBFGD^QB_L]LHXLHXLWÿ9@DPÿE@ÿ6QECDX)ÿ   LHHLXHHXVKÿ=/:0ÿ:DPgÿIKLW    KVV̀VMbMH K]ÌaLÌVJbLK           KVV̀VMbMH     HbHH
                                                6b*bFb@b                                                                                                                                0@@ABCDEFGBÿ6*
 LH8LM8KHLM ,cABPZB       SFCBÿ-BTULHaLW:JHHHda 6QECDX)ÿ0@@ABCDEFBTÿ   dOP[FP\ÿ@Tÿ6QECDX)eZÿf@CgFP\ÿYDAFEDQ                                                                             L]LHXLHXHHÿ9@DPZÿ-BYBFGD^QB_L]LHXLHXLWÿ9@DPÿE@ÿ6QECDX)ÿ   LHHLXHHXVKÿ=/:0ÿ:DPgÿIKLW       JHHbHH K]ÌaKK̀VJbLK              JHHbHH     HbHH
                                                6b*bFb@b                                                                                                                                0@@ABCDEFGBÿ6*
 LL8LJ8KHLM ,cABPZB       +CDPZTBCUMIHHW:+HLKHI 6QECDX)ÿ0@@ABCDEFBTÿ   dOP[FP\ÿ@Tÿf@CgFP\ÿYDAFEDQÿT@Cÿ/BB0O^FYÿ:b;b                                                                     L]LHXLHXHHÿ9@DPZÿ-BYBFGD^QB_L]LHXLHXLWÿ9@DPÿE@ÿ6QECDX)ÿ   LHHLXHHXVKÿ=/:0ÿ:DPgÿIKLW   JMH`]VVbM] KWJ̀]KV̀WHbIa          JMH`]VVbM]     HbHH
                                                6b*bFb@b                                                                                                                                0@@ABCDEFGBÿ6*
 LK8H]8KHLM ,cABPZB       +CDPZTBCUJ]JJW0,HH<La 6QECDX)ÿ0@@ABCDEFBTÿ   dOP[FP\ÿ@Tÿf@CgFP\ÿYDAFEDQÿE@ÿ6QECDX)ÿ0@@A                                                                       L]LHXLHXHHÿ9@DPZÿ-BYBFGD^QB_L]LHXLHXLWÿ9@DPÿE@ÿ6QECDX)ÿ   LHHLXHHXVKÿ=/:0ÿ:DPgÿIKLW     IJ̀WHbVK KWJ̀WKL̀HLbaM            IJ̀WHbVK     HbHH
                                                6b*bFb@b                                                                                                                                0@@ABCDEFGBÿ6*
 LK8LH8KHLM ,cABPZB       +CDPZTBCUaaMMW0NHH+6M 6QECDX)ÿ0@@ABCDEFBTÿ   dOP[FP\ÿ@Tÿf@CgFP\ÿYDAFEDQÿT@Cÿ/BB0O^FY                                                                          L]LHXLHXHHÿ9@DPZÿ-BYBFGD^QB_L]LHXLHXLWÿ9@DPÿE@ÿ6QECDX)ÿ   LHHLXHHXVKÿ=/:0ÿ:DPgÿIKLW   LaHM̀IHbHI KWẀLKÌILbVV          LaHM̀IHbHI     HbHH
                                                6b*bFb@b                                                                                                                                0@@ABCDEFGBÿ6*
 LK8LH8KHLM ,cABPZB       +CDPZTBCUJKaHW01HL-NM 6QECDX)ÿ0@@ABCDEFBTÿ   dOP[FP\ÿ@Tÿf@CgFP\ÿYDAFEDQÿT@Cÿ/BB0O^FY                                                                          L]LHXLHXHHÿ9@DPZÿ-BYBFGD^QB_L]LHXLHXLWÿ9@DPÿE@ÿ6QECDX)ÿ   LHHLXHHXVKÿ=/:0ÿ:DPgÿIKLW   KWKM̀KVbKI KWV̀aWM̀LIbHa          KWKM̀KVbKI     HbHH
                                                6b*bFb@b                                                                                                                                0@@ABCDEFGBÿ6*
 LK8L]8KHLM ,cABPZB       +CDPZTBCUJVMJW02HL/4* 6QECDX)ÿ0@@ABCDEFBTÿ   dOP[FP\ÿ@Tÿf@CgFP\ÿYDAFEDQÿT@Cÿ6QECDX)ÿ0@@A                                                                      L]LHXLHXHHÿ9@DPZÿ-BYBFGD^QB_L]LHXLHXLWÿ9@DPÿE@ÿ6QECDX)ÿ   LHHLXHHXVKÿ=/:0ÿ:DPgÿIKLW    LLàLabJa KWV̀VV`]JWb]K           LLàLabJa     HbHH
                                                6b*bFb@b                                                                                                                                0@@ABCDEFGBÿ6*
 HL8HI8KHLI ,cABPZB       +CDPZTBCUHJKVW)dHL/jN 6QECDX)ÿ0@@ABCDEFBTÿ   dOP[FP\ÿ@Tÿf@CgFP\ÿYDAFEDQÿT@Cÿ6QECDX)ÿ0@@A                                                                      L]LHXLHXHHÿ9@DPZÿ-BYBFGD^QB_L]LHXLHXLWÿ9@DPÿE@ÿ6QECDX)ÿ   LHHLXHHXVKÿ=/:0ÿ:DPgÿIKLW     I`]IKbW] KWV̀MaÌKVbIa            I`]IKbW]     HbHH
                                                6b*bFb@b                                                                                                                                0@@ABCDEFGBÿ6*
 HL8LL8KHLI ,cABPZB       +CDPZTBCUK]VLW)=HL40V 6QECDX)ÿ0@@ABCDEFBTÿ   dOP[FP\ÿ@Tÿf@CgFP\ÿYDAFEDQÿT@Cÿ/BB0O^FY                                                                          L]LHXLHXHHÿ9@DPZÿ-BYBFGD^QB_L]LHXLHXLWÿ9@DPÿE@ÿ6QECDX)ÿ   LHHLXHHXVKÿ=/:0ÿ:DPgÿIKLW   JHaL̀WVbKJ KaH̀IJH̀MWbLI          JHaL̀WVbKJ     HbHH
                                                6b*bFb@b                                                                                                                                0@@ABCDEFGBÿ6*
 HL8KJ8KHLI ,cABPZB       +CDPZTBCULJLaW,HHHV:- 6QECDX)ÿ0@@ABCDEFBTÿ   dOP[FP\ÿ@Tÿ/0ÿf@CgFP\ÿYDAFEDQÿCBkOFCBhBPEZ                                                                       L]LHXLHXHHÿ9@DPZÿ-BYBFGD^QB_L]LHXLHXLWÿ9@DPÿE@ÿ6QECDX)ÿ   LHHLXHHXVKÿ=/:0ÿ:DPgÿIKLW    aIẀLWb]H KaL̀aKàHHbWI           aIẀLWb]H     HbHH
                                                6b*bFb@b                                                                                                                                0@@ABCDEFGBÿ6*
 HK8HV8KHLI ,cABPZB       +CDPZTBCU]WM]W,MHH?7= 6QECDX)ÿ0@@ABCDEFBTÿ   dOP[FP\ÿ@Tÿ/0ÿf@CgFP\ÿYDAFEDQ                                                                                    L]LHXLHXHHÿ9@DPZÿ-BYBFGD^QB_L]LHXLHXLWÿ9@DPÿE@ÿ6QECDX)ÿ   LHHLXHHXVKÿ=/:0ÿ:DPgÿIKLW   KHWM̀ILbWa KaJ̀aM`]IKbLW          KHWM̀ILbWa     HbHH
                                                6b*bFb@b                                                                                                                                0@@ABCDEFGBÿ6*
 HK8KH8KHLI ,cABPZB       +CDPZTBCULWHKW,9HLWNj 6QECDX)ÿ0@@ABCDEFBTÿ   dOP[FP\ÿ@Tÿf@CgFP\ÿYDAFEDQ                                                                                       L]LHXLHXHHÿ9@DPZÿ-BYBFGD^QB_L]LHXLHXLWÿ9@DPÿE@ÿ6QECDX)ÿ   LHHLXHHXVKÿ=/:0ÿ:DPgÿIKLW     JẀH]bJH KaJ̀VLÌIab]W            JẀH]bJH     HbHH
                                                6b*bFb@b                                                                                                                                0@@ABCDEFGBÿ6*
 HJ8HW8KHLI ,cABPZB       +CDPZTBCUHJIVW,4HKH:- 6QECDX)ÿ0@@ABCDEFBTÿ   dOP[FP\ÿ@Tÿ/0ÿf@CgFP\ÿYDAFEDQÿXÿ5DRhBPEÿLÿ@TÿKÿlLHHH̀HHbHHÿ,6-ÿ@TÿKLHH̀HHbHHÿ,6-m                                L]LHXLHXHHÿ9@DPZÿ-BYBFGD^QB_L]LHXLHXLWÿ9@DPÿE@ÿ6QECDX)ÿ   LHHLXHHXVKÿ=/:0ÿ:DPgÿIKLW   LLJM̀LIbIH Ka`]MWM̀LabJW          LLJM̀LIbIH     HbHH
                                                6b*bFb@b                                                                                                                                0@@ABCDEFGBÿ6*
 HJ8Ha8KHLI ,cABPZB       +CDPZTBCUaIWMW,?HL]d/ 6QECDX)ÿ0@@ABCDEFBTÿ   dOP[FP\ÿ@Tÿ/0ÿf@CgFP\ÿYDAFEDQÿXÿ5DRhBPEÿKÿ@TÿKÿlLLHH̀HHbHHÿ,6-ÿ@TÿKLHH̀HHbHHÿ,6-m                                L]LHXLHXHHÿ9@DPZÿ-BYBFGD^QB_L]LHXLHXLWÿ9@DPÿE@ÿ6QECDX)ÿ   LHHLXHHXVKÿ=/:0ÿ:DPgÿIKLW   LKW`]LHbKJ KaàLLK̀KabWM          LKW`]LHbKJ     HbHH
                                                6b*bFb@b                                                                                                                                0@@ABCDEFGBÿ6*
 HJ8LJ8KHLI ,cABPZB       +CDPZTBCUJMaLWdaHH9j: 6QECDX)ÿ0@@ABCDEFBTÿ   dOP[FP\ÿ@Tÿf@CgFP\ÿYDAFEDQÿT@Cÿ/BB0O^FY                                                                          L]LHXLHXHHÿ9@DPZÿ-BYBFGD^QB_L]LHXLHXLWÿ9@DPÿE@ÿ6QECDX)ÿ   LHHLXHHXVKÿ=/:0ÿ:DPgÿIKLW    aMM̀VIbWK KaàMHL̀HabLH           aMM̀VIbWK     HbHH
                                                6b*bFb@b                                                                                                                                0@@ABCDEFGBÿ6*
 HJ8LI8KHLI ,cABPZB       +CDPZTBCUaMLJWd0HHWna 6QECDX)ÿ0@@ABCDEFBTÿ   dOP[FP\ÿ@Tÿf@CgFP\ÿYDAFEDQÿT@Cÿ6QECDX)                                                                           L]LHXLHXHHÿ9@DPZÿ-BYBFGD^QB_L]LHXLHXLWÿ9@DPÿE@ÿ6QECDX)ÿ   LHHLXHHXVKÿ=/:0ÿ:DPgÿIKLW       WMJbKW KaàMHàMIbJW              WMJbKW     HbHH
                                                6b*bFb@b                                                                                                                                0@@ABCDEFGBÿ6*
 HJ8KW8KHLI ,cABPZB       +CDPZTBCUaJWIWddHKLI* 6QECDX)ÿ0@@ABCDEFBTÿ   dOP[FP\ÿ@Tÿf@CgFP\ÿYDAFEDQÿT@Cÿ/0                                                                                L]LHXLHXHHÿ9@DPZÿ-BYBFGD^QB_L]LHXLHXLWÿ9@DPÿE@ÿ6QECDX)ÿ   LHHLXHHXVKÿ=/:0ÿ:DPgÿIKLW   LKW`]aMbJL KaM̀HaL̀WVbaa          LKW`]aMbJL     HbHH
                                                6b*bFb@b                                                                                                                                0@@ABCDEFGBÿ6*
 H]8H]8KHLI ,cABPZB       +CDPZTBCULJaIWd/HL?20 6QECDX)ÿ0@@ABCDEFBTÿ   dOP[FP\ÿ@Tÿf@CgFP\ÿYDAFEDQÿE@ÿ6QECDX)                                                                            L]LHXLHXHHÿ9@DPZÿ-BYBFGD^QB_L]LHXLHXLWÿ9@DPÿE@ÿ6QECDX)ÿ   LHHLXHHXVKÿ=/:0ÿ:DPgÿIKLW    KLV̀]Ib]I KaM̀KVÌHVbLW           KLV̀]Ib]I     HbHH
                                                6b*bFb@b                                                                                                                                0@@ABCDEFGBÿ6*
 H]8LL8KHLI ,cABPZB       +CDPZTBCUJ]]IWd?HL*a) 6QECDX)ÿ0@@ABCDEFBTÿ   dOP[FP\ÿ@Tÿf@CgFP\ÿYDAFEDQÿT@Cÿ/BB0O^FY                                                                          L]LHXLHXHHÿ9@DPZÿ-BYBFGD^QB_L]LHXLHXLWÿ9@DPÿE@ÿ6QECDX)ÿ   LHHLXHHXVKÿ=/:0ÿ:DPgÿIKLW   KLWV̀VWbKL KVH̀]JàMKbJa          KLWV̀VWbKL     HbHH
                                                6b*bFb@b                                                                                                                                0@@ABCDEFGBÿ6*
 H]8KJ8KHLI ,cABPZB       +CDPZTBCU]I]]W>:HHM;W 6QECDX)ÿ0@@ABCDEFBTÿ   dOP[FP\ÿ@Tÿf@CgFP\ÿYDAFEDQÿT@Cÿ/0ÿ=/:0ÿ*YY@OPE                                                                   L]LHXLHXHHÿ9@DPZÿ-BYBFGD^QB_L]LHXLHXLWÿ9@DPÿE@ÿ6QECDX)ÿ   LHHLXHHXVKÿ=/:0ÿ:DPgÿIKLW     LL̀WLbaH KVH̀]]M̀JJbIa            LL̀WLbaH     HbHH
                                                6b*bFb@b                                                                                                                                0@@ABCDEFGBÿ6*
 HW8HL8KHLI ,cABPZB       +CDPZTBCULHH]W>NHH->- 6QECDX)ÿ0@@ABCDEFBTÿ   S@CgFP\ÿYDAFEDQÿT@Cÿ/0ÿ2ABCDEF@PZ                                                                                L]LHXLHXHHÿ9@DPZÿ-BYBFGD^QB_L]LHXLHXLWÿ9@DPÿE@ÿ6QECDX)ÿ   LHHLXHHXVKÿ=/:0ÿ:DPgÿIKLW    J]K̀VWbaV KVH̀VIL̀HIbaJ           J]K̀VWbaV     HbHH
                                                6b*bFb@b                                                                                                                                0@@ABCDEFGBÿ6*
 HW8KL8KHLI ,cABPZB       +CDPZTBCUWW]aW=KHL5J9 6QECDX)ÿ0@@ABCDEFBTÿ   dOP[FP\ÿ@Tÿf@CgFP\ÿYDAFEDQÿT@Cÿ/BB0O^FY                                                                          L]LHXLHXHHÿ9@DPZÿ-BYBFGD^QB_L]LHXLHXLWÿ9@DPÿE@ÿ6QECDX)ÿ   LHHLXHHXVKÿ=/:0ÿ:DPgÿIKLW    VJẀM]bWa KVL̀WKàI]bLI           VJẀM]bWa     HbHH
                                                6b*bFb@b                                                                                                                                0@@ABCDEFGBÿ6*
 Ha8LK8KHLI 0iBYg         SFCBÿ-BTU]J]KW=.HW?j? 6QECDX)ÿ0@@ABCDEFBTÿ   S@CgFP\ÿYDAFEDQÿT@Cÿ/0ÿ2ABCDEF@PZ                                                                                L]LHXLHXHHÿ9@DPZÿ-BYBFGD^QB_L]LHXLHXLWÿ9@DPÿE@ÿ6QECDX)ÿ   LHHLXHHXVKÿ=/:0ÿ:DPgÿIKLW   LL]H̀LLbJH KVK̀aaV̀HWb]I          LL]H̀LLbJH     HbHH
                                                6b*bFb@b                                                                                                                                0@@ABCDEFGBÿ6*
 Ha8LJ8KHLI 0iBYg         SFCBÿ-BTU]J]KW=.Ha?j? 6QECDX)ÿ0@@ABCDEFBTÿ   dOP[FP\ÿ@Tÿf@CgFP\ÿYDAFEDQÿT@Cÿ/0                                                                                L]LHXLHXHHÿ9@DPZÿ-BYBFGD^QB_L]LHXLHXLWÿ9@DPÿE@ÿ6QECDX)ÿ   LHHLXHHXVKÿ=/:0ÿ:DPgÿIKLW   LWIH̀]JbHM KV`]KWV̀]MbWV          LWIH̀]JbHM     HbHH
                                                6b*bFb@b                                                                                                                                0@@ABCDEFGBÿ6*
 Ha8LM8KHLI 0iBYg         SFCBÿ-BTU]J]KW=.HV?j? 6QECDX)ÿ0@@ABCDEFBTÿ   dOP[FP\ÿ@Tÿf@CgFP\ÿYDAFEDQÿT@Cÿ/BB0O^FY                                                                          L]LHXLHXHHÿ9@DPZÿ-BYBFGD^QB_L]LHXLHXLWÿ9@DPÿE@ÿ6QECDX)ÿ   LHHLXHHXVKÿ=/:0ÿ:DPgÿIKLW   LILM̀KWbKM KVàLVẀVJbMW          LILM̀KWbKM     HbHH
                                                6b*bFb@b                                                                                                                                0@@ABCDEFGBÿ6*
 HV8HW8KHLI ,cABPZB       +CDPZTBCUJ]M]W10HHWd> 6QECDX)ÿ0@@ABCDEFBTÿ   dOP[FP\ÿ@Tÿf@CgFP\ÿYDAFEDQÿT@Cÿ6QECDX)ÿ0@@AÿoÿLH̀HHbHHÿ,6-                                                       L]LHXLHXHHÿ9@DPZÿ-BYBFGD^QB_L]LHXLHXLWÿ9@DPÿE@ÿ6QECDX)ÿ   LHHLXHHXVLÿ=/:0ÿ:DPgÿIKHV     LL̀JLbLW KVàLMV̀HWbHH            LL̀JLbLW     HbHH
                                                6b*bFb@b                                                                                                                                0@@ABCDEFGBÿ6*
 HV8HW8KHLI ,cABPZB       +CDPZTBCUJ]M]W10HHWd> 6QECDX)ÿ0@@ABCDEFBTÿ   dOP[FP\ÿ@Tÿf@CgFP\ÿYDAFEDQÿT@Cÿ/BB0O^FYÿoÿLKHH̀HHbHHÿ,6-                                                         L]LHXLHXHHÿ9@DPZÿ-BYBFGD^QB_L]LHXLHXLWÿ9@DPÿE@ÿ6QECDX)ÿ   LHHLXHHXVLÿ=/:0ÿ:DPgÿIKHV   LJWV̀JVb]H KVV̀W]`]]Kb]H          LJWV̀JVb]H     HbHH
                                                6b*bFb@b                                                                                                                                0@@ABCDEFGBÿ6*
 HV8LH8KHLI ,cABPZB       +CDPZTBCUV]L]W1=HH<9> 6QECDX)ÿ0@@ABCDEFBTÿ   dOP[FP\ÿ@Tÿf@CgFP\ÿYDAFEDQÿT@Cÿ/0                                                                                L]LHXLHXHHÿ9@DPZÿ-BYBFGD^QB_L]LHXLHXLWÿ9@DPÿE@ÿ6QECDX)ÿ   LHHLXHHXVKÿ=/:0ÿ:DPgÿIKLW    IL`]LKbIa KVM̀]WM̀WWbJa           IL`]LKbIa     HbHH
                                                6b*bFb@b                                                                                                                                0@@ABCDEFGBÿ6*
 HV8LK8KHLI ,cABPZB       +CDPZTBCU]]HWW1NHH>aM 6QECDX)ÿ0@@ABCDEFBTÿ   dOP[FP\ÿ@Tÿf@CgFP\ÿYDAFEDQ                                                                                       L]LHXLHXHHÿ9@DPZÿ-BYBFGD^QB_L]LHXLHXLWÿ9@DPÿE@ÿ6QECDX)ÿ   LHHLXHHXVKÿ=/:0ÿ:DPgÿIKLW   LHaK̀JVbKJ KVÌWKH̀IKbWI          LHaK̀JVbKJ     HbHH
                                                6b*bFb@b                                                                                                                                0@@ABCDEFGBÿ6*
 HV8LV8KHLI 0iBYg         +,/+                  6QECDX)ÿ0@@ABCDEFBTÿ   6QECDX)ÿ,6-2ÿL]WH̀HH                                                                                             L]LHXLHXHHÿ9@DPZÿ-BYBFGD^QB_L]LHXLHXLWÿ9@DPÿE@ÿ6QECDX)ÿ   LHHLXHHXVKÿ=/:0ÿ:DPgÿIKLW   La]H̀K]bVJ KML̀LaL̀LVbJK          La]H̀K]bVJ     HbHH
                                                6b*bFb@b                                                                                                                                0@@ABCDEFGBÿ6*
 HM8HI8KHLI ,cABPZB       +CDPZTBCUaLWaWN:HHS2] 6QECDX)ÿ0@@ABCDEFBTÿ   dOP[FP\ÿ@Tÿf@CgFP\ÿYDAFEDQÿT@Cÿ/0                                                                                L]LHXLHXHHÿ9@DPZÿ-BYBFGD^QB_L]LHXLHXLWÿ9@DPÿE@ÿ6QECDX)ÿ   LHHLXHHXVKÿ=/:0ÿ:DPgÿIKLW   LLKÌKWbIH KMK̀KIH̀]JbKK          LLKÌKWbIH     HbHH
                                                6b*bFb@b                                                                                                                                0@@ABCDEFGBÿ6*
 HM8HI8KHLI ,cABPZB       +CDPZTBCUa]IIWN:HLV/V 6QECDX)ÿ0@@ABCDEFBTÿ   dOP[FP\ÿ@Tÿf@CgFP\ÿYDAFEDQÿT@Cÿ/0                                                                                L]LHXLHXHHÿ9@DPZÿ-BYBFGD^QB_L]LHXLHXLWÿ9@DPÿE@ÿ6QECDX)ÿ   LHHLXHHXVKÿ=/:0ÿ:DPgÿIKLW    VJÌW]bHM KMJ̀HKÌIVbJH           VJÌW]bHM     HbHH
                                                6b*bFb@b                                                                                                                                0@@ABCDEFGBÿ6*
 HM8LK8KHLI ,cABPZB       +CDPZTBCUW]LWWN,HLHN: 6QECDX)ÿ0@@ABCDEFBTÿ   dOP[FP\ÿ@Tÿf@CgFP\ÿYDAFEDQÿT@Cÿ6QECDX)                                                                           L]LHXLHXHHÿ9@DPZÿ-BYBFGD^QB_L]LHXLHXLWÿ9@DPÿE@ÿ6QECDX)ÿ   LHHLXHHXVKÿ=/:0ÿ:DPgÿIKLW     LV̀KMbaW KMJ̀H]V̀KWbIW            LV̀KMbaW     HbHH
                                                6b*bFb@b                                                                                                                                0@@ABCDEFGBÿ6*
 HM8Ka8KHLI ,cABPZB       +CDPZTBCULMHJWN/HHL?/ 6QECDX)ÿ0@@ABCDEFBTÿ   dOP[FP\ÿ@Tÿf@CgFP\ÿYDAFEDQÿT@Cÿ/0ÿEiC@O\iÿ6QECDX)                                                                L]LHXLHXHHÿ9@DPZÿ-BYBFGD^QB_L]LHXLHXLWÿ9@DPÿE@ÿ6QECDX)ÿ   LHHLXHHXVLÿ=/:0ÿ:DPgÿIKHV   LJIM̀W]bMW KM`]]]ẀMHbMH          LJIM̀W]bMW     HbHH
                                                6b*bFb@b                                                                                                                                0@@ABCDEFGBÿ6*
 HM8JH8KHLI ,cABPZB       +CDPZTBCUKV]IWNSHH?>) 6QECDX)ÿ0@@ABCDEFBTÿ   dOP[FP\ÿ@Tÿf@CgFP\ÿYDAFEDQÿE@ÿ6QECDX)                                                                            L]LHXLHXHHÿ9@DPZÿ-BYBFGD^QB_L]LHXLHXLWÿ9@DPÿE@ÿ6QECDX)ÿ   LHHLXHHXVKÿ=/:0ÿ:DPgÿIKLW     LL̀JWbHK KM`]]WV̀LWbMK            LL̀JWbHK     HbHH
                                                6b*bFb@b                                                                                                                                0@@ABCDEFGBÿ6*
 HI8HI8KHLI ,cABPZB       +CDPZTBCUWaMIWjaHH:2) 6QECDX)ÿ0@@ABCDEFBTÿ   dOP[FP\ÿ@Tÿf@CgFP\ÿYDAFEDQÿT@Cÿ/BB0O^FY                                                                          L]LHXLHXHHÿ9@DPZÿ-BYBFGD^QB_L]LHXLHXLWÿ9@DPÿE@ÿ6QECDX)ÿ   LHHLXHHXVKÿ=/:0ÿ:DPgÿIKLW    aVJ̀KLbV] KMẀLJH̀JVbWa           aVJ̀KLbV]     HbHH
                                                6b*bFb@b                                                                                                                                0@@ABCDEFGBÿ6*
 HI8LM8KHLI ,cABPZB       +CDPZTBCULIIMWjdHH2L; 6QECDX)ÿ0@@ABCDEFBTÿ   dOP[FP\ÿ@Tÿf@CgFP\ÿYDAFEDQÿT@Cÿ/BB0O^FY                                                                          L]LHXLHXHHÿ9@DPZÿ-BYBFGD^QB_L]LHXLHXLWÿ9@DPÿE@ÿ6QECDX)ÿ   LHHLXHHXVLÿ=/:0ÿ:DPgÿIKHV   LJJM̀Kaba] KMà]aM̀a]bKH          LJJM̀Kaba]     HbHH
                                                6b*bFb@b                                                                                                                                0@@ABCDEFGBÿ6*
 HI8KH8KHLI ,cABPZB       +CDPZTBCUJJWIWj=HH5MI 6QECDX)ÿ0@@ABCDEFBTÿ   dOP[FP\ÿ@Tÿf@CgFP\ÿYDAFEDQÿT@Cÿ6QECDX)                                                                           L]LHXLHXHHÿ9@DPZÿ-BYBFGD^QB_L]LHXLHXLWÿ9@DPÿE@ÿ6QECDX)ÿ   LHHLXHHXVLÿ=/:0ÿ:DPgÿIKHV     LàIMbKa KMà]MẀaKb]a            LàIMbKa     HbHH

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 JK9KJ9LKJM -NDEOPE          ,FGOPQEFRJSSTUV0KK/;W 7XHFGY*ÿ1CCDEFGHBEQÿ     Z[O\BO]ÿCQÿ^CF_BO]ÿ̀GDBHGXÿHCÿ01                                                                                   JTJKYJKYKKÿ:CGOPÿ.E`EBIGaXEbJTJKYJKYJUÿ:CGOÿHCÿ7XHFGY*ÿ       JKKJYKKYcLÿ>0;1ÿ;GO_ÿMLJU     LLdeJUAKT LfdScKdfccAUK             LLdeJUAKT     KAKK
                                                   7A+ABACA                                                                                                                                    1CCDEFGHBIEÿ7+
 JK9KT9LKJM -NDEOPE          ,FGOPQEFReMKKUV<KK@LZ 7XHFGY*ÿ1CCDEFGHBEQÿ     Z[O\BO]ÿCQÿ^CF_BO]ÿ̀GDBHGXÿQCFÿ01                                                                                  JTJKYJKYKKÿ:CGOPÿ.E`EBIGaXEbJTJKYJKYJUÿ:CGOÿHCÿ7XHFGY*ÿ       JKKJYKKYcLÿ>0;1ÿ;GO_ÿMLJU     LLdTKLALS LfdSMedLcMAcS             LLdTKLALS     KAKK
                                                   7A+ABACA                                                                                                                                    1CCDEFGHBIEÿ7+
 JK9Kf9LKJM -NDEOPE          ,FGOPQEFRJMKfUV@KJf7M 7XHFGY*ÿ1CCDEFGHBEQÿ     Z[O\BO]ÿCQÿ^CF_BO]ÿ̀GDBHGXÿHCÿ7XHFGY*                                                                              JTJKYJKYKKÿ:CGOPÿ.E`EBIGaXEbJTJKYJKYJUÿ:CGOÿHCÿ7XHFGY*ÿ       JKKJYKKYcJÿ>0;1ÿ;GO_ÿMLKc    JfUdTMfAef LfdfcfdccfAJT            JfUdTMfAef     KAKK
                                                   7A+ABACA                                                                                                                                    1CCDEFGHBIEÿ7+
 JK9LL9LKJM -NDEOPE          ,FGOPQEFRKcUSU:*KJ;5, 7XHFGY*ÿ1CCDEFGHBEQÿ     Z[O\BO]ÿCQÿ^CF_BO]ÿ̀GDBHGXÿQCFÿ0EE1[aB̀                                                                            JTJKYJKYKKÿ:CGOPÿ.E`EBIGaXEbJTJKYJKYJUÿ:CGOÿHCÿ7XHFGY*ÿ       JKKJYKKYcJÿ>0;1ÿ;GO_ÿMLKc    JeTdcefATK LMdKJedUJSAUT            JeTdcefATK     KAKK
                                                   7A+ABACA                                                                                                                                    1CCDEFGHBIEÿ7+
 JJ9KS9LKJM -NDEOPE          ,FGOPQEFRcSecU:0KJJ3: 7XHFGY*ÿ1CCDEFGHBEQÿ     Z[O\BO]ÿCQÿ^CF_BO]ÿ̀GDBHGXÿHCÿ0EE1[aB̀                                                                             JTJKYJKYKKÿ:CGOPÿ.E`EBIGaXEbJTJKYJKYJUÿ:CGOÿHCÿ7XHFGY*ÿ       JKKJYKKYcLÿ>0;1ÿ;GO_ÿMLJU     eMdUJMATU LMdKUedKeUAMM             eMdUJMATU     KAKK
                                                   7A+ABACA                                                                                                                                    1CCDEFGHBIEÿ7+
JTJKYJKYJSÿ2OHEF`CgDGOhÿ2OHEFEPHÿ.E`EBIGaXEÿYÿ7XHFGY*ÿ1CCDEFGHBIEÿ7+
 JL9eJ9LKJU iC[FOGXÿ-OHFh JUUS                                              ,CÿFE`CF\ÿLKJUÿ2OHEF`CgDGOhÿ2OHEFEPHÿ2O`CgEÿjÿ2OHEF`CgDGOhÿ2OHEFEPHÿ.E`EBIGaXE                                     JTJKYJKYKKÿ:CGOPÿ.E`EBIGaXEbJTJKYJKYJSÿ2OHEF`CgDGOhÿ2OHEFEPHÿ Y0DXBHY                       LcLdKJUAMT LcLdKJUAMT               LcLdKJUAMT    KAKK
                                                                                                                                                                                               .E`EBIGaXEÿYÿ7XHFGY*ÿ1CCDEFGHBIEÿ7+
 JL9eJ9LKJU iC[FOGXÿ-OHFh JUUU                                              ,CÿFE`CF\ÿLKJTÿ2OHEF`CgDGOhÿ2OHEFEPHÿ2O`CgEÿjÿFEXGHE\ÿFE`EBIGaXE                                                   JTJKYJKYKKÿ:CGOPÿ.E`EBIGaXEbJTJKYJKYJSÿ2OHEF`CgDGOhÿ2OHEFEPHÿ Y0DXBHY                       LefdLJMAUL UJKdLeUATS               LefdLJMAUL    KAKK
                                                                                                                                                                                               .E`EBIGaXEÿYÿ7XHFGY*ÿ1CCDEFGHBIEÿ7+
 JL9eJ9LKJU iC[FOGXÿ-OHFh JUUT                                              ,CÿFE`XGPPÿBOHEF`CgDGOhÿBOHEFEPHÿFE`EBIGaXEÿHCÿ̀CFFE`Hÿ̀CgDGOhÿG``C[OHA                                            JTJKYJKYKKÿ:CGOPÿ.E`EBIGaXEbJTJKYJKYJSÿ2OHEF`CgDGOhÿ2OHEFEPHÿ Y0DXBHY                        McdJceAJJ SKcdTKfAUc                McdJceAJJ    KAKK
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 JL9eJ9LKJU iC[FOGXÿ-OHFh JUUc                                              ,CÿG\k[PHÿLKJUÿ2OHEF`CgDGOhÿ2OHEFEPHÿ2O`CgEÿjÿ2OHEF`CgDGOhÿ2OHEFEPHÿ.E`EBIGaXEÿHCÿG`H[GX                           JTJKYJKYKKÿ:CGOPÿ.E`EBIGaXEbJTJKYJKYJSÿ2OHEF`CgDGOhÿ2OHEFEPHÿ Y0DXBHY                         TdfSeASS SJLdLcLALe                 TdfSeASS    KAKK
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 JL9eJ9LKJU iC[FOGXÿ-OHFh JUUe                                              ,Cÿ̀CFFE`HÿHlEÿBOHEF`CgDGOhÿBOHEFEPHÿFE`EBIGaXEÿHCÿG`H[GXA                                                         JTJKYJKYKKÿ:CGOPÿ.E`EBIGaXEbJTJKYJKYJSÿ2OHEF`CgDGOhÿ2OHEFEPHÿ Y0DXBHY                        UTdMKMATJ SScdJfJAST                UTdMKMATJ    KAKK
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 Ke9eJ9LKJS iC[FOGXÿ-OHFh JcJL                                              2OHEFEPHÿFE`EBIGaXEÿQFCgÿ7XHFG*ÿXCGO                                                                               JTJKYJKYKKÿ:CGOPÿ.E`EBIGaXEbJTJKYJKYJSÿ2OHEF`CgDGOhÿ2OHEFEPHÿ Y0DXBHY                       fKMdULcAUL JdTcSdcKMAJS             fKMdULcAUL    KAKK
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 KS9eK9LKJS iC[FOGXÿ-OHFh JcJe                                              2OHEFEPHÿFE`EBIGaXEÿQFCgÿ7XHFG*ÿXCGO                                                                               JTJKYJKYKKÿ:CGOPÿ.E`EBIGaXEbJTJKYJKYJSÿ2OHEF`CgDGOhÿ2OHEFEPHÿ Y0DXBHY                       fKMdULcAUL LdLfSdLeSASf             fKMdULcAUL    KAKK
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 KM9eK9LKJS iC[FOGXÿ-OHFh JcJT                                              2OHEFEPHÿFE`EBIGaXEÿQFCgÿ7XHFG*ÿXCGO                                                                               JTJKYJKYKKÿ:CGOPÿ.E`EBIGaXEbJTJKYJKYJSÿ2OHEF`CgDGOhÿ2OHEFEPHÿ Y0DXBHY                       fKMdULcAUL edKMUdcSTALK             fKMdULcAUL    KAKK
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 JL9eJ9LKJS iC[FOGXÿ-OHFh JcJU                                              2OHEFEPHÿFE`EBIGaXEÿQFCgÿ7XHFG*ÿXCGO                                                                               JTJKYJKYKKÿ:CGOPÿ.E`EBIGaXEbJTJKYJKYJSÿ2OHEF`CgDGOhÿ2OHEFEPHÿ Y0DXBHY                       fKMdULcAUL edMKUdLMJAcL             fKMdULcAUL    KAKK
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 Ke9eJ9LKJc iC[FOGXÿ-OHFh JcUe                                              2OHEFEPHÿFE`EBIGaXEÿQFCgÿ7XHFG*ÿXCGO                                                                               JTJKYJKYKKÿ:CGOPÿ.E`EBIGaXEbJTJKYJKYJSÿ2OHEF`CgDGOhÿ2OHEFEPHÿ Y0DXBHY                       fUMdeUJAeM TdcSTdSTeAJJ             fUMdeUJAeM    KAKK
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 KS9eK9LKJc iC[FOGXÿ-OHFh JfeU                                              2OHEFEPHÿFE`EBIGaXEÿQFCgÿ7XHFG*ÿXCGO                                                                               JTJKYJKYKKÿ:CGOPÿ.E`EBIGaXEbJTJKYJKYJSÿ2OHEF`CgDGOhÿ2OHEFEPHÿ Y0DXBHY                       MKJdecSATJ UdSSSdKJMAUL             MKJdecSATJ    KAKK
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 KM9eK9LKJc iC[FOGXÿ-OHFh JfcJ                                              2OHEFEPHÿFE`EBIGaXEÿQFCgÿ7XHFG*ÿXCGO                                                                               JTJKYJKYKKÿ:CGOPÿ.E`EBIGaXEbJTJKYJKYJSÿ2OHEF`CgDGOhÿ2OHEFEPHÿ Y0DXBHY                       MSJdfLeASc SdSLcdfTeAJM             MSJdfLeASc    KAKK
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 JL9eJ9LKJc iC[FOGXÿ-OHFh JMLc                                              2OHEFEPHÿFE`EBIGaXEÿQFCgÿ7XHFG*ÿXCGO                                                                               JTJKYJKYKKÿ:CGOPÿ.E`EBIGaXEbJTJKYJKYJSÿ2OHEF`CgDGOhÿ2OHEFEPHÿ Y0DXBHY                     JdKKJdTcUAfM cdSLMdeJMAKf           JdKKJdTcUAfM    KAKK
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 Ke9eJ9LKJf iC[FOGXÿ-OHFh JMMK                                              2OHEFEPHÿFE`EBIGaXEÿQFCgÿ7XHFG*ÿXCGO                                                                               JTJKYJKYKKÿ:CGOPÿ.E`EBIGaXEbJTJKYJKYJSÿ2OHEF`CgDGOhÿ2OHEFEPHÿ Y0DXBHY                     JdKSUdcKcALM fdSMUdKLSAec           JdKSUdcKcALM    KAKK
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 KS9eK9LKJf iC[FOGXÿ-OHFh LKLT                                              2OHEFEPHÿFE`EBIGaXEÿQFCgÿ7XHFG*ÿXCGO                                                                               JTJKYJKYKKÿ:CGOPÿ.E`EBIGaXEbJTJKYJKYJSÿ2OHEF`CgDGOhÿ2OHEFEPHÿ Y0DXBHY                     JdJTLdLTTAfT MdfecdLcJALJ           JdJTLdLTTAfT    KAKK
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 KM9eK9LKJf iC[FOGXÿ-OHFh LKeM                                              :CGOÿ^BHlÿ7XHFGY*ÿmJnÿYÿ.E`CF\ÿWLÿLKJfÿHF[EY[DÿG\kAÿHCÿBOHEFEPHÿENDEOPE9mBO`CgEn                                   JTJKYJKYKKÿ:CGOPÿ.E`EBIGaXEbJTJKYJKYJSÿ2OHEF`CgDGOhÿ2OHEFEPHÿ Y0DXBHY                      YUJedMeMAfJ MdeLedeeJATK            YUJedMeMAfJ    KAKK
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 KM9eK9LKJf iC[FOGXÿ-OHFh LKeM                                              :CGOÿ^BHlÿ7XHFGY*ÿmJnÿYÿ.E`CF\ÿWeÿLKJfÿBOHEFEPHÿENDEOPE9mBO`CgEn                                                   JTJKYJKYKKÿ:CGOPÿ.E`EBIGaXEbJTJKYJKYJSÿ2OHEF`CgDGOhÿ2OHEFEPHÿ Y0DXBHY                       SSLdLSMAec MdMfUdSKKAcc             SSLdLSMAec    KAKK
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 JL9eJ9LKJf iC[FOGXÿ-OHFh LKUe                                              :CGOÿ^BHlÿ7XHFGY*ÿmJnÿYÿ.E`CF\ÿWTÿLKJfÿBOHEFEPHÿENDEOPE9mBO`CgEn                                                   JTJKYJKYKKÿ:CGOPÿ.E`EBIGaXEbJTJKYJKYJSÿ2OHEF`CgDGOhÿ2OHEFEPHÿ Y0DXBHY                       SfUdScMALc JKdScJdLfKAKT            SfUdScMALc    KAKK
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 Ke9eJ9LKJM iC[FOGXÿ-OHFh LJTL                                              :CGOÿ^BHlÿ7XHFGY*ÿmJnÿYÿ.E`CF\ÿWJÿLKJMÿBOHEFEPHÿENDEOPE9mBO`CgEn                                                   JTJKYJKYKKÿ:CGOPÿ.E`EBIGaXEbJTJKYJKYJSÿ2OHEF`CgDGOhÿ2OHEFEPHÿ Y0DXBHY                       cKfdfcMATc JJdefKdJUMAUJ            cKfdfcMATc    KAKK
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 KS9eK9LKJM iC[FOGXÿ-OHFh LJTe                                              :CGOÿ^BHlÿ7XHFGY*ÿmJnÿYÿ.E`CF\ÿWLÿLKJMÿBOHEFEPHÿENDEOPE9mBO`CgEn                                                   JTJKYJKYKKÿ:CGOPÿ.E`EBIGaXEbJTJKYJKYJSÿ2OHEF`CgDGOhÿ2OHEFEPHÿ Y0DXBHY                       cecdJSMAeT JLdJJcdeLfAfU            cecdJSMAeT    KAKK
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 KM9eK9LKJM iC[FOGXÿ-OHFh LJTT                                              :CGOÿ^BHlÿ7XHFGY*ÿmJnÿYÿ.E`CF\ÿWeÿLKJMÿBOHEFEPHÿENDEOPE9mBO`CgEn                                                   JTJKYJKYKKÿ:CGOPÿ.E`EBIGaXEbJTJKYJKYJSÿ2OHEF`CgDGOhÿ2OHEFEPHÿ Y0DXBHY                       cUMdTfeALf JLdfcSdfJLAJe            cUMdTfeALf    KAKK
                                                                                                                                                                                               .E`EBIGaXEÿYÿ7XHFGY*ÿ1CCDEFGHBIEÿ7+
 KJ9JU9LKLK iC[FOGXÿ-OHFh LJTM                                              :CGOÿ^BHlÿ7XHFGY*ÿmJnÿYÿ.E`CF\ÿWTÿLKJMÿBOHEFEPHÿENDEOPE9mBO`CgEn                                                   JTJKYJKYKKÿ:CGOPÿ.E`EBIGaXEbJTJKYJKYJSÿ2OHEF`CgDGOhÿ2OHEFEPHÿ Y0DXBHY                       cfcdfeUATc JedSSTdSTcASK            cfcdfeUATc    KAKK
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JTJKYJKYJcÿ2OHEFEPHÿ.E`EBIGaXEÿ7XHFGY*ÿ1CCDEFGHBEQÿ7A+ABACÿY3HlEF
 Ke9eJ9LKJS iC[FOGXÿ-OHFh JfKJ                                              2OHEFEPHÿFE`EBIGaXEÿQFCgÿ7XHFG*ÿXCGO                                                                               JTJKYJKYKKÿ:CGOPÿ.E`EBIGaXEbJTJKYJKYJcÿ2OHEFEPHÿ.E`EBIGaXEÿ   Y0DXBHY                        SdcKeAee      SdcKeAee              SdcKeAee     KAKK
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 KS9eK9LKJS iC[FOGXÿ-OHFh JfKL                                              2OHEFEPHÿFE`EBIGaXEÿQFCgÿ7XHFG*ÿXCGO                                                                               JTJKYJKYKKÿ:CGOPÿ.E`EBIGaXEbJTJKYJKYJcÿ2OHEFEPHÿ.E`EBIGaXEÿ   Y0DXBHY                        SdcKeAee     JedTKSASS              SdcKeAee     KAKK
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 KM9eK9LKJS iC[FOGXÿ-OHFh JfKe                                              2OHEFEPHÿFE`EBIGaXEÿQFCgÿ7XHFG*ÿXCGO                                                                               JTJKYJKYKKÿ:CGOPÿ.E`EBIGaXEbJTJKYJKYJcÿ2OHEFEPHÿ.E`EBIGaXEÿ   Y0DXBHY                        SdcKeAee     LKdJKMAMM              SdcKeAee     KAKK
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 JL9eJ9LKJS iC[FOGXÿ-OHFh JfKT                                              2OHEFEPHÿFE`EBIGaXEÿQFCgÿ7XHFG*ÿXCGO                                                                               JTJKYJKYKKÿ:CGOPÿ.E`EBIGaXEbJTJKYJKYJcÿ2OHEFEPHÿ.E`EBIGaXEÿ   Y0DXBHY                        SdcKeAee     LSdfJeAeL              SdcKeAee     KAKK
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 Ke9eJ9LKJc iC[FOGXÿ-OHFh JfeS                                              2OHEFEPHÿFE`EBIGaXEÿQFCgÿ7XHFG*ÿXCGO                                                                               JTJKYJKYKKÿ:CGOPÿ.E`EBIGaXEbJTJKYJKYJcÿ2OHEFEPHÿ.E`EBIGaXEÿ   Y0DXBHY                        SdcKeAee     eedUJSASU              SdcKeAee     KAKK
                                                                                                                                                                                               7XHFGY*ÿ1CCDEFGHBEQÿ7A+ABACÿY3HlEF
 KS9eK9LKJc iC[FOGXÿ-OHFh Jfec                                              2OHEFEPHÿFE`EBIGaXEÿQFCgÿ7XHFG*ÿXCGO                                                                               JTJKYJKYKKÿ:CGOPÿ.E`EBIGaXEbJTJKYJKYJcÿ2OHEFEPHÿ.E`EBIGaXEÿ   Y0DXBHY                        SdcKeAee     TKdLJMAMf              SdcKeAee     KAKK
                                                                                                                                                                                               7XHFGY*ÿ1CCDEFGHBEQÿ7A+ABACÿY3HlEF
 KM9eK9LKJc iC[FOGXÿ-OHFh JfcL                                              2OHEFEPHÿFE`EBIGaXEÿQFCgÿ7XHFG*ÿXCGO                                                                               JTJKYJKYKKÿ:CGOPÿ.E`EBIGaXEbJTJKYJKYJcÿ2OHEFEPHÿ.E`EBIGaXEÿ   Y0DXBHY                        SdcKeAee     TSdMLeAeJ              SdcKeAee     KAKK
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 JL9eJ9LKJc iC[FOGXÿ-OHFh JMLf                                              2OHEFEPHÿFE`EBIGaXEÿQFCgÿ7XHFG*ÿXCGO                                                                               JTJKYJKYKKÿ:CGOPÿ.E`EBIGaXEbJTJKYJKYJcÿ2OHEFEPHÿ.E`EBIGaXEÿ   Y0DXBHY                        SdcKeAee     UedSLSAST              SdcKeAee     KAKK
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 Ke9eJ9LKJf iC[FOGXÿ-OHFh JMMJ                                              2OHEFEPHÿFE`EBIGaXEÿQFCgÿ7XHFG*ÿXCGO                                                                               JTJKYJKYKKÿ:CGOPÿ.E`EBIGaXEbJTJKYJKYJcÿ2OHEFEPHÿ.E`EBIGaXEÿ   Y0DXBHY                        SdcKeAee     SKdeLMAMc              SdcKeAee     KAKK
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 KS9eK9LKJf iC[FOGXÿ-OHFh LKLU                                              2OHEFEPHÿFE`EBIGaXEÿQFCgÿ7XHFG*ÿXCGO                                                                               JTJKYJKYKKÿ:CGOPÿ.E`EBIGaXEbJTJKYJKYJcÿ2OHEFEPHÿ.E`EBIGaXEÿ   Y0DXBHY                        SdcKeAee     ScdKeeAeK              SdcKeAee     KAKK
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 KM9eK9LKJf iC[FOGXÿ-OHFh LKeM                                              :CGOÿ^BHlÿ7XHFGY*ÿmLnÿYÿ.E`CF\ÿWeÿLKJfÿBOHEFEPHÿENDEOPE9mBO`CgEn                                                   JTJKYJKYKKÿ:CGOPÿ.E`EBIGaXEbJTJKYJKYJcÿ2OHEFEPHÿ.E`EBIGaXEÿ   Y0DXBHY                        edSfSAfe     cKdcLKAJe              edSfSAfe     KAKK
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 LM8NL8OLPQ RESBTC@ÿ,TABU OLNM                                                  9ECTÿVHAKÿ6@ABCD)ÿWOXÿDÿ-GYEBZÿ[OÿOLPQÿABSGDSFÿCZ\JÿAEÿHTAGBG]AÿG^FGT]G8WHTYE_GX                                      P`PLDPLDLLÿ9ECT]ÿ-GYGHaCb@GcP`PLDPLDPdÿ1TAGBG]Aÿ-GYGHaCb@Gÿ   D/F@HAD                         DNeLPfJgL    fdedLNJfN              DNeLPfJgL     LJLL
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 PO8NP8OLPQ RESBTC@ÿ,TABU OLgN                                                  9ECTÿVHAKÿ6@ABCD)ÿWOXÿDÿ-GYEBZÿ[`ÿOLPQÿHTAGBG]AÿG^FGT]G8WHTYE_GX                                                      P`PLDPLDLLÿ9ECT]ÿ-GYGHaCb@GcP`PLDPLDPdÿ1TAGBG]Aÿ-GYGHaCb@Gÿ   D/F@HAD                          NefQfJQN    dPeNMLJ̀f               NefQfJQN     LJLL
                                                                                                                                                                                                      6@ABCD)ÿ0EEFGBCAHGIÿ6J*JHJEÿD2AKGB
 LN8NP8OLPM RESBTC@ÿ,TABU OP`O                                                  9ECTÿVHAKÿ6@ABCD)ÿWOXÿDÿ-GYEBZÿ[PÿOLPMÿHTAGBG]AÿG^FGT]G8WHTYE_GX                                                      P`PLDPLDLLÿ9ECT]ÿ-GYGHaCb@GcP`PLDPLDPdÿ1TAGBG]Aÿ-GYGHaCb@Gÿ   D/F@HAD                          NefQfJQN    dgeLddJOM               NefQfJQN     LJLL
                                                                                                                                                                                                      6@ABCD)ÿ0EEFGBCAHGIÿ6J*JHJEÿD2AKGB
 Lf8NL8OLPM RESBTC@ÿ,TABU OP`N                                                  9ECTÿVHAKÿ6@ABCD)ÿWOXÿDÿ-GYEBZÿ[OÿOLPMÿHTAGBG]AÿG^FGT]G8WHTYE_GX                                                      P`PLDPLDLLÿ9ECT]ÿ-GYGHaCb@GcP`PLDPLDPdÿ1TAGBG]Aÿ-GYGHaCb@Gÿ   D/F@HAD                          NefQfJQN    dQedf`JPO               NefQfJQN     LJLL
                                                                                                                                                                                                      6@ABCD)ÿ0EEFGBCAHGIÿ6J*JHJEÿD2AKGB
 LM8NL8OLPM RESBTC@ÿ,TABU OP``                                                  9ECTÿVHAKÿ6@ABCD)ÿWOXÿDÿ-GYEBZÿ[NÿOLPMÿHTAGBG]AÿG^FGT]G8WHTYE_GX                                                      P`PLDPLDLLÿ9ECT]ÿ-GYGHaCb@GcP`PLDPLDPdÿ1TAGBG]Aÿ-GYGHaCb@Gÿ   D/F@HAD                          NefQfJQN    QOègLJMg               NefQfJQN     LJLL
                                                                                                                                                                                                      6@ABCD)ÿ0EEFGBCAHGIÿ6J*JHJEÿD2AKGB
 LP8Pg8OLOL RESBTC@ÿ,TABU OP`M                                                  9ECTÿVHAKÿ6@ABCD)ÿWOXÿDÿ-GYEBZÿ[`ÿOLPMÿHTAGBG]AÿG^FGT]G8WHTYE_GX                                                      P`PLDPLDLLÿ9ECT]ÿ-GYGHaCb@GcP`PLDPLDPdÿ1TAGBG]Aÿ-GYGHaCb@Gÿ   D/F@HAD                          NefQfJQN    QfePNdJdQ               NefQfJQN     LJLL
                                                                                                                                                                                                      6@ABCD)ÿ0EEFGBCAHGIÿ6J*JHJEÿD2AKGB
P`PLDPLDOLÿ9ECTÿAEÿ/GG0SbHYÿ-ÿhÿ)
 Lf8OO8OLPP :H@@            `ÿ9CTSYKÿ.EAGbEEi          *JjJW:BC_Xÿ-HG_GT]       `ÿ9CTSYKÿ.EAGbEEi                                                                                                     P`PLDPLDLLÿ9ECT]ÿ-GYGHaCb@GcP`PLDPLDOLÿ9ECTÿAEÿ/GG0SbHYÿ-ÿhÿ OLLLLÿOLLLDLLDLLÿ*YYESTA]ÿ        OeNMgJMd OeNMgJMd                   OeNMgJMd     LJLL
                                                                                                                                                                                                      )                                                            5CUCb@G
 Lf8O`8OLPP :H@@            )GY@CBCAHETÿ50-+bE^J       kC@AKGBÿ-EG@GT           )GY@CBCAHETÿ50-+bE^J^@]^                                                                                              P`PLDPLDLLÿ9ECT]ÿ-GYGHaCb@GcP`PLDPLDOLÿ9ECTÿAEÿ/GG0SbHYÿ-ÿhÿ OLLLLÿOLLLDLLDLLÿ*YYESTA]ÿ        OePPdJLL `egPOJMd                   OePPdJLL     LJLL
                                                                                ÿ9Cbÿ,lSHF_GTA                                                                                                        )                                                            5CUCb@G
 Lf8NL8OLPP :H@@            ,7fNLPP                    /GG0SbHYÿ:J;JÿHJEJ                                                                                                                             P`PLDPLDLLÿ9ECT]ÿ-GYGHaCb@GcP`PLDPLDOLÿ9ECTÿAEÿ/GG0SbHYÿ-ÿhÿ OLLLLÿOLLLDLLDLLÿ*YYESTA]ÿ       OfeLLLJLL NLegPOJMd                 OfeLLLJLL     LJLL
                                                                                                                                                                                                      )                                                            5CUCb@G
 Ld8Pf8OLPP :H@@            RS@UÿPfeÿOLPP              /GG0SbHYÿ:J;JÿHJEJ       /C_F@G]D,lSHF_GTA                                                                                                     P`PLDPLDLLÿ9ECT]ÿ-GYGHaCb@GcP`PLDPLDOLÿ9ECTÿAEÿ/GG0SbHYÿ-ÿhÿ OLLLLÿOLLLDLLDLLÿ*YYESTA]ÿ       gLeLLLJLL QLegPOJMd                 gLeLLLJLL     LJLL
                                                                                                                                                                                                      )                                                            5CUCb@G
 LQ8OL8OLPP :H@@            *SmÿOLePP                  /GG0SbHYÿ:J;JÿHJEJ       +Eÿ5SBYKC]GÿN)ÿ/C_F@G]ÿhÿ,lHSF_GTA                                                                                    P`PLDPLDLLÿ9ECT]ÿ-GYGHaCb@GcP`PLDPLDOLÿ9ECTÿAEÿ/GG0SbHYÿ-ÿhÿ OLLLLÿOLLLDLLDLLÿ*YYESTA]ÿ       dgeLLLJLL PggegPOJMd                dgeLLLJLL     LJLL
                                                                                                                                                                                                      )                                                            5CUCb@G
 LQ8NL8OLPP :H@@            7CAKSÿ;GBbC@               /GG0SbHYÿ:J;JÿHJEJ       +EÿFSBYKC]Gÿ,lHSF_GTA                                                                                                 P`PLDPLDLLÿ9ECT]ÿ-GYGHaCb@GcP`PLDPLDOLÿ9ECTÿAEÿ/GG0SbHYÿ-ÿhÿ OLLLLÿOLLLDLLDLLÿ*YYESTA]ÿ       gLeLLLJLL OLgegPOJMd                gLeLLLJLL     LJLL
                                                                                                                                                                                                      )                                                            5CUCb@G
 Lg8NP8OLPO RESBTC@ÿ,TABU PPN                                                   -GY@C]]ÿOLPPÿ/GG0SbHYÿFU_A]ÿAEÿYET]E@HZCAGÿHTAEÿETGÿ@ECTÿCYYA                                                         P`PLDPLDLLÿ9ECT]ÿ-GYGHaCb@GcP`PLDPLDOLÿ9ECTÿAEÿ/GG0SbHYÿ-ÿhÿ D/F@HAD                        DOLgegPOJMd       LJLL              DOLgegPOJMd     LJLL
                                                                                                                                                                                                      )
P`PLDPLDOPÿ9ECTÿAEÿ/ABGC_+;ÿ1TAGBTCAHETC@ÿDÿÿ1TaGTAEBU
 PO8NP8OLPf RESBTC@ÿ,TABU PdM`                                                  0EBBGYAÿCZ\S]A_GTAÿFE]AGZÿAEÿR,ÿPdOLÿAEÿYEBBGYAÿGTZHTmÿbC@CTYGÿHTÿn>ÿIEBÿ/ABGC_+;                                  P`PLDPLDLLÿ9ECT]ÿ-GYGHaCb@GcP`PLDPLDOPÿ9ECTÿAEÿ/ABGC_+;ÿ         D/F@HAD                         DNeNgQJQL DNeNgQJQL                 DNeNgQJQL     LJLL
                                                                                                                                                                                                   1TAGBTCAHETC@ÿDÿÿ1TaGTAEBU
 PO8NP8OLPf RESBTC@ÿ,TABU PdOP                                                  -GY@C]]ÿ1TaGTAEBUÿAEÿ/ABGC_+;ÿ1TA                                                                                  P`PLDPLDLLÿ9ECT]ÿ-GYGHaCb@GcP`PLDPLDOPÿ9ECTÿAEÿ/ABGC_+;ÿ         D/F@HAD                      OèfdePggJ̀L OèfNedMfJfL           OèfdePggJ̀L     LJLL
                                                                                                                                                                                                   1TAGBTCAHETC@ÿDÿÿ1TaGTAEBU
 Ld8NP8OLPd :H@@            kEBiHTmÿ0CFHAC@            /ABGC_ÿ+;ÿ1TAGBTCAHETC@ÿ kEBiHTmÿ0CFHAC@ÿÿnSTZ]ÿ+BCT]IGB                                                                                    P`PLDPLDLLÿ9ECT]ÿ-GYGHaCb@GcP`PLDPLDOPÿ9ECTÿAEÿ/ABGC_+;ÿ         OLLLLÿOLLLDLLDLLÿ*YYESTA]ÿ      PPegfQJMP OèdgeNfgJgP              PPegfQJMP     LJLL
                                                       :J;J                                                                                                                                        1TAGBTCAHETC@ÿDÿÿ1TaGTAEBU                                       5CUCb@G
 LQ8PQ8OLPd :H@@            *SmÿPQeÿOLPd               /ABGC_ÿ+;ÿ1TAGBTCAHETC@ÿ kEBiHTmÿ0CFHAC@ÿÿ*SmÿPQeÿOLPdÿIEBÿ,ÿhÿ4ÿ5CU_GTA                                                                    P`PLDPLDLLÿ9ECT]ÿ-GYGHaCb@GcP`PLDPLDOPÿ9ECTÿAEÿ/ABGC_+;ÿ         OLLLLÿOLLLDLLDLLÿ*YYESTA]ÿ      PNedNOJQL OèQMeLMQJNP              PNedNOJQL     LJLL
                                                       :J;J                                                                                                                                        1TAGBTCAHETC@ÿDÿÿ1TaGTAEBU                                       5CUCb@G
 LM8PQ8OLPd :H@@            OLPdLMPQDO                 /ABGC_ÿ+;ÿ1TAGBTCAHETC@ÿ nSTZHTmÿEIÿkEBiHTmÿ0CFHAC@ÿDÿ/GFAG_bGBÿPQeÿOLPd                                                                    P`PLDPLDLLÿ9ECT]ÿ-GYGHaCb@GcP`PLDPLDOPÿ9ECTÿAEÿ/ABGC_+;ÿ         OLLLDLLDLNÿ*YYESTA]ÿ5CUCb@Gÿ NOed``JQ` OegOPeQ`NJPg                 NOed``JQ`     LJLL
                                                       :J;JÿW,6-X                                                                                                                                  1TAGBTCAHETC@ÿDÿÿ1TaGTAEBU                                       W,6-X
 PO8NP8OLPd RESBTC@ÿ,TABU PM`O                                                  *Z\S]A_GTAÿIEBÿkC@]KÿHTaEHYG]                                                                                      P`PLDPLDLLÿ9ECT]ÿ-GYGHaCb@GcP`PLDPLDOPÿ9ECTÿAEÿ/ABGC_+;ÿ         D/F@HAD                         DQegLLJLL OegPNeN`NJPg              DQegLLJLL     LJLL
                                                                                                                                                                                                   1TAGBTCAHETC@ÿDÿÿ1TaGTAEBU
 PO8NP8OLPd RESBTC@ÿ,TABU PMNL                                                  -GYEBZÿHTaGTAEBUÿ]KHFFGZÿAEÿ6/ÿHTÿ.EaG_bGB                                                                         P`PLDPLDLLÿ9ECT]ÿ-GYGHaCb@GcP`PLDPLDOPÿ9ECTÿAEÿ/ABGC_+;ÿ         D/F@HAD                       DOgPeMPNJOL OeOfPèOMJMg            DOgPeMPNJOL     LJLL
                                                                                                                                                                                                   1TAGBTCAHETC@ÿDÿÿ1TaGTAEBU
 PO8NP8OLPd RESBTC@ÿ,TABU PMNL                                                  -GYEBZÿHTaGTAEBUÿ]KHFFGZÿAEÿ6/ÿHTÿ)GYG_bGB                                                                         P`PLDPLDLLÿ9ECT]ÿ-GYGHaCb@GcP`PLDPLDOPÿ9ECTÿAEÿ/ABGC_+;ÿ         D/F@HAD                       DOgPeMPNJOL OeLLMegPfJdg            DOgPeMPNJOL     LJLL
                                                                                                                                                                                                   1TAGBTCAHETC@ÿDÿÿ1TaGTAEBU
 PO8NP8OLPd RESBTC@ÿ,TABU PMOM                                                  -GY@C]]ÿISTZHTmÿABCT]CYAHETÿFE]AGZÿAEÿ10ÿHTaGTAEBUÿCYYESTAÿAEÿ/+;1ÿ10ÿnSTZÿCYYESTA                                 P`PLDPLDLLÿ9ECT]ÿ-GYGHaCb@GcP`PLDPLDOPÿ9ECTÿAEÿ/ABGC_+;ÿ         D/F@HAD                        DgQeL`fJgg PeMgPèdLJOL             DgQeL`fJgg     LJLL
                                                                                                                                                                                                   1TAGBTCAHETC@ÿDÿÿ1TaGTAEBU
 PO8NP8OLPd RESBTC@ÿ,TABU PMOM                                                  -GY@C]]ÿHTaEHYG]ÿBGYEBZGZÿIEBÿ/+;1ÿAEÿ10ÿHTaGTAEBUÿCYYESTA                                                         P`PLDPLDLLÿ9ECT]ÿ-GYGHaCb@GcP`PLDPLDOPÿ9ECTÿAEÿ/ABGC_+;ÿ         D/F@HAD                      PeMLdef`NJMd NeQgMePP`JPd           PeMLdef`NJMd     LJLL
                                                                                                                                                                                                   1TAGBTCAHETC@ÿDÿÿ1TaGTAEBU
 LP8LP8OLPQ ;GTZEBÿ0BGZHA 0-dPLgMOPN                   5GmCABETÿ0EBFEBCAHET 0BGZHAÿEIÿHTaEHYGÿoÿdPLgMOPNÿWKC@IÿEIÿbH@@GZÿC_ESTAXÿFGBÿ5GmCABETÿ]ACAG_GTAÿCAÿ4,OLPd                                  P`PLDPLDLLÿ9ECT]ÿ-GYGHaCb@GcP`PLDPLDOPÿ9ECTÿAEÿ/ABGC_+;ÿ         OLLLLÿOLLLDLLDLLÿ*YYESTA]ÿ DNfLeLLLJLL NèMMePP`JPd               DNfLeLLLJLL     LJLL
                                                                                                                                                                                                   1TAGBTCAHETC@ÿDÿÿ1TaGTAEBU                                       5CUCb@G
 LP8LP8OLPQ ;GTZEBÿ0BGZHA 0-dPLgMOdN                   5GmCABETÿ0EBFEBCAHET 0BGZHAÿEIÿHTaEHYGÿoÿdPLgMOdNÿFGBÿ5GmCABETÿ]ACAG_GTAÿpÿ4,OLPd                                                           P`PLDPLDLLÿ9ECT]ÿ-GYGHaCb@GcP`PLDPLDOPÿ9ECTÿAEÿ/ABGC_+;ÿ         OLLLLÿOLLLDLLDLLÿ*YYESTA]ÿ      D`eQLLJLL NèM`eNP`JPd              D`eQLLJLL     LJLL
                                                                                                                                                                                                   1TAGBTCAHETC@ÿDÿÿ1TaGTAEBU                                       5CUCb@G
 LP8OM8OLPQ RESBTC@ÿ,TABU PMMf                                                  1TAGBYE_FCTUÿ0BGZHAÿoÿ0-10OLPQLPOMPÿDÿ+BCT]IGBÿEIÿ]H^AUÿWfLXÿfgqÿ)H]F@CU]ÿn>ÿSTHA]ÿIBE_ÿ/+;1ÿW5GmCABETD0.XÿAEÿ/+;ÿ P`PLDPLDLLÿ9ECT]ÿ-GYGHaCb@GcP`PLDPLDOPÿ9ECTÿAEÿ/ABGC_+;ÿ         D/F@HAD                        DM`egfQJdL NeNMMed`gJ̀d             DM`egfQJdL     LJLL
                                                                                W7*)D6/*X                                                                                                          1TAGBTCAHETC@ÿDÿÿ1TaGTAEBU
 LO8LQ8OLPQ ,^FGT]G         kHBGÿBGIo`dfLg`NLONd= /ABGC_ÿ+;ÿ1TAGBTCAHETC@ÿ nSTZHTmÿEIÿVEBiHTmÿYCFHAC@ÿAEÿ/+;1                                                                                      P`PLDPLDLLÿ9ECT]ÿ-GYGHaCb@GcP`PLDPLDOPÿ9ECTÿAEÿ/ABGC_+;ÿ         PLLPDLLDdOÿ=/:0ÿ:CTiÿMOPg       OQeNL`Jgg NèOQeLgLJLO              OQeNL`Jgg     LJLL
                                                       :J;J                                                                                                                                        1TAGBTCAHETC@ÿDÿÿ1TaGTAEBU
 LN8NP8OLPQ RESBTC@ÿ,TABU PMQf                                                  -GY@C]]ÿISTZHTmÿABCT]CYAHETÿFE]AGZÿAEÿ10ÿHTaGTAEBUÿCYYESTAÿAEÿ/+;1ÿ10ÿnSTZÿCYYESTA                                 P`PLDPLDLLÿ9ECT]ÿ-GYGHaCb@GcP`PLDPLDOPÿ9ECTÿAEÿ/ABGC_+;ÿ         D/F@HAD                        DOQeNL`Jgg NeNMMed`gJ̀d             DOQeNL`Jgg     LJLL
                                                                                                                                                                                                   1TAGBTCAHETC@ÿDÿÿ1TaGTAEBU
 PL8LO8OLPQ :H@@            PgL                        /H_ETÿnEBZ               nSTZHTmÿEIÿYET]S@ACTYUÿIGGÿIEBÿAKGÿFGBHEZ]ÿMJO`JOLPQÿAEÿPLJgJOLPQÿETÿbGKC@IÿEIÿ/+;1ÿDÿ/+;1ÿnSTZHTmÿoÿOLPQPLLOP P`PLDPLDLLÿ9ECT]ÿ-GYGHaCb@GcP`PLDPLDOPÿ9ECTÿAEÿ/ABGC_+;ÿ             OLLLDLLDLOÿ*YYESTA]ÿ5CUCb@Gÿ     OeQQ`JdM NèLOefNLJOf               OeQQ`JdM     LJLL
                                                                                                                                                                                                   1TAGBTCAHETC@ÿDÿÿ1TaGTAEBU                                       W>:5X
 Lf8L`8OLPM ,^FGT]G         kHBG-GIoLfNQg=>LLk=P /H_ETÿ*JÿnEBZ                  5CUBE@@ÿFCU_GTAÿIEBÿRSTGÿdeÿOLPMÿFCUBE@@ÿYUY@GÿFCHZÿIBE_ÿ=/:0^MOPgÿCYYESTA                                         P`PLDPLDLLÿ9ECT]ÿ-GYGHaCb@GcP`PLDPLDOPÿ9ECTÿAEÿ/ABGC_+;ÿ         PLLPDLLDdOÿ=/:0ÿ:CTiÿMOPg        OeMOLJdL NèLgeggLJMf               OeMOLJdL     LJLL
                                                                                                                                                                                                   1TAGBTCAHETC@ÿDÿÿ1TaGTAEBU
P`PLDPLDOgÿ9ECTÿAEÿ0SBCYCEÿ0J;J
 LP8LO8OLPg RESBTC@ÿ,TABU P`Of                                                  RCTÿOLPgÿ=CViÿ.EAGÿFCHZÿAEÿ0SBCYCEÿ0;ÿWgeOdfeLLLÿ>:5X                                                                 P`PLDPLDLLÿ9ECT]ÿ-GYGHaCb@GcP`PLDPLDOgÿ9ECTÿAEÿ0SBCYCEÿ0J;J D/F@HAD                        QePMPegPgJLL QePMPegPgJLL            QePMPegPgJLL    LJLL
 PO8NP8OLPg RESBTC@ÿ,TABU P`dN-                                                 +EÿBGYEBZÿ=CViÿ.EAGÿogeÿPL8PO8PgÿnHB]Aÿ)BCVÿAEÿ0SBCYCEÿEIÿrOegLLeLLL                                                  P`PLDPLDLLÿ9ECT]ÿ-GYGHaCb@GcP`PLDPLDOgÿ9ECTÿAEÿ0SBCYCEÿ0J;J D/F@HAD                       DOeMMPèMgJLL geOLLeLOLJLL           DOeMMPèMgJLL    LJLL
 PO8NP8OLPg RESBTC@ÿ,TABU P`Q`                                                  +EÿBGYEBZÿ/_C@@ÿ5BEZSYAHETÿ6THAÿ_CYKHTGBUÿFCHZÿbUÿ6@ABCD)ÿ;GTASBG]ÿW0;X                                               P`PLDPLDLLÿ9ECT]ÿ-GYGHaCb@GcP`PLDPLDOgÿ9ECTÿAEÿ0SBCYCEÿ0J;J D/F@HAD                         D``gedLQJgQ `edg`eNPPJ̀O             D``gedLQJgQ    LJLL
 PO8NP8OLPg RESBTC@ÿ,TABU PgLN                                                  +EÿBGYEBZÿ/ABGC_+;s]ÿ-h)ÿG^FGT]G]ÿIEBÿ5GmCABETÿ.-,ÿFCHZÿbUÿ6@ABCD)ÿ0;                                                 P`PLDPLDLLÿ9ECT]ÿ-GYGHaCb@GcP`PLDPLDOgÿ9ECTÿAEÿ0SBCYCEÿ0J;J D/F@HAD                         DOMdeOgQJLf `ègdeLgNJNf             DOMdeOgQJLf    LJLL
 PO8NP8OLPg RESBTC@ÿ,TABU PgLN                                                  +EÿBGYEBZÿ/ABGC_+;s]ÿ6jÿEIIHYGÿBGTAÿFCHZÿbUÿ6@ABCD)ÿ0;                                                                P`PLDPLDLLÿ9ECT]ÿ-GYGHaCb@GcP`PLDPLDOgÿ9ECTÿAEÿ0SBCYCEÿ0J;J D/F@HAD                          D`MePNNJLd `èLdeMOLJOM              D`MePNNJLd    LJLL
 PO8NP8OLPg RESBTC@ÿ,TABU P`Qg                                                  +EÿBGY@C]]ÿOLP`ÿ_H]FE]AHTmÿEIÿHTAGBYE_FCTUÿ@ECTÿAEÿHTaG]A_GTAÿCYYESTA                                                 P`PLDPLDLLÿ9ECT]ÿ-GYGHaCb@GcP`PLDPLDOgÿ9ECTÿAEÿ0SBCYCEÿ0J;J D/F@HAD                        PeQfPeN`OJLL feOfMeOfOJOM            PeQfPeN`OJLL    LJLL
 PO8NP8OLPg RESBTC@ÿ,TABU P`dN--                                                +EÿBGYEBZÿ=CViÿ.EAGÿogeÿPL8PO8PgÿnHB]Aÿ)BCVÿAEÿ0SBCYCEÿEIÿrOegLLeLLL                                                  P`PLDPLDLLÿ9ECT]ÿ-GYGHaCb@GcP`PLDPLDOgÿ9ECTÿAEÿ0SBCYCEÿ0J;J D/F@HAD                        OeMMPèMgJLL MeOfLedgdJOM            OeMMPèMgJLL    LJLL
 PO8NP8OLPg RESBTC@ÿ,TABU P`dN                                                  +EÿBGYEBZÿ=CViÿ.EAGÿogeÿPL8PO8PgÿnHB]Aÿ)BCVÿAEÿ0SBCYCEÿEIÿrOegLLeLLL                                                  P`PLDPLDLLÿ9ECT]ÿ-GYGHaCb@GcP`PLDPLDOgÿ9ECTÿAEÿ0SBCYCEÿ0J;J D/F@HAD                        OeMMPèMgJLL POeOgOeOgOJOM           OeMMPèMgJLL    LJLL
 PO8NP8OLPg RESBTC@ÿ,TABU P`d`                                                  +EÿBGYEBZÿ=CViÿ.EAGÿogeÿPP8PM8Pgÿ/GYETZÿ)BCVÿAEÿ0SBCYCEÿEIÿrOegLLeLLL                                                 P`PLDPLDLLÿ9ECT]ÿ-GYGHaCb@GcP`PLDPLDOgÿ9ECTÿAEÿ0SBCYCEÿ0J;J D/F@HAD                        NeLdPeMfNJLL PgeNO`eOPgJOM           NeLdPeMfNJLL    LJLL
 PO8NP8OLPg RESBTC@ÿ,TABU P`dP                                                  +EÿBGYEBZÿ=CViÿ.EAGÿo`eÿQ8f8PgÿnHB]Aÿ)BCVÿFCHZÿAEÿ0SBCYCEÿEIÿr`eLLLeLLL                                               P`PLDPLDLLÿ9ECT]ÿ-GYGHaCb@GcP`PLDPLDOgÿ9ECTÿAEÿ0SBCYCEÿ0J;J D/F@HAD                        `ePPLed``JLL PMèN`eMgMJOM           `ePPLed``JLL    LJLL
 PO8NP8OLPg RESBTC@ÿ,TABU P`dO                                                  +EÿBGYEBZÿ=CViÿ.EAGÿo`eÿM8d8Pgÿ/GYETZÿ)BCVÿAEÿ0SBCYCEÿEIÿr`eLLLeLLL                                                   P`PLDPLDLLÿ9ECT]ÿ-GYGHaCb@GcP`PLDPLDOgÿ9ECTÿAEÿ0SBCYCEÿ0J;J D/F@HAD                        `eP`OeQNOJLL ONegddedMPJOM           `eP`OeQNOJLL    LJLL
 LP8LP8OLPf RESBTC@ÿ,TABU PdPf                                                  -GY@C]]ÿEFGTHTmÿbC@CTYGÿIEBÿ5GmCABETÿ.-,ÿFCU_GTAÿ_CZGÿbUÿ0;J                                                          P`PLDPLDLLÿ9ECT]ÿ-GYGHaCb@GcP`PLDPLDOgÿ9ECTÿAEÿ0SBCYCEÿ0J;J D/F@HAD                          OMdeOgQJLf ONeQdgeL`MJNg             OMdeOgQJLf    LJLL
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 AB9AB9CABD EFGHIJKÿ-ILHM BNBD                                               .OPKJQQÿFROISITÿUJKJIPOÿVFHÿ067ÿRJMWOILÿWJXOÿUMÿ1<Y                                                           BZBA[BA[AAÿ:FJIQÿ.OPOS\JUKO]BZBA[BA[C^ÿ:FJIÿLFÿ1GHJPJFÿ1Y<Y [0RKSL[                           ZZ^_NA`Y^` CZ_aCA_N^NYba            ZZ^_NA`Y^`    AYAA
 AB9AB9CABD EFGHIJKÿ-ILHM BNBD                                               .OPKJQQÿFROISITÿUJKJIPOÿVFHÿ7cÿHOILÿRJMWOILÿWJXOÿUMÿ1<Y                                                       BZBA[BA[AAÿ:FJIQÿ.OPOS\JUKO]BZBA[BA[C^ÿ:FJIÿLFÿ1GHJPJFÿ1Y<Y [0RKSL[                            Zb_BaaYAN CZ_aDb_`bBYAA             Zb_BaaYAN    AYAA
 AC9B^9CABD EFGHIJKÿ-ILHM B^`b                                               .OPFHXÿ>Jdeÿ/FLOÿfDÿga8ÿ?;6hÿFIÿiOUÿB^ÿCABD                                                                   BZBA[BA[AAÿ:FJIQÿ.OPOS\JUKO]BZBA[BA[C^ÿ:FJIÿLFÿ1GHJPJFÿ1Y<Y [0RKSL[                         C_`D`_BAbYCA CN_Ca`_AAAYCA          C_`D`_BAbYCA    AYAA
 Aa9aB9CABD EFGHIJKÿ-ILHM B^`D                                               8JHPjÿCABDÿ[ÿ.OPFHXÿkGJHLOHKMÿ0LHOJW,<ÿ7cÿFVVSPOÿHOILÿRJSXÿUMÿ1<ÿgBAỲcÿ?;6h                                  BZBA[BA[AAÿ:FJIQÿ.OPOS\JUKO]BZBA[BA[C^ÿ:FJIÿLFÿ1GHJPJFÿ1Y<Y [0RKSL[                           [B^_DZZYNN CN_CCC_a^^YZa            [B^_DZZYNN    AYAA
 Aa9aB9CABD EFGHIJKÿ-ILHM BNBN                                               .OPKJQQÿFROISITÿUJKJIPOÿVFHÿ7cÿHOILÿRJMWOILÿWJXOÿUMÿ1<Y                                                       BZBA[BA[AAÿ:FJIQÿ.OPOS\JUKO]BZBA[BA[C^ÿ:FJIÿLFÿ1GHJPJFÿ1Y<Y [0RKSL[                            B^_DZZYNN CN_Ca`_AAAYCA             B^_DZZYNN    AYAA
 AD9aA9CABD EFGHIJKÿ-ILHM B^`N                                               EGIOÿCABDÿ[ÿ.OPFHXÿkGJHLOHKMÿ0LHOJW,<ÿ7cÿFVVSPOÿHOILÿRJSXÿUMÿ1<ÿgBAỲcÿ?;6h                                   BZBA[BA[AAÿ:FJIQÿ.OPOS\JUKO]BZBA[BA[C^ÿ:FJIÿLFÿ1GHJPJFÿ1Y<Y [0RKSL[                           [B^_DDAYND CN_CCC_aabYZZ            [B^_DDAYND    AYAA
 AD9aA9CABD EFGHIJKÿ-ILHM BNB`                                               .OPKJQQÿFROISITÿUJKJIPOÿVFHÿ7cÿHOILÿRJMWOILÿWJXOÿUMÿ1<Y                                                       BZBA[BA[AAÿ:FJIQÿ.OPOS\JUKO]BZBA[BA[C^ÿ:FJIÿLFÿ1GHJPJFÿ1Y<Y [0RKSL[                            B^_DDAYND CN_Ca`_AAAYCA             B^_DDAYND    AYAA
 AN9AN9CABD EFGHIJKÿ-ILHM B^bA                                               .OPFHXÿ>Jdeÿ/FLOÿfNÿgaY^8ÿ?;6hÿFIÿEGKMÿN_ÿCABD                                                                BZBA[BA[AAÿ:FJIQÿ.OPOS\JUKO]BZBA[BA[C^ÿ:FJIÿLFÿ1GHJPJFÿ1Y<Y [0RKSL[                         C_b`b_N`DỲA aA_CCN_N`NYAA          C_b`b_N`DỲA    AYAA
 AN9aB9CABD EFGHIJKÿ-ILHM B^`^                                               EGKMÿCABDÿ.OPFHXÿ8JHeOLSITÿVOOÿVFHÿi7::ÿi.3/,+:ÿ?.376ÿ0LHOJW,<ÿRJSXÿUMÿ1<ÿgBAcÿ?;6ÿOJPjh                      BZBA[BA[AAÿ:FJIQÿ.OPOS\JUKO]BZBA[BA[C^ÿ:FJIÿLFÿ1GHJPJFÿ1Y<Y [0RKSL[                           [CD_aZCỲA aA_CAB_ZZZYCA            [CD_aZCỲA    AYAA
 Ab9aA9CABD EFGHIJKÿ-ILHM BNBb                                               .OPKJQQÿFROISITÿUJKJIPOÿVFHÿ8+.c-,2/?ÿRJMWOILÿWJXOÿUMÿ1<Y                                                     BZBA[BA[AAÿ:FJIQÿ.OPOS\JUKO]BZBA[BA[C^ÿ:FJIÿLFÿ1GHJPJFÿ1Y<Y [0RKSL[                            CD_aZCỲA aA_CCN_N`NYAA             CD_aZCỲA    AYAA
 Ab9aA9CABD EFGHIJKÿ-ILHM BNBb                                               .OPKJQQÿFROISITÿUJKJIPOÿVFHÿ7cÿHOILÿRJMWOILÿWJXOÿUMÿ1<Y                                                       BZBA[BA[AAÿ:FJIQÿ.OPOS\JUKO]BZBA[BA[C^ÿ:FJIÿLFÿ1GHJPJFÿ1Y<Y [0RKSL[                            BZ_A`aỲ^ aA_CZB_`NAỲ^             BZ_A`aỲ^    AYAA
 Ab9aA9CABD EFGHIJKÿ-ILHM B^``                                               0ORLÿCABDÿlÿ.OPFHXÿkGJHLOHKMÿ0LHOJW,<ÿ7cÿFVVSPOÿHOILÿRJSXÿUMÿ1<ÿÿgBAỲcÿ?;6h                                  BZBA[BA[AAÿ:FJIQÿ.OPOS\JUKO]BZBA[BA[C^ÿ:FJIÿLFÿ1GHJPJFÿ1Y<Y [0RKSL[                           [BZ_A`aỲ^ aA_CCN_N`NYAA            [BZ_A`aỲ^    AYAA
 A`9CC9CAB` -mROIQO       DbBZ^b2ABa8.          7KLHJ[*ÿ<OILGHOQÿ1<          iGIXSITÿFVÿdFHeSITÿPJRSLJK                                                                                    BZBA[BA[AAÿ:FJIQÿ.OPOS\JUKO]BZBA[BA[C^ÿ:FJIÿLFÿ1GHJPJFÿ1Y<Y BAAB[AA[NCÿ>0;1ÿ;JIeÿbCB^           ^_B`^YaD aA_CaC_bNCYaD              ^_B`^YaD    AYAA
 Ab9BB9CAB` -mROIQO       nSHOÿ.OVfB^bA^+CAA`-E 7KLHJ[*ÿ<OILGHOQÿ1<          iGIXSITÿFVÿ1<ÿdFHeSITÿPJRSLJKÿgUJIeÿVOOQh                                                                     BZBA[BA[AAÿ:FJIQÿ.OPOS\JUKO]BZBA[BA[C^ÿ:FJIÿLFÿ1GHJPJFÿ1Y<Y BAAB[AA[NCÿ>0;1ÿ;JIeÿbCB^             Ca`YBN aA_Caa_CBAY^a                Ca`YBN    AYAA
 BB9Ba9CAB` -mROIQO       ,HJIQVOHfCb`a^;0AB8^^ 7KLHJ[*ÿ<OILGHOQÿ1<          iGIXSITÿFVÿdFHeSITÿPJRSLJKÿLFÿ7KLHJ[*ÿ<OILGHOQÿ1Y<Y                                                           BZBA[BA[AAÿ:FJIQÿ.OPOS\JUKO]BZBA[BA[C^ÿ:FJIÿLFÿ1GHJPJFÿ1Y<Y BAAB[AA[NCÿ>0;1ÿ;JIeÿbCB^             C``YD` aA_Caa_ZbbYCB                C``YD`    AYAA
 BB9CB9CAB` -mROIQO       ,HJIQVOHfaNaN^1BAB25b 7KLHJ[*ÿ<OILGHOQÿ1<          iGIXSITÿFVÿdFHeSITÿPJRSLJKÿLFÿ7KLHJ[*ÿ<OILGHOQÿ1Y<Y                                                           BZBA[BA[AAÿ:FJIQÿ.OPOS\JUKO]BZBA[BA[C^ÿ:FJIÿLFÿ1GHJPJFÿ1Y<Y BAAB[AA[NCÿ>0;1ÿ;JIeÿbCB^           Z_Ab`Y^C aA_CaN_^bNYNa              Z_Ab`Y^C    AYAA
 AC9A`9CABb -mROIQO       nSHOÿ.OVf^Ab^^-bAB=*> 7KLHJ[*ÿ<OILGHOQÿ1<          iGIXSITÿFVÿdFHeSITÿPJRSLJKÿLFÿ7KLHJ[*ÿ<OILGHOQÿ1Y<Y                                                           BZBA[BA[AAÿ:FJIQÿ.OPOS\JUKO]BZBA[BA[C^ÿ:FJIÿLFÿ1GHJPJFÿ1Y<Y BAAB[AA[NCÿ>0;1ÿ;JIeÿbCB^           a_Zb^Yab aA_CZB_AbaYBC              a_Zb^Yab    AYAA
 AZ9BD9CABb -mROIQO       ,HJIQVOHf^^^`^?ZABb82 7KLHJ[*ÿ<OILGHOQÿ1<          iGIXSITÿFVÿdFHeSITÿPJRSLJKÿLFÿ1<                                                                              BZBA[BA[AAÿ:FJIQÿ.OPOS\JUKO]BZBA[BA[C^ÿ:FJIÿLFÿ1GHJPJFÿ1Y<Y BAAB[AA[NCÿ>0;1ÿ;JIeÿbCB^           B_CNNỲC aA_CZC_aNAYbZ              B_CNNỲC    AYAA
 AD9CN9CABb -mROIQO       ,HJIQVOHfAbZB^2ZAA=b* 7KLHJ[*ÿ<OILGHOQÿ1<          iGIXSITÿFVÿdFHeSITÿPJRSLJKÿLFÿ1<                                                                              BZBA[BA[AAÿ:FJIQÿ.OPOS\JUKO]BZBA[BA[C^ÿ:FJIÿLFÿ1GHJPJFÿ1Y<Y BAAB[AA[NCÿ>0;1ÿ;JIeÿbCB^             BN^YaA aA_CZC_^ZDYCZ                BN^YaA    AYAA
 AN9BC9CABb -mROIQO       ,HJIQVOHfZB^D^28ACA8A 7KLHJ[*ÿ<OILGHOQÿ1<          iGIXSITÿFVÿdFHeSITÿPJRSLJKÿLFÿ1<                                                                              BZBA[BA[AAÿ:FJIQÿ.OPOS\JUKO]BZBA[BA[C^ÿ:FJIÿLFÿ1GHJPJFÿ1Y<Y BAAB[AA[NCÿ>0;1ÿ;JIeÿbCB^           C_aB^YDB aA_CZZ_`DBỲ^              C_aB^YDB    AYAA
 BC9CD9CABb -mROIQO       nSHOf^B`a^/ZAA:0N 7KLHJ[*ÿ<OILGHOQÿ1<              iGIXSITÿFVÿdFHeSITÿPJRSLJKÿLFÿ1<[;JIeÿVOO                                                                     BZBA[BA[AAÿ:FJIQÿ.OPOS\JUKO]BZBA[BA[C^ÿ:FJIÿLFÿ1GHJPJFÿ1Y<Y BAAB[AA[NCÿ>0;1ÿ;JIeÿbCB^             BBaỲb aA_CZZ_bN^YNZ                BBaỲb    AYAA
BZBA[BA[aAÿ:FJIÿLFÿ,HJ\OKÿoÿ3LjOHÿ-mR
 AB9CC9CABB ;SKK             1-0[ÿa*ÿOmROIQO         >JIQÿ@GSXOWJ            1-0[ÿa*ÿOmROIQO                                                                                               BZBA[BA[AAÿ:FJIQÿ.OPOS\JUKO]BZBA[BA[aAÿ:FJIÿLFÿ,HJ\OKÿoÿ3LjOHÿ CAAAAÿCAAA[AA[AAÿ+PPFGILQÿ         ^`AYAA       ^`AYAA                 ^`AYAA    AYAA
                                                                                                                                                                                           -mR                                                            6JMJUKO
 AD9CZ9CABB ;SKK             EGIOÿCZ_BB              >JIQÿ@GSXOWJ            >JIQÿ@GSXOWJÿ,HJ\OKÿOmROIQOQÿLFÿ,JSdJI                                                                        BZBA[BA[AAÿ:FJIQÿ.OPOS\JUKO]BZBA[BA[aAÿ:FJIÿLFÿ,HJ\OKÿoÿ3LjOHÿ CAAAAÿCAAA[AA[AAÿ+PPFGILQÿ         ^aBYNB     B_BBBYNB                 ^aBYNB    AYAA
                                                                                                                                                                                           -mR                                                            6JMJUKO
 AN9AN9CABB ;SKK             ,JSROSÿ8JMÿCaÿLFÿEGIO   +YcYg;HJWhÿ.SOWOIQ      ,JSROSÿ8JMÿCaÿLFÿEGIOÿB_CABB                                                                                  BZBA[BA[AAÿ:FJIQÿ.OPOS\JUKO]BZBA[BA[aAÿ:FJIÿLFÿ,HJ\OKÿoÿ3LjOHÿ CAAAAÿCAAA[AA[AAÿ+PPFGILQÿ         aZZYZa     B_Z^DYBZ                 aZZYZa    AYAA
                                                                                                                                                                                           -mR                                                            6JMJUKO
 AN9BC9CABB ;SKK             EGKMÿBC_CABB            EJWGIJÿ,HJ\OKQ_ÿ2IP     nJKLjOHGQÿ.FOKOIÿ,HSRÿLFÿ6jSKKMÿEGKMÿBC_CABB                                                                  BZBA[BA[AAÿ:FJIQÿ.OPOS\JUKO]BZBA[BA[aAÿ:FJIÿLFÿ,HJ\OKÿoÿ3LjOHÿ CAAAAÿCAAA[AA[AAÿ+PPFGILQÿ       a_AbAYAA     Z_^ZDYBZ               a_AbAYAA    AYAA
                                                                                                                                                                                           -mR                                                            6JMJUKO
 A^9aB9CABC EFGHIJKÿ-ILHM BBa                                                .OPKJQQÿCABBÿ0OO1GUSPÿRMWLQÿLFÿPFIQFKSXJLOÿSILFÿFIOÿKFJIÿJPPL                                                 BZBA[BA[AAÿ:FJIQÿ.OPOS\JUKO]BZBA[BA[aAÿ:FJIÿLFÿ,HJ\OKÿoÿ3LjOHÿ [0RKSL[                         [Z_^ZDYBZ         AYAA              [Z_^ZDYBZ    AYAA
                                                                                                                                                                                           -mR
BZBA[BA[a^ÿ2ILOHPFWRJIMÿ.OPOS\JUKOÿLFÿ1GHJPJFÿ1Y<Y
 Aa9aB9CABN EFGHIJKÿ-ILHM B`AA                                               +PPHYÿcFISIeSpeOÿ6jSKSRQÿ-KOPLHFISPQÿ/Y<ÿ.FMJKLMÿkLHfB_ÿCABN                                                  BZBA[BA[AAÿ:FJIQÿ.OPOS\JUKO]BZBA[BA[a^ÿ2ILOHPFWRJIMÿ         [0RKSL[                             NCZYBZ        NCZYBZ                NCZYBZ     AYAA
                                                                                                                                                                                           .OPOS\JUKOÿLFÿ1GHJPJFÿ1Y<Y
 AZ9AB9CABN EFGHIJKÿ-ILHM B`AA.                                              +PPHYÿcFISIeSpeOÿ6jSKSRQÿ-KOPLHFISPQÿ/Y<ÿ.FMJKLMÿkLHfB_ÿCABN                                                  BZBA[BA[AAÿ:FJIQÿ.OPOS\JUKO]BZBA[BA[a^ÿ2ILOHPFWRJIMÿ         [0RKSL[                            [NCZYBZ          AYAA               [NCZYBZ     AYAA
                                                                                                                                                                                           .OPOS\JUKOÿLFÿ1GHJPJFÿ1Y<Y
 A^9Aa9CABN ;SKK           .FMJKLMÿkLHfB_ÿCABN     cFISIeSpeOÿ6jSKSRQÿ       .FMJKLMÿkLHÿfBÿCABN                                                                                           BZBA[BA[AAÿ:FJIQÿ.OPOS\JUKO]BZBA[BA[a^ÿ2ILOHPFWRJIMÿ         CAAAAÿCAAA[AA[AAÿ+PPFGILQÿ          NCZYBZ        NCZYBZ                NCZYBZ     AYAA
                                                   -KOPLHFISPQÿ/Y<                                                                                                                         .OPOS\JUKOÿLFÿ1GHJPJFÿ1Y<Y                                   6JMJUKO
 AD9CN9CABN <OIXFHÿ1HOXSL 1..FMJKLMÿkLHfB_ÿCABD cFISIeSpeOÿ6jSKSRQÿ          .O\OHQOÿcFISIeSpeOÿ6jSKSRQÿ-KOPLHFISPQÿ/Y<ÿSI\FSPOÿg.FMJKLMÿkLHfB_ÿCABNh                                      BZBA[BA[AAÿ:FJIQÿ.OPOS\JUKO]BZBA[BA[a^ÿ2ILOHPFWRJIMÿ         CAAAAÿCAAA[AA[AAÿ+PPFGILQÿ         [NCZYBZ          AYAA               [NCZYBZ     AYAA
                                                   -KOPLHFISPQÿ/Y<                                                                                                                         .OPOS\JUKOÿLFÿ1GHJPJFÿ1Y<Y                                   6JMJUKO
BZBA[BA[aDÿ2ILOHPFWRJIMÿ.OPOS\JUKOÿLFÿ0,<2
 A^9BB9CABN ;SKK           i?68,8+5BBBN              6OTJLHFIÿ1FHRFHJLSFI 6JMWOILÿFVÿ0,<2ÿiSISQjOXÿ?FFXQÿ2I\OILFHMÿUMÿ0LHOJWÿLFÿ6OTJLHFI                                                BZBA[BA[AAÿ:FJIQÿ.OPOS\JUKO]BZBA[BA[aDÿ2ILOHPFWRJIMÿ            CAAAAÿCAAA[AA[AAÿ+PPFGILQÿ      B^Z_AAAYAA B^Z_AAAYAA               B^Z_AAAYAA     AYAA
                                                                                                                                                                                        .OPOS\JUKOÿLFÿ0,<2                                              6JMJUKO
 A^9CZ9CABN ;SKK           i?68,8+5CZBN              6OTJLHFIÿ1FHRFHJLSFI 6JMWOILÿFVÿ0,<2ÿi?ÿ2I\OILFHMÿUMÿ0LHOJWÿLFÿ6OTJLHFI                                                            BZBA[BA[AAÿ:FJIQÿ.OPOS\JUKO]BZBA[BA[aDÿ2ILOHPFWRJIMÿ            CAAAAÿCAAA[AA[AAÿ+PPFGILQÿ      BAA_AAAYAA C^Z_AAAYAA               BAA_AAAYAA     AYAA
                                                                                                                                                                                        .OPOS\JUKOÿLFÿ0,<2                                              6JMJUKO
 AN9AB9CABN ;SKK           NBA^bCBa                  6OTJLHFIÿ1FHRFHJLSFI /.-ÿ1jJHTOÿ[ÿ1FLOeÿVSmOXÿVOOÿgCÿWFILjQh                                                                       BZBA[BA[AAÿ:FJIQÿ.OPOS\JUKO]BZBA[BA[aDÿ2ILOHPFWRJIMÿ            CAAAAÿCAAA[AA[AAÿ+PPFGILQÿ      NCA_AAAYAA bNZ_AAAYAA               NCA_AAAYAA     AYAA
                                                                                                                                                                                        .OPOS\JUKOÿLFÿ0,<2                                              6JMJUKO
 AN9AB9CABN ;SKK           NBA^bCAZ[B                6OTJLHFIÿ1FHRFHJLSFI /.-ÿ1jJHTOQ                                                                                                   BZBA[BA[AAÿ:FJIQÿ.OPOS\JUKO]BZBA[BA[aDÿ2ILOHPFWRJIMÿ            CAAAAÿCAAA[AA[AAÿ+PPFGILQÿ      BZ`_aC`Y^` B_BCC_aC`Y^`             BZ`_aC`Y^`     AYAA
                                                                                                                                                                                        .OPOS\JUKOÿLFÿ0,<2                                              6JMJUKO
 AN9AB9CABN ;SKK           NBA^bCA`                  6OTJLHFIÿ1FHRFHJLSFI <OHWOOHÿ;FJHXÿ0JWRKOÿiOO                                                                                      BZBA[BA[AAÿ:FJIQÿ.OPOS\JUKO]BZBA[BA[aDÿ2ILOHPFWRJIMÿ            CAAAAÿCAAA[AA[AAÿ+PPFGILQÿ          b^ZYZD B_BCa_C`aYAZ                 b^ZYZD     AYAA
                                                                                                                                                                                        .OPOS\JUKOÿLFÿ0,<2                                              6JMJUKO
 AN9AB9CABN ;SKK           NBA^bCA`                  6OTJLHFIÿ1FHRFHJLSFI 180ÿ;3=ÿ/62ÿQJWRKOÿVOO                                                                                        BZBA[BA[AAÿ:FJIQÿ.OPOS\JUKO]BZBA[BA[aDÿ2ILOHPFWRJIMÿ            CAAAAÿCAAA[AA[AAÿ+PPFGILQÿ        B_BaDYDB B_BCZ_ZBbYD^               B_BaDYDB     AYAA
                                                                                                                                                                                        .OPOS\JUKOÿLFÿ0,<2                                              6JMJUKO
 AN9AB9CABN ;SKK           NBA^bCA`                  6OTJLHFIÿ1FHRFHJLSFI *10aYAÿ;FJHXÿ6OTJLHFIÿ0JWRKOQ                                                                                 BZBA[BA[AAÿ:FJIQÿ.OPOS\JUKO]BZBA[BA[aDÿ2ILOHPFWRJIMÿ            CAAAAÿCAAA[AA[AAÿ+PPFGILQÿ        B_bD`YaZ B_BCD_a`NYbb               B_bD`YaZ     AYAA
                                                                                                                                                                                        .OPOS\JUKOÿLFÿ0,<2                                              6JMJUKO
 AN9AB9CABN ;SKK           NBA^bCNa                  6OTJLHFIÿ1FHRFHJLSFI .OdFHeÿFIÿBDAÿGISLQ                                                                                           BZBA[BA[AAÿ:FJIQÿ.OPOS\JUKO]BZBA[BA[aDÿ2ILOHPFWRJIMÿ            CAAAAÿCAAA[AA[AAÿ+PPFGILQÿ        Z_`AAYAA B_BaB_B`NYbb               Z_`AAYAA     AYAA
                                                                                                                                                                                        .OPOS\JUKOÿLFÿ0,<2                                              6JMJUKO
 AN9AB9CABN ;SKK           NBA^bCAD                  6OTJLHFIÿ1FHRFHJLSFI +XXSLSFIÿPOHLSVSPJLSFIÿVOO9QJVLM9k,.ÿVOOÿg;:7ÿ06-1hÿPjJITO                                                    BZBA[BA[AAÿ:FJIQÿ.OPOS\JUKO]BZBA[BA[aDÿ2ILOHPFWRJIMÿ            CAAAAÿCAAA[AA[AAÿ+PPFGILQÿ       CN_bADYAA B_B^b_AbaYbb              CN_bADYAA     AYAA
                                                                                                                                                                                        .OPOS\JUKOÿLFÿ0,<2                                              6JMJUKO
 AN9AB9CABN ;SKK           NBA^bCBA                  6OTJLHFIÿ1FHRFHJLSFI 1OHVSVSPJLSFIÿVOOÿFVÿ180ÿ;3=                                                                                  BZBA[BA[AAÿ:FJIQÿ.OPOS\JUKO]BZBA[BA[aDÿ2ILOHPFWRJIMÿ            CAAAAÿCAAA[AA[AAÿ+PPFGILQÿ       ZA_CAAYAA B_Bbb_CbaYbb              ZA_CAAYAA     AYAA
                                                                                                                                                                                        .OPOS\JUKOÿLFÿ0,<2                                              6JMJUKO
 AN9AB9CABN ;SKK           NBA^bCAb                  6OTJLHFIÿ1FHRFHJLSFI +XXSLSFIJKÿ180ÿ/.-ÿiOO                                                                                        BZBA[BA[AAÿ:FJIQÿ.OPOS\JUKO]BZBA[BA[aDÿ2ILOHPFWRJIMÿ            CAAAAÿCAAA[AA[AAÿ+PPFGILQÿ       D^_ZZCYAA B_CDZ_Na^Ybb              D^_ZZCYAA     AYAA
                                                                                                                                                                                        .OPOS\JUKOÿLFÿ0,<2                                              6JMJUKO
 AN9AB9CABN ;SKK           NBA^bCA^                  6OTJLHFIÿ1FHRFHJLSFI k,.ÿLOQLÿiOOg<SUHJLSFI9,jOHWJKÿQFPe9:Fdÿoÿ>STjÿLOWROHJLGHOÿQLFHJTOh                                           BZBA[BA[AAÿ:FJIQÿ.OPOS\JUKO]BZBA[BA[aDÿ2ILOHPFWRJIMÿ            CAAAAÿCAAA[AA[AAÿ+PPFGILQÿ      BAa_ZAZYB` B_aD`_BZAYBN             BAa_ZAZYB`     AYAA
                                                                                                                                                                                        .OPOS\JUKOÿLFÿ0,<2                                              6JMJUKO
 A`9C`9CABN ;SKK           i?68,+7?C`BN              6OTJLHFIÿ1FHRFHJLSFI 6JMWOILÿVFHÿ0,<2ÿiSISQjOXÿ?FFXQÿ2I\OILFHMÿUMÿ0LHOJWÿROHÿnSHOÿ.OVÿfÿBbC`Z@2AA-BEÿgD^qÿnOQLOHIÿ1FIVSTGHJLSFIÿrÿ BZBA[BA[AAÿ:FJIQÿ.OPOS\JUKO]BZBA[BA[aDÿ2ILOHPFWRJIMÿ            CAAAAÿCAAA[AA[AAÿ+PPFGILQÿ       `B_^ADYDA B_ZZb_DZDYNN              `B_^ADYDA     AYAA
                                                                              sB_BDZYa`ÿROHÿGISLh                                                                                       .OPOS\JUKOÿLFÿ0,<2                                              6JMJUKO
 Ab9AN9CABN ;SKK           i?68,0-6ANBN              6OTJLHFIÿ1FHRFHJLSFI 6JMWOILÿVFHÿ0,<2ÿiSISQjOXÿ?FFXQÿ2I\OILFHMÿUMÿ0LHOJWÿROHÿnSHOÿ.OVÿfÿBZaZZ@0AB+2cÿgD^qÿnOQLOHIÿ1FIVSTGHJLSFIÿrÿ BZBA[BA[AAÿ:FJIQÿ.OPOS\JUKO]BZBA[BA[aDÿ2ILOHPFWRJIMÿ            CAAAAÿCAAA[AA[AAÿ+PPFGILQÿ       `B_^ADYDA B_^aB_B^aYaN              `B_^ADYDA     AYAA
                                                                              sB_BDZYa`ÿROHÿGISLh                                                                                       .OPOS\JUKOÿLFÿ0,<2                                              6JMJUKO
 BA9BA9CABN ;SKK           i?68,31,BABN              6OTJLHFIÿ1FHRFHJLSFI 6JMWOILÿFVÿ0,<2ÿi?ÿ2I\OILFHMÿJLÿ6OTJLHFIÿUMÿ0LHOJWÿ2IPÿg70+h                                                  BZBA[BA[AAÿ:FJIQÿ.OPOS\JUKO]BZBA[BA[aDÿ2ILOHPFWRJIMÿ            CAAAAÿCAAA[AA[AAÿ+PPFGILQÿ       `B_^ADYDA B_DBC_D^bYbN              `B_^ADYDA     AYAA
                                                                                                                                                                                        .OPOS\JUKOÿLFÿ0,<2                                              6JMJUKO
 BA9BN9CABN -mROIQO        N`ab^AnAA@a;              0LHOJWÿ,<ÿ2ILOHIJLSFIJKÿ iGIXSITÿVFHÿcO\SIÿ1JUFLtQÿ6JMHFKK                                                                         BZBA[BA[AAÿ:FJIQÿ.OPOS\JUKO]BZBA[BA[aDÿ2ILOHPFWRJIMÿ            BAAB[AA[NCÿ>0;1ÿ;JIeÿbCB^         ^_B`ZY^a B_DBN_`ZZY^A               ^_B`ZY^a     AYAA
                                                     ;Y<Y                                                                                                                               .OPOS\JUKOÿLFÿ0,<2
 BA9aB9CABN -mROIQO        /:bA2/?;ADDNA`D`bN        0LHOJWÿ,<ÿ2ILOHIJLSFIJKÿ ,HJIQVOHÿFVÿVGIXQÿLFÿ0LHOJWÿ,<ÿ2ILOHIJLSFIJKÿ;Y<YÿVFHÿdFHeSITÿPJRSLJKÿRGHRFQOQÿÿ[ÿiGIXSITÿfÿCABNBAaB[B    BZBA[BA[AAÿ:FJIQÿ.OPOS\JUKO]BZBA[BA[aDÿ2ILOHPFWRJIMÿ            BAAB[AA[NCÿ>0;1ÿ;JIeÿbCB^        BB_Z`NYab B_DCb_aaBỲb              BB_Z`NYab     AYAA

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)*+,        +-*./*0+12.ÿ.67                           .*7,                    7,728),/0-15+12.                                                                                                *0026.+                                                /591+                          *726.+       :*9*.0, -,;*96,)ÿ     -,;*96,)ÿ6.-,*91?,)ÿ
            +45,                                                                                                                                                                                                                                                                                         ,<0=*.>,ÿ       *726.+ >*1.ÿ2-ÿ
                                                                                                                                                                                                                                                                                                         -*+,                        92//
                                                :@;@                                                                                                                                          -ABACDEFGAÿHIÿ/+;1
 JJ8JK8LMJN ,OPAQRA       SCTA-AUVWXJKWJ2MM9KL /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ +TEQRUATÿIUÿUZQ[RÿHIÿ/HTAEYÿ+;ÿ1QHATQEHCIQEGÿ:@;@ÿUITÿ\IT]CQ^ÿBEPCHEGÿPZTPIRARÿ_ÿ-A`ZARHÿVÿLMJNJJMa_L                 JKJM_JM_MMÿ9IEQRÿ-ABACDEFGAbJKJM_JM_cdÿ1QHATBIYPEQeÿ   JMMJ_MM_NLÿ=/:0ÿ:EQ]ÿaLJW      JJfaMJ@Lc JfdKJfLcc@JL               JJfaMJ@Lc    M@MM
                                                :@;@                                                                                                                                          -ABACDEFGAÿHIÿ/+;1
 JJ8LX8LMJN ,OPAQRA       JWaWWLLMM*0=          5A^EHTIQÿ0ITPITEHCIQ 5EeYAQHÿHIÿ5A^EHTIQÿIQÿFAgEGUÿIUÿ/+;1ÿFeÿ/HTAEYÿUITÿh>ÿPTI[ZBA[                                                          JKJM_JM_MMÿ9IEQRÿ-ABACDEFGAbJKJM_JM_cdÿ1QHATBIYPEQeÿ   JMMJ_MM_NLÿ=/:0ÿ:EQ]ÿaLJW      XJfWMd@dM JfNLLfNca@NL               XJfWMd@dM    M@MM
                                                                                                                                                                                              -ABACDEFGAÿHIÿ/+;1
 JJ8La8LMJN ,OPAQRA       SCTA-AUVdKWJWLcMJ55J /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ .IDAYFATÿLMJNÿhZQ[Rÿ+TEQRUAT                                                                                          JKJM_JM_MMÿ9IEQRÿ-ABACDEFGAbJKJM_JM_cdÿ1QHATBIYPEQeÿ   JMMJ_MM_NLÿ=/:0ÿ:EQ]ÿaLJW      JdfMcN@cJ JfNcXfNNN@Mc               JdfMcN@cJ    M@MM
                                                :@;@                                                                                                                                          -ABACDEFGAÿHIÿ/+;1
 JL8JJ8LMJN ,OPAQRA       SCTAÿ-AUVKLMNWLhMJi9> 5A^EHTIQÿ0ITPITEHCIQ 5EeYAQHÿFeÿ/HTAEYÿ+;ÿj6/*kÿHIÿ5A^EHTIQÿj/HETGCQ]kÿUITÿ/+;1ÿUCQCRgA[ÿ^II[RÿPTI[ZBA[ÿ_ÿh>LMJNJLJJ_J                        JKJM_JM_MMÿ9IEQRÿ-ABACDEFGAbJKJM_JM_cdÿ1QHATBIYPEQeÿ   JMMJ_MM_NLÿ=/:0ÿ:EQ]ÿaLJW      aafMMd@MW JfXcNfNXc@MX               aafMMd@MW    M@MM
                                                                                                                                                                                              -ABACDEFGAÿHIÿ/+;1
 JL8JN8LMJN :CGG          h>57+),0JaJN          5A^EHTIQÿ0ITPITEHCIQ 5EeYAQHÿFeÿ/HTAEYÿj6/*kÿHIÿ5A^EHTIQÿj/HETGCQ]kÿIUÿ/+;1lRÿEBBTZA[ÿIZHRHEQ[CQ^ÿUCQCRgA[ÿ^II[RÿBIRHR                        JKJM_JM_MMÿ9IEQRÿ-ABACDEFGAbJKJM_JM_cdÿ1QHATBIYPEQeÿ   LMMMMÿLMMM_MM_MMÿ*BBIZQHRÿ    JMWfaNJ@cW JfaKcfNWK@Kc              JMWfaNJ@cW    M@MM
                                                                                                                                                                                              -ABACDEFGAÿHIÿ/+;1                                     5EeEFGA
 JL8LX8LMJN ,OPAQRA       SCTA-AUVJKJWWLSMJ/a+ /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ hZQ[CQ^ÿIUÿ\IT]CQ^ÿBEPCHEGÿHIÿ/+;1ÿ_ÿ)ABAYFATÿLMJN                                                                    JKJM_JM_MMÿ9IEQRÿ-ABACDEFGAbJKJM_JM_cdÿ1QHATBIYPEQeÿ   JMMJ_MM_NLÿ=/:0ÿ:EQ]ÿaLJW      WafXJM@KX LfMMcfWdK@aJ               WafXJM@KX    M@MM
                                                :@;@                                                                                                                                          -ABACDEFGAÿHIÿ/+;1
 JL8cJ8LMJN mIZTQEGÿ,QHTe JaLa                                           -ABGERRÿCQDICBARÿTABIT[A[ÿUITÿ/+;1ÿHIÿ10ÿCQDAQHITeÿEBBIZQH                                                           JKJM_JM_MMÿ9IEQRÿ-ABACDEFGAbJKJM_JM_cdÿ1QHATBIYPEQeÿ   _/PGCH_                    _JfaMNfdKc@aN aWfaLM@aK              _JfaMNfdKc@aN    M@MM
                                                                                                                                                                                              -ABACDEFGAÿHIÿ/+;1
 JL8cJ8LMJN mIZTQEGÿ,QHTe JaWX                                           -ADATRAÿ5A^EHTIQÿCQDICBAÿVÿNJMWaLJcÿPATÿ5A^EHTIQÿEQEGeRCR                                                            JKJM_JM_MMÿ9IEQRÿ-ABACDEFGAbJKJM_JM_cdÿ1QHATBIYPEQeÿ   _/PGCH_                      _cdMfMMM@MM _LdKfMNa@Md              _cdMfMMM@MM    M@MM
                                                                                                                                                                                              -ABACDEFGAÿHIÿ/+;1
 JL8cJ8LMJN mIZTQEGÿ,QHTe JaWX                                           -ADATRAÿ5A^EHTIQÿCQDICBAÿVÿNJMWaLNcÿPATÿ5A^EHTIQÿEQEGeRCR                                                            JKJM_JM_MMÿ9IEQRÿ-ABACDEFGAbJKJM_JM_cdÿ1QHATBIYPEQeÿ   _/PGCH_                        _KfXMM@MM _LdXfXNa@Md                _KfXMM@MM    M@MM
                                                                                                                                                                                              -ABACDEFGAÿHIÿ/+;1
 JL8cJ8LMJN mIZTQEGÿ,QHTe JaKL                                           *[nZRHYAQHÿUITÿSEGRgÿCQDICBAR                                                                                        JKJM_JM_MMÿ9IEQRÿ-ABACDEFGAbJKJM_JM_cdÿ1QHATBIYPEQeÿ   _/PGCH_                         XfWMM@MM _LdMfcNa@Md                 XfWMM@MM    M@MM
                                                                                                                                                                                              -ABACDEFGAÿHIÿ/+;1
 JL8cJ8LMJN mIZTQEGÿ,QHTe JaLa                                           -ABGERRÿUZQ[CQ^ÿHTEQREBHCIQÿPIRHA[ÿHIÿ10ÿCQDAQHITeÿEBBIZQHÿHIÿ/+;1ÿ10ÿhZQ[ÿEBBIZQH                                   JKJM_JM_MMÿ9IEQRÿ-ABACDEFGAbJKJM_JM_cdÿ1QHATBIYPEQeÿ   _/PGCH_                        WXfMKd@WW _LMLfccL@WJ                WXfMKd@WW    M@MM
                                                                                                                                                                                              -ABACDEFGAÿHIÿ/+;1
 MJ8MJ8LMJX mIZTQEGÿ,QHTe JaWX-                                          -ADATRAÿ5A^EHTIQÿCQDICBAÿVÿNJMWaLJcÿPATÿ5A^EHTIQÿEQEGeRCR                                                            JKJM_JM_MMÿ9IEQRÿ-ABACDEFGAbJKJM_JM_cdÿ1QHATBIYPEQeÿ   _/PGCH_                       cdMfMMM@MM JWNfddN@Ka                cdMfMMM@MM    M@MM
                                                                                                                                                                                              -ABACDEFGAÿHIÿ/+;1
 MJ8MJ8LMJX mIZTQEGÿ,QHTe JaWX-                                          -ADATRAÿ5A^EHTIQÿCQDICBAÿVÿNJMWaLNcÿPATÿ5A^EHTIQÿEQEGeRCR                                                            JKJM_JM_MMÿ9IEQRÿ-ABACDEFGAbJKJM_JM_cdÿ1QHATBIYPEQeÿ   _/PGCH_                         KfXMM@MM JdLfKdN@Ka                  KfXMM@MM    M@MM
                                                                                                                                                                                              -ABACDEFGAÿHIÿ/+;1
 MJ8JL8LMJX ,OPAQRA       SCTA-AUVMadWWc0MJ>7L /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ hZQ[CQ^ÿIUÿ\IT]CQ^ÿBEPCHEGÿHIÿ/+;1                                                                                    JKJM_JM_MMÿ9IEQRÿ-ABACDEFGAbJKJM_JM_cdÿ1QHATBIYPEQeÿ   JMMJ_MM_NLÿ=/:0ÿ:EQ]ÿaLJW       WfdMc@Wd JdXfMNJ@MW                  WfdMc@Wd    M@MM
                                                :@;@                                                                                                                                          -ABACDEFGAÿHIÿ/+;1
 MJ8Jd8LMJX ,OPAQRA       SCTAÿ-AUVJLKNWc>MM1S. /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ hZQ[CQ^ÿIUÿ\IT]CQ^ÿBEPCHEGÿHIÿRZFRC[CETe                                                                             JKJM_JM_MMÿ9IEQRÿ-ABACDEFGAbJKJM_JM_cdÿ1QHATBIYPEQeÿ   JMMJ_MM_NLÿ=/:0ÿ:EQ]ÿaLJW      KcfcNJ@MM LJJfKKL@MW                 KcfcNJ@MM    M@MM
                                                :@;@                                                                                                                                          -ABACDEFGAÿHIÿ/+;1
 ML8JK8LMJX ,OPAQRA       SCTAÿ-AUVXJdcWKaMMd>* /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ hZQ[CQ^ÿHIÿ/HTAEYÿ+;ÿ1QHATQEHCIQEGÿ:@;@                                                                              JKJM_JM_MMÿ9IEQRÿ-ABACDEFGAbJKJM_JM_cdÿ1QHATBIYPEQeÿ   JMMJ_MM_NLÿ=/:0ÿ:EQ]ÿaLJW      JdfXKK@JL LLXfLXd@JN                 JdfXKK@JL    M@MM
                                                :@;@                                                                                                                                          -ABACDEFGAÿHIÿ/+;1
 ML8Ld8LMJX ,OPAQRA       SCTAÿ-AUVJXNdWK=MJa; /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ hZQ[CQ^ÿSIT]CQ^ÿ0EPCHEGÿUITÿ/+;1                                                                                      JKJM_JM_MMÿ9IEQRÿ-ABACDEFGAbJKJM_JM_cdÿ1QHATBIYPEQeÿ   JMMJ_MM_NLÿ=/:0ÿ:EQ]ÿaLJW      LdfKNJ@aX LWKfNWX@JW                 LdfKNJ@aX    M@MM
                                                :@;@                                                                                                                                          -ABACDEFGAÿHIÿ/+;1
 Mc8Md8LMJX ,OPAQRA       SCTAÿ-AUVJXNdWK=MJa;; /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ hZQ[CQ^ÿIUÿ/+;1ÿSIT]CQ^ÿ0EPCHEG                                                                                      JKJM_JM_MMÿ9IEQRÿ-ABACDEFGAbJKJM_JM_cdÿ1QHATBIYPEQeÿ   JMMJ_MM_NLÿ=/:0ÿ:EQ]ÿaLJW      LNfdJN@KM LXLfcNW@WW                 LNfdJN@KM    M@MM
                                                :@;@                                                                                                                                          -ABACDEFGAÿHIÿ/+;1
 Mc8JL8LMJX ,OPAQRA       SCTAÿ-AUVcJMcWK?MJ=90 /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ hZQ[CQ^ÿIUÿ/+;1ÿSIT]CQ^ÿ0EPCHEG                                                                                      JKJM_JM_MMÿ9IEQRÿ-ABACDEFGAbJKJM_JM_cdÿ1QHATBIYPEQeÿ   JMMJ_MM_NLÿ=/:0ÿ:EQ]ÿaLJW      cafMJN@MN cLJfcaL@dL                 cafMJN@MN    M@MM
                                                :@;@                                                                                                                                          -ABACDEFGAÿHIÿ/+;1
 Mc8LL8LMJX ,OPAQRA       SCTAÿ-AUVJNNLWWaMM9+6 /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ hZQ[CQ^ÿIUÿSIT]CQ^ÿ0EPCHEGÿHIÿ/+;1                                                                                   JKJM_JM_MMÿ9IEQRÿ-ABACDEFGAbJKJM_JM_cdÿ1QHATBIYPEQeÿ   JMMJ_MM_NLÿ=/:0ÿ:EQ]ÿaLJW      LLfaNM@Jc cKKfcdL@NW                 LLfaNM@Jc    M@MM
                                                :@;@                                                                                                                                          -ABACDEFGAÿHIÿ/+;1
 Mc8cJ8LMJX mIZTQEGÿ,QHTe JaXd                                           -ABGERRÿUZQ[CQ^ÿHTEQREBHCIQÿPIRHA[ÿHIÿ10ÿCQDAQHITeÿEBBIZQHÿHIÿ/+;1ÿ10ÿhZQ[ÿEBBIZQH                                   JKJM_JM_MMÿ9IEQRÿ-ABACDEFGAbJKJM_JM_cdÿ1QHATBIYPEQeÿ   _/PGCH_                        LXfcMK@WW cNLfddN@cM                 LXfcMK@WW    M@MM
                                                                                                                                                                                              -ABACDEFGAÿHIÿ/+;1
 MK8JJ8LMJX ,OPAQRA       SCTAÿ-AUVXaWNWW+MJ.+h /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ hZQ[CQ^ÿIUÿSIT]CQ^ÿ0EPCHEGÿjoADCQÿ0EFIHÿ+EOARkÿUTIYÿ/+;ÿHIÿ/+;1                                                      JKJM_JM_MMÿ9IEQRÿ-ABACDEFGAbJKJM_JM_cdÿ1QHATBIYPEQeÿ   JMMJ_MM_NLÿ=/:0ÿ:EQ]ÿaLJW       WfLLN@La cNNfXaK@Wa                  WfLLN@La    M@MM
                                                :@;@                                                                                                                                          -ABACDEFGAÿHIÿ/+;1
 MK8JJ8LMJX ,OPAQRA       SCTAÿ-AUVJKaMWW+MM<:, /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ hZQ[CQ^ÿIUÿ\IT]CQ^ÿBEPCHEG                                                                                           JKJM_JM_MMÿ9IEQRÿ-ABACDEFGAbJKJM_JM_cdÿ1QHATBIYPEQeÿ   JMMJ_MM_NLÿ=/:0ÿ:EQ]ÿaLJW      cLfLMN@WX KJMfJML@JN                 cLfLMN@WX    M@MM
                                                :@;@                                                                                                                                          -ABACDEFGAÿHIÿ/+;1
 MK8Lc8LMJX ,OPAQRA       SCTAÿ-AUVJcdMWdWMMcm6 /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ hZQ[CQ^ÿIUÿ\IT]CQ^ÿBEPCHEGÿHIÿ/+;1                                                                                   JKJM_JM_MMÿ9IEQRÿ-ABACDEFGAbJKJM_JM_cdÿ1QHATBIYPEQeÿ   JMMJ_MM_NLÿ=/:0ÿ:EQ]ÿaLJW      JJfNMM@NX KLJfXML@aW                 JJfNMM@NX    M@MM
                                                :@;@                                                                                                                                          -ABACDEFGAÿHIÿ/+;1
 MK8LW8LMJX ,OPAQRA       SCTAÿ-AUVdJNdWdNMMm+) /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ hZQ[CQ^ÿIUÿ\IT]CQ^ÿBEPCHEGÿHIÿ/+;1ÿ_ÿSCTAÿJÿIUÿLÿUITÿ-A`ZARHA[ÿhZQ[R                                                 JKJM_JM_MMÿ9IEQRÿ-ABACDEFGAbJKJM_JM_cdÿ1QHATBIYPEQeÿ   JMMJ_MM_NLÿ=/:0ÿ:EQ]ÿaLJW cdNfdLa@NJ NXafKcL@dd                    cdNfdLa@NJ    M@MM
                                                :@;@                                                                                                                                          -ABACDEFGAÿHIÿ/+;1
 MK8Ld8LMJX ,OPAQRA       SCTAÿ-AUVLMWJWdXMJ.KL /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ hZQ[CQ^ÿIUÿ\IT]CQ^ÿBEPCHEGÿHIÿ/+;1ÿ_ÿSCTAÿLÿIUÿLÿUITÿ-A`ZARHA[ÿhZQ[R                                                 JKJM_JM_MMÿ9IEQRÿ-ABACDEFGAbJKJM_JM_cdÿ1QHATBIYPEQeÿ   JMMJ_MM_NLÿ=/:0ÿ:EQ]ÿaLJW      dJfMLa@cJ XWMfKdJ@aN                 dJfMLa@cJ    M@MM
                                                :@;@                                                                                                                                          -ABACDEFGAÿHIÿ/+;1
 MK8Ld8LMJX ,OPAQRA       SCTAÿ-AUVLMWJWdXMJ.KL /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ hZQ[CQ^ÿIUÿ\IT]CQ^ÿBEPCHEGÿHIÿ/+;1                                                                                   JKJM_JM_MMÿ9IEQRÿ-ABACDEFGAbJKJM_JM_cdÿ1QHATBIYPEQeÿ   JMMJ_MM_NLÿ=/:0ÿ:EQ]ÿaLJW LLMfaLd@JL JfMNJfcXX@Ma                  LLMfaLd@JL    M@MM
                                                :@;@                                                                                                                                          -ABACDEFGAÿHIÿ/+;1
 MW8LW8LMJX ,OPAQRA       SCTAÿ-AUVKLdKWNJMMmM- /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ hZQ[CQ^ÿIUÿ\IT]CQ^ÿBEPCHEG                                                                                           JKJM_JM_MMÿ9IEQRÿ-ABACDEFGAbJKJM_JM_cdÿ1QHATBIYPEQeÿ   JMMJ_MM_NLÿ=/:0ÿ:EQ]ÿaLJW      KLfXWX@WN JfJJKfLKd@dd               KLfXWX@WN    M@MM
                                                :@;@                                                                                                                                          -ABACDEFGAÿHIÿ/+;1
 Md8Md8LMJX ,OPAQRA       SCTAÿ-AUVWLLXWN)MMh?7 /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ hZQ[CQ^ÿIUÿ\IT]CQ^ÿBEPCHEGÿHIÿRZFRC[CETe                                                                             JKJM_JM_MMÿ9IEQRÿ-ABACDEFGAbJKJM_JM_cdÿ1QHATBIYPEQeÿ   JMMJ_MM_NLÿ=/:0ÿ:EQ]ÿaLJW JaXfMKN@WJ JfcJLfLaK@JN                  JaXfMKN@WJ    M@MM
                                                :@;@                                                                                                                                          -ABACDEFGAÿHIÿ/+;1
 Md8LW8LMJX ,OPAQRA       SCTAÿ                 /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ hZQ[CQ^ÿIUÿ\IT]CQ^ÿBEPCHEG                                                                                           JKJM_JM_MMÿ9IEQRÿ-ABACDEFGAbJKJM_JM_cdÿ1QHATBIYPEQeÿ   JMMJ_MM_NLÿ=/:0ÿ:EQ]ÿaLJW      NXfaNc@KX JfcaJfLdN@dW               NXfaNc@KX    M@MM
                          -AUVJdNdWNSMJ>=. :@;@                                                                                                                                               -ABACDEFGAÿHIÿ/+;1
 MN8Lc8LMJX ,OPAQRA       SCTAÿ-AUVLJcdWX2MJ2J2 /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ hZQ[CQ^ÿIUÿ/+;1ÿ\IT]CQ^ÿBEPCHEG                                                                                      JKJM_JM_MMÿ9IEQRÿ-ABACDEFGAbJKJM_JM_cdÿ1QHATBIYPEQeÿ   JMMJ_MM_NLÿ=/:0ÿ:EQ]ÿaLJW JJafJdW@Wd JfWJMfKcc@LJ                  JJafJdW@Wd    M@MM
                                                :@;@                                                                                                                                          -ABACDEFGAÿHIÿ/+;1
 MX8Jc8LMJX ,OPAQRA       SCTAÿ-AUVcNadWaaMLKXm /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ hZQ[CQ^ÿIUÿ\IT]CQ^ÿBEPCHEGÿUITÿ/+;1                                                                                  JKJM_JM_MMÿ9IEQRÿ-ABACDEFGAbJKJM_JM_cdÿ1QHATBIYPEQeÿ   JMMJ_MM_NLÿ=/:0ÿ:EQ]ÿaLJW      NNfJLL@LJ JfWXNfWWW@KL               NNfJLL@LJ    M@MM
                                                :@;@                                                                                                                                          -ABACDEFGAÿHIÿ/+;1
 Ma8MW8LMJX ,OPAQRA       SCTAÿ-AUVLXKdWaSMM).K /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ hZQ[CQ^ÿIUÿ\IT]CQ^ÿBEPCHEGÿUITÿ/+;1                                                                                  JKJM_JM_MMÿ9IEQRÿ-ABACDEFGAbJKJM_JM_cdÿ1QHATBIYPEQeÿ   JMMJ_MM_NLÿ=/:0ÿ:EQ]ÿaLJW JJKfcLd@KN JfNMJfXXJ@Xa                  JJKfcLd@KN    M@MM
                                                :@;@                                                                                                                                          -ABACDEFGAÿHIÿ/+;1
 Ma8JM8LMJX ,OPAQRA       SCTAÿ-AUVLWMcW*JMJ><X /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ hZQ[CQ^ÿIUÿ/+;1ÿ\IT]CQ^ÿBEPCHEG                                                                                      JKJM_JM_MMÿ9IEQRÿ-ABACDEFGAbJKJM_JM_cdÿ1QHATBIYPEQeÿ   JMMJ_MM_NLÿ=/:0ÿ:EQ]ÿaLJW      JLfWLc@WM JfNJKfKMW@ca               JLfWLc@WM    M@MM
                                                :@;@                                                                                                                                          -ABACDEFGAÿHIÿ/+;1
 Ma8Jc8LMJX ,OPAQRA       SCTAÿ-AUVWKKcW*KMLK9< /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ hZQ[CQ^ÿIUÿ/+;1ÿ\IT]CQ^ÿBEPCHEG                                                                                      JKJM_JM_MMÿ9IEQRÿ-ABACDEFGAbJKJM_JM_cdÿ1QHATBIYPEQeÿ   JMMJ_MM_NLÿ=/:0ÿ:EQ]ÿaLJW      aJfKNa@JW JfXMWfXXK@WK               aJfKNa@JW    M@MM
                                                :@;@                                                                                                                                          -ABACDEFGAÿHIÿ/+;1
 Ma8LM8LMJX ,OPAQRA       SCTAÿ-AUVJLKdW*:MMdoW /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ hZQ[CQ^ÿIUÿ/+;1ÿ\IT]CQ^ÿBEPCHEG                                                                                      JKJM_JM_MMÿ9IEQRÿ-ABACDEFGAbJKJM_JM_cdÿ1QHATBIYPEQeÿ   JMMJ_MM_NLÿ=/:0ÿ:EQ]ÿaLJW      NafaWc@XW JfXXWfXcX@ca               NafaWc@XW    M@MM
                                                :@;@                                                                                                                                          -ABACDEFGAÿHIÿ/+;1
 JM8JJ8LMJX ,OPAQRA       SCTAÿ-AUVXdNLW*SMJo,- /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ hZQ[CQ^ÿIUÿ\IT]CQ^ÿBEPCHEGÿHIÿRZFRC[CETe                                                                             JKJM_JM_MMÿ9IEQRÿ-ABACDEFGAbJKJM_JM_cdÿ1QHATBIYPEQeÿ   JMMJ_MM_NLÿ=/:0ÿ:EQ]ÿaLJW      WWfcLX@ac JfaKJfJdN@cL               WWfcLX@ac    M@MM
                                                :@;@                                                                                                                                          -ABACDEFGAÿHIÿ/+;1
 JM8JX8LMJX ,OPAQRA       SCTAÿ-AUVLNNNaW:cMM:4 /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ hZQ[CQ^ÿIUÿ/+;1lRÿ\IT]CQ^ÿBEPCHEG                                                                                    JKJM_JM_MMÿ9IEQRÿ-ABACDEFGAbJKJM_JM_cdÿ1QHATBIYPEQeÿ   JMMJ_MM_NLÿ=/:0ÿ:EQ]ÿaLJW         cMM@MM JfaKJfKdN@cL                  cMM@MM    M@MM
                                                :@;@                                                                                                                                          -ABACDEFGAÿHIÿ/+;1
 JM8JX8LMJX ,OPAQRA       SCTAÿ-AUVJLJdW:cMM*mW /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ hZQ[CQ^ÿIUÿ/+;1lRÿ\IT]CQ^ÿBEPCHEG                                                                                    JKJM_JM_MMÿ9IEQRÿ-ABACDEFGAbJKJM_JM_cdÿ1QHATBIYPEQeÿ   JMMJ_MM_NLÿ=/:0ÿ:EQ]ÿaLJW      JNfWWd@NJ JfaWafMLK@Mc               JNfWWd@NJ    M@MM
                                                :@;@                                                                                                                                          -ABACDEFGAÿHIÿ/+;1
 JJ8Md8LMJX ,OPAQRA       SCTAÿ-AUVcXNKW:7MJ/9, /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ hZQ[CQ^ÿIUÿ\IT]CQ^ÿBEPCHEGÿTA`ZCTAYAQHRÿUITÿ/+;1                                                                     JKJM_JM_MMÿ9IEQRÿ-ABACDEFGAbJKJM_JM_cdÿ1QHATBIYPEQeÿ   JMMJ_MM_NLÿ=/:0ÿ:EQ]ÿaLJW       KfaXN@KK JfadKfMJJ@KN                KfaXN@KK    M@MM

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                                            :@;@                                                                                                              -ABACDEFGAÿHIÿ/+;1
 JJ8KL8MKJN ,OPAQRA   SCTAÿ-AUVWNNXW:7KK>J; /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ Z[Q\CQ]ÿIUÿ^IT_CQ]ÿBEPCHEGÿTA`[CTAYAQHÿUITÿ/+;1                                          JaJKbJKbKKÿ9IEQRÿ-ABACDEFGAcJaJKbJKbXLÿ1QHATBIYPEQdÿ   JKKJbKKbeMÿ=/:0ÿ:EQ_ÿfMJW        WgaWK@KK JgfLfgaLJ@ae             WgaWK@KK     K@KK
                                            :@;@                                                                                                              -ABACDEFGAÿHIÿ/+;1
 JJ8KL8MKJN ,OPAQRA   SCTAÿ-AUVKXeNW:7KJJ4> /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ Z[Q\CQ]ÿIUÿ^IT_CQ]ÿBEPCHEGÿTA`[CTAYAQHRÿUITÿ/+;1                                         JaJKbJKbKKÿ9IEQRÿ-ABACDEFGAcJaJKbJKbXLÿ1QHATBIYPEQdÿ   JKKJbKKbeMÿ=/:0ÿ:EQ_ÿfMJW       JNgKWa@MX JgfNegWJW@eK            JNgKWa@MX     K@KK
                                            :@;@                                                                                                              -ABACDEFGAÿHIÿ/+;1
 JJ8Jf8MKJN ,OPAQRA   +TEQRUATVWXMfW:?KK1eh /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ Z[Q\CQ]ÿIUÿ^IT_CQ]ÿBEPCHEGÿHIÿ/+;1                                                       JaJKbJKbKKÿ9IEQRÿ-ABACDEFGAcJaJKbJKbXLÿ1QHATBIYPEQdÿ   JKKJbKKbeMÿ=/:0ÿ:EQ_ÿfMJW       XagKfJ@LM MgKMJgLKe@XM            XagKfJ@LM     K@KK
                                            :@;@                                                                                                              -ABACDEFGAÿHIÿ/+;1
 JJ8Jf8MKJN ,OPAQRA   +TEQRUATVJKWeW:?KK>i. /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ Z[Q\CQ]ÿIUÿ^IT_CQ]ÿBEPCHEGÿHIÿ/+;1                                                       JaJKbJKbKKÿ9IEQRÿ-ABACDEFGAcJaJKbJKbXLÿ1QHATBIYPEQdÿ   JKKJbKKbeMÿ=/:0ÿ:EQ_ÿfMJW        fgKKK@KK MgKXKgLKe@XM             fgKKK@KK     K@KK
                                            :@;@                                                                                                              -ABACDEFGAÿHIÿ/+;1
 JJ8Jf8MKJN ,OPAQRA   +TEQRUATVMKXXW:?KK0a; /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ Z[Q\CQ]ÿIUÿ^IT_CQ]ÿBEPCHEGÿHIÿ/+;1                                                       JaJKbJKbKKÿ9IEQRÿ-ABACDEFGAcJaJKbJKbXLÿ1QHATBIYPEQdÿ   JKKJbKKbeMÿ=/:0ÿ:EQ_ÿfMJW       fXgKJa@WL MgJMXgLMJ@NN            fXgKJa@WL     K@KK
                                            :@;@                                                                                                              -ABACDEFGAÿHIÿ/+;1
 JM8Ka8MKJN ,OPAQRA   +TEQRUATVJJJXW0,KKhj; /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ Z[Q\CQ]ÿIUÿ^IT_CQ]ÿBEPCHEGÿHIÿ/+;1                                                       JaJKbJKbKKÿ9IEQRÿ-ABACDEFGAcJaJKbJKbXLÿ1QHATBIYPEQdÿ   JKKJbKKbeMÿ=/:0ÿ:EQ_ÿfMJW        egKMK@NJ MgJXKgLaM@Lf             egKMK@NJ     K@KK
                                            :@;@                                                                                                              -ABACDEFGAÿHIÿ/+;1
 JM8Ka8MKJN ,OPAQRA   +TEQRUATVeWWLW0,KK2-6 /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ Z[Q\CQ]ÿIUÿ^IT_CQ]ÿBEPCHEGÿHIÿ/+;1                                                       JaJKbJKbKKÿ9IEQRÿ-ABACDEFGAcJaJKbJKbXLÿ1QHATBIYPEQdÿ   JKKJbKKbeMÿ=/:0ÿ:EQ_ÿfMJW        XgfXJ@MJ MgJXagWeX@fK             XgfXJ@MJ     K@KK
                                            :@;@                                                                                                              -ABACDEFGAÿHIÿ/+;1
 JM8Ka8MKJN ,OPAQRA   +TEQRUATVKMfWW0,KK/6L /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ Z[Q\CQ]ÿIUÿ^IT_CQ]ÿBEPCHEGÿUITÿ/+;1                                                      JaJKbJKbKKÿ9IEQRÿ-ABACDEFGAcJaJKbJKbXLÿ1QHATBIYPEQdÿ   JKKJbKKbeMÿ=/:0ÿ:EQ_ÿfMJW        LgKKK@KK MgJaKgWeX@fK             LgKKK@KK     K@KK
                                            :@;@                                                                                                              -ABACDEFGAÿHIÿ/+;1
 JM8Ja8MKJN ,OPAQRA   +TEQRUATVXKKLW02KJ.-J /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ Z[Q\CQ]ÿIUÿ^IT_CQ]ÿBEPCHEGÿUITÿ/+;1                                                      JaJKbJKbKKÿ9IEQRÿ-ABACDEFGAcJaJKbJKbXLÿ1QHATBIYPEQdÿ   JKKJbKKbeMÿ=/:0ÿ:EQ_ÿfMJW        WgKKK@KK MgJaWgWeX@fK             WgKKK@KK     K@KK
                                            :@;@                                                                                                              -ABACDEFGAÿHIÿ/+;1
 JM8Ja8MKJN ,OPAQRA   +TEQRUATVeNaaW02KJ*.S /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ Z[Q\CQ]ÿIUÿ^IT_CQ]ÿBEPCHEGÿUITÿ/+;1                                                      JaJKbJKbKKÿ9IEQRÿ-ABACDEFGAcJaJKbJKbXLÿ1QHATBIYPEQdÿ   JKKJbKKbeMÿ=/:0ÿ:EQ_ÿfMJW      JXLgLae@fL MgMNMgMMJ@NL           JXLgLae@fL     K@KK
                                            :@;@                                                                                                              -ABACDEFGAÿHIÿ/+;1
 JM8Ja8MKJN ,OPAQRA   +TEQRUATVMaKNW02KJM2K /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ Z[Q\CQ]ÿIUÿ^IT_CQ]ÿBEPCHEGÿUITÿ/+;1                                                      JaJKbJKbKKÿ9IEQRÿ-ABACDEFGAcJaJKbJKbXLÿ1QHATBIYPEQdÿ   JKKJbKKbeMÿ=/:0ÿ:EQ_ÿfMJW       XWgfaK@aJ MgXJNgJLM@Me            XWgfaK@aJ     K@KK
                                            :@;@                                                                                                              -ABACDEFGAÿHIÿ/+;1
 JM8XJ8MKJN ,OPAQRA   +TEQRUATVWWfaW)WKMKN. /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ Z[Q\CQ]ÿIUÿ^IT_CQ]ÿBEPCHEGÿHIÿ/+;1                                                       JaJKbJKbKKÿ9IEQRÿ-ABACDEFGAcJaJKbJKbXLÿ1QHATBIYPEQdÿ   JKKJbKKbeMÿ=/:0ÿ:EQ_ÿfMJW        WgKKK@KK MgXMXgJLM@Me             WgKKK@KK     K@KK
                                            :@;@                                                                                                              -ABACDEFGAÿHIÿ/+;1
 JM8XJ8MKJN ,OPAQRA   +TEQRUATVJKMXW)WKK*Ja /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ Z[Q\CQ]ÿIUÿ^IT_CQ]ÿBEPCHEGÿHIÿ/+;1                                                       JaJKbJKbKKÿ9IEQRÿ-ABACDEFGAcJaJKbJKbXLÿ1QHATBIYPEQdÿ   JKKJbKKbeMÿ=/:0ÿ:EQ_ÿfMJW       JXgKfW@NM MgXXLgMWN@Kf            JXgKfW@NM     K@KK
                                            :@;@                                                                                                              -ABACDEFGAÿHIÿ/+;1
 KJ8Kf8MKJf ,OPAQRA   +TEQRUATVLaJaW)ZKKj>: /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ Z[Q\CQ]ÿIUÿ^IT_CQ]ÿBEPCHEGÿHIÿ/+;1                                                       JaJKbJKbKKÿ9IEQRÿ-ABACDEFGAcJaJKbJKbXLÿ1QHATBIYPEQdÿ   JKKJbKKbeMÿ=/:0ÿ:EQ_ÿfMJW       MfgaXX@JW MgXLWgLfJ@Ma            MfgaXX@JW     K@KK
                                            :@;@                                                                                                              -ABACDEFGAÿHIÿ/+;1
 KJ8Kf8MKJf ,OPAQRA   +TEQRUATVWffXW))KJe-f /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ Z[Q\CQ]ÿIUÿ^IT_CQ]ÿBEPCHEGÿUITÿ/+;1                                                      JaJKbJKbKKÿ9IEQRÿ-ABACDEFGAcJaJKbJKbXLÿ1QHATBIYPEQdÿ   JKKJbKKbeMÿ=/:0ÿ:EQ_ÿfMJW       MagJMM@JW MgXNfgNJX@Xf            MagJMM@JW     K@KK
                                            :@;@                                                                                                              -ABACDEFGAÿHIÿ/+;1
 KJ8Mf8MKJf ,OPAQRA   +TEQRUATVNNffW)?KJiL6 /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ Z[Q\CQ]ÿIUÿ/+;1kRÿ^IT_CQ]ÿBEPCHEGÿTA`[CTAYAQHR                                           JaJKbJKbKKÿ9IEQRÿ-ABACDEFGAcJaJKbJKbXLÿ1QHATBIYPEQdÿ   JKKJbKKbeMÿ=/:0ÿ:EQ_ÿfMJW        MgfXW@LM MgXfMgeaf@KJ             MgfXW@LM     K@KK
                                            :@;@                                                                                                              -ABACDEFGAÿHIÿ/+;1
 KJ8Mf8MKJf ,OPAQRA   +TEQRUATVaWNXW)?KJ?X; /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ Z[Q\CQ]ÿIUÿ/+;1kRÿ^IT_CQ]ÿBEPCHEGÿTA`[CTAYAQHR                                           JaJKbJKbKKÿ9IEQRÿ-ABACDEFGAcJaJKbJKbXLÿ1QHATBIYPEQdÿ   JKKJbKKbeMÿ=/:0ÿ:EQ_ÿfMJW        agKKK@KK MgXfLgeaf@KJ             agKKK@KK     K@KK
                                            :@;@                                                                                                              -ABACDEFGAÿHIÿ/+;1
 KJ8Mf8MKJf ,OPAQRA   +TEQRUATVXeXWW)?KJ619 /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ Z[Q\CQ]ÿIUÿ/+;1kRÿ^IT_CQ]ÿBEPCHEGÿTA`[CTAYAQHR                                           JaJKbJKbKKÿ9IEQRÿ-ABACDEFGAcJaJKbJKbXLÿ1QHATBIYPEQdÿ   JKKJbKKbeMÿ=/:0ÿ:EQ_ÿfMJW       JMgJNf@Me MgaKNgfXN@MN            JMgJNf@Me     K@KK
                                            :@;@                                                                                                              -ABACDEFGAÿHIÿ/+;1
 KM8Ke8MKJf ,OPAQRA   +TEQRUATVaLNKW,NKMM2> /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ Z[Q\CQ]ÿIUÿ/+;1ÿ^IT_CQ]ÿBEPCHEG                                                          JaJKbJKbKKÿ9IEQRÿ-ABACDEFGAcJaJKbJKbXLÿ1QHATBIYPEQdÿ   JKKJbKKbeMÿ=/:0ÿ:EQ_ÿfMJW       MagKKK@KK MgaXMgfXN@MN            MagKKK@KK     K@KK
                                            :@;@                                                                                                              -ABACDEFGAÿHIÿ/+;1
 KM8Ke8MKJf ,OPAQRA   +TEQRUATVWJMWW,NKJ,ZM /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ Z[Q\CQ]ÿIUÿ/+;1ÿ^IT_CQ]ÿBEPCHEG                                                          JaJKbJKbKKÿ9IEQRÿ-ABACDEFGAcJaJKbJKbXLÿ1QHATBIYPEQdÿ   JKKJbKKbeMÿ=/:0ÿ:EQ_ÿfMJW       MJgJWL@ML MgaWagKfa@Wa            MJgJWL@ML     K@KK
                                            :@;@                                                                                                              -ABACDEFGAÿHIÿ/+;1
 KM8Ke8MKJf ,OPAQRA   +TEQRUATVeLWXW,NKJj5. /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ Z[Q\CQ]ÿIUÿ/+;1ÿ^IT_CQ]ÿBEPCHEG                                                          JaJKbJKbKKÿ9IEQRÿ-ABACDEFGAcJaJKbJKbXLÿ1QHATBIYPEQdÿ   JKKJbKKbeMÿ=/:0ÿ:EQ_ÿfMJW       fegfeL@Jf MgWWMgKeK@eX            fegfeL@Jf     K@KK
                                            :@;@                                                                                                              -ABACDEFGAÿHIÿ/+;1
 KM8MK8MKJf ,OPAQRA   +TEQRUATVKaMLW,9KKfaM /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ Z[Q\CQ]ÿIUÿ^IT_CQ]ÿBEPCHEG                                                               JaJKbJKbKKÿ9IEQRÿ-ABACDEFGAcJaJKbJKbXLÿ1QHATBIYPEQdÿ   JKKJbKKbeMÿ=/:0ÿ:EQ_ÿfMJW        MgfMJ@KK MgWWagffJ@eX             MgfMJ@KK     K@KK
                                            :@;@                                                                                                              -ABACDEFGAÿHIÿ/+;1
 KM8MM8MKJf ,OPAQRA   +TEQRUATVeaaeW,.KJ<af /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ Z[Q\CQ]ÿIUÿ^IT_CQ]ÿBEPCHEG                                                               JaJKbJKbKKÿ9IEQRÿ-ABACDEFGAcJaJKbJKbXLÿ1QHATBIYPEQdÿ   JKKJbKKbeMÿ=/:0ÿ:EQ_ÿfMJW       JKgKeL@MW MgWLWgKLe@fN            JKgKeL@MW     K@KK
                                            :@;@                                                                                                              -ABACDEFGAÿHIÿ/+;1
 KX8Ke8MKJf ,OPAQRA   +TEQRUATVJLJWWZKKJiKJ /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ Z[Q\CQ]ÿIUÿ/+;1ÿSIT_CQ]ÿ0EPCHEG                                                          JaJKbJKbKKÿ9IEQRÿ-ABACDEFGAcJaJKbJKbXLÿ1QHATBIYPEQdÿ   JKKJbKKbeMÿ=/:0ÿ:EQ_ÿfMJW       JKgeaf@fe MgWeWgNJe@fW            JKgeaf@fe     K@KK
                                            :@;@                                                                                                              -ABACDEFGAÿHIÿ/+;1
 KX8Jf8MKJf ,OPAQRA   +TEQRUATVWNMXWZ0KJaMK /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ Z[Q\CQ]ÿIUÿ^IT_CQ]ÿBEPCHEGÿUITÿ/+;1                                                      JaJKbJKbKKÿ9IEQRÿ-ABACDEFGAcJaJKbJKbXLÿ1QHATBIYPEQdÿ   JKKJbKKbeMÿ=/:0ÿ:EQ_ÿfMJW        egaea@We MgWNXgMfM@WM             egaea@We     K@KK
                                            :@;@                                                                                                              -ABACDEFGAÿHIÿ/+;1
 KX8Jf8MKJf ,OPAQRA   +TEQUATRVJXMXWZ0KJ05N /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ Z[Q\CQ]ÿIUÿ^IT_CQ]ÿBEPCHEGÿUITÿ/+;1                                                      JaJKbJKbKKÿ9IEQRÿ-ABACDEFGAcJaJKbJKbXLÿ1QHATBIYPEQdÿ   JKKJbKKbeMÿ=/:0ÿ:EQ_ÿfMJW        NgKKK@KK MgWfJgMfM@WM             NgKKK@KK     K@KK
                                            :@;@                                                                                                              -ABACDEFGAÿHIÿ/+;1
 KX8Jf8MKJf ,OPAQRA   +TEQRUATVJfNeWZ)KKh9e /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ Z[Q\CQ]ÿIUÿ^IT_CQ]ÿBEPCHEGÿUITÿ/+;1                                                      JaJKbJKbKKÿ9IEQRÿ-ABACDEFGAcJaJKbJKbXLÿ1QHATBIYPEQdÿ   JKKJbKKbeMÿ=/:0ÿ:EQ_ÿfMJW      JNWgaKW@Me MgeeLgLfe@ef           JNWgaKW@Me     K@KK
                                            :@;@                                                                                                              -ABACDEFGAÿHIÿ/+;1
 Ka8Ka8MKJf ,OPAQRA   +TEQRUATVaLJXWZ/KJ5WS /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ Z[Q\CQ]ÿIUÿ^IT_CQ]ÿBEPCHEGÿUITÿ/+;1                                                      JaJKbJKbKKÿ9IEQRÿ-ABACDEFGAcJaJKbJKbXLÿ1QHATBIYPEQdÿ   JKKJbKKbeMÿ=/:0ÿ:EQ_ÿfMJW       JNgNKf@aM MgefWgWKe@MJ            JNgNKf@aM     K@KK
                                            :@;@                                                                                                              -ABACDEFGAÿHIÿ/+;1
 Ka8JL8MKJf ,OPAQRA   +TEQRUATVaWJNW>XKKhZ+ /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ Z[Q\CQ]ÿIUÿ^IT_CQ]ÿBEPCHEGÿHIÿ/+;1                                                       JaJKbJKbKKÿ9IEQRÿ-ABACDEFGAcJaJKbJKbXLÿ1QHATBIYPEQdÿ   JKKJbKKbeMÿ=/:0ÿ:EQ_ÿfMJW        egKKK@KK MgNKMgWKe@MJ             egKKK@KK     K@KK
                                            :@;@                                                                                                              -ABACDEFGAÿHIÿ/+;1
 Ka8JL8MKJf ,OPAQRA   +TEQRUATVLJWJW>aKJMe0 /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ Z[Q\CQ]ÿIUÿ^IT_CQ]ÿBEPCHEGÿHIÿ/+;1                                                       JaJKbJKbKKÿ9IEQRÿ-ABACDEFGAcJaJKbJKbXLÿ1QHATBIYPEQdÿ   JKKJbKKbeMÿ=/:0ÿ:EQ_ÿfMJW       MJgXMJ@ef MgNMXgNMf@KK            MJgXMJ@ef     K@KK
                                            :@;@                                                                                                              -ABACDEFGAÿHIÿ/+;1
 Ka8JL8MKJf ,OPAQRA   +TEQRUATVJfaaW>aKJWhL /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ Z[Q\CQ]ÿIUÿ^IT_CQ]ÿBEPCHEGÿHIÿ/+;1                                                       JaJKbJKbKKÿ9IEQRÿ-ABACDEFGAcJaJKbJKbXLÿ1QHATBIYPEQdÿ   JKKJbKKbeMÿ=/:0ÿ:EQ_ÿfMJW       JLgMLJ@JN MgNaKgKfK@JN            JLgMLJ@JN     K@KK
                                            :@;@                                                                                                              -ABACDEFGAÿHIÿ/+;1
 KW8KX8MKJf ,OPAQRA   +TEQRUATVJMfNW>9KK,,Z /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ Z[Q\CQ]ÿIUÿ^IT_CQ]ÿBEPCHEGÿHIÿ/+;1                                                       JaJKbJKbKKÿ9IEQRÿ-ABACDEFGAcJaJKbJKbXLÿ1QHATBIYPEQdÿ   JKKJbKKbeMÿ=/:0ÿ:EQ_ÿfMJW        WgKKK@KK MgNaWgKfK@JN             WgKKK@KK     K@KK
                                            :@;@                                                                                                              -ABACDEFGAÿHIÿ/+;1
 KW8KX8MKJf ,OPAQRA   +TEQRUATVaJaNW>9KK7j; /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ Z[Q\CQ]ÿIUÿ^IT_CQ]ÿBEPCHEGÿUITÿ/+;1                                                      JaJKbJKbKKÿ9IEQRÿ-ABACDEFGAcJaJKbJKbXLÿ1QHATBIYPEQdÿ   JKKJbKKbeMÿ=/:0ÿ:EQ_ÿfMJW       MMgNMM@WL MgNLegfJM@ea            MMgNMM@WL     K@KK
                                            :@;@                                                                                                              -ABACDEFGAÿHIÿ/+;1
 KW8KN8MKJf :CGG      XJbKJa                7I\[GETÿ7IFCGAÿ>YF= 0IQR[GHCQ]ÿRATDCBARÿTAQ\ATA\ÿ\[TCQ]ÿ7EdÿMKJfÿbÿ*/10ÿ+AEY                                      JaJKbJKbKKÿ9IEQRÿ-ABACDEFGAcJaJKbJKbXLÿ1QHATBIYPEQdÿ   MKKKbKKbKXÿ*BBI[QHRÿ5EdEFGAÿ    NKgJef@WN MgfaNgKfM@XM            NKgJef@WN     K@KK
                                                                                                                                                              -ABACDEFGAÿHIÿ/+;1                                     l,6-m
 KW8XJ8MKJf ,OPAQRA   +TEQRUATVNffMW=)KJ.7L /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ Z[Q\CQ]ÿIUÿ^IT_CQ]ÿBEPCHEGÿUITÿ/+;1                                                      JaJKbJKbKKÿ9IEQRÿ-ABACDEFGAcJaJKbJKbXLÿ1QHATBIYPEQdÿ   JKKJbKKbeMÿ=/:0ÿ:EQ_ÿfMJW       JNgJeX@LW MgfLLgMLW@fe            JNgJeX@LW     K@KK
                                            :@;@                                                                                                              -ABACDEFGAÿHIÿ/+;1
 KL8JK8MKJf ,OPAQRA   SCTAÿ-AUVaXaMW=.KJ?j? /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ Z[Q\CQ]ÿIUÿ^IT_CQ]ÿBEPCHEGÿUITÿ/+;1                                                      JaJKbJKbKKÿ9IEQRÿ-ABACDEFGAcJaJKbJKbXLÿ1QHATBIYPEQdÿ   JKKJbKKbeMÿ=/:0ÿ:EQ_ÿfMJW       NJgWeM@ML XgKaegNXN@MX            NJgWeM@ML     K@KK
                                            :@;@                                                                                                              -ABACDEFGAÿHIÿ/+;1
 KL8JM8MKJf 0nAB_     SCTAÿ-AUVaXaMW=.Ka?j? /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ Z[Q\CQ]ÿIUÿ/+;1ÿ^IT_CQ]ÿBEPCHEG                                                          JaJKbJKbKKÿ9IEQRÿ-ABACDEFGAcJaJKbJKbXLÿ1QHATBIYPEQdÿ   JKKJbKKbeMÿ=/:0ÿ:EQ_ÿfMJW       JfgLMM@NN XgKLegaLJ@JJ            JfgLMM@NN     K@KK
                                            :@;@                                                                                                              -ABACDEFGAÿHIÿ/+;1
 KL8MJ8MKJf ,OPAQRA   +TEQRUATVJKJaW=4KKeL6 /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ Z[Q\CQ]ÿIUÿ^IT_CQ]ÿBEPCHEGÿHIÿ/+;1                                                       JaJKbJKbKKÿ9IEQRÿ-ABACDEFGAcJaJKbJKbXLÿ1QHATBIYPEQdÿ   JKKJbKKbeMÿ=/:0ÿ:EQ_ÿfMJW        egKKK@KK XgKeagaLJ@JJ             egKKK@KK     K@KK
                                            :@;@                                                                                                              -ABACDEFGAÿHIÿ/+;1
 KL8MJ8MKJf ,OPAQRA   +TEQRUATVKMfWW=4KJS.Z /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ Z[Q\CQ]ÿIUÿ^IT_CQ]ÿBEPCHEGÿHIÿ/+;1                                                       JaJKbJKbKKÿ9IEQRÿ-ABACDEFGAcJaJKbJKbXLÿ1QHATBIYPEQdÿ   JKKJbKKbeMÿ=/:0ÿ:EQ_ÿfMJW       XWgfae@MK XgJJKgaKN@XJ            XWgfae@MK     K@KK
                                            :@;@                                                                                                              -ABACDEFGAÿHIÿ/+;1
 KL8Me8MKJf ,OPAQRA   +TEQRUATVMWMfW1aKKX*5 /HTAEYÿ+;ÿ1QHATQEHCIQEGÿ Z[Q\CQ]ÿIUÿ^IT_CQ]ÿBEPCHEGÿHIÿ/+;1                                                       JaJKbJKbKKÿ9IEQRÿ-ABACDEFGAcJaJKbJKbXLÿ1QHATBIYPEQdÿ   JKKJbKKbeMÿ=/:0ÿ:EQ_ÿfMJW        MgfMJ@JN XgJJXgXMf@af             MgfMJ@JN     K@KK

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                                            :@;@                                                                                              -ABACDEFGAÿHIÿ/+;1
 JK8LM8LJNO ,PQARSA   +TERSUATVNKKWX1YJJ7*: /HTAEZÿ+;ÿ1RHATREHCIREGÿ [\R]CR^ÿIUÿ_IT`CR^ÿBEQCHEGÿHIÿ/+;1                                       NYNJaNJaJJÿ9IERSÿ-ABACDEFGAbNYNJaNJacKÿ1RHATBIZQERdÿ   NJJNaJJaMLÿ=/:0ÿ:ER`ÿOLNX     WeYMJ@WY ceNLNeWJJ@cc             WeYMJ@WY     J@JJ
                                            :@;@                                                                                              -ABACDEFGAÿHIÿ/+;1
 JM8JX8LJNO ,PQARSA   +TERSUATVWWNKX10JJWM+ /HTAEZÿ+;ÿ1RHATREHCIREGÿ [\R]CR^ÿIUÿ_IT`CR^ÿBEQCHEGÿHIÿ/+;1                                       NYNJaNJaJJÿ9IERSÿ-ABACDEFGAbNYNJaNJacKÿ1RHATBIZQERdÿ   NJJNaJJaMNÿ=/:0ÿ:ER`ÿOLJM    MXeLNN@OX ceNOMeJNL@LW            MXeLNN@OX     J@JJ
                                            :@;@                                                                                              -ABACDEFGAÿHIÿ/+;1
 JM8NJ8LJNO ,PQARSA   +TERSUATVKMYNX1=JNY/. /HTAEZÿ+;ÿ1RHATREHCIREGÿ [\R]CR^ÿIUÿ_IT`CR^ÿBEQCHEGÿUITÿ/+;1                                      NYNJaNJaJJÿ9IERSÿ-ABACDEFGAbNYNJaNJacKÿ1RHATBIZQERdÿ   NJJNaJJaMLÿ=/:0ÿ:ER`ÿOLNX    NLeLNN@XM ceLJOeLLc@WX            NLeLNN@XM     J@JJ
                                            :@;@                                                                                              -ABACDEFGAÿHIÿ/+;1
 JM8NL8LJNO ,PQARSA   +TERSUATVKOcXX1fJN6g< /HTAEZÿ+;ÿ1RHATREHCIREGÿ [\R]CR^ÿIUÿ_IT`CR^ÿBEQCHEGÿUITÿ/+;1                                      NYNJaNJaJJÿ9IERSÿ-ABACDEFGAbNYNJaNJacKÿ1RHATBIZQERdÿ   NJJNaJJaMLÿ=/:0ÿ:ER`ÿOLNX    LJeKOL@YX ceLLOeONK@cJ            LJeKOL@YX     J@JJ
                                            :@;@                                                                                              -ABACDEFGAÿHIÿ/+;1
 JM8NK8LJNO ,PQARSA   +TERSUATVLNJNX1.JJ>;9 /HTAEZÿ+;ÿ1RHATREHCIREGÿ [\R]CR^ÿIUÿ_IT`CR^ÿBEQCHEGÿHIÿ/+;1                                       NYNJaNJaJJÿ9IERSÿ-ABACDEFGAbNYNJaNJacKÿ1RHATBIZQERdÿ   NJJNaJJaMLÿ=/:0ÿ:ER`ÿOLNX     MeJJJ@JJ ceLcKeONK@cJ             MeJJJ@JJ     J@JJ
                                            :@;@                                                                                              -ABACDEFGAÿHIÿ/+;1
 JM8NK8LJNO ,PQARSA   +TERSUATVKLYWX1.JJ2O0 /HTAEZÿ+;ÿ1RHATREHCIREGÿ [\R]CR^ÿIUÿ_IT`CR^ÿBEQCHEGÿUITÿ/+;1                                      NYNJaNJaJJÿ9IERSÿ-ABACDEFGAbNYNJaNJacKÿ1RHATBIZQERdÿ   NJJNaJJaMLÿ=/:0ÿ:ER`ÿOLNX    cWeWWc@cX ceLMXeMOO@KX            cWeWWc@cX     J@JJ
                                            :@;@                                                                                              -ABACDEFGAÿHIÿ/+;1
 JM8NK8LJNO ,PQARSA   +TERSUATVXJLNX1.JJ+[5 /HTAEZÿ+;ÿ1RHATREHCIREGÿ [\R]CR^ÿIUÿ_IT`CR^ÿBEQCHEGÿHIÿ/+;1                                       NYNJaNJaJJÿ9IERSÿ-ABACDEFGAbNYNJaNJacKÿ1RHATBIZQERdÿ   NJJNaJJaMLÿ=/:0ÿ:ER`ÿOLNX    LYeJXc@OL ceLOOeWXc@XM            LYeJXc@OL     J@JJ
                                            :@;@                                                                                              -ABACDEFGAÿHIÿ/+;1
 JM8LY8LJNO ,PQARSA   +TERSUATVJcWXX1;JJL<1 /HTAEZÿ+;ÿ1RHATREHCIREGÿ [\R]CR^ÿIUÿ_IT`CR^ÿBEQCHEGÿHIÿ/+;1                                       NYNJaNJaJJÿ9IERSÿ-ABACDEFGAbNYNJaNJacKÿ1RHATBIZQERdÿ   NJJNaJJaMLÿ=/:0ÿ:ER`ÿOLNX    NNeXYN@NN cecNNecOY@KW            NNeXYN@NN     J@JJ
                                            :@;@                                                                                              -ABACDEFGAÿHIÿ/+;1
 JM8LO8LJNO ,PQARSA   +TERSUATVNcYKXfJJN.9h /HTAEZÿ+;ÿ1RHATREHCIREGÿ [\R]CR^ÿIUÿ_IT`CR^ÿBEQCHEGÿHIÿ/+;1                                       NYNJaNJaJJÿ9IERSÿ-ABACDEFGAbNYNJaNJacKÿ1RHATBIZQERdÿ   NJJNaJJaMLÿ=/:0ÿ:ER`ÿOLNX     MeXcO@NJ cecNWeOcc@MW             MeXcO@NJ     J@JJ
                                            :@;@                                                                                              -ABACDEFGAÿHIÿ/+;1
 JW8NL8LJNO ,PQARSA   +TERSUATVLOMMXf,JNf:: /HTAEZÿ+;ÿ1RHATREHCIREGÿ [\R]CR^ÿIUÿ_IT`CR^ÿBEQCHEGÿUITÿ/+;1                                      NYNJaNJaJJÿ9IERSÿ-ABACDEFGAbNYNJaNJacKÿ1RHATBIZQERdÿ   NJJNaJJaMLÿ=/:0ÿ:ER`ÿOLNX     LeYWY@cL cecLNeYNW@NJ             LeYWY@cL     J@JJ
                                            :@;@                                                                                              -ABACDEFGAÿHIÿ/+;1
 JW8NL8LJNO ,PQARSA   +TERSUATVWXMXXf,JNO=? /HTAEZÿ+;ÿ1RHATREHCIREGÿ [\R]CR^ÿIUÿ_IT`CR^ÿBEQCHEGÿUITÿ/+;1                                      NYNJaNJaJJÿ9IERSÿ-ABACDEFGAbNYNJaNJacKÿ1RHATBIZQERdÿ   NJJNaJJaMLÿ=/:0ÿ:ER`ÿOLNX     XeJJJ@JJ cecLKeYNW@NJ             XeJJJ@JJ     J@JJ
                                            :@;@                                                                                              -ABACDEFGAÿHIÿ/+;1
 JW8NK8LJNO ,PQARSA   +TERSUATVcXWLXf1JJ969 /HTAEZÿ+;ÿ1RHATREHCIREGÿ [\R]CR^ÿIUÿ_IT`CR^ÿBEQCHEGÿUITÿ/+;1                                      NYNJaNJaJJÿ9IERSÿ-ABACDEFGAbNYNJaNJacKÿ1RHATBIZQERdÿ   NJJNaJJaMLÿ=/:0ÿ:ER`ÿOLNX    NYeOWY@LN cecYNeYJL@cN            NYeOWY@LN     J@JJ
                                            :@;@                                                                                              -ABACDEFGAÿHIÿ/+;1
 JW8LK8LJNO ,PQARSA   +TERSUATVYLJXXf/JN:OY /HTAEZÿ+;ÿ1RHATREHCIREGÿ [\R]CR^ÿIUÿ_IT`CR^ÿBEQCHEGÿUITÿ/+;1                                      NYNJaNJaJJÿ9IERSÿ-ABACDEFGAbNYNJaNJacKÿ1RHATBIZQERdÿ   NJJNaJJaMLÿ=/:0ÿ:ER`ÿOLNX    NNecYc@YX cecXLeMYX@MK            NNecYc@YX     J@JJ
                                            :@;@                                                                                              -ABACDEFGAÿHIÿ/+;1
 JW8LK8LJNO ,PQARSA   +TERSUATVWNYLXf/JJ441 /HTAEZÿ+;ÿ1RHATREHCIREGÿ [\R]CR^ÿIUÿ_IT`CR^ÿBEQCHEGÿUITÿ/+;1                                      NYNJaNJaJJÿ9IERSÿ-ABACDEFGAbNYNJaNJacKÿ1RHATBIZQERdÿ   NJJNaJJaMLÿ=/:0ÿ:ER`ÿOLNX   NJYeNXX@NK ceYXKeOJJ@OL           NJYeNXX@NK     J@JJ
                                            :@;@                                                                                              -ABACDEFGAÿHIÿ/+;1
 JW8LK8LJNO ,PQARSA   +TERSUATVMLcJXf/JN;X4 /HTAEZÿ+;ÿ1RHATREHCIREGÿ [\R]CR^ÿIUÿ_IT`CR^ÿBEQCHEGÿHIÿ/+;1                                       NYNJaNJaJJÿ9IERSÿ-ABACDEFGAbNYNJaNJacKÿ1RHATBIZQERdÿ   NJJNaJJaMLÿ=/:0ÿ:ER`ÿOLNX    NLeJJJ@JJ ceYKWeOJJ@OL            NLeJJJ@JJ     J@JJ
                                            :@;@                                                                                              -ABACDEFGAÿHIÿ/+;1
 JO8Jc8LJNO ,PQARSA   +TERSUATVMNJOXhJJJgiY /HTAEZÿ+;ÿ1RHATREHCIREGÿ [\R]CR^ÿIUÿ_IT`CR^ÿBEQCHEGÿUITÿ/+;1                                      NYNJaNJaJJÿ9IERSÿ-ABACDEFGAbNYNJaNJacKÿ1RHATBIZQERdÿ   NJJNaJJaMLÿ=/:0ÿ:ER`ÿOLNX    NXeKYY@LJ ceYWYeXYX@NL            NXeKYY@LJ     J@JJ
                                            :@;@                                                                                              -ABACDEFGAÿHIÿ/+;1
 JO8JO8LJNO ,PQARSA   +TERSUATVJJNLXhKJNX/[ /HTAEZÿ+;ÿ1RHATREHCIREGÿ [\R]CR^ÿIUÿ_IT`CR^ÿBEQCHEGÿUITÿ/+;1                                      NYNJaNJaJJÿ9IERSÿ-ABACDEFGAbNYNJaNJacKÿ1RHATBIZQERdÿ   NJJNaJJaMLÿ=/:0ÿ:ER`ÿOLNX    LLeKMN@cK ceXJMeLNK@YW            LLeKMN@cK     J@JJ
                                            :@;@                                                                                              -ABACDEFGAÿHIÿ/+;1
 JO8NW8LJNO ,PQARSA   +TERSUATVKWLWXh[JN96f /HTAEZÿ+;ÿ1RHATREHCIREGÿ [\R]CR^ÿIUÿ_IT`CR^ÿBEQCHEGÿHIÿ/+;1                                       NYNJaNJaJJÿ9IERSÿ-ABACDEFGAbNYNJaNJacKÿ1RHATBIZQERdÿ   NJJNaJJaMNÿ=/:0ÿ:ER`ÿOLJM    NNeOcO@KY ceXNOeNXK@NL            NNeOcO@KY     J@JJ
                                            :@;@                                                                                              -ABACDEFGAÿHIÿ/+;1
 JO8NW8LJNO ,PQARSA   +TERSUATVWNLWXh[JJf[2 /HTAEZÿ+;ÿ1RHATREHCIREGÿ [\R]CR^ÿIUÿ_IT`CR^ÿBEQCHEGÿUITÿ/+;1                                      NYNJaNJaJJÿ9IERSÿ-ABACDEFGAbNYNJaNJacKÿ1RHATBIZQERdÿ   NJJNaJJaMNÿ=/:0ÿ:ER`ÿOLJM    NKeNMO@Yc ceXcXeccX@XX            NKeNMO@Yc     J@JJ
                                            :@;@                                                                                              -ABACDEFGAÿHIÿ/+;1
 JO8LJ8LJNO ,PQARSA   +TERSUATVWXOXXh=JJ9;N /HTAEZÿ+;ÿ1RHATREHCIREGÿ [\R]CR^ÿIUÿ_IT`CR^ÿBEQCHEGÿUITÿ/+;1                                      NYNJaNJaJJÿ9IERSÿ-ABACDEFGAbNYNJaNJacKÿ1RHATBIZQERdÿ   NJJNaJJaMNÿ=/:0ÿ:ER`ÿOLJM     KeJJJ@JJ ceXYNeccX@XX             KeJJJ@JJ     J@JJ
                                            :@;@                                                                                              -ABACDEFGAÿHIÿ/+;1
 JO8LJ8LJNO ,PQARSA   +TERSUATVWOOMXh=JJ1J= /HTAEZÿ+;ÿ1RHATREHCIREGÿ [\R]CR^ÿIUÿ_IT`CR^ÿBEQCHEGÿUITÿ/+;1                                      NYNJaNJaJJÿ9IERSÿ-ABACDEFGAbNYNJaNJacKÿ1RHATBIZQERdÿ   NJJNaJJaMNÿ=/:0ÿ:ER`ÿOLJM     ceWYY@OK ceXYXeNWJ@XN             ceWYY@OK     J@JJ
                                            :@;@                                                                                              -ABACDEFGAÿHIÿ/+;1
 JO8LJ8LJNO ,PQARSA   +TERSUATVcOcMXh=JJ5W* /HTAEZÿ+;ÿ1RHATREHCIREGÿ [\R]CR^ÿIUÿ_IT`CR^ÿUITÿ/+;1                                              NYNJaNJaJJÿ9IERSÿ-ABACDEFGAbNYNJaNJacKÿ1RHATBIZQERdÿ   NJJNaJJaMNÿ=/:0ÿ:ER`ÿOLJM    cMeJOM@JL ceXWLeLMM@Xc            cMeJOM@JL     J@JJ
                                            :@;@                                                                                              -ABACDEFGAÿHIÿ/+;1
 NJ8JN8LJNO ,PQARSA   +TERSUATVJNKNXh/JJ:5Y /HTAEZÿ+;ÿ1RHATREHCIREGÿ [\R]CR^ÿIUÿ_IT`CR^ÿBEQCHEGÿHIÿ/+;1                                       NYNJaNJaJJÿ9IERSÿ-ABACDEFGAbNYNJaNJacKÿ1RHATBIZQERdÿ   NJJNaJJaMLÿ=/:0ÿ:ER`ÿOLNX     YeJJJ@JJ ceXWKeLMM@Xc             YeJJJ@JJ     J@JJ
                                            :@;@                                                                                              -ABACDEFGAÿHIÿ/+;1
 NJ8JN8LJNO ,PQARSA   +TERSUATVcNLNXh/JJ>?) /HTAEZÿ+;ÿ1RHATREHCIREGÿ [\R]CR^ÿIUÿ_IT`CR^ÿBEQCHEGÿHIÿ/+;1                                       NYNJaNJaJJÿ9IERSÿ-ABACDEFGAbNYNJaNJacKÿ1RHATBIZQERdÿ   NJJNaJJaMLÿ=/:0ÿ:ER`ÿOLNX    NceOJO@WK ceKJJeNWM@cO            NceOJO@WK     J@JJ
                                            :@;@                                                                                              -ABACDEFGAÿHIÿ/+;1
 NJ8JM8LJNO ,PQARSA   +TERSUATVNLXcXh4JN:0= /HTAEZÿ+;ÿ1RHATREHCIREGÿ [\R]CR^ÿIUÿ_IT`CR^ÿBEQCHEGÿUITÿ/+;1                                      NYNJaNJaJJÿ9IERSÿ-ABACDEFGAbNYNJaNJacKÿ1RHATBIZQERdÿ   NJJNaJJaMLÿ=/:0ÿ:ER`ÿOLNX     XeXJJ@JJ ceKJXeKWM@cO             XeXJJ@JJ     J@JJ
                                            :@;@                                                                                              -ABACDEFGAÿHIÿ/+;1
 NJ8JW8LJNO ,PQARSA   +TERSUATVMOMOXh?JJ.-L /HTAEZÿ+;ÿ1RHATREHCIREGÿ [\R]CR^ÿIUÿ_IT`CR^ÿBEQCHEGÿHIÿ/+;1                                       NYNJaNJaJJÿ9IERSÿ-ABACDEFGAbNYNJaNJacKÿ1RHATBIZQERdÿ   NJJNaJJaMNÿ=/:0ÿ:ER`ÿOLJM     WeMOY@LX ceKNYeYWN@KY             WeMOY@LX     J@JJ
                                            :@;@                                                                                              -ABACDEFGAÿHIÿ/+;1
 NJ8JW8LJNO ,PQARSA   +TERSUATVYLJNXh?JNhO. /HTAEZÿ+;ÿ1RHATREHCIREGÿ [\R]CR^ÿIUÿ_IT`CR^ÿBEQCHEGÿUITÿ/+;1                                      NYNJaNJaJJÿ9IERSÿ-ABACDEFGAbNYNJaNJacKÿ1RHATBIZQERdÿ   NJJNaJJaMNÿ=/:0ÿ:ER`ÿOLJM   NJJeNJY@XM ceMNYeXWK@LN           NJJeNJY@XM     J@JJ
                                            :@;@                                                                                              -ABACDEFGAÿHIÿ/+;1
 NJ8NX8LJNO ,PQARSA   +TERSUATVYJXKX9KJJ94f /HTAEZÿ+;ÿ1RHATREHCIREGÿ [\R]CR^ÿIUÿ_IT`CR^ÿBEQCHEGÿHIÿ/+;1                                       NYNJaNJaJJÿ9IERSÿ-ABACDEFGAbNYNJaNJacKÿ1RHATBIZQERdÿ   NJJNaJJaMLÿ=/:0ÿ:ER`ÿOLNX    LJeccN@JN ceMcYeONM@LL            LJeccN@JN     J@JJ
                                            :@;@                                                                                              -ABACDEFGAÿHIÿ/+;1
 NJ8LL8LJNO ,PQARSA   +TERSUATVNXOYX9)JN-<* /HTAEZÿ+;ÿ1RHATREHCIREGÿ [\R]CR^ÿIUÿ_IT`CR^ÿBEQCHEGÿHIÿ/+;1                                       NYNJaNJaJJÿ9IERSÿ-ABACDEFGAbNYNJaNJacKÿ1RHATBIZQERdÿ   NJJNaJJaMLÿ=/:0ÿ:ER`ÿOLNX    NJeJJJ@JJ ceMYYeONM@LL            NJeJJJ@JJ     J@JJ
                                            :@;@                                                                                              -ABACDEFGAÿHIÿ/+;1
 NJ8LL8LJNO ,PQARSA   +TERSUATVYYYOX9)JJ*6h /HTAEZÿ+;ÿ1RHATREHCIREGÿ [\R]CR^ÿIUÿ_IT`CR^ÿBEQCHEGÿHIÿ/+;1                                       NYNJaNJaJJÿ9IERSÿ-ABACDEFGAbNYNJaNJacKÿ1RHATBIZQERdÿ   NJJNaJJaMLÿ=/:0ÿ:ER`ÿOLNX    NYeXXN@JL ceMXOeYKW@LY            NYeXXN@JL     J@JJ
                                            :@;@                                                                                              -ABACDEFGAÿHIÿ/+;1
 NJ8Lc8LJNO ,PQARSA   +TERSUATVNOWYX9,JLN,c /HTAEZÿ+;ÿ1RHATREHCIREGÿ [\R]CR^ÿIUÿ_IT`CR^ÿBEQCHEGÿHIÿ/+;1                                       NYNJaNJaJJÿ9IERSÿ-ABACDEFGAbNYNJaNJacKÿ1RHATBIZQERdÿ   NJJNaJJaMLÿ=/:0ÿ:ER`ÿOLNX    LJeXNL@XL ceMMOeOWJ@MK            LJeXNL@XL     J@JJ
                                            :@;@                                                                                              -ABACDEFGAÿHIÿ/+;1
 NJ8LO8LJNO ,PQARSA   +TERSUATVKXNNX9hJN;iN /HTAEZÿ+;ÿ1RHATREHCIREGÿ [\R]CR^ÿIUÿ_IT`CR^ÿBEQCHEGÿHIÿ/+;1                                       NYNJaNJaJJÿ9IERSÿ-ABACDEFGAbNYNJaNJacKÿ1RHATBIZQERdÿ   NJJNaJJaMLÿ=/:0ÿ:ER`ÿOLNX     XeJJJ@JJ ceMWYeOWJ@MK             XeJJJ@JJ     J@JJ
                                            :@;@                                                                                              -ABACDEFGAÿHIÿ/+;1
 NJ8LO8LJNO ,PQARSA   +TERSUATVJJYWX9hJJJ4; /HTAEZÿ+;ÿ1RHATREHCIREGÿ [\R]CR^ÿIUÿ_IT`CR^ÿBEQCHEGÿHIÿ/+;1                                       NYNJaNJaJJÿ9IERSÿ-ABACDEFGAbNYNJaNJacKÿ1RHATBIZQERdÿ   NJJNaJJaMLÿ=/:0ÿ:ER`ÿOLNX     OeLXK@XJ ceMOYeLcM@LK             OeLXK@XJ     J@JJ
                                            :@;@                                                                                              -ABACDEFGAÿHIÿ/+;1
 NJ8cJ8LJNO ,PQARSA   +TERSUATVNYNKX99JNLc- /HTAEZÿ+;ÿ1RHATREHCIREGÿ [\R]CR^ÿIUÿ_IT`CR^ÿBEQCHEGÿUITÿ/+;1                                      NYNJaNJaJJÿ9IERSÿ-ABACDEFGAbNYNJaNJacKÿ1RHATBIZQERdÿ   NJJNaJJaMLÿ=/:0ÿ:ER`ÿOLNX    KceNMY@MW ceWXMeYNL@JY            KceNMY@MW     J@JJ
                                            :@;@                                                                                              -ABACDEFGAÿHIÿ/+;1
 NN8JK8LJNO ,PQARSA   +TERSUATVXOLYX9/JJNhc /HTAEZÿ+;ÿ1RHATREHCIREGÿ [\R]CR^ÿIUÿ_IT`CR^ÿBEQCHEGÿHIÿ/+;1                                       NYNJaNJaJJÿ9IERSÿ-ABACDEFGAbNYNJaNJacKÿ1RHATBIZQERdÿ   NJJNaJJaMLÿ=/:0ÿ:ER`ÿOLNX     YeXYO@KM ceWKNeOKN@MN             YeXYO@KM     J@JJ
                                            :@;@                                                                                              -ABACDEFGAÿHIÿ/+;1
 NN8NW8LJNO ,PQARSA   +TERSUATVYKLYX7NJN6+X /HTAEZÿ+;ÿ1RHATREHCIREGÿ [\R]CR^ÿIUÿ_IT`CR^ÿBEQCHEGÿUITÿ/+;1                                      NYNJaNJaJJÿ9IERSÿ-ABACDEFGAbNYNJaNJacKÿ1RHATBIZQERdÿ   NJJNaJJaMLÿ=/:0ÿ:ER`ÿOLNX    NOeOMO@LL ceWWNeOYJ@Oc            NOeOMO@LL     J@JJ
                                            :@;@                                                                                              -ABACDEFGAÿHIÿ/+;1
 NN8LL8LJNO ,PQARSA   +TERSUATVKYOKX7WJN<MW /HTAEZÿ+;ÿ1RHATREHCIREGÿ [\R]CR^ÿIUÿ_IT`CR^ÿBEQCHEGÿHIÿ/+;1                                       NYNJaNJaJJÿ9IERSÿ-ABACDEFGAbNYNJaNJacKÿ1RHATBIZQERdÿ   NJJNaJJaMLÿ=/:0ÿ:ER`ÿOLNX    cOecWO@WN ceOLNeccJ@MY            cOecWO@WN     J@JJ
                                            :@;@                                                                                              -ABACDEFGAÿHIÿ/+;1
 NN8LL8LJNO ,PQARSA   +TERSUATVNWYXX7WJNg /HTAEZÿ+;ÿ1RHATREHCIREGÿ [\R]CR^ÿIUÿ_IT`CR^ÿBEQCHEGÿHIÿ/+;1                                         NYNJaNJaJJÿ9IERSÿ-ABACDEFGAbNYNJaNJacKÿ1RHATBIZQERdÿ   NJJNaJJaMLÿ=/:0ÿ:ER`ÿOLNX     WeJJJ@JJ ceOLOeccJ@MY             WeJJJ@JJ     J@JJ
                                            :@;@                                                                                              -ABACDEFGAÿHIÿ/+;1
 NN8LM8LJNO ,PQARSA   +TERSUATVLcJWX7)JN=NL /HTAEZÿ+;ÿ1RHATREHCIREGÿ [\R]CR^ÿIUÿ_IT`CR^ÿBEQCHEGÿHIÿ/+;1                                       NYNJaNJaJJÿ9IERSÿ-ABACDEFGAbNYNJaNJacKÿ1RHATBIZQERdÿ   NJJNaJJaMLÿ=/:0ÿ:ER`ÿOLNX     XeJJJ@JJ ceOcYeccJ@MY             XeJJJ@JJ     J@JJ
                                            :@;@                                                                                              -ABACDEFGAÿHIÿ/+;1
 NN8LM8LJNO ,PQARSA   +TERSUATVNWWXX7)JJf=- /HTAEZÿ+;ÿ1RHATREHCIREGÿ [\R]CR^ÿIUÿ_IT`CR^ÿBEQCHEGÿHIÿ/+;1                                       NYNJaNJaJJÿ9IERSÿ-ABACDEFGAbNYNJaNJacKÿ1RHATBIZQERdÿ   NJJNaJJaMLÿ=/:0ÿ:ER`ÿOLNX     OeLKY@KX ceOYceXOX@cO             OeLKY@KX     J@JJ

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                                                 :@;@                                                                                                                                    -ABACDEFGAÿHIÿ/+;1
 JK8JL8KMJN 0OABP          +QERSTAQUVWNKX7/MJYZ5 /HQAE[ÿ+;ÿ1RHAQREHCIREGÿ Y\R]CR^ÿITÿ_IQPCR^ÿBE`CHEGÿHIÿ/+;1                                                                             JVJMaJMaMMÿ9IERSÿ-ABACDEFGAbJVJMaJMaLcÿ1RHAQBI[`ERdÿ          JMMJaMMaeKÿ=/:0ÿ:ERPÿNKJX       WfJKX@XX LfNXJfeKM@NV            WfJKX@XX      M@MM
                                                 :@;@                                                                                                                                    -ABACDEFGAÿHIÿ/+;1
 JK8Jc8KMJN :CGG           /1aVMW                -9ÿ/dSHA[S                                                                                                                              JVJMaJMaMMÿ9IERSÿ-ABACDEFGAbJVJMaJMaLcÿ1RHAQBI[`ERdÿ          KMMMaMMaMKÿ*BBI\RHSÿ5EdEFGAÿ      NLX@Wc LfNXKfcXc@WM              NLX@Wc      M@MM
                                                                                                                                                                                         -ABACDEFGAÿHIÿ/+;1                                            g>:5h
 JK8JN8KMJN ,i`ARSA        +QERSTAQUWLeJX7?MKL>0 /HQAE[ÿ+;ÿ1RHAQREHCIREGÿ Y\R]CR^ÿITÿ_IQPCR^ÿBE`CHEGÿTIQÿ/+;1                                                                            JVJMaJMaMMÿ9IERSÿ-ABACDEFGAbJVJMaJMaLcÿ1RHAQBI[`ERdÿ          JMMJaMMaeJÿ=/:0ÿ:ERPÿNKMe      JVfWcc@eK LfNcefXKL@XK           JVfWcc@eK      M@MM
                                                 :@;@                                                                                                                                    -ABACDEFGAÿHIÿ/+;1
 JK8JN8KMJN ,i`ARSA        +QERSTAQUVKNKX7?MJ55M /HQAE[ÿ+;ÿ1RHAQREHCIREGÿ Y\R]CR^ÿITÿ_IQPCR^ÿBE`CHEGÿHIÿ/+;1                                                                             JVJMaJMaMMÿ9IERSÿ-ABACDEFGAbJVJMaJMaLcÿ1RHAQBI[`ERdÿ          JMMJaMMaeJÿ=/:0ÿ:ERPÿNKMe      KcfMMM@MM LfNNLfXKL@XK           KcfMMM@MM      M@MM
                                                 :@;@                                                                                                                                    -ABACDEFGAÿHIÿ/+;1
 JK8KJ8KMJN :CGG           07JJcJWX              :C^ÿ4AGGI_ÿ/AGTÿ/HIQE^Aÿ ;*+ÿgKMjh                                                                                                      JVJMaJMaMMÿ9IERSÿ-ABACDEFGAbJVJMaJMaLcÿ1RHAQBI[`ERdÿ          KMMMaMMaMKÿ*BBI\RHSÿ5EdEFGAÿ      Jec@VL LfNNLfcNN@NX              Jec@VL      M@MM
                                                 g>5hÿ9C[CHA]                                                                                                                            -ABACDEFGAÿHIÿ/+;1                                            g>:5h
 JK8KJ8KMJN :CGG           07JJcJWX              :C^ÿ4AGGI_ÿ/AGTÿ/HIQE^Aÿ 6kÿ/HIQE^Aÿ-ARHÿ-II[ÿaÿlMXÿaÿLJ8JK8KMJNÿ+IÿKe8MJ8KMKM                                                          JVJMaJMaMMÿ9IERSÿ-ABACDEFGAbJVJMaJMaLcÿ1RHAQBI[`ERdÿ          KMMMaMMaMKÿ*BBI\RHSÿ5EdEFGAÿ      NMW@eV LfNNVfcMW@cN              NMW@eV      M@MM
                                                 g>5hÿ9C[CHA]                                                                                                                            -ABACDEFGAÿHIÿ/+;1                                            g>:5h
 JK8KV8KMJN ,i`ARSA        +QERSTAQUeLVMX.VMM?/= /HQAE[ÿ+;ÿ1RHAQREHCIREGÿ Y\R]CR^ÿITÿ_IQPCR^ÿBE`CHEGÿHIÿ/+;1                                                                             JVJMaJMaMMÿ9IERSÿ-ABACDEFGAbJVJMaJMaLcÿ1RHAQBI[`ERdÿ          JMMJaMMaeJÿ=/:0ÿ:ERPÿNKMe      KLfJLJ@JM VfMJefeLN@eN           KLfJLJ@JM      M@MM
                                                 :@;@                                                                                                                                    -ABACDEFGAÿHIÿ/+;1
 MJ8MJ8KMKM :CGG           VWWcaJeWW             1mÿ>QI\`ÿ/AQDCBASÿg6khÿ ;*+ÿKMj                                                                                                         JVJMaJMaMMÿ9IERSÿ-ABACDEFGAbJVJMaJMaLcÿ1RHAQBI[`ERdÿ          KMMMaMMaMKÿ*BBI\RHSÿ5EdEFGAÿ    JfNWc@MV VfMJNfeKX@WL            JfNWc@MV      M@MM
                                                 9H]                                                                                                                                     -ABACDEFGAÿHIÿ/+;1                                            g>:5h
 MJ8MJ8KMKM :CGG           VWWcaJeWW             1mÿ>QI\`ÿ/AQDCBASÿg6khÿ 6kÿ2TTCBAÿ-ARHÿYAFQ\EQdÿKMKMÿaÿ1RDICBAÿ)EHAÿJK8KN8KMJN                                                          JVJMaJMaMMÿ9IERSÿ-ABACDEFGAbJVJMaJMaLcÿ1RHAQBI[`ERdÿ          KMMMaMMaMKÿ*BBI\RHSÿ5EdEFGAÿ    NfNLM@KJ VfMKNfcXc@MV            NfNLM@KJ      M@MM
                                                 9H]                                                                                                                                     -ABACDEFGAÿHIÿ/+;1                                            g>:5h
 MJ8MJ8KMKM :CGG           LJaMKM                7I]\GEQÿ7IFCGAÿ>[F= 0IRS\GHCR^ÿTAAÿKMJNfÿ2BH8Jn2BH8LJÿaÿ1RDICBAÿ)EHAÿ.IDA[FAQÿVfÿKMJN                                                   JVJMaJMaMMÿ9IERSÿ-ABACDEFGAbJVJMaJMaLcÿ1RHAQBI[`ERdÿ          KMMMaMMaMLÿ*BBI\RHSÿ5EdEFGAÿ   JLfVXX@eW VfMVLfJJJ@WK           JLfVXX@eW      M@MM
                                                                                                                                                                                         -ABACDEFGAÿHIÿ/+;1                                            g,6-h
 MJ8MK8KMKM :CGG           Y+KMKMMJMK            Y,.>ÿ+/*.>ÿ              /+;1ÿ+EC_ERÿ2TTCBAÿ-ARHÿaÿZER\EQdÿKMKM                                                                         JVJMaJMaMMÿ9IERSÿ-ABACDEFGAbJVJMaJMaLcÿ1RHAQBI[`ERdÿ          KMMMaMMaMJÿ*BBI\RHSÿ5EdEFGAÿ    XfXVL@VL VfMVWfcXX@KX            XfXVL@VL      M@MM
                                                 02-52-*+12.ÿaÿ+m.                                                                                                                       -ABACDEFGAÿHIÿ/+;1                                            g+m.h
 MJ8JM8KMKM :CGG           07JJcWXL              :C^ÿ4AGGI_ÿ/AGTÿ/HIQE^Aÿ 9EHAÿ0OEQ^Aÿaÿ07JJcJWX                                                                                         JVJMaJMaMMÿ9IERSÿ-ABACDEFGAbJVJMaJMaLcÿ1RHAQBI[`ERdÿ          KMMMaMMaMKÿ*BBI\RHSÿ5EdEFGAÿ       VK@LL VfMVWfcNe@XW               VK@LL      M@MM
                                                 g>5hÿ9C[CHA]                                                                                                                            -ABACDEFGAÿHIÿ/+;1                                            g>:5h
 MJ8JM8KMKM :CGG           07JJcWXL              :C^ÿ4AGGI_ÿ/AGTÿ/HIQE^Aÿ 9EHAÿ0OEQ^Aÿaÿ07JJcJWX                                                                                         JVJMaJMaMMÿ9IERSÿ-ABACDEFGAbJVJMaJMaLcÿ1RHAQBI[`ERdÿ          KMMMaMMaMKÿ*BBI\RHSÿ5EdEFGAÿ       VX@KM VfMVWfeVK@eW               VX@KM      M@MM
                                                 g>5hÿ9C[CHA]                                                                                                                            -ABACDEFGAÿHIÿ/+;1                                            g>:5h
 MJ8JW8KMKM :CGG           07JJeJVX              :C^ÿ4AGGI_ÿ/AGTÿ/HIQE^Aÿ ;*+ÿgKMjh                                                                                                      JVJMaJMaMMÿ9IERSÿ-ABACDEFGAbJVJMaJMaLcÿ1RHAQBI[`ERdÿ          KMMMaMMaMKÿ*BBI\RHSÿ5EdEFGAÿ      Jec@XW VfMVWfNJN@Lc              Jec@XW      M@MM
                                                 g>5hÿ9C[CHA]                                                                                                                            -ABACDEFGAÿHIÿ/+;1                                            g>:5h
 MJ8JW8KMKM :CGG           07JJeJVX              :C^ÿ4AGGI_ÿ/AGTÿ/HIQE^Aÿ 6kÿ/HIQE^Aÿ-ARHÿaÿ-II[ÿlMXÿaÿKW8MJ8KMKMÿ+IÿKV8MK8KMKM                                                          JVJMaJMaMMÿ9IERSÿ-ABACDEFGAbJVJMaJMaLcÿ1RHAQBI[`ERdÿ          KMMMaMMaMKÿ*BBI\RHSÿ5EdEFGAÿ      NMN@XJ VfMVNfWKW@We              NMN@XJ      M@MM
                                                 g>5hÿ9C[CHA]                                                                                                                            -ABACDEFGAÿHIÿ/+;1                                            g>:5h
 MJ8LJ8KMKM :CGG           VWWcaJNKX             1mÿ>QI\`ÿ/AQDCBASÿg6khÿ ;*+ÿKMj                                                                                                         JVJMaJMaMMÿ9IERSÿ-ABACDEFGAbJVJMaJMaLcÿ1RHAQBI[`ERdÿ          KMMMaMMaMKÿ*BBI\RHSÿ5EdEFGAÿ    JfNWX@eJ VfMXJfWJV@XW            JfNWX@eJ      M@MM
                                                 9H]                                                                                                                                     -ABACDEFGAÿHIÿ/+;1                                            g>:5h
 MJ8LJ8KMKM :CGG           VWWcaJNKX             1mÿ>QI\`ÿ/AQDCBASÿg6khÿ 2TTCBAÿ-ARHÿ7EQBOÿKMKM                                                                                          JVJMaJMaMMÿ9IERSÿ-ABACDEFGAbJVJMaJMaLcÿ1RHAQBI[`ERdÿ          KMMMaMMaMKÿ*BBI\RHSÿ5EdEFGAÿ    NfNKW@XV VfMcJfeVL@JK            NfNKW@XV      M@MM
                                                 9H]                                                                                                                                     -ABACDEFGAÿHIÿ/+;1                                            g>:5h
 MK8ML8KMKM :CGG           Y+KMMKML              Y,.>ÿ+/*.>ÿ              +EC_ERÿ2TTCBAÿ-ARHÿTIQÿYAFQ\EQdÿKMKM                                                                           JVJMaJMaMMÿ9IERSÿ-ABACDEFGAbJVJMaJMaLcÿ1RHAQBI[`ERdÿ          KMMMaMMaMJÿ*BBI\RHSÿ5EdEFGAÿ    XfXKM@NJ VfMcefKcV@ML            XfXKM@NJ      M@MM
                                                 02-52-*+12.ÿaÿ+m.                                                                                                                       -ABACDEFGAÿHIÿ/+;1                                            g+m.h
 MK8JX8KMKM :CGG           07JJWJXV              :C^ÿ4AGGI_ÿ/AGTÿ/HIQE^Aÿ ;*+ÿgKMjh                                                                                                      JVJMaJMaMMÿ9IERSÿ-ABACDEFGAbJVJMaJMaLcÿ1RHAQBI[`ERdÿ          KMMMaMMaMKÿ*BBI\RHSÿ5EdEFGAÿ      Jee@MJ VfMcefVVJ@MV              Jee@MJ      M@MM
                                                 g>5hÿ9C[CHA]                                                                                                                            -ABACDEFGAÿHIÿ/+;1                                            g>:5h
 MK8JX8KMKM :CGG           07JJWJXV              :C^ÿ4AGGI_ÿ/AGTÿ/HIQE^Aÿ 6kÿ/HIQE^Aÿ-ARHÿaÿ-II[ÿlMXÿaÿKX8MK8KMKMÿ+IÿKL8ML8KMKM                                                          JVJMaJMaMMÿ9IERSÿ-ABACDEFGAbJVJMaJMaLcÿ1RHAQBI[`ERdÿ          KMMMaMMaMKÿ*BBI\RHSÿ5EdEFGAÿ      NJJ@eK VfMcWfLXK@ec              NJJ@eK      M@MM
                                                 g>5hÿ9C[CHA]                                                                                                                            -ABACDEFGAÿHIÿ/+;1                                            g>:5h
 ML8Mc8KMKM :CGG           07JJWWLL              :C^ÿ4AGGI_ÿ/AGTÿ/HIQE^Aÿ 9EHAÿ0OEQ^Aÿaÿ07JJWJXV                                                                                         JVJMaJMaMMÿ9IERSÿ-ABACDEFGAbJVJMaJMaLcÿ1RHAQBI[`ERdÿ          KMMMaMMaMKÿ*BBI\RHSÿ5EdEFGAÿ       VK@KW VfMcWfLNX@MV               VK@KW      M@MM
                                                 g>5hÿ9C[CHA]                                                                                                                            -ABACDEFGAÿHIÿ/+;1                                            g>:5h
 ML8Mc8KMKM :CGG           07JJWWLL              :C^ÿ4AGGI_ÿ/AGTÿ/HIQE^Aÿ 9EHAÿ0OEQ^Aÿaÿ07JJWJXV                                                                                         JVJMaJMaMMÿ9IERSÿ-ABACDEFGAbJVJMaJMaLcÿ1RHAQBI[`ERdÿ          KMMMaMMaMKÿ*BBI\RHSÿ5EdEFGAÿ       VX@JX VfMcWfVVM@JN               VX@JX      M@MM
                                                 g>5hÿ9C[CHA]                                                                                                                            -ABACDEFGAÿHIÿ/+;1                                            g>:5h
 ML8JV8KMKM :CGG           07JJNJJV              :C^ÿ4AGGI_ÿ/AGTÿ/HIQE^Aÿ ;*+ÿgKMjh                                                                                                      JVJMaJMaMMÿ9IERSÿ-ABACDEFGAbJVJMaJMaLcÿ1RHAQBI[`ERdÿ          KMMMaMMaMKÿ*BBI\RHSÿ5EdEFGAÿ      Jcc@Ve VfMcWfcMc@cc              Jcc@Ve      M@MM
                                                 g>5hÿ9C[CHA]                                                                                                                            -ABACDEFGAÿHIÿ/+;1                                            g>:5h
 ML8JV8KMKM :CGG           07JJNJJV              :C^ÿ4AGGI_ÿ/AGTÿ/HIQE^Aÿ 6kÿ/HIQE^Aÿ-ARHÿaÿ-II[ÿlMXÿaÿKV8ML8KMKMÿ+IÿKM8MV8KMKM                                                          JVJMaJMaMMÿ9IERSÿ-ABACDEFGAbJVJMaJMaLcÿ1RHAQBI[`ERdÿ          KMMMaMMaMKÿ*BBI\RHSÿ5EdEFGAÿ      WXe@VK VfMcNfVcV@MW              WXe@VK      M@MM
                                                 g>5hÿ9C[CHA]                                                                                                                            -ABACDEFGAÿHIÿ/+;1                                            g>:5h
 MV8KL8KMKM :CGG           7EQKM+m               *4ÿ0I[[AQBCEGÿ9E_ÿ 7EQBOÿKMKMÿ5EdQIGGfÿ/IBCEGÿ0ISHSÿoÿ5EdQIGGÿYAAS                                                                      JVJMaJMaMMÿ9IERSÿ-ABACDEFGAbJVJMaJMaLcÿ1RHAQBI[`ERdÿ          KMMMMÿKMMMaMMaMMÿ*BBI\RHSÿ     JKfMcc@MM VfMWJfXLM@MW           JKfMcc@MM      M@MM
                                                 2TTCBAS                                                                                                                                 -ABACDEFGAÿHIÿ/+;1                                            5EdEFGA
 Me8MJ8KMKM :CGG           Z\Gdÿ-ARH             Y,.>ÿ+/*.>ÿ              +EC_ERÿ2TTCBAÿ-ARHÿaÿZ\GdÿKMKM                                                                                 JVJMaJMaMMÿ9IERSÿ-ABACDEFGAbJVJMaJMaLcÿ1RHAQBI[`ERdÿ          KMMMaMMaMJÿ*BBI\RHSÿ5EdEFGAÿ    XfeeN@cK VfMWefLMN@eM            XfeeN@cK      M@MM
                                                 02-52-*+12.ÿaÿ+m.                                                                                                                       -ABACDEFGAÿHIÿ/+;1                                            g+m.h
JVJMaJMaLeÿ1RHAQBI[`ERdÿ1RHAQASHÿ-ABACDEFGAÿ/+;1
 JK8LJ8KMJe ZI\QREGÿ,RHQd JNVJ                                            -ABIQ]ÿp\EQHAQGdÿCRHAQBI[`ERdÿCRHAQASHÿQABACDEFGAÿIRÿ/+;1ÿGIER                                                 JVJMaJMaMMÿ9IERSÿ-ABACDEFGAbJVJMaJMaLeÿ1RHAQBI[`ERdÿ1RHAQASHÿ a/`GCHa                         KfNMK@LL     KfNMK@LL            KfNMK@LL      M@MM
                                                                                                                                                                                         -ABACDEFGAÿ/+;1
 ML8LJ8KMJW ZI\QREGÿ,RHQd JNWe                                            -ABIQ]ÿp\EQHAQGdÿCRHAQBI[`ERdÿCRHAQASHÿQABACDEFGAÿIRÿ/+;1ÿGIER                                                 JVJMaJMaMMÿ9IERSÿ-ABACDEFGAbJVJMaJMaLeÿ1RHAQBI[`ERdÿ1RHAQASHÿ a/`GCHa                         WfJKL@Le    JJfMKX@eM            WfJKL@Le      M@MM
                                                                                                                                                                                         -ABACDEFGAÿ/+;1
 Mc8LM8KMJW ZI\QREGÿ,RHQd KMKc                                            -ABIQ]ÿp\EQHAQGdÿCRHAQBI[`ERdÿCRHAQASHÿQABACDEFGAÿIRÿ/+;1ÿGIER                                                 JVJMaJMaMMÿ9IERSÿ-ABACDEFGAbJVJMaJMaLeÿ1RHAQBI[`ERdÿ1RHAQASHÿ a/`GCHa                        JWfcLL@Le    KNfcXN@Me           JWfcLL@Le      M@MM
                                                                                                                                                                                         -ABACDEFGAÿ/+;1
 MN8LM8KMJW ZI\QREGÿ,RHQd KMLN                                            9IERÿ_CHOÿ/+;1ÿaÿ-ABIQ]ÿlKÿKMJWÿHQ\Aa\`ÿE]q@ÿHIÿCRHAQASHÿAi`ARSA8gCRBI[Ah                                      JVJMaJMaMMÿ9IERSÿ-ABACDEFGAbJVJMaJMaLeÿ1RHAQBI[`ERdÿ1RHAQASHÿ a/`GCHa                        aWfLWX@MK    KJfKeV@MX           aWfLWX@MK      M@MM
                                                                                                                                                                                         -ABACDEFGAÿ/+;1
 MN8LM8KMJW ZI\QREGÿ,RHQd KMLN                                            9IERÿ_CHOÿ/+;1ÿaÿ-ABIQ]ÿlLÿKMJWÿCRHAQASHÿAi`ARSA8gCRBI[Ah                                                      JVJMaJMaMMÿ9IERSÿ-ABACDEFGAbJVJMaJMaLeÿ1RHAQBI[`ERdÿ1RHAQASHÿ a/`GCHa                        LWfKXN@Wc    XNfXLL@NJ           LWfKXN@Wc      M@MM
                                                                                                                                                                                         -ABACDEFGAÿ/+;1
 JK8LJ8KMJW ZI\QREGÿ,RHQd KMXL                                            9IERÿ_CHOÿ/+;1ÿaÿ-ABIQ]ÿlVÿKMJWÿCRHAQASHÿAi`ARSA8gCRBI[Ah                                                      JVJMaJMaMMÿ9IERSÿ-ABACDEFGAbJVJMaJMaLeÿ1RHAQBI[`ERdÿ1RHAQASHÿ a/`GCHa                        XJfWcM@Xc   JJJfLNV@Ve           XJfWcM@Xc      M@MM
                                                                                                                                                                                         -ABACDEFGAÿ/+;1
 ML8LJ8KMJN ZI\QREGÿ,RHQd KJVK                                            9IERÿ_CHOÿ/+;1ÿaÿ-ABIQ]ÿlJÿKMJNÿCRHAQASHÿAi`ARSA8gCRBI[Ah                                                      JVJMaJMaMMÿ9IERSÿ-ABACDEFGAbJVJMaJMaLeÿ1RHAQBI[`ERdÿ1RHAQASHÿ a/`GCHa                        cVfKVe@JM   JeXfcVJ@Xe           cVfKVe@JM      M@MM
                                                                                                                                                                                         -ABACDEFGAÿ/+;1
 Mc8LM8KMJN ZI\QREGÿ,RHQd KJVL                                            9IERÿ_CHOÿ/+;1ÿaÿ-ABIQ]ÿlKÿKMJNÿCRHAQASHÿAi`ARSA8gCRBI[Ah                                                      JVJMaJMaMMÿ9IERSÿ-ABACDEFGAbJVJMaJMaLeÿ1RHAQBI[`ERdÿ1RHAQASHÿ a/`GCHa                        ecfLXN@JN   KXKfMMM@ec           ecfLXN@JN      M@MM
                                                                                                                                                                                         -ABACDEFGAÿ/+;1
 MN8LM8KMJN ZI\QREGÿ,RHQd KJVV                                            9IERÿ_CHOÿ/+;1ÿaÿ-ABIQ]ÿlLÿKMJNÿCRHAQASHÿAi`ARSA8gCRBI[Ah                                                      JVJMaJMaMMÿ9IERSÿ-ABACDEFGAbJVJMaJMaLeÿ1RHAQBI[`ERdÿ1RHAQASHÿ a/`GCHa                        WXfWVN@XJ   LLefWXM@Ke           WXfWVN@XJ      M@MM
                                                                                                                                                                                         -ABACDEFGAÿ/+;1
 MJ8JX8KMKM ZI\QREGÿ,RHQd KJVN                                            9IERÿ_CHOÿ/+;1ÿaÿ-ABIQ]ÿlVÿKMJNÿCRHAQASHÿAi`ARSA8gCRBI[Ah                                                      JVJMaJMaMMÿ9IERSÿ-ABACDEFGAbJVJMaJMaLeÿ1RHAQBI[`ERdÿ1RHAQASHÿ a/`GCHa                        NWfXJK@cL   VLcfLcK@NM           NWfXJK@cL      M@MM
                                                                                                                                                                                         -ABACDEFGAÿ/+;1
JVJMaJMaVMÿmEGHOAQÿ-IAGAR
 MX8JJ8KMJJ :CGG          0IRS\GHCR^ÿX8JK8JJ       mEGHOAQÿ-IAGAR         mAAPGdÿ0IRS\GHCR^ÿTAAÿX8JK8JJ                                                                                  JVJMaJMaMMÿ9IERSÿ-ABACDEFGAbJVJMaJMaVMÿmEGHOAQÿ-IAGAR         KMMMMÿKMMMaMMaMMÿ*BBI\RHSÿ      KfNcJ@MM     KfNcJ@MM            KfNcJ@MM      M@MM
                                                                                                                                                                                                                                                       5EdEFGA
 MX8JW8KMJJ :CGG          0IRS\GHCR^ÿX8KM8JJ       mEGHOAQÿ-IAGAR         _AAPGdÿ0IRS\GHCRÿX8JN8JJ                                                                                       JVJMaJMaMMÿ9IERSÿ-ABACDEFGAbJVJMaJMaVMÿmEGHOAQÿ-IAGAR         KMMMMÿKMMMaMMaMMÿ*BBI\RHSÿ      KfNcJ@MM     XfNKK@MM            KfNcJ@MM      M@MM
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                                                                                                                                                                                                                                      5@A@BCD
 EF8GH8GEII :JCC          0KLMNCOJLPÿF8GH8II      Q@CORDSÿ-KDCDL       0KLMNCOJLPÿF8GH8II                                                                                 ITIEUIEUEEÿ9K@LMÿ-DVDJW@BCDXITIEUIEUTEÿQ@CORDSÿ-KDCDL       GEEEEÿGEEEUEEUEEÿ*VVKNLOMÿ     GYZ[I\EE    ]Y]]^\EE             GYZ[I\EE     E\EE
                                                                                                                                                                                                                                      5@A@BCD
 E[8E^8GEII :JCC          0KLMNCOJLPÿ[8E^8II      Q@CORDSÿ-KDCDL       0KLMNCOJLPÿ[8E^8II                                                                                 ITIEUIEUEEÿ9K@LMÿ-DVDJW@BCDXITIEUIEUTEÿQ@CORDSÿ-KDCDL       GEEEEÿGEEEUEEUEEÿ*VVKNLOMÿ     GYZ[I\EE   IIY]TT\EE             GYZ[I\EE     E\EE
                                                                                                                                                                                                                                      5@A@BCD
 E[8IE8GEII :JCC          0KLMNCOJLPÿ[8IE8II      Q@CORDSÿ-KDCDL       0KLMNCOJLPÿ[8IE8II                                                                                 ITIEUIEUEEÿ9K@LMÿ-DVDJW@BCDXITIEUIEUTEÿQ@CORDSÿ-KDCDL       GEEEEÿGEEEUEEUEEÿ*VVKNLOMÿ     GYZ[I\EE   ITY]EF\EE             GYZ[I\EE     E\EE
                                                                                                                                                                                                                                      5@A@BCD
 E[8IH8GEII :JCC          0KLMNCOJLPÿ[8IH8II      Q@CORDSÿ-KDCDL       QDD_CAÿ0KLMNCOJLPÿ[8IH8II                                                                          ITIEUIEUEEÿ9K@LMÿ-DVDJW@BCDXITIEUIEUTEÿQ@CORDSÿ-KDCDL       GEEEEÿGEEEUEEUEEÿ*VVKNLOMÿ     GYZ[I\EE   IHYH[[\EE             GYZ[I\EE     E\EE
                                                                                                                                                                                                                                      5@A@BCD
 E[8GT8GEII :JCC          0KLMNCOJLPÿ[8GT8GEII    Q@CORDSÿ-KDCDL       0KLMNCOJLPÿ[8GT8GEII                                                                               ITIEUIEUEEÿ9K@LMÿ-DVDJW@BCDXITIEUIEUTEÿQ@CORDSÿ-KDCDL       GEEEEÿGEEEUEEUEEÿ*VVKNLOMÿ     GYZ[I\EE   GEYHGH\EE             GYZ[I\EE     E\EE
                                                                                                                                                                                                                                      5@A@BCD
 EH8EI8GEII :JCC          0KLMNCOJLPÿH8I8II       Q@CORDSÿ-KDCDL       0KLMNCOJLPÿH8I8II                                                                                  ITIEUIEUEEÿ9K@LMÿ-DVDJW@BCDXITIEUIEUTEÿQ@CORDSÿ-KDCDL       GEEEEÿGEEEUEEUEEÿ*VVKNLOMÿ     GYZ[I\EE   G^Y[]]\EE             GYZ[I\EE     E\EE
                                                                                                                                                                                                                                      5@A@BCD
 EH8IG8GEII :JCC          0KLMNCOJLPÿH8]8GEII     Q@CORDSÿ-KDCDL       0KLMNCOJLPÿH8]8GEII                                                                                ITIEUIEUEEÿ9K@LMÿ-DVDJW@BCDXITIEUIEUTEÿQ@CORDSÿ-KDCDL       GEEEEÿGEEEUEEUEEÿ*VVKNLOMÿ     GYZ[I\EE   G[Y[TZ\EE             GYZ[I\EE     E\EE
                                                                                                                                                                                                                                      5@A@BCD
 EH8IF8GEII :JCC          0KLMNCOJLPÿH8IF8II      Q@CORDSÿ-KDCDL       0KLMNCOJLPÿH8IF8II                                                                                 ITIEUIEUEEÿ9K@LMÿ-DVDJW@BCDXITIEUIEUTEÿQ@CORDSÿ-KDCDL       GEEEEÿGEEEUEEUEEÿ*VVKNLOMÿ     GYZ[I\EE   GZY[IE\EE             GYZ[I\EE     E\EE
                                                                                                                                                                                                                                      5@A@BCD
 EH8GG8GEII :JCC          0KLMNCOJLPÿH8GG8II      Q@CORDSÿ-KDCDL       0KLMNCOJLPÿH8GG8II                                                                                 ITIEUIEUEEÿ9K@LMÿ-DVDJW@BCDXITIEUIEUTEÿQ@CORDSÿ-KDCDL       GEEEEÿGEEEUEEUEEÿ*VVKNLOMÿ     GYZ[I\EE   ^GYFHI\EE             GYZ[I\EE     E\EE
                                                                                                                                                                                                                                      5@A@BCD
 EH8GZ8GEII :JCC          0KLMNCOJLPÿH8GZ8II      Q@CORDSÿ-KDCDL       0KLMNCOJLPÿH8GZ8II                                                                                 ITIEUIEUEEÿ9K@LMÿ-DVDJW@BCDXITIEUIEUTEÿQ@CORDSÿ-KDCDL       GEEEEÿGEEEUEEUEEÿ*VVKNLOMÿ     GYZ[I\EE   ^FYF^G\EE             GYZ[I\EE     E\EE
                                                                                                                                                                                                                                      5@A@BCD
 E]8EF8GEII :JCC          0KLMNCOJLPÿ]8F8II       Q@CORDSÿ-KDCDL       0KLMNCOJLPÿ]8F8II                                                                                  ITIEUIEUEEÿ9K@LMÿ-DVDJW@BCDXITIEUIEUTEÿQ@CORDSÿ-KDCDL       GEEEEÿGEEEUEEUEEÿ*VVKNLOMÿ     GYZ[I\EE   ^]YTZ^\EE             GYZ[I\EE     E\EE
                                                                                                                                                                                                                                      5@A@BCD
 E]8IG8GEII :JCC          0KLMNCOJLPÿ]8IG8II      Q@CORDSÿ-KDCDL       0KLMNCOJLPÿ]8IG8II                                                                                 ITIEUIEUEEÿ9K@LMÿ-DVDJW@BCDXITIEUIEUTEÿQ@CORDSÿ-KDCDL       GEEEEÿGEEEUEEUEEÿ*VVKNLOMÿ     GYZ[I\EE   TIYTFT\EE             GYZ[I\EE     E\EE
                                                                                                                                                                                                                                      5@A@BCD
 E]8IZ8GEII :JCC          0KLMNCOJLPÿ]8IZ8II      Q@CORDSÿ-KDCDL       0KLMNCOJLPÿ]8IZ8II                                                                                 ITIEUIEUEEÿ9K@LMÿ-DVDJW@BCDXITIEUIEUTEÿQ@CORDSÿ-KDCDL       GEEEEÿGEEEUEEUEEÿ*VVKNLOMÿ     GYZ[I\EE   TTYTIF\EE             GYZ[I\EE     E\EE
                                                                                                                                                                                                                                      5@A@BCD
 E]8G[8GEII :JCC          0KLMNCOJLPÿ*NPÿG[YII    Q@CORDSÿ-KDCDL       0KLMNCOJLPÿ*NPÿG[YII                                                                               ITIEUIEUEEÿ9K@LMÿ-DVDJW@BCDXITIEUIEUTEÿQ@CORDSÿ-KDCDL       GEEEEÿGEEEUEEUEEÿ*VVKNLOMÿ     GYZ[I\EE   THY^H[\EE             GYZ[I\EE     E\EE
                                                                                                                                                                                                                                      5@A@BCD
 EZ8EG8GEII :JCC          0KLMNCOJLPÿ/D`ÿGYII     Q@CORDSÿ-KDCDL       0KLMNCOJLPÿ/D`ÿGYII                                                                                ITIEUIEUEEÿ9K@LMÿ-DVDJW@BCDXITIEUIEUTEÿQ@CORDSÿ-KDCDL       GEEEEÿGEEEUEEUEEÿ*VVKNLOMÿ     GYZ[I\EE   FEY^^H\EE             GYZ[I\EE     E\EE
                                                                                                                                                                                                                                      5@A@BCD
 EZ8EZ8GEII :JCC          0KLMNCOJLPÿZ8Z8II       Q@CORDSÿ-KDCDL       0KLMNCOJLPÿZ8Z8II                                                                                  ITIEUIEUEEÿ9K@LMÿ-DVDJW@BCDXITIEUIEUTEÿQ@CORDSÿ-KDCDL       GEEEEÿGEEEUEEUEEÿ*VVKNLOMÿ     GYZ[I\EE   F^YGZ]\EE             GYZ[I\EE     E\EE
                                                                                                                                                                                                                                      5@A@BCD
 EZ8I[8GEII :JCC          0KLMNCOJLPÿZ8I[8II      Q@CORDSÿ-KDCDL       0KLMNCOJLPÿZ8I[8II                                                                                 ITIEUIEUEEÿ9K@LMÿ-DVDJW@BCDXITIEUIEUTEÿQ@CORDSÿ-KDCDL       GEEEEÿGEEEUEEUEEÿ*VVKNLOMÿ     GYZ[I\EE   F[YGFZ\EE             GYZ[I\EE     E\EE
                                                                                                                                                                                                                                      5@A@BCD
 EZ8G^8GEII :JCC          0KLMNCOJLPÿZ8G^8II      Q@CORDSÿ-KDCDL       0KLMNCOJLPÿZ8G^8II                                                                                 ITIEUIEUEEÿ9K@LMÿ-DVDJW@BCDXITIEUIEUTEÿQ@CORDSÿ-KDCDL       GEEEEÿGEEEUEEUEEÿ*VVKNLOMÿ     GYZ[I\EE   FZYGGE\EE             GYZ[I\EE     E\EE
                                                                                                                                                                                                                                      5@A@BCD
 EZ8^E8GEII :JCC          0KLMNCOJLPÿZ8^E8II      Q@CORDSÿ-KDCDL       0KLMNCOJLPÿZ8^E8II                                                                                 ITIEUIEUEEÿ9K@LMÿ-DVDJW@BCDXITIEUIEUTEÿQ@CORDSÿ-KDCDL       GEEEEÿGEEEUEEUEEÿ*VVKNLOMÿ     GYZ[I\EE   [GYI]I\EE             GYZ[I\EE     E\EE
                                                                                                                                                                                                                                      5@A@BCD
 IE8II8GEII :JCC          0KLMNCOJLPÿIE8II8II     Q@CORDSÿ-KDCDL       0KLMNCOJLPÿIE8II8II                                                                                ITIEUIEUEEÿ9K@LMÿ-DVDJW@BCDXITIEUIEUTEÿQ@CORDSÿ-KDCDL       GEEEEÿGEEEUEEUEEÿ*VVKNLOMÿ     GYZ[I\EE   [FYITG\EE             GYZ[I\EE     E\EE
                                                                                                                                                                                                                                      5@A@BCD
 EF8^I8GEIG aKNSL@Cÿ,LOSA II^                                          -DVC@MMÿGEIIÿ/DD0NBJVÿ̀AbOMÿOKÿVKLMKCJc@ODÿJLOKÿKLDÿCK@Lÿ@VVO                                      ITIEUIEUEEÿ9K@LMÿ-DVDJW@BCDXITIEUIEUTEÿQ@CORDSÿ-KDCDL       U/`CJOU                      U[FYITG\EE        E\EE           U[FYITG\EE     E\EE
ITIEUIEUFEÿ*\d\e:S@bfÿ-JDbDLM
 EF8II8GEII :JCC           0KLMNCOJLPÿF8IG8II     *\d\e:S@bfÿ-JDbDLM   QDD_CAÿ0KLMNCOJLPÿgDDÿF8IG8II                                                                      ITIEUIEUEEÿ9K@LMÿ-DVDJW@BCDXITIEUIEUFEÿ*\d\e:S@bfÿ-JDbDLM   GEEEEÿGEEEUEEUEEÿ*VVKNLOMÿ    IYZGF\EE     IYZGF\EE            IYZGF\EE      E\EE
                                                                                                                                                                                                                                      5@A@BCD
 EF8I]8GEII :JCC           0KLMNCOJLPÿF8GE8II     *\d\e:S@bfÿ-JDbDLM   hDD_CAÿ0KLMNCOJLPÿF8IZ8II                                                                          ITIEUIEUEEÿ9K@LMÿ-DVDJW@BCDXITIEUIEUFEÿ*\d\e:S@bfÿ-JDbDLM   GEEEEÿGEEEUEEUEEÿ*VVKNLOMÿ    IYZGF\EE     ^Y]FE\EE            IYZGF\EE      E\EE
                                                                                                                                                                                                                                      5@A@BCD
 EF8GH8GEII :JCC           0KLMNCOJLPÿF8GH8II     *\d\e:S@bfÿ-JDbDLM   0KLMNCOJLPÿF8GH8II                                                                                 ITIEUIEUEEÿ9K@LMÿ-DVDJW@BCDXITIEUIEUFEÿ*\d\e:S@bfÿ-JDbDLM   GEEEEÿGEEEUEEUEEÿ*VVKNLOMÿ    IYZGF\EE     FYHHF\EE            IYZGF\EE      E\EE
                                                                                                                                                                                                                                      5@A@BCD
 E[8E^8GEII :JCC           0KLMNCOJLPÿ[8E^8II     *\d\e:S@bfÿ-JDbDLM   0KLMNCOJLPÿ[8E^8II                                                                                 ITIEUIEUEEÿ9K@LMÿ-DVDJW@BCDXITIEUIEUFEÿ*\d\e:S@bfÿ-JDbDLM   GEEEEÿGEEEUEEUEEÿ*VVKNLOMÿ    IYZGF\EE     HYHEE\EE            IYZGF\EE      E\EE
                                                                                                                                                                                                                                      5@A@BCD
 E[8IE8GEII :JCC           0KLMNCOJLPÿ[8IE8II     *\d\e:S@bfÿ-JDbDLM   0KLMNCOJLPÿ[8IE8II                                                                                 ITIEUIEUEEÿ9K@LMÿ-DVDJW@BCDXITIEUIEUFEÿ*\d\e:S@bfÿ-JDbDLM   GEEEEÿGEEEUEEUEEÿ*VVKNLOMÿ    IYZGF\EE     ZY[GF\EE            IYZGF\EE      E\EE
                                                                                                                                                                                                                                      5@A@BCD
 E[8IH8GEII :JCC           0KLMNCOJLPÿ[8IH8II     *\d\e:S@bfÿ-JDbDLM   QDD_CAÿ0KLMNCOJLPÿ[8IE8II                                                                          ITIEUIEUEEÿ9K@LMÿ-DVDJW@BCDXITIEUIEUFEÿ*\d\e:S@bfÿ-JDbDLM   GEEEEÿGEEEUEEUEEÿ*VVKNLOMÿ    IYZGF\EE    IIYFFE\EE            IYZGF\EE      E\EE
                                                                                                                                                                                                                                      5@A@BCD
 E[8GT8GEII :JCC           0KLMNCOJLPÿ[8GT8GEII   *\d\e:S@bfÿ-JDbDLM   0KLMNCOJLPÿ[8GT8GEII                                                                               ITIEUIEUEEÿ9K@LMÿ-DVDJW@BCDXITIEUIEUFEÿ*\d\e:S@bfÿ-JDbDLM   GEEEEÿGEEEUEEUEEÿ*VVKNLOMÿ    IYZGF\EE    I^YTHF\EE            IYZGF\EE      E\EE
                                                                                                                                                                                                                                      5@A@BCD
 EH8EI8GEII :JCC           0KLMNCOJLPÿH8I8II      *\d\e:S@bfÿ-JDbDLM   0KLMNCOJLPÿH8I8II                                                                                  ITIEUIEUEEÿ9K@LMÿ-DVDJW@BCDXITIEUIEUFEÿ*\d\e:S@bfÿ-JDbDLM   GEEEEÿGEEEUEEUEEÿ*VVKNLOMÿ    IYZGF\EE    IFYTEE\EE            IYZGF\EE      E\EE
                                                                                                                                                                                                                                      5@A@BCD
 EH8IG8GEII :JCC           0KLMNCOJLPÿH8]8GEII    *\d\e:S@bfÿ-JDbDLM   0KLMNCOJLPÿH8]8GEII                                                                                ITIEUIEUEEÿ9K@LMÿ-DVDJW@BCDXITIEUIEUFEÿ*\d\e:S@bfÿ-JDbDLM   GEEEEÿGEEEUEEUEEÿ*VVKNLOMÿ    IYZGF\EE    IHY^GF\EE            IYZGF\EE      E\EE
                                                                                                                                                                                                                                      5@A@BCD
 EH8IF8GEII :JCC           0KLMNCOJLPÿH8IF8II     *\d\e:S@bfÿ-JDbDLM   0KLMNCOJLPÿH8IF8II                                                                                 ITIEUIEUEEÿ9K@LMÿ-DVDJW@BCDXITIEUIEUFEÿ*\d\e:S@bfÿ-JDbDLM   GEEEEÿGEEEUEEUEEÿ*VVKNLOMÿ    IYZGF\EE    IZYGFE\EE            IYZGF\EE      E\EE
                                                                                                                                                                                                                                      5@A@BCD
 EH8GG8GEII :JCC           0KLMNCOJLPÿH8GG8II     *\d\e:S@bfÿ-JDbDLM   0KLMNCOJLPÿH8GG8II                                                                                 ITIEUIEUEEÿ9K@LMÿ-DVDJW@BCDXITIEUIEUFEÿ*\d\e:S@bfÿ-JDbDLM   GEEEEÿGEEEUEEUEEÿ*VVKNLOMÿ    IYZGF\EE    GIYIHF\EE            IYZGF\EE      E\EE
                                                                                                                                                                                                                                      5@A@BCD
 EH8GZ8GEII :JCC           0KLMNCOJLPÿH8GZ8II     *\d\e:S@bfÿ-JDbDLM   0KLMNCOJLPÿH8GZ8II                                                                                 ITIEUIEUEEÿ9K@LMÿ-DVDJW@BCDXITIEUIEUFEÿ*\d\e:S@bfÿ-JDbDLM   GEEEEÿGEEEUEEUEEÿ*VVKNLOMÿ    IYZGF\EE    G^YIEE\EE            IYZGF\EE      E\EE
                                                                                                                                                                                                                                      5@A@BCD
 E]8EF8GEII :JCC           0KLMNCOJLPÿ]8F8II      *\d\e:S@bfÿ-JDbDLM   0KLMNCOJLPÿ]8F8II                                                                                  ITIEUIEUEEÿ9K@LMÿ-DVDJW@BCDXITIEUIEUFEÿ*\d\e:S@bfÿ-JDbDLM   GEEEEÿGEEEUEEUEEÿ*VVKNLOMÿ    IYZGF\EE    GFYEGF\EE            IYZGF\EE      E\EE
                                                                                                                                                                                                                                      5@A@BCD
 E]8IG8GEII :JCC           0KLMNCOJLPÿ]8IG8II     *\d\e:S@bfÿ-JDbDLM   0KLMNCOJLPÿ]8IG8II                                                                                 ITIEUIEUEEÿ9K@LMÿ-DVDJW@BCDXITIEUIEUFEÿ*\d\e:S@bfÿ-JDbDLM   GEEEEÿGEEEUEEUEEÿ*VVKNLOMÿ    IYZGF\EE    G[YZFE\EE            IYZGF\EE      E\EE
                                                                                                                                                                                                                                      5@A@BCD
 E]8IZ8GEII :JCC           0KLMNCOJLPÿ]8IZ8II     *\d\e:S@bfÿ-JDbDLM   0KLMNCOJLPÿ]8IZ8II                                                                                 ITIEUIEUEEÿ9K@LMÿ-DVDJW@BCDXITIEUIEUFEÿ*\d\e:S@bfÿ-JDbDLM   GEEEEÿGEEEUEEUEEÿ*VVKNLOMÿ    IYZGF\EE    G]Y]HF\EE            IYZGF\EE      E\EE
                                                                                                                                                                                                                                      5@A@BCD
 E]8G[8GEII :JCC           0KLMNCOJLPÿ*NPÿG[YII   *\d\e:S@bfÿ-JDbDLM   0KLMNCOJLPÿ*NPÿG[YII                                                                               ITIEUIEUEEÿ9K@LMÿ-DVDJW@BCDXITIEUIEUFEÿ*\d\e:S@bfÿ-JDbDLM   GEEEEÿGEEEUEEUEEÿ*VVKNLOMÿ    IYZGF\EE    ^EY]EE\EE            IYZGF\EE      E\EE
                                                                                                                                                                                                                                      5@A@BCD
 EZ8EG8GEII :JCC           0KLMNCOJLPÿ/D`ÿGYII    *\d\e:S@bfÿ-JDbDLM   0KLMNCOJLPÿ/D`ÿGYII                                                                                ITIEUIEUEEÿ9K@LMÿ-DVDJW@BCDXITIEUIEUFEÿ*\d\e:S@bfÿ-JDbDLM   GEEEEÿGEEEUEEUEEÿ*VVKNLOMÿ    IYZGF\EE    ^GYHGF\EE            IYZGF\EE      E\EE
                                                                                                                                                                                                                                      5@A@BCD
 EZ8EZ8GEII :JCC           0KLMNCOJLPÿZ8Z8II      *\d\e:S@bfÿ-JDbDLM   0KLMNCOJLPÿZ8Z8II                                                                                  ITIEUIEUEEÿ9K@LMÿ-DVDJW@BCDXITIEUIEUFEÿ*\d\e:S@bfÿ-JDbDLM   GEEEEÿGEEEUEEUEEÿ*VVKNLOMÿ    IYZGF\EE    ^TY[FE\EE            IYZGF\EE      E\EE
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 @A8BC8D@BB :EFF          0GHIJFKEHLÿA8BC8BB       *MNMO:PQRSÿ-ETRTHI    0GHIJFKEHLÿA8BC8BB                                                                                 BUB@VB@V@@ÿ9GQHIÿ-TWTEXQYFTZBUB@VB@V[@ÿ*MNMO:PQRSÿ-ETRTHI    D@@@@ÿD@@@V@@V@@ÿ*WWGJHKIÿ     B]AD[M@@   ^C][_[M@@             B]AD[M@@     @M@@
                                                                                                                                                                                                                                         5Q\QYFT
 @A8D^8D@BB :EFF          0GHIJFKEHLÿA8D^8BB       *MNMO:PQRSÿ-ETRTHI    0GHIJFKEHLÿA8D^8BB                                                                                 BUB@VB@V@@ÿ9GQHIÿ-TWTEXQYFTZBUB@VB@V[@ÿ*MNMO:PQRSÿ-ETRTHI    D@@@@ÿD@@@V@@V@@ÿ*WWGJHKIÿ     B]AD[M@@   ^`][@@M@@             B]AD[M@@     @M@@
                                                                                                                                                                                                                                         5Q\QYFT
 @A8^@8D@BB :EFF          0GHIJFKEHLÿA8^@8BB       *MNMO:PQRSÿ-ETRTHI    0GHIJFKEHLÿA8^@8BB                                                                                 BUB@VB@V@@ÿ9GQHIÿ-TWTEXQYFTZBUB@VB@V[@ÿ*MNMO:PQRSÿ-ETRTHI    D@@@@ÿD@@@V@@V@@ÿ*WWGJHKIÿ     B]AD[M@@   U@]UD[M@@             B]AD[M@@     @M@@
                                                                                                                                                                                                                                         5Q\QYFT
 B@8BB8D@BB :EFF          0GHIJFKEHLÿB@8BB8BB      *MNMO:PQRSÿ-ETRTHI    0GHIJFKEHLÿB@8BB8BB                                                                                BUB@VB@V@@ÿ9GQHIÿ-TWTEXQYFTZBUB@VB@V[@ÿ*MNMO:PQRSÿ-ETRTHI    D@@@@ÿD@@@V@@V@@ÿ*WWGJHKIÿ     B]AD[M@@   UD]^[@M@@             B]AD[M@@     @M@@
                                                                                                                                                                                                                                         5Q\QYFT
 @[8^B8D@BD aGJPHQFÿ,HKP\ BB^                                            -TWFQIIÿD@BBÿ/TT0JYEWÿb\RKIÿKGÿWGHIGFEcQKTÿEHKGÿGHTÿFGQHÿQWWK                                      BUB@VB@V@@ÿ9GQHIÿ-TWTEXQYFTZBUB@VB@V[@ÿ*MNMO:PQRSÿ-ETRTHI    V/bFEKV                      VUD]^[@M@@        @M@@           VUD]^[@M@@     @M@@
BUB@VB@VC@ÿ=QHIÿ?JEcTRQ
 @[8BB8D@BB :EFF          0GHIJFKEHLÿ[8BD8BB       =QHIÿ?JEcTRQ          dTTeF\ÿ0GHIJFKEHLÿfTTIÿ[8BD8BB                                                                     BUB@VB@V@@ÿ9GQHIÿ-TWTEXQYFTZBUB@VB@VC@ÿ=QHIÿ?JEcTRQ          D@@@@ÿD@@@V@@V@@ÿ*WWGJHKIÿ     D]ACBM@@    D]ACBM@@             D]ACBM@@     @M@@
                                                                                                                                                                                                                                         5Q\QYFT
 @[8B`8D@BB :EFF          0GHIJFKEHLÿ[8D@8BB       =QHIÿ?JEcTRQ          gTTeF\ÿ0GHIJFKEHÿ[8BA8BB                                                                           BUB@VB@V@@ÿ9GQHIÿ-TWTEXQYFTZBUB@VB@VC@ÿ=QHIÿ?JEcTRQ          D@@@@ÿD@@@V@@V@@ÿ*WWGJHKIÿ     D]ACBM@@    []ADDM@@             D]ACBM@@     @M@@
                                                                                                                                                                                                                                         5Q\QYFT
 @[8D_8D@BB :EFF          0GHIJFKEHLÿ[8D_8BB       =QHIÿ?JEcTRQ          0GHIJFKEHLÿ[8D_8BB                                                                                 BUB@VB@V@@ÿ9GQHIÿ-TWTEXQYFTZBUB@VB@VC@ÿ=QHIÿ?JEcTRQ          D@@@@ÿD@@@V@@V@@ÿ*WWGJHKIÿ     D]ACBM@@    `]``^M@@             D]ACBM@@     @M@@
                                                                                                                                                                                                                                         5Q\QYFT
 @C8@^8D@BB :EFF          0GHIJFKEHLÿC8@^8BB       =QHIÿ?JEcTRQ          0GHIJFKEHLÿC8@^8BB                                                                                 BUB@VB@V@@ÿ9GQHIÿ-TWTEXQYFTZBUB@VB@VC@ÿ=QHIÿ?JEcTRQ          D@@@@ÿD@@@V@@V@@ÿ*WWGJHKIÿ     D]ACBM@@   BB]`UUM@@             D]ACBM@@     @M@@
                                                                                                                                                                                                                                         5Q\QYFT
 @C8B@8D@BB :EFF          0GHIJFKEHLÿC8B@8BB       =QHIÿ?JEcTRQ          0GHIJFKEHLÿC8B@8BB                                                                                 BUB@VB@V@@ÿ9GQHIÿ-TWTEXQYFTZBUB@VB@VC@ÿ=QHIÿ?JEcTRQ          D@@@@ÿD@@@V@@V@@ÿ*WWGJHKIÿ     D]ACBM@@   BU]`@[M@@             D]ACBM@@     @M@@
                                                                                                                                                                                                                                         5Q\QYFT
 @C8B_8D@BB :EFF          0GHIJFKEHLÿC8B_8BB       =QHIÿ?JEcTRQ          dTTeF\ÿ0GHIJFKEHLÿC8B_8BB                                                                          BUB@VB@V@@ÿ9GQHIÿ-TWTEXQYFTZBUB@VB@VC@ÿ=QHIÿ?JEcTRQ          D@@@@ÿD@@@V@@V@@ÿ*WWGJHKIÿ     D]ACBM@@   B_]_CCM@@             D]ACBM@@     @M@@
                                                                                                                                                                                                                                         5Q\QYFT
 @C8DU8D@BB :EFF          0GHIJFKEHLÿC8DU8D@BB     =QHIÿ?JEcTRQ          0GHIJFKEHLÿC8DU8D@BB                                                                               BUB@VB@V@@ÿ9GQHIÿ-TWTEXQYFTZBUB@VB@VC@ÿ=QHIÿ?JEcTRQ          D@@@@ÿD@@@V@@V@@ÿ*WWGJHKIÿ     D]ACBM@@   D@]_D_M@@             D]ACBM@@     @M@@
                                                                                                                                                                                                                                         5Q\QYFT
 @_8@B8D@BB :EFF          0GHIJFKEHLÿ_8B8BB        =QHIÿ?JEcTRQ          0GHIJFKEHLÿ_8B8BB                                                                                  BUB@VB@V@@ÿ9GQHIÿ-TWTEXQYFTZBUB@VB@VC@ÿ=QHIÿ?JEcTRQ          D@@@@ÿD@@@V@@V@@ÿ*WWGJHKIÿ     D]ACBM@@   D^]C``M@@             D]ACBM@@     @M@@
                                                                                                                                                                                                                                         5Q\QYFT
 @_8BD8D@BB :EFF          0GHIJFKEHLÿ_8̀8D@BB      =QHIÿ?JEcTRQ          0GHIJFKEHLÿ_8̀8D@BB                                                                                BUB@VB@V@@ÿ9GQHIÿ-TWTEXQYFTZBUB@VB@VC@ÿ=QHIÿ?JEcTRQ          D@@@@ÿD@@@V@@V@@ÿ*WWGJHKIÿ     D]ACBM@@   DC]CUAM@@             D]ACBM@@     @M@@
                                                                                                                                                                                                                                         5Q\QYFT
 @_8B[8D@BB :EFF          0GHIJFKEHLÿ_8B[8BB       =QHIÿ?JEcTRQ          0GHIJFKEHLÿ_8B[8BB                                                                                 BUB@VB@V@@ÿ9GQHIÿ-TWTEXQYFTZBUB@VB@VC@ÿ=QHIÿ?JEcTRQ          D@@@@ÿD@@@V@@V@@ÿ*WWGJHKIÿ     D]ACBM@@   DA]CB@M@@             D]ACBM@@     @M@@
                                                                                                                                                                                                                                         5Q\QYFT
 @_8DD8D@BB :EFF          0GHIJFKEHLÿ_8DD8BB       =QHIÿ?JEcTRQ          0GHIJFKEHLÿ_8DD8BB                                                                                 BUB@VB@V@@ÿ9GQHIÿ-TWTEXQYFTZBUB@VB@VC@ÿ=QHIÿ?JEcTRQ          D@@@@ÿD@@@V@@V@@ÿ*WWGJHKIÿ     D]ACBM@@   ^D][_BM@@             D]ACBM@@     @M@@
                                                                                                                                                                                                                                         5Q\QYFT
 @_8DA8D@BB :EFF          0GHIJFKEHLÿ_8DA8BB       =QHIÿ?JEcTRQ          0GHIJFKEHLÿ_8DA8BB                                                                                 BUB@VB@V@@ÿ9GQHIÿ-TWTEXQYFTZBUB@VB@VC@ÿ=QHIÿ?JEcTRQ          D@@@@ÿD@@@V@@V@@ÿ*WWGJHKIÿ     D]ACBM@@   ^[][^DM@@             D]ACBM@@     @M@@
                                                                                                                                                                                                                                         5Q\QYFT
 @`8@[8D@BB :EFF          0GHIJFKEHLÿ̀8[8BB        =QHIÿ?JEcTRQ          0GHIJFKEHLÿ̀8[8BB                                                                                  BUB@VB@V@@ÿ9GQHIÿ-TWTEXQYFTZBUB@VB@VC@ÿ=QHIÿ?JEcTRQ          D@@@@ÿD@@@V@@V@@ÿ*WWGJHKIÿ     D]ACBM@@   ^`]UA^M@@             D]ACBM@@     @M@@
                                                                                                                                                                                                                                         5Q\QYFT
 @`8BD8D@BB :EFF          0GHIJFKEHLÿ̀8BD8BB       =QHIÿ?JEcTRQ          0GHIJFKEHLÿ̀8BD8BB                                                                                 BUB@VB@V@@ÿ9GQHIÿ-TWTEXQYFTZBUB@VB@VC@ÿ=QHIÿ?JEcTRQ          D@@@@ÿD@@@V@@V@@ÿ*WWGJHKIÿ     D]ACBM@@   UB]U[UM@@             D]ACBM@@     @M@@
                                                                                                                                                                                                                                         5Q\QYFT
 @`8BA8D@BB :EFF          0GHIJFKEHLÿ̀8BA8BB       =QHIÿ?JEcTRQ          0GHIJFKEHLÿ̀8BA8BB                                                                                 BUB@VB@V@@ÿ9GQHIÿ-TWTEXQYFTZBUB@VB@VC@ÿ=QHIÿ?JEcTRQ          D@@@@ÿD@@@V@@V@@ÿ*WWGJHKIÿ     D]ACBM@@   UU]UB[M@@             D]ACBM@@     @M@@
                                                                                                                                                                                                                                         5Q\QYFT
 @`8DC8D@BB :EFF          0GHIJFKEHLÿ*JLÿDC]BB     =QHIÿ?JEcTRQ          0GHIJFKEHLÿ*JLÿDC]BB                                                                               BUB@VB@V@@ÿ9GQHIÿ-TWTEXQYFTZBUB@VB@VC@ÿ=QHIÿ?JEcTRQ          D@@@@ÿD@@@V@@V@@ÿ*WWGJHKIÿ     D]ACBM@@   U_]^_CM@@             D]ACBM@@     @M@@
                                                                                                                                                                                                                                         5Q\QYFT
 @A8@D8D@BB :EFF          0GHIJFKEHLÿ/TbÿD]BB      =QHIÿ?JEcTRQ          0GHIJFKEHLÿ/TbÿD]BB                                                                                BUB@VB@V@@ÿ9GQHIÿ-TWTEXQYFTZBUB@VB@VC@ÿ=QHIÿ?JEcTRQ          D@@@@ÿD@@@V@@V@@ÿ*WWGJHKIÿ     D]ACBM@@   [@]^^_M@@             D]ACBM@@     @M@@
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 @A8@A8D@BB :EFF          0GHIJFKEHLÿA8A8BB        =QHIÿ?JEcTRQ          0GHIJFKEHLÿA8A8BB                                                                                  BUB@VB@V@@ÿ9GQHIÿ-TWTEXQYFTZBUB@VB@VC@ÿ=QHIÿ?JEcTRQ          D@@@@ÿD@@@V@@V@@ÿ*WWGJHKIÿ     D]ACBM@@   [^]DA`M@@             D]ACBM@@     @M@@
                                                                                                                                                                                                                                         5Q\QYFT
 @A8BC8D@BB :EFF          0GHIJFKEHLÿA8BC8BB       =QHIÿ?JEcTRQ          0GHIJFKEHLÿA8BC8BB                                                                                 BUB@VB@V@@ÿ9GQHIÿ-TWTEXQYFTZBUB@VB@VC@ÿ=QHIÿ?JEcTRQ          D@@@@ÿD@@@V@@V@@ÿ*WWGJHKIÿ     D]ACBM@@   [C]D[AM@@             D]ACBM@@     @M@@
                                                                                                                                                                                                                                         5Q\QYFT
 @A8D^8D@BB :EFF          0GHIJFKEHLÿA8D^8BB       =QHIÿ?JEcTRQ          0GHIJFKEHLÿA8D^8BB                                                                                 BUB@VB@V@@ÿ9GQHIÿ-TWTEXQYFTZBUB@VB@VC@ÿ=QHIÿ?JEcTRQ          D@@@@ÿD@@@V@@V@@ÿ*WWGJHKIÿ     D]ACBM@@   [A]DD@M@@             D]ACBM@@     @M@@
                                                                                                                                                                                                                                         5Q\QYFT
 @A8^@8D@BB :EFF          0GHIJFKEHLÿA8^@8BB       =QHIÿ?JEcTRQ          0GHIJFKEHLÿA8^@8BB                                                                                 BUB@VB@V@@ÿ9GQHIÿ-TWTEXQYFTZBUB@VB@VC@ÿ=QHIÿ?JEcTRQ          D@@@@ÿD@@@V@@V@@ÿ*WWGJHKIÿ     D]ACBM@@   CD]B`BM@@             D]ACBM@@     @M@@
                                                                                                                                                                                                                                         5Q\QYFT
 B@8BB8D@BB :EFF          0GHIJFKEHLÿB@8BB8BB      =QHIÿ?JEcTRQ          0GHIJFKEHLÿB@8BB8BB                                                                                BUB@VB@V@@ÿ9GQHIÿ-TWTEXQYFTZBUB@VB@VC@ÿ=QHIÿ?JEcTRQ          D@@@@ÿD@@@V@@V@@ÿ*WWGJHKIÿ     D]ACBM@@   C[]BUDM@@             D]ACBM@@     @M@@
                                                                                                                                                                                                                                         5Q\QYFT
 @[8^B8D@BD aGJPHQFÿ,HKP\ BB^                                            -TWFQIIÿD@BBÿ/TT0JYEWÿb\RKIÿKGÿWGHIGFEcQKTÿEHKGÿGHTÿFGQHÿQWWK                                      BUB@VB@V@@ÿ9GQHIÿ-TWTEXQYFTZBUB@VB@VC@ÿ=QHIÿ?JEcTRQ          V/bFEKV                      VC[]BUDM@@        @M@@           VC[]BUDM@@     @M@@
BUB@VB@V_@ÿ>PQhEHQÿ/TIeTXWEJKT
 @_8@`8D@BB :EFF            0GHIJFKEHLÿ_8̀8D@BB    >PQhEHQÿ/TIeTXWEJKT   0GHIJFKEHLÿ_8̀8D@BB                                                                                BUB@VB@V@@ÿ9GQHIÿ-TWTEXQYFTZBUB@VB@V_@ÿ>PQhEHQÿ/TIeTXWEJKT   D@@@@ÿD@@@V@@V@@ÿ*WWGJHKIÿ    B]ADDM@@     B]ADDM@@            B]ADDM@@      @M@@
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 @_8B[8D@BB :EFF            0GHIJFKEHLÿ_8B[8BB     >PQhEHQÿ/TIeTXWEJKT   0GHIJFKEHLÿ_8B[8BB                                                                                 BUB@VB@V@@ÿ9GQHIÿ-TWTEXQYFTZBUB@VB@V_@ÿ>PQhEHQÿ/TIeTXWEJKT   D@@@@ÿD@@@V@@V@@ÿ*WWGJHKIÿ    B]ADDM@@     ^]`UUM@@            B]ADDM@@      @M@@
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 @_8DD8D@BB :EFF            0GHIJFKEHLÿ_8DD8BB     >PQhEHQÿ/TIeTXWEJKT   0GHIJFKEHLÿ_8DD8BB                                                                                 BUB@VB@V@@ÿ9GQHIÿ-TWTEXQYFTZBUB@VB@V_@ÿ>PQhEHQÿ/TIeTXWEJKT   D@@@@ÿD@@@V@@V@@ÿ*WWGJHKIÿ    B]ADDM@@     []_CCM@@            B]ADDM@@      @M@@
                                                                                                                                                                                                                                         5Q\QYFT
 @_8DA8D@BB :EFF            0GHIJFKEHLÿ_8DA8BB     >PQhEHQÿ/TIeTXWEJKT   0GHIJFKEHLÿ_8DA8BB                                                                                 BUB@VB@V@@ÿ9GQHIÿ-TWTEXQYFTZBUB@VB@V_@ÿ>PQhEHQÿ/TIeTXWEJKT   D@@@@ÿD@@@V@@V@@ÿ*WWGJHKIÿ    B]ADDM@@     _]C``M@@            B]ADDM@@      @M@@
                                                                                                                                                                                                                                         5Q\QYFT
 @`8@[8D@BB :EFF            0GHIJFKEHLÿ̀8[8BB      >PQhEHQÿ/TIeTXWEJKT   0GHIJFKEHLÿ̀8[8BB                                                                                  BUB@VB@V@@ÿ9GQHIÿ-TWTEXQYFTZBUB@VB@V_@ÿ>PQhEHQÿ/TIeTXWEJKT   D@@@@ÿD@@@V@@V@@ÿ*WWGJHKIÿ    B]ADDM@@     A]CB@M@@            B]ADDM@@      @M@@
                                                                                                                                                                                                                                         5Q\QYFT
 @`8BD8D@BB :EFF            0GHIJFKEHLÿ̀8BD8BB     >PQhEHQÿ/TIeTXWEJKT   0GHIJFKEHLÿ̀8BD8BB                                                                                 BUB@VB@V@@ÿ9GQHIÿ-TWTEXQYFTZBUB@VB@V_@ÿ>PQhEHQÿ/TIeTXWEJKT   D@@@@ÿD@@@V@@V@@ÿ*WWGJHKIÿ    B]ADDM@@    BB][^DM@@            B]ADDM@@      @M@@
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GLOBAL NOTES TO SCHEDULES AND STATEMENT OF FINANCIAL AFFAIRS OF
    DEBTORS, STREAM TV NETWORKS, INC., CASE NO. 23-10763(mdc) AND
 TECHNOVATIVE MEDIA, INC., CAUSE NO. 10764 (Joint Administration Requested)

The Debtors develop their technology and conduct the majority of their business through their
direct and indirect foreign and domestic subsidiaries. The Debtors provided capital to their direct
and indirect foreign and domestic subsidiaries for the purpose of acquiring and developing assets
and to conduct business operations. The Debtors direct interested parties to the Declaration of
Mathu Rajan in Support of Stream TV Networks, Inc. and Technovative Media, Inc. Chapter 11
Petition, Supporting Emergency Relief, and First Day Motions [Docket No. 48] (“Rajan
Declaration”) in which the Debtors’ organizational and operational structure is described in greater
detail.

In its bankruptcy schedules, the Debtors disclose and describe the assets, including their ownership
interest in direct subsidiaries and their contracts, that the Debtors owned as of March 15, 2023 (the
“Petition Date”). The Debtors’ direct subsidiaries, in turn, hold or may hold ownership interests in
the Debtors’ indirect subsidiaries as depicted on the Debtor’s Organization Chart included in the
Rajans Declaration. The assets of the Debtors’ direct and indirect subsidiaries are not included in
the Debtors’ bankruptcy schedules.

The Debtors intend to complete a recovery of assets which were previously and improperly
transferred in contravention of express provisions of its corporate charter through an invalidated
board settlement agreement as confirmed by the Delaware Supreme Court through an en banc
unanimous decision on June 15, 2022. See Stream TV Networks, Inc. v. Seecubic, Inc., No. 360,
2021, p. 3 (Del. June 15, 2022) (Holding that “a majority vote of Class B stockholders is required
under Stream’s charter” to “transfer pledged assets to secured creditors in connection with what
was, in essence, a privately structured foreclosure transaction”).1 The Delaware Supreme Court
also held that the “agreement authorizing the secured creditors to transfer Stream’s pledged assets
. . . is invalid because Stream’s unambiguous certificate of incorporation required the approval of
Stream’s Class B stockholders.” Id.. at p. 34. (emphasis added).




1
 A debt resolution committee of the Debtor’s Board of Directors purporting to act on the
Debtor’s behalf reached an unauthorized settlement enshrined in an agreement titled as the
Omnibus Agreement, dated May 6, 2021, between the Debtor’s senior secured lender, SLS
Holdings VI, LLC (“SLS”) and the Debtor’s debt resolution committee, which was which
approved by the Delaware Court of Chancery and then held to be invalid by the Delaware
Supreme Court on appeal. Prior to the Delaware Supreme Court ruling the SLS Holdings and its
newly formed company,

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The new company formed by the purported secured lenders,2 SeeCubic, Inc. (“SeeCubic”),3
asserted an ownership interest in all of the Debtor’s assets and took possession of, and in some
cases, destroyed the Debtors’ assets. The Chancery Court, on remand and with direction from the
Delaware Supreme Court to effectuate the dismissal and vacating of its prior injunctive relief, has
made it clear that the assets must be returned both in title and possession to the Debtors.4
Furthermore, the Chancery Court on August 10, 2022, issued an Order Granting Partial Final
Judgment in favor of the Debtor. The order stated: “Pending transfer of the Assets from SeeCubic
to Stream, SeeCubic and all those acting in concert with it shall not use, impair, encumber, or
transfer the Assets, except as necessary to maintain the Assets in the ordinary course of business
and preserve their value pending transfer to Stream.” Rajan Declaration, Exhibit BB. Despite these
clear directives, the purported secured lenders have resisted and continue to resist return of the
assets.

The Debtors have also been alerted to SeeCubic’s violation of intellectual property licenses which
were held by the Debtors and were non-transferable, actions violating third party rights under
applicable Federal and state law which cannot be remedied or cleansed by the invalidated
settlement, even prior to its invalidation by the Delaware Supreme Court. Even before the
Omnibus Agreement was invalidated, the transfers themselves were invalid under both a Phillips
license to the Debtors and a Rembrandt 3D Holding Ltd. (“Rembrandt”) license, both parties not
subject to the settlement or any now invalidated injunctive relief by the Chancery Court.5

The Debtors have been subjected to continuous damage by the purported secured creditors, even
after the Supreme Court decision. SeeCubic, the purported lenders, and Mr. Shad Stastney of
SeeCubic and SLS, were held in contempt by the Delaware Court of Chancery in October 2022
for their orchestrated efforts to seize control of the Debtor’s subsidiary, TechnoVative Media, Inc.,

2
 The Debtors contend that SLS Holdings VI, LLC (“SLS”) and Hawk Investment Holdings
Limited (“Hawk”) hold secured debt convertible to equity or must pursue their claims in chapter
11 where they will be paid in full, if their claims are allowed.
3
  SeeCubic, Inc., a Delaware entity, took its name from a foreign Dutch subsidiary of the
Debtors, SeeCubic B.V. (The Netherlands) (“SCBV”) and is likely in violation of trademark
laws protecting the Debtors and its foreign subsidiary).
4
 On August 9, 2022, nearly 8 weeks after the Delaware Supreme Court opinion, the Chancery
Court issued a TRO against SeeCubic. Vice Chancellor Laster specifically stated his
expectations: “SeeCubic will restore Stream’s assets to Stream in accordance with the Rule 54(b)
order. Once this has occurred, SeeCubic may seek to exercise any creditor’s rights it possesses
against Stream. SeeCubic must do so based on a status quo where Stream has title to and
possession of its assets, not a status quo in which SeeCubic acquired possession based on a
decision that the Delaware Supreme Court has held is erroneous.”
5
 On February 21, 2023, Rembrandt filed suit in the U.S. District Court for the District of Delaware
against parties using the Ultra-D technology without a Rembrandt license. It sued TechnoVative
USA, which was under the direction of the Chancery Court-appointed Receiver, Hawk, and
SeeCubic for trade secret violations and injunctive relief to prevent the sale of Stream’s assets
Rembrandt 3D Holding Ltd v Technovative Media, Inc., Hawk Investment Holdings Ltd. and
SeeCubic, Inc.

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in the months after the Supreme Court decision. In ¶ 3 of his October 3, 2022 Opinion, Vice
Chancellor Laster wrote: “This decision holds that SeeCubic and Hawk engaged in contumacious
conduct. Shad L. Stastney was the puppet master who pulled the strings. He controls SeeCubic
and Technovative, and he also controls SLS Holdings VI, LLC (“SLS”), Stream’s only secured
creditor other than Hawk.” See Rajan Declaration, Exhibit AA.

SLS and SeeCubic possess some and claim to have obtained possession or control of other of the
Debtor’s assets before the Petition Date. The Debtor’s investigation into the location and condition
of its assets is ongoing. The Debtors have listed the assets that they believe they continue to own,
unless otherwise expressly indicated in its bankruptcy schedules. The Debtors intend to pursue
recovery of assets and to operate their business under the provisions of the Bankruptcy Code in
this case.

Additional Notes:

1.      Because US GAAP treatment may not apply to the Debtor’s assets located in foreign
jurisdictions, the values provided for certain assets may differ from typical accounting standards.

2.     Funding advanced by the Debtors to their direct and indirect subsidiaries are reflected in
intercompany loans.

3.    The Debtors’ goodwill and similar intangible value is not reflected in the Debtors’
bankruptcy schedules.

4.     SeeCubic BV (the Netherlands) is a subsidiary of the Debtors, SeeCubic BV (the
Netherlands) is unrelated to and is a separate entity from SeeCubic Inc., a company newly formed
in Delaware by SLS Holdings, Inc.




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 Fill in this information to identify the case:
 Debtor name         Stream TV Networks, Inc.

 United States Bankruptcy Court for the: EASTERN DIST. OF PENNSYLVANIA

 Case number         23-10763                                                                                     Check if this is an
 (if known)                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15
Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor's property?

 No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
 Yes. Fill in all of the information below.
 Part 1:        List Creditors Who Have Secured Claims
2.     List in alphabetical order all creditors who have secured claims. If a creditor has more               Column A               Column B
       than one secured claim, list the creditor separately for each claim.                                   Amount of claim        Value of collateral
                                                                                                              Do not deduct the      that supports
                                                                                                              value of collateral.   this claim

 2.1      Creditor's name                                     Describe debtor's property that is
          Dell Financial Services, LLC                        subject to a lien                                     $77,340.57              $77,340.57

          Creditor's mailing address                          Dell Computer Servers
          Mail Stop-PS2DF-23                                  Describe the lien
          One Dell Way                                        UCC / Agreement
                                                              Is the creditor an insider or related party?
          Round Rock                 TX       78682            No
          Creditor's email address, if known                   Yes
                                                              Is anyone else liable on this claim?
          Date debt was incurred          12/04/2018           No
          Last 4 digits of account                             Yes. Fill out Schedule H: Codebtors (Official Form 206H)
          number                          6    9      3   1   As of the petition filing date, the claim is:
          Do multiple creditors have an interest in           Check all that apply.
          the same property?                                   Contingent
           No                                                 Unliquidated
           Yes. Specify each creditor, including this         Disputed
            creditor, and its relative priority.




3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the
       Additional Page, if any.                                                                                 $6,885,121.57


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Debtor       Stream TV Networks, Inc.                                                      Case number (if known) 23-10763

 Part 1:       Additional Page                                                                             Column A               Column B
                                                                                                           Amount of claim        Value of collateral
Copy this page only if more space is needed. Continue numbering the lines                                  Do not deduct the      that supports
sequentially from the previous page.                                                                       value of collateral.   this claim

 2.2     Creditor's name                                   Describe debtor's property that is
         SLS Holdings VI, LLC                              subject to a lien                                 $6,807,781.00            $6,807,781.00

         Creditor's mailing address                        All assets
         Attn: Shad Stastney                               Describe the lien
         392 Taylor Mills Road                             loan/investment / Agreement
                                                           Is the creditor an insider or related party?
         Marlboro                    NJ     07746           No
         Creditor's email address, if known                 Yes
                                                           Is anyone else liable on this claim?
         Date debt was incurred           2011-2012         No
         Last 4 digits of account                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
         number                                            As of the petition filing date, the claim is:
         Do multiple creditors have an interest in         Check all that apply.
         the same property?                                 Contingent
          No                                               Unliquidated
          Yes. Have you already specified the              Disputed
                relative priority?

             No. Specify each creditor, including this
                creditor, and its relative priority.

             Yes. The relative priority of creditors is
                specified on lines




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GLOBAL NOTES TO SCHEDULES AND STATEMENT OF FINANCIAL AFFAIRS OF
    DEBTORS, STREAM TV NETWORKS, INC., CASE NO. 23-10763(mdc) AND
 TECHNOVATIVE MEDIA, INC., CAUSE NO. 10764 (Joint Administration Requested)

The Debtors develop their technology and conduct the majority of their business through their
direct and indirect foreign and domestic subsidiaries. The Debtors provided capital to their direct
and indirect foreign and domestic subsidiaries for the purpose of acquiring and developing assets
and to conduct business operations. The Debtors direct interested parties to the Declaration of
Mathu Rajan in Support of Stream TV Networks, Inc. and Technovative Media, Inc. Chapter 11
Petition, Supporting Emergency Relief, and First Day Motions [Docket No. 48] (“Rajan
Declaration”) in which the Debtors’ organizational and operational structure is described in greater
detail.

In its bankruptcy schedules, the Debtors disclose and describe the assets, including their ownership
interest in direct subsidiaries and their contracts, that the Debtors owned as of March 15, 2023 (the
“Petition Date”). The Debtors’ direct subsidiaries, in turn, hold or may hold ownership interests in
the Debtors’ indirect subsidiaries as depicted on the Debtor’s Organization Chart included in the
Rajans Declaration. The assets of the Debtors’ direct and indirect subsidiaries are not included in
the Debtors’ bankruptcy schedules.

The Debtors intend to complete a recovery of assets which were previously and improperly
transferred in contravention of express provisions of its corporate charter through an invalidated
board settlement agreement as confirmed by the Delaware Supreme Court through an en banc
unanimous decision on June 15, 2022. See Stream TV Networks, Inc. v. Seecubic, Inc., No. 360,
2021, p. 3 (Del. June 15, 2022) (Holding that “a majority vote of Class B stockholders is required
under Stream’s charter” to “transfer pledged assets to secured creditors in connection with what
was, in essence, a privately structured foreclosure transaction”).1 The Delaware Supreme Court
also held that the “agreement authorizing the secured creditors to transfer Stream’s pledged assets
. . . is invalid because Stream’s unambiguous certificate of incorporation required the approval of
Stream’s Class B stockholders.” Id.. at p. 34. (emphasis added).




1
 A debt resolution committee of the Debtor’s Board of Directors purporting to act on the
Debtor’s behalf reached an unauthorized settlement enshrined in an agreement titled as the
Omnibus Agreement, dated May 6, 2021, between the Debtor’s senior secured lender, SLS
Holdings VI, LLC (“SLS”) and the Debtor’s debt resolution committee, which was which
approved by the Delaware Court of Chancery and then held to be invalid by the Delaware
Supreme Court on appeal. Prior to the Delaware Supreme Court ruling the SLS Holdings and its
newly formed company,

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The new company formed by the purported secured lenders,2 SeeCubic, Inc. (“SeeCubic”),3
asserted an ownership interest in all of the Debtor’s assets and took possession of, and in some
cases, destroyed the Debtors’ assets. The Chancery Court, on remand and with direction from the
Delaware Supreme Court to effectuate the dismissal and vacating of its prior injunctive relief, has
made it clear that the assets must be returned both in title and possession to the Debtors.4
Furthermore, the Chancery Court on August 10, 2022, issued an Order Granting Partial Final
Judgment in favor of the Debtor. The order stated: “Pending transfer of the Assets from SeeCubic
to Stream, SeeCubic and all those acting in concert with it shall not use, impair, encumber, or
transfer the Assets, except as necessary to maintain the Assets in the ordinary course of business
and preserve their value pending transfer to Stream.” Rajan Declaration, Exhibit BB. Despite these
clear directives, the purported secured lenders have resisted and continue to resist return of the
assets.

The Debtors have also been alerted to SeeCubic’s violation of intellectual property licenses which
were held by the Debtors and were non-transferable, actions violating third party rights under
applicable Federal and state law which cannot be remedied or cleansed by the invalidated
settlement, even prior to its invalidation by the Delaware Supreme Court. Even before the
Omnibus Agreement was invalidated, the transfers themselves were invalid under both a Phillips
license to the Debtors and a Rembrandt 3D Holding Ltd. (“Rembrandt”) license, both parties not
subject to the settlement or any now invalidated injunctive relief by the Chancery Court.5

The Debtors have been subjected to continuous damage by the purported secured creditors, even
after the Supreme Court decision. SeeCubic, the purported lenders, and Mr. Shad Stastney of
SeeCubic and SLS, were held in contempt by the Delaware Court of Chancery in October 2022
for their orchestrated efforts to seize control of the Debtor’s subsidiary, TechnoVative Media, Inc.,

2
 The Debtors contend that SLS Holdings VI, LLC (“SLS”) and Hawk Investment Holdings
Limited (“Hawk”) hold secured debt convertible to equity or must pursue their claims in chapter
11 where they will be paid in full, if their claims are allowed.
3
  SeeCubic, Inc., a Delaware entity, took its name from a foreign Dutch subsidiary of the
Debtors, SeeCubic B.V. (The Netherlands) (“SCBV”) and is likely in violation of trademark
laws protecting the Debtors and its foreign subsidiary).
4
 On August 9, 2022, nearly 8 weeks after the Delaware Supreme Court opinion, the Chancery
Court issued a TRO against SeeCubic. Vice Chancellor Laster specifically stated his
expectations: “SeeCubic will restore Stream’s assets to Stream in accordance with the Rule 54(b)
order. Once this has occurred, SeeCubic may seek to exercise any creditor’s rights it possesses
against Stream. SeeCubic must do so based on a status quo where Stream has title to and
possession of its assets, not a status quo in which SeeCubic acquired possession based on a
decision that the Delaware Supreme Court has held is erroneous.”
5
 On February 21, 2023, Rembrandt filed suit in the U.S. District Court for the District of Delaware
against parties using the Ultra-D technology without a Rembrandt license. It sued TechnoVative
USA, which was under the direction of the Chancery Court-appointed Receiver, Hawk, and
SeeCubic for trade secret violations and injunctive relief to prevent the sale of Stream’s assets
Rembrandt 3D Holding Ltd v Technovative Media, Inc., Hawk Investment Holdings Ltd. and
SeeCubic, Inc.

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in the months after the Supreme Court decision. In ¶ 3 of his October 3, 2022 Opinion, Vice
Chancellor Laster wrote: “This decision holds that SeeCubic and Hawk engaged in contumacious
conduct. Shad L. Stastney was the puppet master who pulled the strings. He controls SeeCubic
and Technovative, and he also controls SLS Holdings VI, LLC (“SLS”), Stream’s only secured
creditor other than Hawk.” See Rajan Declaration, Exhibit AA.

SLS and SeeCubic possess some and claim to have obtained possession or control of other of the
Debtor’s assets before the Petition Date. The Debtor’s investigation into the location and condition
of its assets is ongoing. The Debtors have listed the assets that they believe they continue to own,
unless otherwise expressly indicated in its bankruptcy schedules. The Debtors intend to pursue
recovery of assets and to operate their business under the provisions of the Bankruptcy Code in
this case.

Additional Notes:

1.      Because US GAAP treatment may not apply to the Debtor’s assets located in foreign
jurisdictions, the values provided for certain assets may differ from typical accounting standards.

2.     Funding advanced by the Debtors to their direct and indirect subsidiaries are reflected in
intercompany loans.

3.    The Debtors’ goodwill and similar intangible value is not reflected in the Debtors’
bankruptcy schedules.

4.     SeeCubic BV (the Netherlands) is a subsidiary of the Debtors, SeeCubic BV (the
Netherlands) is unrelated to and is a separate entity from SeeCubic Inc., a company newly formed
in Delaware by SLS Holdings, Inc.




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 Fill in this information to identify the case:
 Debtor              Stream TV Networks, Inc.

 United States Bankruptcy Court for the: EASTERN DIST. OF PENNSYLVANIA

 Case number         23-10763                                                                              Check if this is an
 (if known)                                                                                                    amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                        12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with
NONPRIORITY unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim.
Also list executory contracts on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left.
If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:        List All Creditors with PRIORITY Unsecured Claims
1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

        No. Go to Part 2.
        Yes. Go to line 2.
2.     List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or part.
       If more space is needed for priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim         Priority amount

     2.1   Priority creditor's name and mailing address         As of the petition filing date, the               $2,688.27           $2,688.27
                                                                claim is: Check all that apply.
California Department of
Tax and Fee Adm                                                  Contingent
                                                                 Unliquidated
Account Info. Group, MIC 29                                      Disputed
PO Box 942879
                                                                Basis for the claim:
Sacramento                            CA      94279-0029        Disability insurance
Date or dates debt was incurred
                                                                Is the claim subject to offset?
3/31/2020
Last 4 digits of account
                                                                 No
number
                                                                 Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )



     2.2   Priority creditor's name and mailing address         As of the petition filing date, the               $8,805.72           $8,805.72
                                                                claim is: Check all that apply.
Internal Revenue Service
PO Box 7346                                                      Contingent
                                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Philadelphia                          PA      19101-7346        Medicare
Date or dates debt was incurred
                                                                Is the claim subject to offset?
3/31/2020
Last 4 digits of account
                                                                 No
number
                                                                 Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )




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Debtor      Stream TV Networks, Inc.                                                 Case number (if known)    23-10763

 Part 1:       Additional Page
Copy this page if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.         Total claim         Priority amount


  2.3    Priority creditor's name and mailing address       As of the petition filing date, the                $8,805.72         $8,805.72
                                                            claim is: Check all that apply.
Internal Revenue Service
PO Box 7346                                                  Contingent
                                                             Unliquidated
                                                             Disputed
                                                            Basis for the claim:
Philadelphia                       PA     19101-7346        Medicare employer portion
Date or dates debt was incurred
                                                            Is the claim subject to offset?
3/31/2020
Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )



  2.4    Priority creditor's name and mailing address       As of the petition filing date, the               $32,006.82       $32,006.82
                                                            claim is: Check all that apply.
Internal Revenue Service
PO Box 7346                                                  Contingent
                                                             Unliquidated
                                                             Disputed
                                                            Basis for the claim:
Philadelphia                       PA     19101-7346        Social Security employee portion
Date or dates debt was incurred
                                                            Is the claim subject to offset?
3/31/2020
Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )



  2.5    Priority creditor's name and mailing address       As of the petition filing date, the               $69,097.66       $69,097.66
                                                            claim is: Check all that apply.
Internal Revenue Service
PO Box 7346                                                  Contingent
                                                             Unliquidated
                                                             Disputed
                                                            Basis for the claim:
Philadelphia                       PA     19101-7346        Income taxes
Date or dates debt was incurred
                                                            Is the claim subject to offset?
3/31/2020
Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )




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Debtor      Stream TV Networks, Inc.                                                 Case number (if known)    23-10763

 Part 1:       Additional Page
Copy this page if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.         Total claim         Priority amount


  2.6    Priority creditor's name and mailing address       As of the petition filing date, the               $32,006.82       $32,006.82
                                                            claim is: Check all that apply.
Internal Revenue Service
PO Box 7346                                                  Contingent
                                                             Unliquidated
                                                             Disputed
                                                            Basis for the claim:
Philadelphia                       PA     19101-7346        Social Security Employer Portion
Date or dates debt was incurred
                                                            Is the claim subject to offset?
3/31/2020
Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )



  2.7    Priority creditor's name and mailing address       As of the petition filing date, the                $4,580.49         $4,580.49
                                                            claim is: Check all that apply.
Internal Revenue Service
PO Box 7346                                                  Contingent
                                                             Unliquidated
                                                             Disputed
                                                            Basis for the claim:
Philadelphia                       PA     19101-7346        941/944
Date or dates debt was incurred
                                                            Is the claim subject to offset?
3/31/2020
Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )



  2.8    Priority creditor's name and mailing address       As of the petition filing date, the                 $711.31           $711.31
                                                            claim is: Check all that apply.
Internal Revenue Service
PO Box 7346                                                  Contingent
                                                             Unliquidated
                                                             Disputed
                                                            Basis for the claim:
Philadelphia                       PA     19101-7346        941 Taxes
Date or dates debt was incurred
                                                            Is the claim subject to offset?
3/31/2020
Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )




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Debtor       Stream TV Networks, Inc.                                                Case number (if known)   23-10763

 Part 1:      Additional Page
Copy this page if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.         Total claim        Priority amount


  2.9     Priority creditor's name and mailing address      As of the petition filing date, the                $476.88           $476.88
                                                            claim is: Check all that apply.
Nevada Dept. of Employment
Training & Rehabilitation                                    Contingent
                                                             Unliquidated
500 E. Third Street                                          Disputed
                                                            Basis for the claim:
Carson City                        NV     89713             Taxes
Date or dates debt was incurred
                                                            Is the claim subject to offset?
3/31/2020
Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )



 2.10     Priority creditor's name and mailing address      As of the petition filing date, the                $399.14           $399.14
                                                            claim is: Check all that apply.
New Jersey Division of Taxation
Compliance&Enforcement-Bankruptcy                            Contingent
                                                             Unliquidated
50 Barrack Street, 9th Floor                                 Disputed
PO Box 245
                                                            Basis for the claim:
Trenton                            NJ     08695-0267        Income Taxes
Date or dates debt was incurred
                                                            Is the claim subject to offset?
12/31/2020
Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )



 2.11     Priority creditor's name and mailing address      As of the petition filing date, the               $1,763.45         $1,763.45
                                                            claim is: Check all that apply.
Pennsylvania Department of Revenue
Department 280946                                            Contingent
                                                             Unliquidated
Attn: Bankruptcy Division                                    Disputed
                                                            Basis for the claim:
Harrisburg                         PA     17128-0946        Income Taxes
Date or dates debt was incurred
                                                            Is the claim subject to offset?
12/31/2020
Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )




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Debtor       Stream TV Networks, Inc.                                                Case number (if known)   23-10763

 Part 1:      Additional Page
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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.         Total claim        Priority amount


 2.12    Priority creditor's name and mailing address       As of the petition filing date, the                $460.47           $460.47
                                                            claim is: Check all that apply.
Pennsylvania Department of Revenue
Department 280946                                            Contingent
                                                             Unliquidated
Attn: Bankruptcy Division                                    Disputed
                                                            Basis for the claim:
Harrisburg                         PA     17128-0946        Unemployment Insurance
Date or dates debt was incurred
                                                            Is the claim subject to offset?

Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )



 2.13    Priority creditor's name and mailing address       As of the petition filing date, the                $156.00           $156.00
                                                            claim is: Check all that apply.
Pennsylvania Department of Revenue
Department 280946                                            Contingent
                                                             Unliquidated
Attn: Bankruptcy Division                                    Disputed
                                                            Basis for the claim:
Harrisburg                         PA     17128-0946        Taxes
Date or dates debt was incurred
                                                            Is the claim subject to offset?
12/31/2020
Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )



 2.14    Priority creditor's name and mailing address       As of the petition filing date, the               $1,165.62         $1,165.62
                                                            claim is: Check all that apply.
Pennsylvania Department of Revenue
Department 280946                                            Contingent
                                                             Unliquidated
Attn: Bankruptcy Division                                    Disputed
                                                            Basis for the claim:
Harrisburg                         PA     17128-0946        Taxes
Date or dates debt was incurred
                                                            Is the claim subject to offset?
12/31/2020
Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )




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Debtor       Stream TV Networks, Inc.                                                Case number (if known)    23-10763

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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.         Total claim         Priority amount


 2.15    Priority creditor's name and mailing address       As of the petition filing date, the                $1,324.21         $1,324.21
                                                            claim is: Check all that apply.
Pennsylvania Department of Revenue
Department 280946                                            Contingent
                                                             Unliquidated
Attn: Bankruptcy Division                                    Disputed
                                                            Basis for the claim:
Harrisburg                         PA     17128-0946        Taxes
Date or dates debt was incurred
                                                            Is the claim subject to offset?
3/31/2020
Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )



 2.16    Priority creditor's name and mailing address       As of the petition filing date, the                $3,821.13         $3,821.13
                                                            claim is: Check all that apply.
Pennsylvania Department of Revenue
Department 280946                                            Contingent
                                                             Unliquidated
Attn: Bankruptcy Division                                    Disputed
                                                            Basis for the claim:
Harrisburg                         PA     17128-0946        Taxes
Date or dates debt was incurred
                                                            Is the claim subject to offset?
3/31/2020
Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )



 2.17    Priority creditor's name and mailing address       As of the petition filing date, the               $10,642.58       $10,642.58
                                                            claim is: Check all that apply.
Philadelphia Department of Revenue
Municipal Services Building                                  Contingent
                                                             Unliquidated
1401 JFK Boulevard                                           Disputed
                                                            Basis for the claim:
Philadelphia                       PA     19102             Income Tax
Date or dates debt was incurred
                                                            Is the claim subject to offset?
12/31/2020
Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )




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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.         Total claim         Priority amount


 2.18    Priority creditor's name and mailing address       As of the petition filing date, the                $5,000.00         $5,000.00
                                                            claim is: Check all that apply.
Secretary of State - Delaware
Division of Corporations                                     Contingent
                                                             Unliquidated
Franchise Tax                                                Disputed
PO Box 898
                                                            Basis for the claim:
Dover                              DE      19903            Franchise Tax
Date or dates debt was incurred
                                                            Is the claim subject to offset?
12/31/2020
Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )



 2.19    Priority creditor's name and mailing address       As of the petition filing date, the               $20,121.89       $20,121.89
                                                            claim is: Check all that apply.
State of California
Franchise Tax Board                                          Contingent
                                                             Unliquidated
Bankruptcy Section, MS: A-340                                Disputed
PO Box 2952
                                                            Basis for the claim:
Sacramento                         CA     95812-2952        Taxes
Date or dates debt was incurred
                                                            Is the claim subject to offset?
12/31/2020
Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )



 2.20    Priority creditor's name and mailing address       As of the petition filing date, the                $9,808.22         $9,808.22
                                                            claim is: Check all that apply.
State of California Employment
Development Department                                       Contingent
                                                             Unliquidated
PO Box 826880, DICO, MIC 29                                  Disputed
                                                            Basis for the claim:
Sacramento                         CA     94280             CA PIT/SDI
Date or dates debt was incurred
                                                            Is the claim subject to offset?
3/31/2020
Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )




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previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.         Total claim        Priority amount


 2.21    Priority creditor's name and mailing address       As of the petition filing date, the               $2,598.75         $2,598.75
                                                            claim is: Check all that apply.
State of California Employment
Development Department                                       Contingent
                                                             Unliquidated
PO Box 826880, UIPCD, MIC 40                                 Disputed
                                                            Basis for the claim:
Sacramento                         CA     94280             SUI/ETT
Date or dates debt was incurred
                                                            Is the claim subject to offset?
3/31/2020
Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )



 2.22    Priority creditor's name and mailing address       As of the petition filing date, the                $123.75           $123.75
                                                            claim is: Check all that apply.
State of Florida, Dept. of Revenue
Attn: Mark Hamilton                                          Contingent
                                                             Unliquidated
P.O. Box 6668                                                Disputed
                                                            Basis for the claim:
Tallahassee                        FL     32314-6668        Taxes
Date or dates debt was incurred
                                                            Is the claim subject to offset?
3/31/2020
Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )



 2.23    Priority creditor's name and mailing address       As of the petition filing date, the                 $11.11             $11.11
                                                            claim is: Check all that apply.
Texas Workforce Commission
P.O. Box 149037                                              Contingent
                                                             Unliquidated
                                                             Disputed
                                                            Basis for the claim:
Austin                             TX     78714-9037        Taxes
Date or dates debt was incurred
                                                            Is the claim subject to offset?
3/31/2020
Last 4 digits of account
                                                             No
number
                                                             Yes
Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)( 8   )




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Debtor        Stream TV Networks, Inc.                                                 Case number (if known)      23-10763

 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

3.    List in alphabetical order all of the creditors with nonpriority unsecured claims. If more space is needed for nonpriority unsecured
      claims, fill out and attach the Additional Page of Part 2.
                                                                                                                       Amount of claim

     3.1   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                    $7,500.00
                                                                   Check all that apply.
3Detroit Film Co. LLC                                               Contingent
2385 N. Pine Center St                                              Unliquidated
                                                                    Disputed
                                                                   Basis for the claim:
West Bloomfield                          MI       48323            good, services

Date or dates debt was incurred         2017-2018                  Is the claim subject to offset?

Last 4 digits of account number
                                                                    No
                                                                    Yes

     3.2   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                    $4,000.00
                                                                   Check all that apply.
Aaron Lamkin                                                        Contingent
793A East Foothill Blvd. #43                                        Unliquidated
                                                                    Disputed
                                                                   Basis for the claim:
San Luis Obisbo                          CA       93405            goods, services

Date or dates debt was incurred         5/20/2019                  Is the claim subject to offset?

Last 4 digits of account number
                                                                    No
                                                                    Yes

     3.3   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                    $1,159.00
                                                                   Check all that apply.
Abu Dhabi Investment Council                                        Contingent
P.O. Box 61999                                                      Unliquidated
Abu Dhabi, UAE                                                      Disputed
                                                                   Basis for the claim:
                                                                   loan, investment

Date or dates debt was incurred         10/09/2017                 Is the claim subject to offset?

Last 4 digits of account number
                                                                    No
                                                                    Yes

     3.4   Nonpriority creditor's name and mailing address         As of the petition filing date, the claim is:                   $35,820.00
                                                                   Check all that apply.
Ac Lordi                                                            Contingent
75 Valley Stream Parkway Suite 201                                  Unliquidated
                                                                    Disputed
                                                                   Basis for the claim:
Malvern                                  PA       19355            goods, services

Date or dates debt was incurred         2016-2019                  Is the claim subject to offset?

Last 4 digits of account number
                                                                    No
                                                                    Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

   3.5     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                 $324,644.60
                                                               Check all that apply.
Adept Chip Service Private Ltd.                                 Contingent
Site No.86 1st Floor                                            Unliquidated
LRDI Layout Karthik Nagar                                       Disputed
fvlarathahalli Outer Ring                                      Basis for the claim:
 Bengaluru, India 560037                                       goods, services

Date or dates debt was incurred      2019                      Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

   3.6     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $19,682.75
                                                               Check all that apply.
Adrian & Roth                                                   Contingent
Personalberatung GmbH                                           Unliquidated
Tengstraße 45                                                   Disputed
Munchen, Germany 80796                                         Basis for the claim:
                                                               goods, services

Date or dates debt was incurred      2018                      Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

   3.7     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $15,000.00
                                                               Check all that apply.
Advanced Imaging Society                                        Contingent
16027 Ventura Blulevard Suite #301                              Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Encino                                 CA     91436            goods, services

Date or dates debt was incurred      2017                      Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

   3.8     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $3,020.00
                                                               Check all that apply.
Alliance International Law Offices                              Contingent
75-1, 58 Chung Shan N. Rd. Sec. 3                               Unliquidated
Taipei, Taiwan                                                  Disputed
10452                                                          Basis for the claim:
                                                               Attorney Fees

Date or dates debt was incurred      2016-2018                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

   3.9     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $91,700.00
                                                                Check all that apply.
Alvarte Technology LLP                                           Contingent
S No29, PL52, Office #201                                        Unliquidated
Bhama Emrald, Satara Road, Dhankawadi                            Disputed
Pune, Maharashtra 411043                                        Basis for the claim:
                                                                goods, services

Date or dates debt was incurred      2019                       Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.10     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $1,544.12
                                                                Check all that apply.
Amanda Von Ahnen                                                 Contingent
105 Edwards Run Road                                             Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Mount Royal                            NJ       08061           wages

Date or dates debt was incurred      Feb 16-29, 2020            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.11     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $49,632.62
                                                                Check all that apply.
AON Risk Services Inc. of New York                               Contingent
111 Wall Street                                                  Unliquidated
New York, NY                                                     Disputed
                                                                Basis for the claim:
                                                                goods, services

Date or dates debt was incurred      2017-2021                  Is the claim subject to offset?

Last 4 digits of account number       0     0    4   3
                                                                 No
                                                                 Yes

  3.12     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $132,500.00
                                                                Check all that apply.
Arasan Chip Systems, Inc.                                        Contingent
2150 North First Street, Suite 240                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Jose                               CA       95131           goods, services

Date or dates debt was incurred      2019-2020                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.13     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $34,626.25
                                                                Check all that apply.
Aria Resort-Casino At Ctycntr                                    Contingent
4882 Frank Sinatra Dr.                                           Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Las Vegas                              NV       89158           goods, services

Date or dates debt was incurred      2019-2020                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.14     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $30,024.42
                                                                Check all that apply.
Avnet EM                                                         Contingent
2211 South 47th Street                                           Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Phoenix                                AZ       85034           goods, services

Date or dates debt was incurred      2019                       Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.15     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $12,066.00
                                                                Check all that apply.
AY Commercial Law Offices                                        Contingent
9F, No. 333, Sec. 1, Keelung Road                                Unliquidated
Taipei City, Taiwan ROC 11012                                    Disputed
                                                                Basis for the claim:
                                                                Attorney Fees

Date or dates debt was incurred      2018-2020                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.16     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $17,880.00
                                                                Check all that apply.
BDO USA, LLP                                                     Contingent
75 Valley Stream Parkway                                         Unliquidated
Suite 201                                                        Disputed
                                                                Basis for the claim:
Malvern                                PA       19355           goods, services

Date or dates debt was incurred      2014-2019                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Debtor       Stream TV Networks, Inc.                                              Case number (if known)      23-10763

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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.17     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $5,963.23
                                                               Check all that apply.
Blue Ocean Partners                                             Contingent
100 Queens Rd.                                                  Unliquidated
Central, Hong Kong, China                                       Disputed
                                                               Basis for the claim:
                                                               goods, services

Date or dates debt was incurred      2018-2020                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.18     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $6,000.00
                                                               Check all that apply.
Bubble Communications East                                      Contingent
East Side Complex Rm 555                                        Unliquidated
Pinewood Studios, Pinewood Rd Iver Heath                        Disputed
Buckinghamshire, UK SL0 0NH                                    Basis for the claim:
                                                               goods, services

Date or dates debt was incurred      2018-2019                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.19     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $41,816.50
                                                               Check all that apply.
Buchanan Ingersoll & Rooney PC                                  Contingent
919 North Market Street                                         Unliquidated
Suite 1500                                                      Disputed
                                                               Basis for the claim:
Wilmington                             DE     19801            goods, services

Date or dates debt was incurred      2018-2020                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.20     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                 $524,340.00
                                                               Check all that apply.
Cadence Design Systems, Inc.                                    Contingent
2655 Seely Avenue                                               Unliquidated
                                                                Disputed
                                                               Basis for the claim:
San Jose                               CA     95134            goods, services

Date or dates debt was incurred      2019-2020                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes




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  3.21     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $71,450.76
                                                                Check all that apply.
Capital One                                                      Contingent
P.O. Box 71083                                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Charlotte                              NC       28272-1083      Credit Card

Date or dates debt was incurred      2009-2020                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.22     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $8,720.42
                                                                Check all that apply.
Capital One-5                                                    Contingent
P.O.Box 71083                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Charlotte                              NC       28272-1083      Credit Card

Date or dates debt was incurred      2019-2020                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.23     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $3,355.02
                                                                Check all that apply.
CCH Incorporated (Wolters Kluwer)                                Contingent
P.O. Box 4307                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Carol Stream                           IN       60197-4307      goods, services

Date or dates debt was incurred      2019                       Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.24     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $53,549.46
                                                                Check all that apply.
Charles Robertson                                                Contingent
10 Via Visione, Unit 201                                         Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Henderson                              NV       89011           goods, services

Date or dates debt was incurred      2019-2020                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.25     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $3,818.92
                                                               Check all that apply.
Charles Robertson                                               Contingent
10 Via Visione, Unit 201                                        Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Henderson                              NV     89011            wages

Date or dates debt was incurred      Feb 16-29, 2020           Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.26     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $2,724.62
                                                               Check all that apply.
Che Wei Chang                                                   Contingent
327 Camphor Avenue                                              Unliquidated
                                                                Disputed
                                                               Basis for the claim:
San Jose                               CA     95131            goods, services

Date or dates debt was incurred      2019-2020                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.27     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                 $117,600.00
                                                               Check all that apply.
Cipher Development Partners LLC                                 Contingent
1381 McCarthy Blvd.                                             Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Milpitas                               CA     95035            goods, services

Date or dates debt was incurred      2019-2020                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.28     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $63,793.70
                                                               Check all that apply.
Citi Cards                                                      Contingent
PO BOX 9001037                                                  Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Louisville                             KY     40290-1037       Credit Card

Date or dates debt was incurred      2019-2020                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes




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  3.29     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $6,065.00
                                                                Check all that apply.
Cittone Demers & Arneri LLP                                      Contingent
11 Broadway                                                      Unliquidated
Suite 615                                                        Disputed
                                                                Basis for the claim:
New York                               NY       10040           Attorney Fees

Date or dates debt was incurred      2019-2020                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.30     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $1,984.84
                                                                Check all that apply.
CNA INSURANCE                                                    Contingent
P.O. BOX 790094                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
ST LOUIS                               MO       63179-0094      goods, services

Date or dates debt was incurred      12/31/2019                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.31     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $2,012.96
                                                                Check all that apply.
Concur Technologies, Inc.                                        Contingent
62157 Collections Center Drive                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicago                                IL       60693           goods, services

Date or dates debt was incurred      2018                       Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.32     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $1,200.00
                                                                Check all that apply.
Conference Technologies, Inc.                                    Contingent
11653 Adie Road                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Maryland Heights                       MO       63043           goods, services

Date or dates debt was incurred      9/30/2017                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.33     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $31,285.00
                                                                Check all that apply.
Coral Vision Ltd                                                 Contingent
Easton House, Manor Way                                          Unliquidated
Oxshott, UK KT22 0HU                                             Disputed
                                                                Basis for the claim:
                                                                goods, services

Date or dates debt was incurred      2017                       Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.34     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                      $90.00
                                                                Check all that apply.
Corporate Filings                                                Contingent
30 North Gould Street                                            Unliquidated
Suite 7001                                                       Disputed
                                                                Basis for the claim:
Sheridan                               WY       82801           goods, services

Date or dates debt was incurred      8/23/2019                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.35     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $27,947.08
                                                                Check all that apply.
Cousins Law                                                      Contingent
Brandywine Plaza West                                            Unliquidated
1521 Concord Pike, Suite 301                                     Disputed
                                                                Basis for the claim:
Wilmington                             DE       19803           Attorney Fees

Date or dates debt was incurred      2020                       Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.36     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $1,125.00
                                                                Check all that apply.
Coverall North America, Inc.                                     Contingent
2955 Momentum Place                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicago                                IL       60689           goods, services

Date or dates debt was incurred      2019-2020                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.37     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $45,600.00
                                                                Check all that apply.
Cryslink Technologies Co., Ltd                                   Contingent
Computer Village, ikeja, Lagos                                   Unliquidated
Otta Nigeria 101233                                              Disputed
                                                                Basis for the claim:
                                                                goods, services

Date or dates debt was incurred      2/24/2016                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.38     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $2,004.22
                                                                Check all that apply.
Daniel J. Rink                                                   Contingent
1017 E. 28th Street                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Houston                                TX       77009           goods, services

Date or dates debt was incurred      February 2020              Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.39     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $2,070.57
                                                                Check all that apply.
Daniel J. Rink                                                   Contingent
1017 E. 28th Street                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Houston                                TX       77009           wages

Date or dates debt was incurred       Feb 16-29, 2020           Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.40     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $6,250.00
                                                                Check all that apply.
DeMartino and Associates LLC                                     Contingent
875 Union Ave.                                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Boulder                                CO       80304           goods, services

Date or dates debt was incurred      2019                       Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.41     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $7,976.63
                                                               Check all that apply.
Dezan Shira & Associates                                        Contingent
Suite EF06, East Tower B12                                      Unliquidated
Jian Guo Men Wai Avenue                                         Disputed
Beijing, China 100022                                          Basis for the claim:
                                                               Attorney Fees

Date or dates debt was incurred      2019                      Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.42     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $15,000.00
                                                               Check all that apply.
Digital Content Protection LLC                                  Contingent
3855 SW 153rd Drive                                             Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Beaverton                              OR     97006            goods, services

Date or dates debt was incurred      3/29/2019                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.43     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                 $798,925.44
                                                               Check all that apply.
DLA Piper LLP(US)                                               Contingent
6225 Smith Avenue                                               Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Baltimore                              MD     21209-3600       Attorney Fees

Date or dates debt was incurred      2011-2020                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.44     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                     $420.00
                                                               Check all that apply.
Dunner Law PLLC                                                 Contingent
3243 P Street, N.W.                                             Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Washington                             DC     20007            Attorney Fees

Date or dates debt was incurred      2019                      Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.45     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                 $216,179.17
                                                               Check all that apply.
Elliott Greenleaf                                               Contingent
1105 North Market Street                                        Unliquidated
17th Floor                                                      Disputed
                                                               Basis for the claim:
Wilmington                             DE     19801-1216       goods, services

Date or dates debt was incurred      2020                      Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.46     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                     $600.00
                                                               Check all that apply.
EMA Design Automation                                           Contingent
225 Park Tech Dr.                                               Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Rochester                              NY     14623            goods, services

Date or dates debt was incurred      2019                      Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.47     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                      $68.99
                                                               Check all that apply.
EME Enterprise Inc.                                             Contingent
1256 West Winton Avenue                                         Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Hayward                                CA     94545            goods, services

Date or dates debt was incurred      2020                      Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.48     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $36,550.00
                                                               Check all that apply.
Eric Singer                                                     Contingent
200 E. 71st Street                                              Unliquidated
                                                                Disputed
                                                               Basis for the claim:
New York                               NY     10021            goods, services

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.49     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $5,000.00
                                                                Check all that apply.
ESPN Inc. Miscellaneous                                          Contingent
P.O. Box 732527                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Dallas                                 TX       75373-2527      goods, services

Date or dates debt was incurred      2015-2016                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.50     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $5,093.44
                                                                Check all that apply.
Farrukh Shah Kahn                                                Contingent
1564 Kooser Road                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Jose                               CA       95118           wages

Date or dates debt was incurred      Feb 16-29, 2020            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.51     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $23,432.00
                                                                Check all that apply.
Feng Tsang Corporation                                           Contingent
1F, No. 1, Alley 50                                              Unliquidated
Lane 737, Sec. 1                                                 Disputed
Nei Hu Road, Taipei, TAIWAN                                     Basis for the claim:
                                                                goods, services

Date or dates debt was incurred      2017-2020                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.52     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $5,543.43
                                                                Check all that apply.
Feng Tsang Corporation-TWN                                       Contingent
1F, No. 1, Alley 50                                              Unliquidated
Lane 737, Sec. 1                                                 Disputed
Nei Hu Road, Taipei, TAIWAN                                     Basis for the claim:
                                                                goods, services

Date or dates debt was incurred      2016-2020                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.53     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $17,000.00
                                                               Check all that apply.
FHP Consultants Ltd.                                            Contingent
Goddard's Green Barn                                            Unliquidated
Goddard's Green Road                                            Disputed
Benenden Kent, UK TN17 4AR                                     Basis for the claim:
                                                               goods, services

Date or dates debt was incurred      2018-2019                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.54     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $6,000.00
                                                               Check all that apply.
First Sentinel Advisory Limited                                 Contingent
Office Suite 12A                                                Unliquidated
55 Park Lane                                                    Disputed
London, England UK W1K 1QG                                     Basis for the claim:
                                                               goods, services

Date or dates debt was incurred      2019-2020                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.55     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $22,944.55
                                                               Check all that apply.
Fornax Associates Ltd.                                          Contingent
70C 16 Buckhold Rd.                                             Unliquidated
London, England UK Sw18 4fy                                     Disputed
                                                               Basis for the claim:
                                                               goods, services

Date or dates debt was incurred      1/1/2018                  Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.56     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $2,602.37
                                                               Check all that apply.
Frewin & Close Ltd.                                             Contingent
18 Oakley Street                                                Unliquidated
London, England SW3 5NT                                         Disputed
UK                                                             Basis for the claim:
                                                               goods, services

Date or dates debt was incurred      2018-2019                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes




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  3.57     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $46,922.47
                                                               Check all that apply.
FTI Consulting (China) Limited                                  Contingent
Unit 2101-04, Central Plaza                                     Unliquidated
227 Huangpi (N) Road                                            Disputed
Shanghai, China 200003                                         Basis for the claim:
                                                               goods, services

Date or dates debt was incurred      2018-2019                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.58     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $13,005.90
                                                               Check all that apply.
FULL FRONTAL GROUP FZ LLE                                       Contingent
Unit P12, Rimal The Walk                                        Unliquidated
JBR PO Box 487177                                               Disputed
Dubai, UAE                                                     Basis for the claim:
                                                               goods, services

Date or dates debt was incurred      2016-2017                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.59     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $27,612.50
                                                               Check all that apply.
Global Tax Management                                           Contingent
656 E. Swedesford Rd., Suite 200                                Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Wayne                                  PA     19087            goods, services

Date or dates debt was incurred      2019                      Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.60     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $10,003.15
                                                               Check all that apply.
HDMI Licensing Administrator, Inc.                              Contingent
550 S. Winchester Blvd Suite 515                                Unliquidated
                                                                Disputed
                                                               Basis for the claim:
San Cose                               CA     95128            goods, services

Date or dates debt was incurred      2019-2020                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes




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  3.61     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $3,691.63
                                                               Check all that apply.
Hoang Nguyen                                                    Contingent
359 Dale Drive                                                  Unliquidated
                                                                Disputed
                                                               Basis for the claim:
San Jose                               CA       95127          wages

Date or dates debt was incurred      Feb 16-29, 2020           Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.62     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:               $1,813,662.35
                                                               Check all that apply.
Hold Jumper (Suzhou) Packing Co. Ltd.                           Contingent
No. 1, Xiang Street, High-Tech District                         Unliquidated
Suzhou, China                                                   Disputed
                                                               Basis for the claim:
                                                               goods, services

Date or dates debt was incurred      12/28/2018                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.63     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $21,258.00
                                                               Check all that apply.
Howell International Trade Fair Ltd.                            Contingent
5A-604 Houxiandaicheng                                          Unliquidated
No. 16 Baiziwan Rd.                                             Disputed
Chaoyang District Beijing, China                               Basis for the claim:
                                                               goods, services

Date or dates debt was incurred      2016                      Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.64     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                 $805,177.00
                                                               Check all that apply.
HSBC Bank USA, N.A.                                             Contingent
140 Broadway                                                    Unliquidated
Suite 5020                                                      Disputed
                                                               Basis for the claim:
New York                               NY       10005          Paycheck Protection Program

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number       7     1   0   5
                                                                No
                                                                Yes




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  3.65     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $12,770.00
                                                               Check all that apply.
Hudson Valuation Group LLC                                      Contingent
One Glenlake Parkway Suite #700                                 Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Atlanta                                GA       30328          goods, services

Date or dates debt was incurred      2019                      Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.66     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:               $7,252,635.17
                                                               Check all that apply.
Iinuma Gauge Manufacturing Co., Ltd.                            Contingent
11400-327 Harayama, Tamagawa                                    Unliquidated
Chino-City Nagano, Japan 391-0011                               Disputed
Nagano, Japan 391-0011                                         Basis for the claim:
                                                               goods, services

Date or dates debt was incurred      2015-2019                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.67     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                 $426,437.00
                                                               Check all that apply.
IMG Media Ltd.                                                  Contingent
Building 6, Chiswick Park                                       Unliquidated
566 Chiswick High Road                                          Disputed
London, England UK W4 5HR                                      Basis for the claim:
                                                               goods, services

Date or dates debt was incurred      2019                      Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.68     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                     $500.00
                                                               Check all that apply.
infoComm International                                          Contingent
11242 Waples Mill Rd, Suite 200                                 Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Fairfax                                VA       22030          goods, services

Date or dates debt was incurred      4/6/2017                  Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes




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  3.69     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $178,100.96
                                                                Check all that apply.
Innoventures Group LLC                                           Contingent
1105 William Penn Drive                                          Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Bensalem                               PA       19020           goods, services

Date or dates debt was incurred      2020                       Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.70     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $2,893.63
                                                                Check all that apply.
Itaya Misa (TWD)                                                 Contingent
1F, No. 1, Alley 50                                              Unliquidated
Lane 737, Sec. 1, Nei Hu Road                                    Disputed
Taipei, TAIWAN                                                  Basis for the claim:
                                                                goods, services

Date or dates debt was incurred      2019-2020                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.71     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $7,500.00
                                                                Check all that apply.
IZON                                                             Contingent
2005 Tree Fork Lane, Suite 109                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Longwood                               FL       32750           goods, services

Date or dates debt was incurred      12/29/2017                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.72     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $122,768.45
                                                                Check all that apply.
Jamuna Travels, Inc                                              Contingent
6439 Market St.                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Upper Darby                            PA       19082           goods, services

Date or dates debt was incurred      2018-2019                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.73     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                     $543.68
                                                               Check all that apply.
Jih-Chun Yeh                                                    Contingent
4F No., Ln. 232 Zhixiang 1st St.                                Unliquidated
Zhongli Dist                                                    Disputed
Taoyuan City Taiwan 320                                        Basis for the claim:
                                                               goods, services

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.74     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $4,318.00
                                                               Check all that apply.
Karen S. Donovan                                                Contingent
393 Mystic Street                                               Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Arlington                              MA     02474            goods, services

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.75     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $3,617.61
                                                               Check all that apply.
Kaushik Banerjee                                                Contingent
342 Stanforth Court                                             Unliquidated
                                                                Disputed
                                                               Basis for the claim:
San Ramon                              CA     94582            wages

Date or dates debt was incurred      February 2020             Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.76     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $9,264.97
                                                               Check all that apply.
Kaushik Banerjee                                                Contingent
342 Stanforth Court                                             Unliquidated
                                                                Disputed
                                                               Basis for the claim:
San Ramonn                             CA     94582            wages

Date or dates debt was incurred      Feb 16-29, 2020           Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.77     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $6,000.00
                                                               Check all that apply.
Kenneth W. Carroll                                              Contingent
8379 Sweet Briar Court                                          Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Liberty Township                       OH     45044-0000       goods, services

Date or dates debt was incurred      1/31/2017                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.78     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $4,376.87
                                                               Check all that apply.
Kevin Cabot                                                     Contingent
11 Rue Paul Langevin                                            Unliquidated
Saint Ouen                                                      Disputed
France 93400                                                   Basis for the claim:
                                                               goods, services

Date or dates debt was incurred      2020                      Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.79     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $1,010.73
                                                               Check all that apply.
Kleinwort Benson (GBP)                                          Contingent
14 St. George Street                                            Unliquidated
London, England UK W1S 1FE                                      Disputed
                                                               Basis for the claim:
                                                               goods, services

Date or dates debt was incurred      8/30/2017                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.80     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $77,992.33
                                                               Check all that apply.
Law Offices of Young K. Park                                    Contingent
2009 Chestnut Street                                            Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Philadelphia                           PA     19103            Attorney Fees

Date or dates debt was incurred      2019-2020                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.81     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $2,800.00
                                                                Check all that apply.
Lee and Ko                                                       Contingent
Hanjin Buliding, 63 Namdaemun-ro                                 Unliquidated
Jung-gu                                                          Disputed
Seoul, Korea 04532                                              Basis for the claim:
                                                                Attorney Fees

Date or dates debt was incurred      8/3/2016                   Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.82     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $2,347.73
                                                                Check all that apply.
Leo J. Riley                                                     Contingent
225 Aqua Lane                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Delran                                 NJ       08075           wages

Date or dates debt was incurred      Feb 16-29, 2020            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.83     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $2,317.08
                                                                Check all that apply.
Leo Riley                                                        Contingent
225 Aqua Lane                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Delran                                 NJ       08075           wages

Date or dates debt was incurred      3/3/2020                   Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.84     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $6,602.08
                                                                Check all that apply.
Luijks Advies B.V.                                               Contingent
Vinkenkade 41 R 3                                                Unliquidated
Vinkeveen, The Netherlands 3645 AP                               Disputed
                                                                Basis for the claim:
                                                                goods, services

Date or dates debt was incurred      1/5/2019                   Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.85     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $5,682.93
                                                                Check all that apply.
Luong D. Nguyen                                                  Contingent
2801 Camino Del Rey                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Jose                               CA       95132           wages

Date or dates debt was incurred      Feb 16-29, 2020            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.86     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $146,820.00
                                                                Check all that apply.
Marcum LLP                                                       Contingent
One SE Third Ave, Suite 1100                                     Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Miami                                  FL       33131           goods, services

Date or dates debt was incurred      2019                       Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.87     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $5,325.57
                                                                Check all that apply.
Mathu Rajan                                                      Contingent
1105 William Penn Drive                                          Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Bensalem                               PA       19020           wages

Date or dates debt was incurred      Feb 16-29, 2020            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.88     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $185,354.47
                                                                Check all that apply.
Mathu Rajan                                                      Contingent
1105 William Penn Drive                                          Unliquidated
Bensalem, PA19020                                                Disputed
                                                                Basis for the claim:
                                                                Services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
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                                                                 Yes




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  3.89     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $74,000.00
                                                                Check all that apply.
Mathu Rajan                                                      Contingent
1105 William Penn Drive                                          Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Bensalem                               PA       19020           Services

Date or dates debt was incurred      2019-2020                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.90     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $155,000.00
                                                                Check all that apply.
Matrex Exhibits, Inc.                                            Contingent
301 S. Church St.                                                Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Addison                                IL       60101           goods, services

Date or dates debt was incurred      9/30/2019                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.91     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $120.46
                                                                Check all that apply.
Matt J. Lo.                                                      Contingent
7322 Carter Ave.                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Newark                                 CA       94560           goods, services

Date or dates debt was incurred      9/16/2019                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.92     Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $7,128.63
                                                                Check all that apply.
Matthew Lo                                                       Contingent
7322 Carter Ave.                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Newark                                 CA       94560           wages

Date or dates debt was incurred      Feb 16-29, 2020            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.93     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $60,000.00
                                                               Check all that apply.
Mediatainment, Inc                                              Contingent
1105 William Penn Drive                                         Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Bensalem                               PA     19020            goods, services

Date or dates debt was incurred      2018-2020                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.94     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                 $890,590.68
                                                               Check all that apply.
Mediatainment, Inc.                                             Contingent
Attn: Raja Rajan                                                Unliquidated
1105 William Penn Drive                                         Disputed
                                                               Basis for the claim:
Bensalem                               PA     19020            Note

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.95     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                 $402,564.00
                                                               Check all that apply.
Mentor Graphics Corporation                                     Contingent
8005 SW Boeckman Rd.                                            Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Wilsonville                            OR     97070-7777       goods, services

Date or dates debt was incurred      2019-2020                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.96     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $61,780.89
                                                               Check all that apply.
Modular Mobile GmbH                                             Contingent
Hansaallee 201                                                  Unliquidated
Dusseldorf, GERMANY                                             Disputed
D-450549                                                       Basis for the claim:
                                                               goods, services

Date or dates debt was incurred      2019-2020                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.97     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $34,281.89
                                                               Check all that apply.
MotivIT                                                         Contingent
2880 Zanker Rd., Suite 203                                      Unliquidated
                                                                Disputed
                                                               Basis for the claim:
San Jose                               CA     95134            goods, services

Date or dates debt was incurred      2019-2020                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.98     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $75,849.00
                                                               Check all that apply.
MTL Shipping & Investment Ltd.                                  Contingent
Hillside, Crocknorth Road                                       Unliquidated
East Horsley                                                    Disputed
Surrey KT24 5TF UK                                             Basis for the claim:
                                                               goods, services

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.99     Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $2,535.00
                                                               Check all that apply.
Muni Mohan                                                      Contingent
4612 Aviara Ct.                                                 Unliquidated
                                                                Disputed
                                                               Basis for the claim:
San Jose                               CA     95135            wages

Date or dates debt was incurred      2/28/2020                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.100    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $6,113.47
                                                               Check all that apply.
Muni Mohan                                                      Contingent
4612 Aviara Ct.                                                 Unliquidated
                                                                Disputed
                                                               Basis for the claim:
San Jose                               CA     95135            wages

Date or dates debt was incurred      Feb 16-29, 2020           Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes




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  3.101    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $75,811.00
                                                                Check all that apply.
MWL International Ltd.                                           Contingent
Attn: David Walpole                                              Unliquidated
1 Paper Mews, 330 High Street                                    Disputed
Dorking, Surrey RH4 2TU                                         Basis for the claim:
                                                                goods, services

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.102    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $1,400.27
                                                                Check all that apply.
Nicole Marie Maneen                                              Contingent
2394 Barberee Drive                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Crestview                              FL       32536           wages

Date or dates debt was incurred      Feb 16-29, 2020            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.103    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $12,682.42
                                                                Check all that apply.
Open Sales Solutions, LLC                                        Contingent
548 Market Street, Suite 11745                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Francisco                          CA       94104           goods, services

Date or dates debt was incurred      2015-2017                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.104    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $24,539.78
                                                                Check all that apply.
Pactron                                                          Contingent
3000 Patrick Henry Dr.                                           Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Santa Clara                            CA       95054-1814      goods, services

Date or dates debt was incurred      2019-2020                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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  3.105    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:               $2,125,415.54
                                                               Check all that apply.
Pegatron Corporation                                            Contingent
5F No. 76, Ligong St., Beitou District                          Unliquidated
Taipei City 112                                                 Disputed
Taiwan                                                         Basis for the claim:
                                                               goods, services

Date or dates debt was incurred      2017-2020                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.106    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                 $206,006.36
                                                               Check all that apply.
Polsinelli PC                                                   Contingent
222 Delaware Avenue, Suite 1101                                 Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Wilmington                             DE     19801            Attorney Fees

Date or dates debt was incurred                                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.107    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $3,000.00
                                                               Check all that apply.
Porter Digital Signage                                          Contingent
241 N. Caldwell Circle                                          Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Downingtown                            PA     19335            goods, services

Date or dates debt was incurred      2017                      Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.108    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $9,198.00
                                                               Check all that apply.
PR NESWIRE ASSOCIATION, LLC                                     Contingent
G.P.O. Box 5897                                                 Unliquidated
                                                                Disputed
                                                               Basis for the claim:
New York                               NY     10087-5897       goods, services

Date or dates debt was incurred      2018                      Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes




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  3.109    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $3,807.60
                                                                Check all that apply.
Raja Rajan                                                       Contingent
5215 Bishop View Circle                                          Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Cherry Hill                            NJ       08002           wages

Date or dates debt was incurred      Feb 16-29, 2020            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.110    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $935.86
                                                                Check all that apply.
RL Systems                                                       Contingent
Old Post Office Cottage, Post Office Rd.                         Unliquidated
Inkpen, Berkshire, RG17 9PY                                      Disputed
United Kingdon                                                  Basis for the claim:
                                                                goods, services

Date or dates debt was incurred      12/16/2019                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.111    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $30,321.53
                                                                Check all that apply.
Robert Half Management Svs.                                      Contingent
12400 Collections Center Drive                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Chicago                                IL       60693           goods, services

Date or dates debt was incurred      2019-2020                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.112    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $14,115.00
                                                                Check all that apply.
Robert S. French Revocable                                       Contingent
1712 KImberly Drive                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Sunnyvale                              CA       94087           loan

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.113    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $173,257.51
                                                                Check all that apply.
Salazar Law                                                      Contingent
2000 Ponce De Leon Boulevard, Penthouse                          Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Coral Gables                           FL       33134           Attorney Fees

Date or dates debt was incurred      2020-2021                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.114    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $1,527.57
                                                                Check all that apply.
Sara Leona Robertson                                             Contingent
1900 Tomahawk Drive                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Henderson                              NV       89074           wages

Date or dates debt was incurred      Feb 16-29, 2020            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.115    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $4,500.00
                                                                Check all that apply.
SeeCubic B.V.                                                    Contingent
Park Forum 1033 & 1035                                           Unliquidated
Eindhoven                                                        Disputed
The Netherlands 5657HJ                                          Basis for the claim:
                                                                goods, services

Date or dates debt was incurred      2011-2020                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.116    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $7,500.00
                                                                Check all that apply.
SKC Haas Display Films Co.                                       Contingent
460,Chonheung-Ri,Songgo-Ub                                       Unliquidated
Chonan-City                                                      Disputed
Chungchongnam-Do 330-836, Korea                                 Basis for the claim:
                                                                goods, services

Date or dates debt was incurred      2015-2016                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.117    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $14,930.59
                                                                Check all that apply.
Special Counsel                                                  Contingent
Dept. CH 14305                                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Palatine                               IL       60055-4305      Attorney Fees

Date or dates debt was incurred      2020                       Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.118    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $143,448.99
                                                                Check all that apply.
ST4M Electronics, Inc. Beijing Office                            Contingent
Room1102, Building313, Hui Zhong Bei Li                          Unliquidated
Beijing, Chaoyang District, China                                Disputed
                                                                Basis for the claim:
                                                                goods, services

Date or dates debt was incurred      2018-2020                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.119    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $10,313.46
                                                                Check all that apply.
ST4M Electronics, Inc. Beijing Office                            Contingent
Room1102, Building313, Hui Zhong Bei Li                          Unliquidated
Beijing Chaoyang District China                                  Disputed
                                                                Basis for the claim:
                                                                goods, services

Date or dates debt was incurred      2018-2020                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.120    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $3,877.66
                                                                Check all that apply.
Stoit Groep B.V.                                                 Contingent
Vestdijk 23                                                      Unliquidated
Eindhoven                                                        Disputed
The Netherlands 5611                                            Basis for the claim:
                                                                goods, services

Date or dates debt was incurred      2020                       Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.121    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $27,569.35
                                                               Check all that apply.
Stream TV International B.V.                                    Contingent
Park Forum 1033 & 1035                                          Unliquidated
Eindhoven                                                       Disputed
The Netherlands 5657HJ                                         Basis for the claim:
                                                               goods, services

Date or dates debt was incurred      2017-2020                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.122    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $2,158.50
                                                               Check all that apply.
Suby Joseph                                                     Contingent
48 Colleen Circle                                               Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Downingtown                            PA     19335            wages

Date or dates debt was incurred      2020                      Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.123    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $3,608.74
                                                               Check all that apply.
Suby Joseph                                                     Contingent
48 Colleen Circle                                               Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Downingtown                            PA     19335            wages

Date or dates debt was incurred      Feb 16-29, 2020           Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.124    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $55,447.78
                                                               Check all that apply.
Suzhou Industrial Equipment Installation                        Contingent
No. 3, Caixiang Road                                            Unliquidated
Suzhou, Jiangsu, China                                          Disputed
                                                               Basis for the claim:
                                                               goods, services

Date or dates debt was incurred      2019                      Is the claim subject to offset?

Last 4 digits of account number
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                                                                Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.125    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                 $105,227.59
                                                               Check all that apply.
Synopsys                                                        Contingent
690 East Middlefield Road                                       Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Mountain View                          CA     94043            goods, services

Date or dates debt was incurred      2019                      Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.126    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $29,912.61
                                                               Check all that apply.
TD BANK, N. A.                                                  Contingent
P.O.Box 16027                                                   Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Lewiston                               ME     04243-9513       loan

Date or dates debt was incurred      2018-2020                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.127    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $5,300.00
                                                               Check all that apply.
Three D Holograms Pvt. Ltd.                                     Contingent
307 Kilfire House                                               Unliquidated
C-17 Dalia Industrial Area                                      Disputed
New Link Road, Andheri-West                                    Basis for the claim:
Mumbai, Maharashtra India 00040-0053                           goods, services

Date or dates debt was incurred      8/30/2019                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.128    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                 $420,000.00
                                                               Check all that apply.
Trans World International, LLC                                  Contingent
200 Fifth Ave 7th Floor                                         Unliquidated
                                                                Disputed
                                                               Basis for the claim:
New York                               NY     10010            loan

Date or dates debt was incurred      2018-2019                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes




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Debtor       Stream TV Networks, Inc.                                               Case number (if known)      23-10763

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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.129    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $162,115.13
                                                                Check all that apply.
Triple Crown Consulting, LLC                                     Contingent
10814 Jollyville Rd, Suite 100                                   Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Austin                                 TX       78759-0000      goods, services

Date or dates debt was incurred      2019                       Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.130    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $17,011.38
                                                                Check all that apply.
U.S. Legal Support, Inc.                                         Contingent
P.O. Box 4772                                                    Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Houston                                TX       77210-4772      goods, services

Date or dates debt was incurred      2020                       Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.131    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $880.08
                                                                Check all that apply.
UHaul Moving and Storage of Cinnaminson                          Contingent
201 US Highway 130S                                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Cinnaminson                            NJ       08077           goods, services

Date or dates debt was incurred      2020                       Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.132    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $165,281.93
                                                                Check all that apply.
US Compliance Services LLC                                       Contingent
199 North Woodbury Road Suite # 103                              Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Pitman                                 NJ       08071           goods, services

Date or dates debt was incurred      2011-2019                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Debtor        Stream TV Networks, Inc.                                              Case number (if known)      23-10763

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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.133    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                 $173,798.00
                                                                Check all that apply.
Vayikra Capital LLC                                              Contingent
1 Farmstead Road                                                 Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Short Hills                            NJ       07078           loan

Date or dates debt was incurred                                 Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.134    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                     $214.81
                                                                Check all that apply.
Via Licensing Corporation                                        Contingent
1275 Market Street                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Francisco                          CA       94103-1410      goods, services

Date or dates debt was incurred      2019-2020                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.135    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $4,729.98
                                                                Check all that apply.
Vikas Kshetrapal                                                 Contingent
2287 Ashbourne Drive                                             Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Ramon                              CA       94583           wages

Date or dates debt was incurred      2020                       Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.136    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $6,509.32
                                                                Check all that apply.
Vikas Kshetrapal                                                 Contingent
2287 Ashbourne Dr.                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
San Ramon                              CA       94583           wages

Date or dates debt was incurred      Feb 16-29, 2020            Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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Debtor       Stream TV Networks, Inc.                                              Case number (if known)      23-10763

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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.137    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                     $972.00
                                                               Check all that apply.
Visual Apex, Inc.                                               Contingent
7950 NE Day Road W, Suite B                                     Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Bainbridge Island                      WA     98110            goods, services

Date or dates debt was incurred      10/21/2016                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.138    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $4,947.49
                                                               Check all that apply.
Wah Woo Tan                                                     Contingent
243 Summerwind Drive                                            Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Milpitas                               CA     95035            wages

Date or dates debt was incurred      Feb 16-29, 2020           Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.139    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $1,874.05
                                                               Check all that apply.
Wai Ming Chiu                                                   Contingent
1798 Cape Coral Dr.                                             Unliquidated
                                                                Disputed
                                                               Basis for the claim:
San Jose                               CA     95133            wages

Date or dates debt was incurred      2019-2020                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.140    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $5,053.11
                                                               Check all that apply.
Wai Ming Chiu                                                   Contingent
1798 Cape Coral Dr.                                             Unliquidated
                                                                Disputed
                                                               Basis for the claim:
San Jose                               CA     95133            wages

Date or dates debt was incurred      Feb 16-29, 2020           Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                    Amount of claim

  3.141    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $10,640.00
                                                                Check all that apply.
Walsh C.H.B. Inc                                                 Contingent
189 Sunrise Highway Suite # 302                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Rockville Centre                       NY       11570           goods, services

Date or dates debt was incurred      2014-2019                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.142    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $56,316.40
                                                                Check all that apply.
Weida Freight System Co.                                         Contingent
Flat 402, 4/F., Yee Kuk Indust. Ctr.                             Unliquidated
555 Yee Kuk Street                                               Disputed
Cheung Sha Wan, Kowloon Hong Kong, China                        Basis for the claim:
                                                                goods, services

Date or dates debt was incurred      2019                       Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.143    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                  $10,383.77
                                                                Check all that apply.
Wharton Capital Partners                                         Contingent
5720 Lagorce Drive                                               Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Miami Beach                            FL       33140           loan

Date or dates debt was incurred      2018-2019                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes

  3.144    Nonpriority creditor's name and mailing address      As of the petition filing date, the claim is:                   $4,617.50
                                                                Check all that apply.
WiLine Networks Inc.                                             Contingent
P.O. Box 102150                                                  Unliquidated
                                                                 Disputed
                                                                Basis for the claim:
Pasadena                               CA       91189-2150      goods, services

Date or dates debt was incurred      2019-2020                  Is the claim subject to offset?

Last 4 digits of account number
                                                                 No
                                                                 Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.145    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                     $806.08
                                                               Check all that apply.
William Hennessey                                               Contingent
436 Lee Place                                                   Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Exton                                  PA     19341            goods, services

Date or dates debt was incurred      1/29/2020                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.146    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                     $372.00
                                                               Check all that apply.
Zach Lehman                                                     Contingent
1440 S. Stanley Ave.                                            Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Los Angeles                            CA     90019            wages

Date or dates debt was incurred      12/13/2019                Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.147    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $3,182.43
                                                               Check all that apply.
Zach Lehman                                                     Contingent
1440 S. Stanley Ave.                                            Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Los Angeles                            CA     90019            wages

Date or dates debt was incurred      Feb 16-29, 2020           Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.148    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $2,058.00
                                                               Check all that apply.
Zeifang Hsu                                                     Contingent
101 Blaisdell Way                                               Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Fremont                                CA     94536            wages

Date or dates debt was incurred      2/28/2020                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes




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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.                   Amount of claim

  3.149    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                   $6,342.79
                                                               Check all that apply.
Zeifang Hsu                                                     Contingent
101 Blaisdell Way                                               Unliquidated
                                                                Disputed
                                                               Basis for the claim:
Fremont                                CA     94536            wages

Date or dates debt was incurred      Feb 16-29, 2020           Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes

  3.150    Nonpriority creditor's name and mailing address     As of the petition filing date, the claim is:                  $29,577.86
                                                               Check all that apply.
Zygintas Papartis (EUR)                                         Contingent
Sarmos g. 7-2                                                   Unliquidated
Vilnius 04126                                                   Disputed
                                                               Basis for the claim:
                                                               goods, services

Date or dates debt was incurred      2019-2020                 Is the claim subject to offset?

Last 4 digits of account number
                                                                No
                                                                Yes




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 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5.   Add the amounts of priority and nonpriority unsecured claims.

                                                                                                  Total of claim amounts

5a. Total claims from Part 1                                                              5a.              $216,576.01

5b. Total claims from Part 2                                                              5b. +         $20,137,677.18


5c. Total of Parts 1 and 2                                                                5c.           $20,354,253.19
    Lines 5a + 5b = 5c.




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GLOBAL NOTES TO SCHEDULES AND STATEMENT OF FINANCIAL AFFAIRS OF
    DEBTORS, STREAM TV NETWORKS, INC., CASE NO. 23-10763(mdc) AND
 TECHNOVATIVE MEDIA, INC., CAUSE NO. 10764 (Joint Administration Requested)

The Debtors develop their technology and conduct the majority of their business through their
direct and indirect foreign and domestic subsidiaries. The Debtors provided capital to their direct
and indirect foreign and domestic subsidiaries for the purpose of acquiring and developing assets
and to conduct business operations. The Debtors direct interested parties to the Declaration of
Mathu Rajan in Support of Stream TV Networks, Inc. and Technovative Media, Inc. Chapter 11
Petition, Supporting Emergency Relief, and First Day Motions [Docket No. 48] (“Rajan
Declaration”) in which the Debtors’ organizational and operational structure is described in greater
detail.

In its bankruptcy schedules, the Debtors disclose and describe the assets, including their ownership
interest in direct subsidiaries and their contracts, that the Debtors owned as of March 15, 2023 (the
“Petition Date”). The Debtors’ direct subsidiaries, in turn, hold or may hold ownership interests in
the Debtors’ indirect subsidiaries as depicted on the Debtor’s Organization Chart included in the
Rajans Declaration. The assets of the Debtors’ direct and indirect subsidiaries are not included in
the Debtors’ bankruptcy schedules.

The Debtors intend to complete a recovery of assets which were previously and improperly
transferred in contravention of express provisions of its corporate charter through an invalidated
board settlement agreement as confirmed by the Delaware Supreme Court through an en banc
unanimous decision on June 15, 2022. See Stream TV Networks, Inc. v. Seecubic, Inc., No. 360,
2021, p. 3 (Del. June 15, 2022) (Holding that “a majority vote of Class B stockholders is required
under Stream’s charter” to “transfer pledged assets to secured creditors in connection with what
was, in essence, a privately structured foreclosure transaction”).1 The Delaware Supreme Court
also held that the “agreement authorizing the secured creditors to transfer Stream’s pledged assets
. . . is invalid because Stream’s unambiguous certificate of incorporation required the approval of
Stream’s Class B stockholders.” Id.. at p. 34. (emphasis added).




1
 A debt resolution committee of the Debtor’s Board of Directors purporting to act on the
Debtor’s behalf reached an unauthorized settlement enshrined in an agreement titled as the
Omnibus Agreement, dated May 6, 2021, between the Debtor’s senior secured lender, SLS
Holdings VI, LLC (“SLS”) and the Debtor’s debt resolution committee, which was which
approved by the Delaware Court of Chancery and then held to be invalid by the Delaware
Supreme Court on appeal. Prior to the Delaware Supreme Court ruling the SLS Holdings and its
newly formed company,

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The new company formed by the purported secured lenders,2 SeeCubic, Inc. (“SeeCubic”),3
asserted an ownership interest in all of the Debtor’s assets and took possession of, and in some
cases, destroyed the Debtors’ assets. The Chancery Court, on remand and with direction from the
Delaware Supreme Court to effectuate the dismissal and vacating of its prior injunctive relief, has
made it clear that the assets must be returned both in title and possession to the Debtors.4
Furthermore, the Chancery Court on August 10, 2022, issued an Order Granting Partial Final
Judgment in favor of the Debtor. The order stated: “Pending transfer of the Assets from SeeCubic
to Stream, SeeCubic and all those acting in concert with it shall not use, impair, encumber, or
transfer the Assets, except as necessary to maintain the Assets in the ordinary course of business
and preserve their value pending transfer to Stream.” Rajan Declaration, Exhibit BB. Despite these
clear directives, the purported secured lenders have resisted and continue to resist return of the
assets.

The Debtors have also been alerted to SeeCubic’s violation of intellectual property licenses which
were held by the Debtors and were non-transferable, actions violating third party rights under
applicable Federal and state law which cannot be remedied or cleansed by the invalidated
settlement, even prior to its invalidation by the Delaware Supreme Court. Even before the
Omnibus Agreement was invalidated, the transfers themselves were invalid under both a Phillips
license to the Debtors and a Rembrandt 3D Holding Ltd. (“Rembrandt”) license, both parties not
subject to the settlement or any now invalidated injunctive relief by the Chancery Court.5

The Debtors have been subjected to continuous damage by the purported secured creditors, even
after the Supreme Court decision. SeeCubic, the purported lenders, and Mr. Shad Stastney of
SeeCubic and SLS, were held in contempt by the Delaware Court of Chancery in October 2022
for their orchestrated efforts to seize control of the Debtor’s subsidiary, TechnoVative Media, Inc.,

2
 The Debtors contend that SLS Holdings VI, LLC (“SLS”) and Hawk Investment Holdings
Limited (“Hawk”) hold secured debt convertible to equity or must pursue their claims in chapter
11 where they will be paid in full, if their claims are allowed.
3
  SeeCubic, Inc., a Delaware entity, took its name from a foreign Dutch subsidiary of the
Debtors, SeeCubic B.V. (The Netherlands) (“SCBV”) and is likely in violation of trademark
laws protecting the Debtors and its foreign subsidiary).
4
 On August 9, 2022, nearly 8 weeks after the Delaware Supreme Court opinion, the Chancery
Court issued a TRO against SeeCubic. Vice Chancellor Laster specifically stated his
expectations: “SeeCubic will restore Stream’s assets to Stream in accordance with the Rule 54(b)
order. Once this has occurred, SeeCubic may seek to exercise any creditor’s rights it possesses
against Stream. SeeCubic must do so based on a status quo where Stream has title to and
possession of its assets, not a status quo in which SeeCubic acquired possession based on a
decision that the Delaware Supreme Court has held is erroneous.”
5
 On February 21, 2023, Rembrandt filed suit in the U.S. District Court for the District of Delaware
against parties using the Ultra-D technology without a Rembrandt license. It sued TechnoVative
USA, which was under the direction of the Chancery Court-appointed Receiver, Hawk, and
SeeCubic for trade secret violations and injunctive relief to prevent the sale of Stream’s assets
Rembrandt 3D Holding Ltd v Technovative Media, Inc., Hawk Investment Holdings Ltd. and
SeeCubic, Inc.

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in the months after the Supreme Court decision. In ¶ 3 of his October 3, 2022 Opinion, Vice
Chancellor Laster wrote: “This decision holds that SeeCubic and Hawk engaged in contumacious
conduct. Shad L. Stastney was the puppet master who pulled the strings. He controls SeeCubic
and Technovative, and he also controls SLS Holdings VI, LLC (“SLS”), Stream’s only secured
creditor other than Hawk.” See Rajan Declaration, Exhibit AA.

SLS and SeeCubic possess some and claim to have obtained possession or control of other of the
Debtor’s assets before the Petition Date. The Debtor’s investigation into the location and condition
of its assets is ongoing. The Debtors have listed the assets that they believe they continue to own,
unless otherwise expressly indicated in its bankruptcy schedules. The Debtors intend to pursue
recovery of assets and to operate their business under the provisions of the Bankruptcy Code in
this case.

Additional Notes:

1.      Because US GAAP treatment may not apply to the Debtor’s assets located in foreign
jurisdictions, the values provided for certain assets may differ from typical accounting standards.

2.     Funding advanced by the Debtors to their direct and indirect subsidiaries are reflected in
intercompany loans.

3.    The Debtors’ goodwill and similar intangible value is not reflected in the Debtors’
bankruptcy schedules.

4.     SeeCubic BV (the Netherlands) is a subsidiary of the Debtors, SeeCubic BV (the
Netherlands) is unrelated to and is a separate entity from SeeCubic Inc., a company newly formed
in Delaware by SLS Holdings, Inc.




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 Fill in this information to identify the case:
 Debtor name        Stream TV Networks, Inc.

 United States Bankruptcy Court for the: EASTERN DIST. OF PENNSYLVANIA

 Case number        23-10763
 (if known)                                                                                                 Check if this is an
                                                                                                                amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write the debtor's name and case number (if known).


 Part 1:       Income
1.   Gross revenue from business

      None
Identify the beginning and ending dates of the debtor's fiscal year,           Sources of revenue                            Gross revenue
which may be a calendar year                                                   Check all that apply.                         (before deductions
                                                                                                                             and exclusions


From the beginning of the
                                 From    01/01/2023      to   Filing date       Operating a business
fiscal year to filing date:
                                        MM / DD / YYYY                          Other                                                    $0.00


For prior year:                  From    01/01/2022      to    12/31/2022       Operating a business
                                        MM / DD / YYYY        MM / DD / YYYY    Other                                                    $0.00


For the year before that:        From    01/01/2021      to    12/31/2021       Operating a business
                                        MM / DD / YYYY        MM / DD / YYYY    Other                                                    $0.00

2.   Non-business revenue
     Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from
     lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      None
 Part 2:       List Certain Transfers Made Before Filing for Bankruptcy
3.   Certain payments or transfers to creditors within 90 days before filing this case

     List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days
     before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be
     adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)


      None




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Debtor         Stream TV Networks, Inc.                                                        Case number (if known)     23-10763
               Name

4.   Payments or other transfers of property made within 1 year before filing this case that benefited any insider

     List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
     guaranteed or co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
     $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of
     adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor
     and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and
     any managing agent of the debtor. 11 U.S.C. § 101(31).


      None
5.   Repossessions, foreclosures, and returns

     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a
     creditor, sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in
     line 6.


      None
6.   Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from
     an account of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because
     the debtor owed a debt.


      None
 Part 3:        Legal Actions or Assignments
7.   Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity--within 1 year before filing this case.


      None
      Case title                             Nature of case                             Court or agency's name and address               Status of case
7.1. Stream TV Networks, Inc. v.             Dispute                                    Court of Chancery of Delaware
      Seecubic, Inc.                                                                    Name                                              Pending
                                                                                        New Castle County Courthouse                      On appeal
                                                                                        Street
                                                                                                                                          Concluded
      Case number
      C.A. No. 2020-0766-JTL                                                            Wilmington                DE      19801
                                                                                        City                      State   ZIP Code

      Case title                             Nature of case                             Court or agency's name and address               Status of case
7.2. Hawk Investment Holdings                Dispute                                    Court of Chancery of Delaware
      Ltd. v. Stream TV Networks,                                                       Name                                              Pending
      Inc. and Technovative Media,                                                                                                        On appeal
      Inc.                                                                              Street
                                                                                                                                          Concluded
      Case number
      C.A. No. 2022-0930-JTL
                                                                                        City                      State   ZIP Code

      Case title                             Nature of case                             Court or agency's name and address               Status of case
7.3. Stream TV Networks, Inc. v.             Debtor action seeking                      US District Court for the District of DE
      Sharon Stanstney, et al.               damages                                    Name                                              Pending
                                                                                                                                          On appeal
                                                                                        Street
                                                                                                                                          Concluded
      Case number
      C.A. No. 22-851-CJB
                                                                                        City                      State   ZIP Code




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Debtor         Stream TV Networks, Inc.                                                        Case number (if known)       23-10763
               Name

         Case title                           Nature of case                            Court or agency's name and address                Status of case
 7.4. SLS Holdings VI, LLC v.                 Dispute                                   Superior Court of the State of Delawar
         Stream TV Networks, Inc. et                                                    Name                                               Pending
         al                                                                             New Castle County Courthouse                       On appeal
                                                                                        Street

                                                                                        500 N. King Street                                 Concluded
         Case number
         N20C-03-225 MMJ CCLD                                                           Wilmington                  DE      19801
                                                                                        City                        State   ZIP Code

         Case title                           Nature of case                            Court or agency's name and address                Status of case
 7.5. Hawk Investment Holdings                Dispute                                   Delaware Chancery Court
         LTD v. Mediatainment Inc. et                                                   Name                                               Pending
         al.                                                                                                                               On appeal
                                                                                        Street
                                                                                                                                           Concluded
         Case number
         C.A. No. 2022-0733-JTL
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8.     Assignments and receivership

       List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
       hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

        None
Custodian's name and address                      Description of the property                              Value
Ian Liston (appointed & resigned)
Custodian's name
WILSON SONSINI                                    Case title                                               Court name and address
Street
                                                  Hawk Investment Holdings Ltd. v. Stream                  Court of Chancery of Delaware
222 Delaware Avenue, Suite 800                                                                             Name
                                                  Case number
Wilmington                 DE      19801                                                                   Street
City                       State   ZIP Code       2022-0930-JTL
                                                  Date of order or assignment
                                                  10/20/22                                                 City                        State   ZIP Code



  Part 4:        Certain Gifts and Charitable Contributions
9.     List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the
       aggregate value of the gifts to that recipient is less than $1,000

        None
  Part 5:        Certain Losses
10. All losses from fire, theft, or other casualty within 1 year before filing this case.

        None




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Debtor          Stream TV Networks, Inc.                                                  Case number (if known)      23-10763
                Name


 Part 6:          Certain Payments or Transfers
11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year
    before the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or
    restructuring, seeking bankruptcy relief, or filing a bankruptcy case.


      None
         Who was paid or who received the transfer?           If not money, describe any property             Dates               Total amount
                                                              transferred                                                         or value
 11.1. Lewis Brisbois Bisgaard & Smith                                                                        3/2023                 $50,000.00

         Address

         500 Delaware Avenue, Suite 700
         Street


         Wilmington                  DE      19801
         City                        State   ZIP Code

         Email or website address
         lewisbrisbois.com

         Who made the payment, if not debtor?



         Who was paid or who received the transfer?           If not money, describe any property             Dates               Total amount
                                                              transferred                                                         or value
 11.2. BMC Group, Inc.                                                                                        3/2023                  $5,000.00

         Address

         600 First Avenue
         Street


         Seattle                     WA      98104
         City                        State   ZIP Code

         Email or website address



         Who made the payment, if not debtor?



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing
    of this case to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.


      None




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                Name

13. Transfers not already listed on this statement
    List any transfers of money or other property--by sale, trade, or any other means--made by the debtor or a person acting on behalf of the
    debtor within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or
    financial affairs. Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this
    statement.


      None
 Part 7:          Previous Locations
14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

      Does not apply
         Address                                                                                    Dates of occupancy

 14.1. 2726 Bayview Drive                                                                           From        2019               To       2020
         Street


         Fremont                                               CA         94538
         City                                                  State      ZIP Code

         Address                                                                                    Dates of occupancy

 14.2. 2009 Chestnut Street                                                                         From        2009               To     present
         Street
         3rd Floor

         Philadelphia                                          PA         19103
         City                                                  State      ZIP Code


 Part 8:          Health Care Bankruptcies
15. Health Care bankruptcies

     Is the debtor primarily engaged in offering services and facilities for:

      diagnosing or treating injury, deformity, or disease, or

      providing any surgical, psychiatric, drug treatment, or obstetric care?

      No. Go to Part 9.
      Yes. Fill in the information below.
 Part 9:          Personally Identifiable Information
16. Does the debtor collect and retain personally identifiable information of customers?

      No.
      Yes. State the nature of the information collected and retained
                  Does the debtor have a privacy policy about that information?
                   No.
                   Yes.




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Debtor          Stream TV Networks, Inc.                                                Case number (if known)     23-10763
                Name

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or
    other pension or profit-sharing plan made available by the debtor as an employee benefit?

      No. Go to Part 10.
      Yes. Does the debtor serve as plan administrator?
             No. Go to Part 10.
             Yes. Fill in below:
 Part 10:         Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit,
    closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts, certificates of deposit, and shares in banks, credit unions, brokerage
    houses, cooperatives, associations, and other financial institutions.


      None
         Financial institution name and address         Last 4 digits of              Type of account       Date account        Last balance
                                                        account number                                      was closed,         before closing
                                                                                                            sold, moved,        or transfer
                                                                                                            or transferred
 18.1. HSBC Bank
         Name
                                                        XXXX- 9        2    0    7     Checking               12/31/2020           $8,420.68
         140 Broadway, Suite 5020
         Street                                                                        Savings
                                                                                       Money market
                                                                                       Brokerage
         New York                NY      10005
                                                                                       Other
         City                    State   ZIP Code

         Financial institution name and address         Last 4 digits of              Type of account       Date account        Last balance
                                                        account number                                      was closed,         before closing
                                                                                                            sold, moved,        or transfer
                                                                                                            or transferred
 18.2. HSBC Bank
         Name
                                                        XXXX- 9        2    1    5     Checking               12/31/2020           $1,002.67
         140 Broadway, Suite 5020
         Street                                                                        Savings
                                                                                       Money market
                                                                                       Brokerage
         New York                NY      10005
                                                                                       Other
         City                    State   ZIP Code

         Financial institution name and address         Last 4 digits of              Type of account       Date account        Last balance
                                                        account number                                      was closed,         before closing
                                                                                                            sold, moved,        or transfer
                                                                                                            or transferred
 18.3. TD Bank
         Name
                                                        XXXX- 8        6    8    2     Checking               12/31/2020            $329.11
         P.O. Box 16027
         Street                                                                        Savings
                                                                                       Money market
                                                                                       Brokerage
         Lewiston                ME      04243
                                                                                       Other
         City                    State   ZIP Code




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                Name

         Financial institution name and address                Last 4 digits of             Type of account      Date account         Last balance
                                                               account number                                    was closed,          before closing
                                                                                                                 sold, moved,         or transfer
                                                                                                                 or transferred
 18.4. HSBC Bank
         Name
                                                               XXXX- 3      0     0   4      Checking              12/31/2020              $0.00
         140 Broadway, Suite 5020
         Street                                                                              Savings
                                                                                             Money market
                                                                                             Brokerage
         New York                  NY        10005
                                                                                             Other
         City                      State     ZIP Code

         Financial institution name and address                Last 4 digits of             Type of account      Date account         Last balance
                                                               account number                                    was closed,          before closing
                                                                                                                 sold, moved,         or transfer
                                                                                                                 or transferred
 18.5. TD Bank
         Name
                                                               XXXX- 4      3     9   4      Checking              12/16/2020            $1,550.00
         P.O. Box 16027
         Street                                                                              Savings
                                                                                             Money market
                                                                                             Brokerage
         Lewiston                  ME        04243
                                                                                             Other
         City                      State     ZIP Code

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before
    filing this case.

        None
20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a
    building in which the debtor does business.

        None
Facility name and address                               Names of anyone with access to it     Description of the contents               Does debtor
                                                                                                                                        still have it?
Big Yellow Storage
Name
                                                        SeeCubic, Inc. presently              To the best of the Debtor's                No
                                                        has control of the storage            knowledge, the contents were               Yes
Hounslow, UK                                            facility.                             display models and other
Street
                                                        Address                               electrical products, and remain
                                                                                              within the unit.


City                      State   ZIP Code

Facility name and address                               Names of anyone with access to it     Description of the contents               Does debtor
                                                                                                                                        still have it?
Big Yellow Storage
Name
                                                        SeeCubic, Inc. presently              To the best of the Debtor's                No
                                                        has control of the storage            knowledge, the contents were               Yes
Camberley, UK                                           facility.                             display models and other
Street
                                                        Address                               electrical products, and remain
                                                                                              within the unit.


City                      State   ZIP Code




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Debtor        Stream TV Networks, Inc.                                                      Case number (if known)     23-10763
              Name

Facility name and address                         Names of anyone with access to it          Description of the contents               Does debtor
                                                                                                                                       still have it?
Extra Space Storage
Name
                                                  SeeCubic, Inc. presently                   To the best of the Debtor's                No
                                                  has control of the storage                 knowledge, the contents were               Yes
                                                  facility.                                  display models and other
Street
                                                  Address                                    electrical products, and remain
                                                                                             within the unit.


Bensalem                  PA
City                      State   ZIP Code


  Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own
21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held
    in trust. Do not list leased or rented property.


        None
  Part 12:      Details About Environmental Information
For the purpose of Part 12, the following definitions apply:

 Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless or
  the medium affected (air, land, water, or any other medium).


 Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
  formerly owned, operated, or utilized.

 Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
  similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law?
    Include settlements and orders.

        No
        Yes. Provide details below.
23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in
    violation of an environmental law?

        No
        Yes. Provide details below.
24. Has the debtor notified any govermental unit of any release of hazardous material?

        No
        Yes. Provide details below.




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 Part 13:         Details About the Debtor's Business or Connections to Any Business
25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this
    case. Include this information even if already listed in the Schedules.

      None
         Business name and address                    Describe the nature of the business        Employer Identification number
 25.1. Technovative Media, Inc.                       Holding Company                            Do not include Social Security number or ITIN.
         Name
         2009 Chestnut Street, 3rd Floor                                                         EIN: 4      5 – 4      3    4     5    0      1   5
         Street
                                                                                                 Dates business existed

         Philadelphia,           PA      19103                                                   From        2011           To   Present
         City                    State   ZIP Code

         Business name and address                    Describe the nature of the business        Employer Identification number
 25.2. Technology Holdings Delaware, LLC Holding Company                                         Do not include Social Security number or ITIN.
       Name                              File No. 5061735
                                                                                                 EIN:           –
         Street
         2009 Chestnut Street, 3rd Floor                                                         Dates business existed

         Philadelphia            PA      19103                                                   From        2011           To   Present
         City                    State   ZIP Code

         Business name and address                    Describe the nature of the business        Employer Identification number
 25.3. Media Holdings Delaware, LLC                   Holding Company                            Do not include Social Security number or ITIN.
         Name                                         File No. 5061759
         2009 Chestnut Street, 3rd Floor                                                         EIN:           –
         Street
                                                                                                 Dates business existed

         Philadelphia            PA      19103                                                   From        2011           To   Present
         City                    State   ZIP Code

         Business name and address                    Describe the nature of the business        Employer Identification number
 25.4. Ultra-D Ventures C.V.                          Holding Company                            Do not include Social Security number or ITIN.
         Name
                                                                                                 EIN: 9      8 – 1      0    3     3    7      5   5
         Street
                                                                                                 Dates business existed

         Curacao                                                                                 From        2011           To   Present
         City                    State   ZIP Code

         Business name and address                    Describe the nature of the business        Employer Identification number
 25.5. Ultra-D Coopertief U.A.                        Holding Company                            Do not include Social Security number or ITIN.
         Name
                                                                                                 EIN: 9      8 – 1      0    3     3    7      9   3
         Street
                                                                                                 Dates business existed

         The Netherlands                                                                         From        2011           To   Present
         City                    State   ZIP Code

         Business name and address                    Describe the nature of the business        Employer Identification number
 25.6. Stream TV International B.V.                   Operating Company                          Do not include Social Security number or ITIN.
         Name
                                                                                                 EIN: 9      8 – 1      0    3     3    3      4   6
         Street
                                                                                                 Dates business existed

         The Netherlands                                                                         From        2011           To   Present
         City                    State   ZIP Code




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                                       FiledFiled
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                                                  03/24/25
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                                                                                      Desc
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Debtor           Stream TV Networks, Inc.                                                   Case number (if known)      23-10763
                 Name

         Business name and address                       Describe the nature of the business         Employer Identification number
 25.7. SeeCubic B.V.                                     Operating Company                           Do not include Social Security number or ITIN.
         Name
                                                                                                     EIN: 9     8 – 1      0    3    3       7    6   8
         Street
                                                                                                     Dates business existed

         The Netherlands                                                                             From       2011           To   Present
         City                        State   ZIP Code

         Business name and address                       Describe the nature of the business         Employer Identification number
 25.8. Stream TV International B.V.                      Operating Company                           Do not include Social Security number or ITIN.
         Taiwan Rep Office
         Name                                                                                        EIN:          –

         Street                                                                                      Dates business existed

                                                                                                     From       2018           To   Present
         Taiwan
         City                        State   ZIP Code

         Business name and address                       Describe the nature of the business         Employer Identification number
 25.9. Stream TV 3D Technology (Suzhou)                  Operating Company                           Do not include Social Security number or ITIN.
         Co., Lt
         Name                                                                                        EIN:          –

         Street                                                                                      Dates business existed

                                                                                                     From       2018           To   Present
         China
         City                        State   ZIP Code

         Business name and address                       Describe the nature of the business         Employer Identification number
25.10. Shanghai Ruishi Technology Co.,                   Operating Company                           Do not include Social Security number or ITIN.
         Ltd.
         Name                                                                                        EIN:          –

         Street                                                                                      Dates business existed

                                                                                                     From       2019           To   Present
         China
         City                        State   ZIP Code

26. Books, records, and financial statements

    26a.        List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.

                 None
                   Name and address                                                                  Dates of service

      26a.1. INNOVENTURES                                                                            From       2009           To     2022
                   Name
                   1105 William Penn Drive
                   Street


                   Bensalem                                     PA          19020
                   City                                         State       ZIP Code




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                                       FiledFiled
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                                                                  03/29/23
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                                                                                      Desc
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Debtor       Stream TV Networks, Inc.                                                         Case number (if known)       23-10763
             Name

     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial
            statement within 2 years before filing this case.

             None
     26c.   List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.

             None
               Name and address                                                                   If any books of account and records are
                                                                                                  unavailable, explain why
         26c.1. INNOVENTURES                                                                      N/A
               Name
               1105 William Penn Drive
               Street


               Bensalem                                       PA          19020
               City                                           State       ZIP Code

     26d.   List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a
            financial statement within 2 years before filing this case.

             None
27. Inventories
    Have any inventories of the debtor's property been taken within 2 years before filing this case?

      No.
      Yes. Give the details about the two most recent inventories.
28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders,
    or other people in control of the debtor at the time of the filing of this case.


Name                                     Address                                        Position and nature of any interest         % of interest, if any

Mathu Rajan                              1105 William Penn Drive                        CEO and Director                                  88.885%
                                         Bensalem, PA 19020
29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners,
    members in control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

      No
      Yes. Identify below.
Name                                     Address                                        Position and nature of       Period during which position
                                                                                        any interest                 or interest was held
30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
    bonuses, loans, credits on loans, stock redemptions, and options exercised?

      No
      Yes. Identify below.
31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

      No
      Yes. Identify below.
Name of the parent corporation                                                       Employer Identification number of the parent corporation
Stream TV Networks, Inc.                                                             EIN: 2     7 – 1      2     2     4    0   9     2
32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

      No
      Yes. Identify below.




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                                                            Entered
                                                                 03/29/23
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Debtor        Stream TV Networks, Inc.                                                  Case number (if known)     23-10763
              Name


 Part 14:       Signature and Declaration
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is
true and correct.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on 03/29/2023
            MM / DD / YYYY



X                                                                                 Printed name Mathu Rajan
    Signature of individual signing on behalf of the debtor

    Position or relationship to debtor CEO and Director


Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




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